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               IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF TEXAS
                       GALVESTON DIVISION

TAMPNET, INC.                §                        C.A. NO. _____________
                             §
                Plaintiff,   §                        ADMIRALTY
                             §
v.                           §
                             §
TRANSOCEAN LTD.;             §
TRANSOCEAN HOLDINGS, LLC;    §
TRANSOCEAN OFFSHORE          §
DEEPWATER DRILLING, INC.;    §
TRANSOCEAN DEEPWATER, INC.;  §
TRITON VOYAGER ASSET         §
LEASING GMBH; TRITON VOYAGER §
ASSET LEASING GMBH,          §
ASGARD US, in personam,      §                        Filed Under Rule 9(h)
                             §
                Defendants.  §                        FED. R. CIV. P.



         PLAINTIFF TAMPNET, INC.’S ORIGINAL COMPLAINT

      Tampnet, Inc. (“Plaintiff”), as assignee and successor in interest to BP

Exploration & Production Inc. (“bp”), files this complaint against Transocean Ltd.,

Transocean Holdings, LLC, Transocean Offshore Deepwater Drilling, Inc.,

Transocean Deepwater, Inc., and Triton Voyager Asset Leasing GmbH, which

sometimes does business as Triton Voyager Asset Leasing GmbH, Asgard US

(collectively, the “Defendants”), in personam, and alleges as follows, upon

information and belief:




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                                         I.

                                 JURISDICTION

      1.     This is a civil action within the admiralty and maritime jurisdiction

conferred in Article III, Section 2, of the UNITED STATES CONSTITUTION, and

therefore this lawsuit comes within this Court’s jurisdiction pursuant to 28 U.S.C.

§ 1333. Further, Plaintiff designates this matter as an admiralty and maritime

claim within the meaning of Rule 9(h) of the Federal Rules of Civil Procedure.

                                        II.

                                       VENUE

      2.     Venue is proper in this District because personal jurisdiction can be

obtained over Defendants.

                                       III.

                                     PARTIES

      3.     Plaintiff is a corporation organized under the laws of Delaware, with

its administrative headquarters and principal place of business in Texas. Plaintiff

brings this action in its own right, and as assignee and successor in interest to bp.

      4.     Defendant Transocean Ltd. is, on information and belief, a foreign

entity that at all pertinent times, via themselves or subsidiaries or affiliates, was

doing business in the State of Texas and within this District, and regularly

conducts and transacts business throughout the United States. As described

herein, such business in Texas and/or within the United States has given rise, in

whole or in part, to Plaintiff’s claim. Defendant may be served with process

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through its registered agent for service, Capitol Corporate Services, Inc., 1501 S

MOPAC EXPY STE 220, AUSTIN, TX 78746.

      5.     Defendant Transocean Holdings, LLC is a foreign entity with a

principal place of business in Texas, and at all pertinent times was doing business

in the State of Texas and within this District. Defendant may be served with

process through its registered agent for service, Capitol Services, Inc., 108

LAKELAND AVE., DOVER, DE 19901.

      6.     Defendant Transocean Offshore Deepwater Drilling, Inc. is a foreign

entity with a principal place of business located in Texas, and at all pertinent

times was doing business in the State of Texas and within this District. Defendant

may be served with process through its registered agent for service, Capitol

Corporate Services, Inc., 1501 S MOPAC EXPY STE 220, AUSTIN, TX 78746.

      7.     Defendant Transocean Deepwater, Inc. is a foreign entity with a

principal place of business located in Texas, and at all pertinent times was doing

business in the State of Texas and within this District. Defendant may be served

with process through its registered agent for service, Capitol Services, Inc., 108

LAKELAND AVE., DOVER, DE 19901.

      8.     Defendant Triton Voyager Asset Leasing GmbH is, on information

and belief, a foreign entity that at all pertinent times, via themselves or

subsidiaries or affiliates, was doing business in the State of Texas and within this

District, and regularly conducts and transacts business throughout the United

States. As described herein, such business in Texas and/or within the United

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States has given rise, in whole or in part, to Plaintiff’s claim. Defendant may be

served with process through its registered agent for service, Capitol Corporate

Services, Inc., 1501 S MOPAC EXPY STE 220, AUSTIN, TX 78746.

      9.     Defendant Triton Voyager Asset Leasing GmbH, Asgard US is, on

information and belief, a foreign entity that at all pertinent times, via themselves

or subsidiaries or affiliates, was doing business in the State of Texas and within

this District, and regularly conducts and transacts business throughout the

United States. As described herein, such business in Texas and/or within the

United States has given rise, in whole or in part, to Plaintiff’s claim. Defendant

may be served with process through its registered agent for service, Capitol

Corporate Services, Inc., 1501 S MOPAC EXPY STE 220, AUSTIN, TX 78746.

                                       IV.

                                      FACTS

The Allision

      10.    The Deepwater Asgard (“Asgard”) is a DSME 12000 ultra-deepwater

drillship that entered service in 2014. The Asgard bears the Marshall Islands flag,

and is 781 feet in length, 138 feet wide, and 62 feet deep.

      11.    At all relevant times, Defendants owned, owned pro hac vice,

operated, managed, and/or controlled the Asgard, and/or at all times employed

the persons who caused and/or contributed to the allision described herein.

      12.    At all relevant times, the Asgard was a vessel deployed on navigable

waters.

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      13.    At all relevant times, the Asgard was working under contract for

Beacon Offshore Energy LLC to perform offshore drilling in the Gulf of Mexico.

Beacon Offshore Energy LLC is a foreign limited liability company with a

principal place of business in Texas.

      14.    On or about October 27, 2020, it became known that the Asgard—

which was engaged in drilling operations at Green Canyon Block 895, OCS-

G35879, Highgarden Well #1, in 5,594 feet of water—was in the projected path of

Hurricane Zeta. In anticipation of the approaching hurricane, the Asgard’s drill

crew began securing the well and preparing to disconnect from the wellhead in

order to move the vessel out of the direct path of the hurricane and into a safe

zone. Defendants, however, ordered the drill crew to stop the unlatching process,

to stay connected to the wellhead, and to continue operations.

      15.    On October 28, 2020, Hurricane Zeta moved through the Gulf of

Mexico, and the Asgard became unable to maintain well center location due to

the harsh weather conditions. As a result, the Asgard’s drill crew stopped

operations, secured the well, and activated the emergency disconnect system. The

Asgard’s drill crew, however, failed to pull up the riser and Lower Marine Riser

Package (“LMRP”) to a proper depth to avoid contact with the seafloor and any

fixed, stationary object on the seafloor. Alternatively, the emergency disconnect

procedure placed the LMRP at approximately seventy feet above the seafloor at

the time it was disconnected, and the disconnect was not set at a proper distance

to avoid contact with the seafloor and any fixed, stationary object on the seafloor.

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Defendants, and the Asgard’s drill crew, knew (or should have known) of the

changes in water depth; previous drilling, completion, and production activities;

fiber optic cabling; and/or pipelines in or around Green Canyon Block 895.

      16.    Once the emergency disconnect procedure was complete, the drill

crew lost control of the vessel, which began to drift in a northwest direction away

from the wellhead. While adrift, the Asgard passed over a ridge of shallower

water where the drillship’s riser and LMRP struck the seafloor. The Asgard’s

inclinator marked 15.9 degrees, indicating that the LMRP had hit the seafloor.

      17.    The Asgard was blown approximately two nautical miles from well

location before it came to a stop. Once the hurricane had passed, the drill crew

regained control of the vessel and began navigating back to the wellhead. The

Asgard’s drill crew, however, failed to pull up the riser and LMRP to a proper

depth to avoid contact with the seafloor and any fixed, stationary object on the

seafloor. As the Asgard traversed back across the uneven seafloor under its own

power on October 28, 2020, the Asgard’s riser and LMRP struck the seafloor

again, making contact with and damaging a submarine fiber optic network

(“FON”) cable that extended across lease block Green Canyon 895. The portion of

the FON cable that was struck by the Asgard was located approximately 230

nautical miles from Galveston, Texas.

      18.    The FON cable, which is part of a submarine cable system, was

properly laid and in compliance with all applicable permits and regulations at the

time of the allision.

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      19.    The aforementioned submarine cable system is in the Bureau of

Safety and Environmental Enforcement (“BSEE”) database, and GIS information

about the cable route is available to the public. The FON cable was also identified

as a nearby, seafloor structure on wellsite-specific seafloor maps in Beacon

Offshore Energy LLC’s exploration plan for Green Canyon Block 895, OCS-

G35879. Beacon Offshore Energy LLC’s exploration plan for Green Canyon Block

895, OCS-G35879 is attached to this Complaint.

The Fiber Optic Network

      20.    On July 17, 2020, before the Asgard allided with the FON cable, bp

and Plaintiff entered into a Purchase and Sale Agreement (“PSA”) whereby bp

conditionally sold to Plaintiff a submarine cable system located in the Gulf of

Mexico. This cable system was originally installed by bp in 2008, and it consists

of cable landing stations in Freeport, Texas and Pascagoula, Mississippi and the

FON cable extending between the stations. bp retained possession of and title to

the assets until certain governmental approvals were obtained, the Closing

Purchase Price had been paid, and an Assignment and Bill of Sale had been

executed, among other conditions. The last of the requisite government approvals

was not obtained until March 18, 2021, the Closing Purchase Price was not paid

until March 29, 2021, and the Assignment, Bill of Sale and Conveyances were not

executed until March 30, 2021. The Assignment, Bill of Sale and Conveyances

assigned to Plaintiff bp’s rights, title, and interest to the FON cable as well as all



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causes of action against Third Parties relating to the assets for which Plaintiff is

responsible under the PSA.

      21.    Accordingly, on the date the FON cable was damaged by the Asgard

(October 28, 2020), and in the five months following the allision, the FON cable

was still under bp’s control. As a result, on October 28, 2020 at approximately

4:34 pm, bp—rather than Plaintiff—was alerted through shunt fault alarms that

the FON cable had been damaged. In January 2021, bp arranged for a remotely

operated vehicle inspection of the FON cable to assess the damage. In February

2021, bp arranged for the FON cable to be repaired. bp also engaged in efforts to

determine the possible cause of the damage. AIS/GIS data that plotted the

movements of the Asgard on October 28, 2020, seafloor scarring, shunt fault

alarm records, and witness accounts were used to determine that the Asgard was

within the vicinity of the FON cable at the time the cable was damaged.

Furthermore, an Accident Investigation Report released by the BSEE concluded

that the Asgard had struck the seafloor twice on October 28, 2020: the first time

while adrift, and the second time while maneuvering back to well location. That

same report also concluded that Defendants’ decision to stay latched up to the

well and ride out Hurricane Zeta was a contributing cause of the Asgard’s striking

of the seafloor. The BSEE Accident Investigation Report is attached to this

Complaint.




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Defendants Received Timely Notice of the Allision

      22.      Defendants were promptly notified of the allision by bp and have not

been prejudiced by any delay in the filing of this Complaint. As soon as it was

determined that the FON cable was damaged by the Asgard, bp submitted a letter

to Defendants—requesting reimbursement for the costs it incurred to inspect and

repair the FON cable. This request, dated August 20, 2021, was made within one

year of the Asgard’s allision with the FON cable and enclosed supporting

documentation. Although Plaintiff took formal ownership of the FON cable and

the aforementioned damages claim in March 2021, Plaintiff and bp agreed that

bp would continue the dialogue with Defendants regarding the recovery of the

inspection and repair costs. bp continued to spearhead this effort throughout the

majority of 2022, even after recovering the costs it incurred to inspect and repair

the FON cable from Plaintiff on July 12, 2022 (pursuant to the terms of the PSA):

            a. On September 15, 2021, bp followed up with Defendants.

            b. On January 18, 2022, bp followed up with Defendants. That same

               day, Defendants requested answers to a number of questions posed

               by their underwriter’s counsel.

            c. On July 12, 2022, bp responded to the aforementioned questions. bp

               also offered to provide Defendants with a sample of the damaged

               portion of the FON cable for testing and analysis.

            d. On August 23, 2022, bp followed up with Defendants.



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            e. On August 29, 2022, bp followed up with Defendants, and

               Defendants explained they would contact their underwriter’s

               counsel.

            f. On September 12, 2022, bp followed up with Defendants, and

               Defendants explained that the damages claim would be an item on

               the agenda at an upcoming meeting with their underwriter.

            g. On September 21, 2022, bp followed up with Defendants.

               Defendants explained they had a call with their underwriter, and

               counsel was working on a response letter.

      23.      On October 3, 2022, Defendants finally responded to bp’s August 20,

2021 letter and subsequent inquiries regarding the damage to the FON cable.

Defendants asserted an Act of God defense and requested a meeting to discuss a

possible resolution.

      24.      On March 10, 2023, in a meeting attended by bp, Plaintiff, and

Defendants, Plaintiff explained that bp assigned its damages claim to Plaintiff.

Pursuant to the terms of the PSA, Plaintiff reimbursed bp for the costs it incurred

to inspect and repair the FON cable, and bp no longer retains an ownership

interest in the FON cable or the cause of action against Defendants for damage

incurred to the FON cable on October 28, 2020. Plaintiff further conveyed that,

as the sole purchaser of the FON cable, it now seeks to recover such costs from

Defendants. Defendants raised certain questions related to Plaintiff’s entitlement

to recovery.

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      25.      Plaintiff made numerous attempts to resolve this dispute without

resorting to litigation:

            a. On June 7, 2023, Plaintiff submitted a letter to Defendants

               addressing the issues raised during the March 10, 2023 meeting. The

               letter provided an explanation as to Plaintiff’s right to recovery, the

               amount sought, and Plaintiff’s view on Defendants’ position

               regarding the application of an Act of God defense. The letter

               enclosed supporting documentation and concluded with a request

               for settlement negotiations. Defendants did not respond.

            b. On June 28, 2023, Plaintiff contacted Defendants. Defendants

               acknowledged receipt of Plaintiff’s June 6, 2023 letter and request

               for settlement negotiations. Defendants did not follow up on

               Plaintiff’s request for a settlement discussion.

            c. On August 7, 2023, Plaintiff contacted Defendants, requesting a

               settlement discussion. Defendants requested a copy of the PSA to

               confirm Plaintiff’s ownership of the FON cable.

            d. On September 15, 2023, Plaintiff followed up with Defendants once

               again, requesting a meeting to discuss a possible resolution.

               Defendants did not respond.

            e. On September 25, 2023, at Plaintiff’s request, bp submitted a letter

               to Defendants to address Defendants’ request for a copy of the PSA.

               Due to the confidential nature of the information contained within

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             the PSA, bp has asked Plaintiff not to disclose the PSA. bp, however,

             confirmed Plaintiff’s ownership of the FON cable. bp further

             confirmed that it no longer retains an ownership interest in the FON

             cable or the cause of action against Defendants for damage incurred

             to the FON cable on October 28, 2020, by the Asgard. bp’s letter

             enclosed supporting documentation. Defendants did not respond.

      26.    The following indicates that Defendants are not prejudiced by any

delay in filing this lawsuit:

          a. On August 20, 2021—less than one year after the Asgard’s allision

             with the FON cable—Defendants were notified that the Asgard

             struck and damaged the FON cable. Reimbursement for the costs

             incurred to inspect and repair the FON cable was requested that

             same day.

          b. The aforementioned cable claim was pursued by bp from August 20,

             2021 to March 10, 2023, and by Plaintiff from March 10, 2023 to

             present.

          c. Defendants have never denied the allegation that the Asgard struck

             and damaged the FON cable. In fact, Defendants have admitted that

             the Asgard made contact with the seafloor and damaged the FON

             cable.

          d. Between December 2020 and July 2022, twenty-four lawsuits

             arising from the operations of the Asgard during Hurricane Zeta

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               have been filed against several of the Defendants in the District

               Court of Harris County, Texas. These suits obligated Defendants to

               preserve evidence relevant to the incident.

                                         V.

                              PLAINTIFF’S CLAIMS

      27.      Plaintiff incorporates by reference paragraphs 1 through 26 of this

Complaint.

      28.      Defendants, as owners, owners pro hac vice, operators, managers,

and/or controllers of the Asgard, and the crew, officers, and agents of Defendants

in charge of the Asgard, owed Plaintiff a legal duty under general maritime law to

operate, navigate, and manage the Asgard with reasonable care, so as to avoid the

allision with, and physical damage to, the FON cable.

      29.      Defendants, and the crew, officers, and agents of Defendants in

charge of the Asgard, breached these duties by operating, navigating, and

managing the Asgard in a negligent manner in the following respects, among

others, which will be shown at trial:

            a. Failing to put in place and/or enforce proper procedures for

               evacuation during extreme weather;

            b. Failing to disconnect from the wellhead and proceed to a secure

               location despite having knowledge that the Asgard was in the

               projected path of Hurricane Zeta;



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         c. Failing to take appropriate steps to assess the risk of an allision with

             the FON cable;

         d. Failing to maintain proper maps and/or navigational charts aboard

             the Asgard to avoid an allision with the FON cable;

         e. Failing to take necessary actions and precautions to avoid an allision

             with the FON cable;

         f. Failing to steer a course and maneuver to remain clear of, and avoid

             striking with the Asgard’s riser and LMRP, the FON cable;

         g. Failing to suspend the Asgard’s riser and LMRP at a proper depth,

             far enough above the seafloor, to avoid an allision with the FON

             cable;

         h. Failing to ascertain that the Asgard’s inclinator indicated that the

             vessel had made contact with and struck the seafloor while adrift

             before beginning to navigate back to well location after Hurricane

             Zeta passed;

         i. Failing to act with reasonable care under the circumstances; and

         j. Any other acts or omissions of negligence to be proven at trial.

      30.    Where a moving vessel, such as the Asgard, causes damage to a

stationary object, such as Plaintiff’s FON cable, a presumption arises that the

moving vessel is at fault. This presumption applies to sunken and nonvisible

stationary objects, such as Plaintiff’s FON cable, if the existence of the subsea

object was known or should have been known.

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      31.    Defendants, and the crew, officers, and agents of Defendants in

charge of the Asgard, knew or should have known of the FON cable’s presence.

      32.    The negligent acts and omissions on the part of Defendants, and the

crew, officers, and agents of Defendants, directly and proximately caused the

allision by the Asgard with the FON cable.

      33.    The aforementioned allision by the Asgard with the FON cable

caused significant damage to the FON cable.

      34.    The damage to the FON cable amounted to approximately

$2,926,016, which represents the costs and expenses incurred to inspect and

repair the FON cable.

      35.    The aforementioned allision and associated damage to the FON

cable, were not caused, or contributed to, by any fault or neglect on the part of

Plaintiff, but on the contrary, were caused wholly by, and due solely to the fault

and negligent acts and omissions on the part of Defendants, and the crew,

officers, agents of Defendants in charge of the Asgard.

      36.    Defendants are liable for the aforementioned damages, costs, and

expenses for the reasons stated above.

      37.    Plaintiff reserves the right to amend or supplement these pleadings

and to allege other faults on the part of Defendant, as well as other and further

damages, as the facts pertaining to the aforementioned allision develop.




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                                        VI.

                                      PRAYER

      38.    Plaintiff respectfully requests judgment in its favor and against

Defendant for the full amount of damages proven at trial, together with interest,

costs, attorneys’ fees, and all other relief to which Plaintiff may be justly entitled.




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                                         Respectfully submitted,

                                          VINSON & ELKINS, LLP


                                  By:     /s/ Patrick W. Mizell
                                           Patrick W. Mizell
                                           Attorney-in-Charge
                                           State Bar. No. 14233980
                                           S.D. Tex. No. 36390
                                           Phillip B. Dye, Jr.
                                           State Bar. No. 06311500
                                           S.D. Tex. No. 7216
                                           Olivia A. Landry
                                           State Bar No. 24122379
                                           S.D. Tex. No. 3860983
                                           Margaret F. Eller
                                           State Bar No. 24131872
                                           S.D. Tex. No. 3850607
                                           845 Texas Avenue, Suite 4700
                                           Houston, Texas 78701
                                           Telephone: (713) 758-2932
                                           Facsimile: (713) 615-5912
                                           pmizell@velaw.com
                                           pdye@velaw.com
                                          olandry@velaw.com
                                          meller@velaw.com


                                          ATTORNEYS FOR PLAINTIFF
                                          TAMPNET, INC.




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UNITED STATES GOVERNMENT                              May 19, 2020
MEMORANDUM



To:          Public Information
From:        Plan Coordinator, OLP, Plans Section (GM235D)

Subject:     Public Information Copy of Plan

  Control #       -    N-10110

  Type            -    Initial Exploration Plan

  Lease(s)        -     OCS-G35879 - Block 895 Green Canyon Area


                        BOE Exploration & Production LLC
  Operator        -

  Description     -     Subsea Wells A, B, C, and D


Attached is a copy of the subject plan.

It has been deemed submitted as of this date and is under review for
approval.

                                          Laura Christensen, Esq.
                                          Plan Coordinator
                                          Office of Leasing and Plans
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BOE Exploration and Production / Initial EP N-10110

Revision Record

 Appendix / Page          Plan Type     Revision Description
 Appendix A / Form 137    Proprietary   Indicated TA of proposed wells
 Appendix A / Page 2      Proprietary   Revision of storage tanks on proposed MODU types
 Appendix J / Page 16     Proprietary   Included moonpool / entrapment-entanglement discussion
 Appendix L / Page 18     Proprietary   Included moonpool / entrapment-entanglement discussion
 Appendix A / Form 137    Public        Indicated TA of proposed wells
 Appendix A / Page 2      Public        Revision of storage tanks on proposed MODU types
 Appendix J / Page 16     Public        Included moonpool / entrapment-entanglement discussion
 Appendix L / Page 18     Public        Included moonpool / entrapment-entanglement discussion
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                                                                               16564 E Brewster Rd, Ste 203
                                                                                       Covington, LA 70433



April 10, 2020

Bureau of Ocean Energy Management
Gulf of Mexico OCS Region Office
1201 Elmwood Park Boulevard
New Orleans, LA 70123

ATTN: Plans Section

BOE Exploration & Production has reviewed applicable regulations for the activities proposed in this plan
and has included all relevant proprietary and public information and documentation regarding those
activities.

The activities proposed in this plan are expected to commence on or around July 1, 2020.

BOE Exploration & Production has reviewed the document “Biological Opinion on the Federally
Regulated Oil and Gas Program Activities in the Gulf of Mexico” published by the National Marine
Fisheries Service (NMFS) on 3/13/2020 (Consultation Tracking number: FPR-2017-9234).

The opinion reviews the impact of Gulf of Mexico oil and gas operations on 10 Endangered Species Act
listed species. Of the 10 species reviewed only the Gulf of Mexico Bryde’s Whale is jeopardized. “ It is
NMFS’ biological opinion that the proposed action is likely to jeopardize the continued existence of the
Gulf of Mexico Bryde’s whale.”

The report contains an RPA – Reasonable and Prudent Alternative developed to avoid the likelihood of
jeopardizing the continued existence of the Gulf of Mexico Bryde’s whale. The RPA identifies the
“Bryde’s whale area” in section 8.1.2.1 Figure 96. “Figure 96 displays the proposed mitigation area
displayed as a magenta polygon.” Section 14.1 Proposed RPA - lists seven measures vessels must follow
in this “Bryde’s Whale Area”, the RPA Conclusion (section 14.4) states.

The proposed oil and gas activities proposed in this permit (or plan) will utilize vessels that will not
approach or transverse the Bryde’s Whale area defined in the RPA. Thus these proposed activities
would be in compliance with the RPA proposed in the NMFS Biological Opinion FPR-2017-9234.
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                                                                        16564 E Brewster Rd, Ste 203
                                                                                Covington, LA 70433




All questions and/or correspondence regarding this plan should be submitted to Brandon Hebert at
985.666.0143 or via email at bhebert@beaconoffshore.com.

Respectfully,




Brandon Hebert
Senior Regulatory Coordinator
Beacon Offshore Energy
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                                     INITIAL EXPLORATION PLAN

                                       PUBLIC INFORMATION

Lease Number: OCS-G 35879

Area/Block: GC 895

Prospect: Highgarden

Well(s): A / B / C / D

BOE Exploration & Production (03572)
16564 E Brewster Rd, Ste 203
Covington, LA 70433

Submitted By:
Brandon Hebert
(985) 666-0143
bhebert@beaconoffshore.com

Estimated Start Date: July 1, 2020
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                                                APPENDIX A
                                              PLAN CONTENTS

A) PLAN INFORMATION
Included in the attachments for this appendix is the OCS Plan Information Form 137, providing
information on the activities proposed in this plan. Well locations proposed in this plan will be drilled
and temporarily abandoned.

Houston Energy, LP is the current designated operator of Green Canyon 895, OCS-G 35879. BOEM-
approved representatives of both BOE Exploration & Production, LLC and Houston Energy, LP have
executed Form BOEM-1123, “Designation of Operator,” for lease OCS-G 35879, designating BOE
Exploration & Production, LLC as operator.

The status of previously proposed and approved activities in Exploration and/or Development Plans for
this lease are as follows:

This is the first Exploration Plan submitted for the subject lease.

B) LOCATION
A map depicting the proposed surface and bottomhole location(s) and is included in the attachment(s)
to this appendix of the proprietary information copy of this plan.

A map depicting the proposed surface location(s) is included in the attachment(s) to this appendix of the
public information copy of this plan.

C) SAFETY AND POLLUTION PREVENTION FEATURES
BOE Exploration & Production proposes utilizing a drillship or dynamically positioned (DP)
semisubmersible as its mobile offshore drilling unit to conduct the activities proposed in this plan. Rig
specifications will be included in each Application for Permit to Drill.

Safety features on the drilling unit selected will include pollution prevention, well control, and blowout
prevention equipment as described in Title 30 CFR Part 250, Subparts C, D, E, and G; and as further
clarified by DOI Notices to Lessees, and current policy making invoked by the DOI, Environmental
Protection Agency and the U.S. Coast Guard. A Safety and Environmental Management System that is
consistent with Title 30 CFR Part 250 Subparts “O” and “S” will be in effect during the proposed
operations. In addition, the Well Control System, consisting of subsea BOP equipment, BOP control
system, choke and kill lines, choke manifold, mud-gas separator, circulation system and monitoring
(PVT) equipment will be installed and available upon demand when the riser and BOP is attached to the
well. The emergency systems consisting of secondary BOP activation equipment, firefighting and
abandonment equipment utilized will meet or exceed the regulatory requirements of the DOI and USCG.

Pollution prevention measures will include the installation of curbs, gutters, drip pans, and drains on
drilling deck areas to collect all contaminants and debris.




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The drilling rig and each of the marine vessels servicing the rig and its operations will be equipped with
all U.S. Coast Guard required navigational safety aids to alert ships of its presence in all weather
conditions.

D) STORAGE TANKS AND/OR PRODUCTION VESSELS
The table below provides information on oil storage tanks with a capacity of 25 barrels or more that will
be used to conduct the activities proposed in this plan.

                                                   Tank                          Total
                                Type of                       Number of                        Fluid Gravity
 Type of Storage Tank                            Capacity                       Capacity
                                Facility                        Tanks                              (API)
                                                  (bbls)                         (bbls)
        Fuel Oil               Drillship          5514             2             11028         No. 2 Diesel
        Fuel Oil               Drillship          12458            2             24916         No. 2 Diesel
        Fuel Oil               Drillship          12065            2             24130         No. 2 Diesel
        Fuel Oil               Drillship            640            2              1280         No. 2 Diesel
        Fuel Oil               Drillship            480            3              1440         No. 2 Diesel
        Fuel Oil               Drillship            80             1               80          No. 2 Diesel
        Fuel Oil          DP Semisubmersible      4541             2              9082         No. 2 Diesel
        Fuel Oil          DP Semisubmersible      3392             2              6784         No. 2 Diesel
        Fuel Oil          DP Semisubmersible        629            1              629          No. 2 Diesel
        Fuel Oil          DP Semisubmersible        164            1              164          No. 2 Diesel
        Fuel Oil          DP Semisubmersible        30             1               30          No. 2 Diesel

E) POLLUTION PREVENTION
In accordance with NTL 2008-G04, this information is not applicable to the activities proposed in this
plan as the State of Florida is not an affected State.

F) ADDITIONAL MEASURES
BOE Exploration & Production will comply with regulations in 30 CFR Part 250 and will not take any
additional measures beyond those stated in referenced regulations regarding safety, pollution
prevention, and early spill detection measures.

G) SERVICE FEE
In accordance with 30 CFR 550.125, included in the attachments for this appendix is a copy of the
pay.gov receipt for the required service fee for the activities proposed in this plan.




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          OCS PLAN INFORMATION FORM
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                                                                                                              OMB Control Number: 1010-0151
U.S. Department of the Interior
                                                                                                              OMB Approval Expires: 6/30/2021
Bureau of Ocean Energy Management

                                                OCS PLAN INFORMATION FORM

                                                                   General Information
 Type of OCS Plan:            X   Exploration Plan (EP)      Development Operations Coordination Document (DOCD)

 Company Name: BOE Exploration & Production LLC                     BOEM Operator Number: 03572
 Address: 16564 E Brewster Rd, Ste 203                              Contact Person: Brandon Hebert
           Covington, LA 70433                                      Phone Number: 985.666.0143
                                                                    E-Mail Address: bhebert@beaconoffshore.com
 If a service fee is required under 30 CFR 550.125(a), provide the          Amount paid       $14,692         Receipt No.            26O63MD0

                                          Project and Worst Case Discharge (WCD) Information
 Lease(s): OCS-G 35879                   Area: GC           Block(s): 895              Project Name (If Applicable): Highgarden
 Objective(s)    X   Oil      Gas         Sulphur           Salt     Onshore Support Base(s): Port Fourchon, LA
 Platform/Well Name: Loc A               Total Volume of WCD: 25,348,928 bbls                               API Gravity: 31.6°
 Distance to Closest Land (Miles): 136                      Volume from uncontrolled blowout: 313,100 BOPD
 Have you previously provided information to verify the calculations and assumptions for your WCD?                       Yes      X      No
 If so, provide the Control Number of the EP or DOCD with which this information was provided
 Do you propose to use new or unusual technology to conduct your activities?                                             Yes      X      No
 Do you propose to use a vessel with anchors to install or modify a structure?                                           Yes      X      No
 Do you propose any facility that will serve as a host facility for deepwater subsea development?                        Yes      X      No

                           Description of Proposed Activities and Tentative Schedule (Mark all that apply)
                      Proposed Activity                                  Start Date                  End Date                        No. of Days

 Drill / TA Well Location A                                        07/01/2020                11/28/2020                150
 Drill / TA Well Location B                                        01/01/2021                05/31/2021                150
 Drill / TA Well Location C                                        01/01/2022                05/31/2022                150
 Drill / TA Well Location D                                        01/01/2023                05/31/2023                150




                     Description of Drilling Rig                                                        Description of Structure
        Jackup                       X       Drillship                                Caisson                          Tension leg platform
        Gorilla Jackup                       Platform rig                             Fixed platform                   Compliant tower
        Semisubmersible                      Submersible                              Spar                             Guyed tower
X       DP Semisubmersible                   Other (Attach Description)               Floating production              Other (Attach Description)
                                                                                      system
 Drilling Rig Name (If Known):

                                                         Description of Lease Term Pipelines
    From (Facility/Area/Block)             To (Facility/Area/Block)                    Diameter (Inches)                          Length (Feet)

N/A




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                                              OCS PLAN INFORMATION FORM (CONTINUED)
                                       Include one copy of this page for each proposed well/structure
                                                     Proposed Well/Structure Location
Well or Structure Name/Number (If renaming well or           Previously reviewed under an approved EP or             Yes      X   No
structure, reference previous name): Loc A                   DOCD?
Is this an existing well           Yes     X     No If this is an existing well or structure, list the
or structure?                                          Complex ID or API No.
Do you plan to use a subsea BOP or a surface BOP on a floating facility to conduct your proposed activities?     X      Yes             No
WCD info        For wells, volume of uncontrolled          For structures, volume of all storage and           API Gravity of      31.6°
                blowout (Bbls/day): 313,100                pipelines (Bbls): N/A                               fluid
                Surface Location                              Bottom-Hole Location (For Wells)                  Completion (For multiple completions,
                                                                                                                enter separate lines)
Lease No.       OCS-G 35879                                                                                     OCS
                                                                                                                OCS
Area Name      Green Canyon

Block No.      895

Blockline       N/S Departure:                 F S L          N/S Departure:                       F     L     N/S Departure:              F      L
Departures                                                                                                     N/S Departure:             F      L
(in feet)       2200.00’                                                                                       N/S Departure:             F      L
                E/W Departure:                 F E L          E/W Departure:                       F     L     E/W Departure:              F      L
                                                                                                               E/W Departure:             F       L
                6940.00’                                                                                       E/W Departure:             F      L
Lambert X-      X:                                           X:                                                X:
Y                                                                                                              X:
coordinates     2,226,500.00                                                                                   X:
                Y:                                           Y:                                                Y:
                                                                                                               Y:
                9,823,000.00                                                                                   Y:
Latitude/       Latitude                                     Latitude                                          Latitude
Longitude                                                                                                      Latitude
                27° 03’ 31.6260” N                                                                             Latitude
                Longitude                                    Longitude                                          Longitude
                                                                                                               Longitude
                91° 11’ 55.5170” W                                                                             Longitude
Water Depth (Feet): 5584’                                    MD (Feet):              TVD (Feet):               MD (Feet):          TVD (Feet):
                                                                                                               MD (Feet):          TVD (Feet):
Anchor Radius (if applicable) in feet: N/A                                                                     MD (Feet):          TVD (Feet):

Anchor Locations for Drilling Rig or Construction Barge (If anchor radius supplied above, not necessary)
Anchor Name          Area      Block   X Coordinate                  Y Coordinate                      Length of Anchor Chain on Seafloor
or No.
                                        X=                              Y=
                                        X=                              Y=
                                        X=                              Y=
                                        X=                              Y=
                                        X=                              Y=
                                        X=                              Y=
                                        X=                              Y=
                                        X=                           Y=



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                                                OCS PLAN INFORMATION FORM (CONTINUED)

                                                     Proposed Well/Structure Location
Well or Structure Name/Number (If renaming well or           Previously reviewed under an approved EP or             Yes      X   No
structure, reference previous name): Loc B                   DOCD?
Is this an existing well           Yes     X     No If this is an existing well or structure, list the
or structure?                                          Complex ID or API No.
Do you plan to use a subsea BOP or a surface BOP on a floating facility to conduct your proposed activities?     X      Yes             No
WCD info        For wells, volume of uncontrolled          For structures, volume of all storage and           API Gravity of     31.6°
                blowout (Bbls/day): 313,100                pipelines (Bbls): N/A                               fluid
                Surface Location                              Bottom-Hole Location (For Wells)                  Completion (For multiple completions,
                                                                                                                enter separate lines)
Lease No.       OCS-G 35879                                                                                     OCS
                                                                                                                OCS
Area Name      Green Canyon

Block No.      895

Blockline       N/S Departure:                 F S L          N/S Departure:                       F     L     N/S Departure:              F      L
Departures                                                                                                     N/S Departure:             F      L
(in feet)       3960.00’                                                                                       N/S Departure:             F      L
                E/W Departure:                 F E L          E/W Departure:                       F     L     E/W Departure:              F      L
                                                                                                               E/W Departure:             F       L
                5890.00’                                                                                       E/W Departure:             F      L
Lambert X-      X:                                           X:                                                X:
Y                                                                                                              X:
coordinates     2,227,550.00                                                                                   X:
                Y:                                           Y:                                                Y:
                                                                                                               Y:
                9,824,760.00                                                                                   Y:
Latitude/       Latitude                                     Latitude                                          Latitude
Longitude                                                                                                      Latitude
                27° 03’ 48.9052” N                                                                             Latitude
                Longitude                                    Longitude                                          Longitude
                                                                                                               Longitude
                91° 11’ 43.6254” W                                                                             Longitude
Water Depth (Feet): 5572’                                    MD (Feet):              TVD (Feet):               MD (Feet):          TVD (Feet):
                                                                                                               MD (Feet):          TVD (Feet):
                                                                                                               MD (Feet):          TVD (Feet):
Anchor Radius (if applicable) in feet: N/A

Anchor Locations for Drilling Rig or Construction Barge (If anchor radius supplied above, not necessary)
Anchor Name          Area      Block   X Coordinate                  Y Coordinate                      Length of Anchor Chain on Seafloor
or No.
                                        X=                              Y=
                                        X=                              Y=
                                        X=                              Y=
                                        X=                              Y=
                                        X=                              Y=
                                        X=                              Y=
                                        X=                              Y=
                                        X=                           Y=




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                                                OCS PLAN INFORMATION FORM (CONTINUED)

                                                     Proposed Well/Structure Location
Well or Structure Name/Number (If renaming well or           Previously reviewed under an approved EP or             Yes      X   No
structure, reference previous name): Loc C                   DOCD?
Is this an existing well           Yes     X     No If this is an existing well or structure, list the
or structure?                                          Complex ID or API No.
Do you plan to use a subsea BOP or a surface BOP on a floating facility to conduct your proposed activities?     X      Yes             No
WCD info        For wells, volume of uncontrolled          For structures, volume of all storage and           API Gravity of     31.6°
                blowout (Bbls/day): 313,100                pipelines (Bbls): N/A                               fluid
                Surface Location                              Bottom-Hole Location (For Wells)                  Completion (For multiple completions,
                                                                                                                enter separate lines)
Lease No.       OCS-G 35879                                                                                     OCS
                                                                                                                OCS
Area Name      Green Canyon

Block No.      895

Blockline       N/S Departure:                 F S L          N/S Departure:                       F     L     N/S Departure:              F      L
Departures                                                                                                     N/S Departure:             F      L
(in feet)       5942.00’                                                                                       N/S Departure:             F      L
                E/W Departure:                 F E L          E/W Departure:                       F     L     E/W Departure:              F      L
                                                                                                               E/W Departure:             F       L
                5101.00’                                                                                       E/W Departure:             F      L
Lambert X-      X:                                           X:                                                X:
Y                                                                                                              X:
coordinates     2,228,339.00                                                                                   X:
                Y:                                           Y:                                                Y:
                                                                                                               Y:
                9,826,742.00                                                                                   Y:
Latitude/       Latitude                                     Latitude                                          Latitude
Longitude                                                                                                      Latitude
                27° 04’ 8.4195” N                                                                              Latitude
                Longitude                                    Longitude                                          Longitude
                                                                                                               Longitude
                91° 11’ 34.5842” W                                                                             Longitude
Water Depth (Feet): 5596’                                    MD (Feet):              TVD (Feet):               MD (Feet):          TVD (Feet):
                                                                                                               MD (Feet):          TVD (Feet):
Anchor Radius (if applicable) in feet: N/A                                                                     MD (Feet):          TVD (Feet):

Anchor Locations for Drilling Rig or Construction Barge (If anchor radius supplied above, not necessary)
Anchor Name          Area      Block   X Coordinate                  Y Coordinate                      Length of Anchor Chain on Seafloor
or No.
                                        X=                              Y=
                                        X=                              Y=
                                        X=                              Y=
                                        X=                              Y=
                                        X=                              Y=
                                        X=                              Y=
                                        X=                              Y=
                                        X=                           Y=




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                                                OCS PLAN INFORMATION FORM (CONTINUED)
                                                     Proposed Well/Structure Location
Well or Structure Name/Number (If renaming well or           Previously reviewed under an approved EP or             Yes      X   No
structure, reference previous name): Loc D                   DOCD?
Is this an existing well           Yes     X     No If this is an existing well or structure, list the
or structure?                                          Complex ID or API No.
Do you plan to use a subsea BOP or a surface BOP on a floating facility to conduct your proposed activities?     X      Yes             No
WCD info        For wells, volume of uncontrolled         For structures, volume of all storage and            API Gravity of     31.6°
                blowout (Bbls/day): 313,100               pipelines (Bbls): N/A                                fluid
                Surface Location                             Bottom-Hole Location (For Wells)                   Completion (For multiple completions,
                                                                                                                enter separate lines)
Lease No.       OCS-G 35879                                                                                     OCS
                                                                                                                OCS
Area Name      Green Canyon

Block No.      895

Blockline       N/S Departure:                 F N L          N/S Departure:                      F      L     N/S Departure:              F      L
Departures                                                                                                     N/S Departure:             F      L
(in feet)       3815.00’                                                                                       N/S Departure:             F      L
                E/W Departure:                 F E L          E/W Departure:                      F      L     E/W Departure:              F      L
                                                                                                               E/W Departure:             F       L
                4910.00’                                                                                       E/W Departure:             F      L
Lambert X-      X:                                           X:                                                X:
Y                                                                                                              X:
coordinates     2,228,530.00                                                                                   X:
                Y:                                           Y:                                                Y:
                                                                                                               Y:
                9,832,825.00                                                                                   Y:
Latitude/       Latitude                                     Latitude                                          Latitude
Longitude                                                                                                      Latitude
                27° 05’ 08.6280” N                                                                             Latitude
                Longitude                                    Longitude                                          Longitude
                                                                                                               Longitude
                91° 11’ 31.5050” W                                                                             Longitude
Water Depth (Feet): 5442’                                    MD (Feet):             TVD (Feet):                MD (Feet):          TVD (Feet):
                                                                                                               MD (Feet):          TVD (Feet):
Anchor Radius (if applicable) in feet: N/A                                                                     MD (Feet):          TVD (Feet):

Anchor Locations for Drilling Rig or Construction Barge (If anchor radius supplied above, not necessary)
Anchor Name          Area      Block   X Coordinate                  Y Coordinate                      Length of Anchor Chain on Seafloor
or No.
                                        X=                              Y=
                                        X=                              Y=
                                        X=                              Y=
                                        X=                              Y=
                                        X=                              Y=
                                        X=                              Y=
                                        X=                              Y=
                                        X=                           Y=




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                                              OCS PLAN INFORMATION FORM (CONTINUED)
Paperwork Reduction Act of 1995 Statement: The Paperwork Reduction Act of 1995 (44 U.S.C. 2501 et seq.) requires us to
inform you that BOEM collects this information as part of an applicant’s Exploration Plan or Development Operations
Coordination Document submitted for BOEM approval. We use the information to facilitate our review and data entry for OCS
plans. We will protect proprietary data according to the Freedom of Information Act and 30 CFR 550.197. An agency may not
conduct or sponsor, and a person is not required to respond to, a collection of information unless it displays a currently valid Office
of Management and Budget Control Number. Responses are mandatory (43 U.S.C. 1334). The public reporting burden for this
form is included in the burden for preparing Exploration Plans and Development Operations Coordination Documents. We
estimate that burden to average 600 hours with an accompanying EP, or 700 hours with an accompanying DPP or DOCD, including
the time for reviewing instructions, gathering and maintaining data, and completing and reviewing the forms associated with
subpart B. Direct comments regarding the burden estimate or any other aspect of this form to the Information Collection Clearance
Officer, Bureau of Ocean Energy Management, 45600 Woodland Road, Sterling, Virginia 20166.




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                     SERVICE FEE RECEIPT
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Brandon Hebert

From:                 notification@pay.gov
Sent:                 Wednesday, March 11, 2020 4:15 PM
To:                   Brandon Hebert
Subject:              Pay.gov Payment Confirmation: BOEM Exploration Plan - BF



CAUTION: This email is from an external source.


                An official email of the United States government




           Your payment has been submitted to Pay.gov and the details are below. If you have any
           questions regarding this payment, please contact Brenda Dickerson at (703) 787-1617 or
           BseeAccountsReceivable@bsee.gov.

             Application Name: BOEM Exploration Plan - BF
             Pay.gov Tracking ID: 26O63MD0
             Agency Tracking ID: 75973686206
             Transaction Type: Sale
             Transaction Date: 03/11/2020 05:15:11 PM EDT
             Account Holder Name: Eva Gravouilla
             Transaction Amount: $14,692.00
             Card Type: Visa
             Card Number: ************5796

             Region: Gulf of Mexico
             Contact: Brandon Hebert 985-666-0143
             Company Name/No: BOE Exploration & Production LLC, 03572
             Lease Number(s): 35879, , , ,
             Area-Block: Green Canyon GC, 895: , : , : , : ,
             Surface Locations: 4

           THIS IS AN AUTOMATED MESSAGE. PLEASE DO NOT REPLY.



                        Pay.gov is a program of the U.S. Department of the Treasury, Bureau of the Fiscal Service




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                                              APPENDIX B
                                         GENERAL INFORMATION

A) APPLICATIONS & PERMITS
Listed in the table below are the applications and/or permits that are required to be filed prior to
conducting the activities proposed in this plan:

           Application/Permit                   Issuing Agency                  Status
 Application for Permit to Drill (APD)               BSEE                      Pending
 Application for Permit to Modify (APM)              BSEE                      Pending

B) DRILLING FLUIDS
In accordance with BOEM guidance, the required drilling fluid information has been incorporated into
the Waste & Discharge tables which are included in the attachment(s) to the Waste & Discharge
Information appendix.

C) PRODUCTION
In accordance with NTL 2008-G04, this information is not applicable as this is an Exploration Plan.

D) OIL CHARACTERISTICS
In accordance with NTL 2008-G04, this information is not applicable as this is an Exploration Plan.

E) NEW OR UNUSUAL TECHNOLOGY
BOE Exploration & Production does not plan to use new or unusual technology to carry out the activities
proposed in this plan. Further, no new or unusual technology will be utilized in the event of oil spill
prevention, response or cleanup. The best available and safest technologies, as referred to in 30 CFR
250, will be incorporated as standard operating procedures to the extent that are practical and
applicable.

F) BONDING STATEMENT
The bond requirements for the activities and facilities proposed in this plan are satisfied by a $3,000,000
area-wide bond, furnished and maintained according to 30 CFR Part 556, Subpart I, and NTL No. 2015-
N04, “General Financial Assurance;” and additional security under 30 CFR Part 556, Subpart I, and NTL
2016-N01, “Requiring Additional Security.”

G) OIL SPILL FINANCIAL RESPONSIBILITY
BOE Exploration & Production, BOEM company number 03572, will demonstrate oil spill financial
responsibility for the activities/facilities proposed in this plan in accordance with 30 CFR Part 553 and
NTL 2008-N05, "Guidelines for Oil Spill Financial Responsibility for Covered Facilities."

H) DEEPWATER WELL CONTROL STATEMENT
BOE Exploration & Production (03572) has the financial capability to drill a relief well and conduct other
emergency well control operations.




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I) SUSPENSION OF PRODUCTION
In accordance with NTL 2008-G04, this information is not applicable as this is an Exploration Plan.

J) BLOWOUT SCENARIO
Information required by 30 CFR 550.243 (h) and referenced in NTL No. 2015-N01, “Information
Requirements for Exploration Plans, Development and Production Plans, and Development Operations
Coordination Documents on the OCS" are included in the attachments to this appendix.




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                     BLOWOUT SCENARIO
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                                         BLOWOUT SCENARIO
                                              GC 895



BLOWOUT SCENARIO

The following attachment provides a blowout scenario description, information regarding any oil spill,
WCD results and assumptions of potential spill and additional measures taken by BOE Exploration &
Production (BOE) first enhance the ability to prevent a blowout and secondly to manage a blowout
scenario if it occurs.

INFORMATION REQUIREMENTS

PROPOSED PROSPECT INFORMATION

 Well Surface Location         WD      X (NAD 27)     Y (NAD 27)         Latitude          Longitude
 GC 895 A*                     5584    2226500.00     9823000.00         27°03'31.6260"N   91°11'55.5170"W
 GC 895 B                      5572    2227550.00     9824760.00         27°03'48.9052"N   91°11'43.6254"W
 GC 895 C                      5596    2228339.00     9826742.00         27°04'8.4195"N    91°11'34.5842"W
 GC 895 D                      5442    228530.00      9832825.00         27°05'08.6280"N   91°11'31.5050"W
* Plan WCD Well

INFORMATION REQUIREMENTS

   A) Blowout scenario

   The proposed GC 895 wells to be drilled to potential outlined in the Geological and Geophysical
   Information Section of this plan utilizing a typical subsea wellhead system, conductor, surface and
   intermediate casing strings and a MODU rig with marine riser and a subsea BOP system. A
   hydrocarbon influx and a well control event occurring from the objective sand is modeled with no drill
   pipe or obstructions in the wellbore followed by a full failure of the subsea BOP’s (i.e. BOPS elements
   provide no restriction) and loss of well control at the seabed. The simulated flow and worst case
   discharge (WCD) results for all wells and the highest WCD is used for this unrestricted blowout
   scenario.

   B) Estimated flow rate of the potential blowout

     Category
     Type of Activity                                              Drilling
     Facility Location (area / block)                              GC 895 (surface location)
     Facility Designation                                          MODU
     Distance to Nearest Shoreline (nautical miles)                136 miles
     Uncontrolled Blowout (Volume per day)                         313,100 BOPD
     Type of Fluid                                                 Crude (31.6 API oil)

   C) Total volume and maximum duration of the potential blowout

     Duration of Flow (days)          99 days total (see Relief Well Response Estimate below)
     Total Volume of Spill (bbls)     ~25,348 MMBO based on 99 days of uncontrolled flow based
                                      on simulator models

   WCD volume is generated using geologic maps to drive OOIP volumes. In the event of a worst case
   discharge situation, there will be some gradual depletion in the reservoir. As a result, the well will
   gradually decline in production based on the transient reservoir model. The reported worst case
   discharge is based on these model assumptions rather than the WCD rate multiplied times the
   estimated relief well days.



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                                       BLOWOUT SCENARIO
                                            GC 895



 D) Assumptions and calculations used in determining the worst case discharge

 Submitted separately in the Proprietary Copy of this Plan - Omitted from Public Information Copies


 E) Potential for the well to bridge over

 Mechanical failure/collapse of the borehole in a blowout scenario is influenced by several factors
 including in-situ stress, rock strength and fluid velocities at the sand face. Given the substantial fluid
 velocities inherent in the WCD, and the scenario as defined where the formation is not supported by a
 cased and cemented wellbore, it is likely that the borehole will fall/collapse/bridge over within a span
 of a few days, significantly reducing the outflow of the rates. However, for this blowout scenario, no
 bridging is considered.

 F) Likelihood for intervention to stop blowout

 The likelihood of surface intervention to stop a blowout is based on some of the following equipment
 specific to potential MODU’s to be contracted for this well. It is reasonable to assume that the sooner
 BOE is able to respond to the initial blowout, the better likelihood there is to control and contain the
 event due to reduced pressures at the wellhead, less exposure to well fluids to eroding and
 compromising the well control equipment, and less exposure of hydrocarbons to the surface and
 greater probability of safeguarding personnel and equipment in an emergency situation. This
 equipment includes:

     •   Secondary Acoustic BOP Control System – typically fitted on DP MODU’s presently operating
         in the GOM. This system has the ability to communicate and function specific BOP controls
         from the surface in the event of a failure of the primary umbilical control system. This system
         typically can establish BOP controls from the surface acoustic system package on the rig or
         by deploying a second acoustic package from a separate vessel of opportunity. This system
         may not be included on all MODU’s such as 4th generation moored rigs. This system is
         typically configured to function the following:

             -   Blind/;shear ram close
             -   Pipe ram close
             -   LMRP disconnect

     •   ROV Intervention BOP Control System – includes one or more ROV intervention panels
         mounted on the subsea BOP’s located on the seabed allows a ROV utilizing standard ROV
         stabs to access and function the specific BOP controls. These functions will be tested at the
         surface as part of the required BOP stump test and selectively at the seafloor to ensure
         proper functionality. These function include the following (at a minimum):

             -   Blind/shear ram close
             -   Pipe ram close
             -   LMRP disconnect
             -   WH disconnect

     •   Deadman / Autoshear function – typically fitted on DP MODU’s and but to be on all MODU’s
         operating in the GOM according to new requirements, this equipment allows for an
         automated pre-programmed sequence of functions to close the casing shear rams and the
         blind/shear rams in the event of an inadvertent or emergency disconnect of the LMRP or loss
         of both hydraulic and electrical supply from the surface control system.



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                                         BLOWOUT SCENARIO
                                              GC 895



 In the event that the intervention systems for the subsea BOP’s fail, BOE will initiate call out of a
 secondary containment / surface intervention system supported by the HWCG well containment
 company of which BOE is a member. This system incorporates a capping stacks capable of being
 deployed from the back of a vessel of opportunity equipped with an ROV, or from the Helix Q4000 or
 Q5000 DP MODU. Based on the potential wellbore integrity concerns, a cap and flow system can be
 deployed from a range of vessels. This system is capable of handling flowback volumes of up to
 130,000 bbls of fluid per day and 220 MMSCF of gas per day. The vertical intervention work is
 contingent upon the condition of the blowing out well and what equipment is intact to access the
 wellbore for kill or containment operations  The available intervention equipment may also require
 modifications based on actual wellbore conditions. Standard equipment is available through the
 HWCG equipment to fit the wellhead and BOP stack profiles used for the drilling of the above
 mentioned well.



 G) Availability of rig to drill relief well, rig constraints and timing of rigs

  In the event of a blowout scenario that does not involve loss or damage to the rig such as an
 inadvertent disconnect of the BOP’s, then the existing contracted rig may be available for drilling the
 relief well and vertical intervention work. If the blowout scenario involves damage to the rig or loss of
 the BOP’s and riser, a replacement rig or rigs will be required.

 With the current activity level in the GOM, 20 to 25 deepwater MODU’S are potentially available to
 support the relief well drilling operations. Rig share and resource sharing agreements are in place
 between members of the HWCG as well as the larger Gulf of Mexico Operators Rig Share Agreement
 . BOE is a member of both groups. The ability to negotiate and contract an appropriate rig or rigs to
 drill relief wells is highly probable in a short period of time. If the rig or rigs are operating, the time to
 properly secure the well and mobe the rig to the relief well site location is estimated to be about 14
 days. Dynamically positioned (DP) MODU’s would be the preferred option due to the logistical
 advantage versus a moored MODU which may add complications due to the mooring spread.

  Most 4th, 5th and 6th generation drill ships or semi-submersible rigs in the USGOM would be suitable
 to drill a relief well. Therefore, the rig choice would be first available, quickest to mobilize and move
 into position offsetting the blow out well. A relief well would be drilled from an open water location
 about 1500’ south to southwest of the blowout well. The final rig location will be influenced by
 operator, contractor, BSEE and depth of intersect to insure safety of all personnel and equipment
 involved in the relief well effort.


 VESSELS OF OPPORTUNITY

 Based on the water depth restrictions for the proposed locations the following “Vessels of
 Opportunity” are presently available for utilization for intervention and containment and relief well
 operations. These may include service vessels and drilling rigs capable of working in the potential
 water depths and may include moored vessels and dynamically positioned vessels. The specific
 conditions of the intervention or relief well operations will dictate the “best fit” vessel to efficiently
 perform the desired results based on the blowout scenario. The list included below illustrates specific
 option that may vary according to the actual timing / availability at the time the vessels are needed.




                   OPERATION                     SPECIFIC VESSEL OF OPPORTUNITY


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 Intervention and Containment                     •   Helix Q4000 (DP Semi)
                                                  •   Helix Q5000 (DP Semi)
 Relief Well Drilling Rigs                        •   BOE has contractual agreements in place with HWCG,
                                                      a GOM Rig Share group – these agreements give BOE
                                                      access to any MODU operating in GOM
 ROV / Multi-Purpose Service Vessels              •   Oceaneering (numerous DP ROV vessels)
                                                  •   HOS Achiever, Iron Horse 1 and 2 (DP MPSV)
                                                  •   Helix Pipe Lay Vessel (equipped w/ 6” PL – 75,000’)
                                                  •   Other ROV Vessels – (Chouest, HOS, Fugro, Subsea 7)
 Shuttle Tanker / Barge Support                   •   American Eagle Tankers (AET)


 H) Measures taken to enhance ability to prevent blowout

 The measures to enhance the ability to prevent or reduce the likelihood of a blowout are largely
 based on proper planning and communication, identification of potential hazards, training and
 experience of personnel, use of good oil field practices and proper equipment that is properly
 maintained and inspected for executing drilling operations of the proposed well or wells to be drilled.

 When planning and designing the well, ample time is spent analyzing offset data, performing any
 needed earth modeling and identifying any potential drilling hazards or well specific conditions to
 safeguard the safety of the crews when well construction operations are underway. Once the design
 criteria and well design is established, the well design is modeled for the lifecycle of the wellbore to
 ensure potential failure modes are eliminated. A minimum of 2 independent barriers for both internal
 and external flow paths in addition to proper positive and negative testing of the barriers is part of
 BOE’s design and testing protocol.

 The proper training of crew members and awareness to identify and handle well control event is the
 best way prevent a blowout incident. Contractor’s personnel and service personnel training
 requirements are verified per regulatory requirements. Drills are performed frequently to verify crew
 training and improve reaction times.

 Good communication between rig personnel, office support personnel is critical to the success of the
 operations. Pre-spud meetings are conducted with rig crews and service providers to discuss, inform
 and as needed improve operations and well plans for safety and efficiency considerations. Daily
 meetings are conducted to discuss planning and potential hazards to ensure state of preparedness
 and behavior is enforced to create an informed and safe culture for the operations. Any changes in
 the planning and initial approved wellbore design is incorporated and communicated in a
 Management of Change (MOC) process to ensure continuity for all personnel.

 Use of established good oil field practices that safeguard crews and equipment are integrated to
 incorporate BOE’s, the contractor and service provider policies.

 Additional personnel and equipment will be used as needed to elevate awareness and provide real
 time monitoring of well conditions while drilling such as MWD/LWD/PWD tools used in the bottom
 hole assemblies. The tool configuration for each open hole section varies to optimize information
 gathered including the use of Formation-Pressure-While-Drilling (FPWD) tools to establish real time
 formation pressures and to be used to calibrates pore pressure models while drilling. Log information
 and pressure data is used by the drilling engineers, geologist and pore pressure engineers to
 maintain well control and reduced potential events such as well control events and loss circulation
 events.




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                                      BLOWOUT SCENARIO
                                           GC 895



 Onsite Mud loggers continuously monitor return drilling fluids, drill gas levels and cuttings as well as
 surface mud volumes and flow rates, rate of penetration and lithology/paleo to aid in understanding
 trends and geology being drilled. Remote monitoring of real time drilling parameters and evaluation
 of geologic markers and pore pressure indicators is used to identify potential well condition changes.

 Proper equipment maintenance and inspection program for same to before the equipment is required.
 Programmed equipment inspections and maintenance will be performed to ensure the equipment
 operability and condition. Operations will cease as needed in order to ensure equipment and well
 conditions are maintained and controlled for the safety of personnel, rig and subsurface equipment
 and the environment.


 I)   Measures to conduct effective and early intervention in the event of a blowout

 The following is provided to demonstrate the potential time needed for performing secondary
 intervention and drilling of a relief well to handle potential worst case discharge for the proposed
 prospect. Specific plans are integrated into the HWCG procedures to be approved and submitted
 with the Application for Permit to Drill. Equipment availability, backup equipment and adaptability to
 the potential scenarios will need to be addressed based on the initial site assessment of the seafloor
 conditions for intervention operations. Relief well equipment such as backup wellhead equipment
 and tubulars will be available in BOE’s inventory for immediate deployment as needed to address
 drilling the relief well(s).

 SITE SPECIFIC PROPOSED RELIEF WELL AND INTERVENTION PLANNING

 No platform was considered for drilling relief wells for this location due to location, water depth and
 lack of appropriate platform within the area. For this reason a moored or DP MODU will be preferred
 / required.


 RELIEF WELL RESPONSE TIME ESTIMATE

                                        OPERATION                                     TIME ESTIMATE
                                                                                         (DAYS)
  IMMEDIATE RESPONSE
     • safeguard personnel, render first-aid
     • make initial notifications                                                             1
     • implement short term intervention (if possible)
     • implement spill control
     • develop Initial Action Plan
  INTERIM REPSONSE
     • establish Onsite Command Center and Emergency Management Team
     • assess well control issues
     • mobilize people and equipment (Helix DW Containment System)                            4
     • implement short term intervention and containment (if possible)
     • develop Intervention Plan
     • initiate relief well planning
     • continue spill control measures
  INTERVENTION AND CONTAIMENT OPERATIONS
     • mobilize equipment and initiate intervention and containment operations
     • perform TA operations and mobilize relief wells rig(s)                                 14
     • finalize relief well plans, mobilize spud equipment, receive approvals


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                              BLOWOUT SCENARIO
                                   GC 895



    • continue spill control measures
 RELIEF WELL(S) OPERATIONS
    • continue intervention and containment measures
    • continue spill control measures                                       60
    • drill relief well (s)
 PERFORM HYDRAULIC KILL OPERATIONS / SECURE BLOWNOUT WELL
    • continue intervention and containment measures
    • continue spill control measures                                       20
    • perform hydraulic kill operations, monitor well, secure well
      ESTIMATED TOTAL DAYS OF UNCONTROLLED FLOW                             99
 SECURE RELIEF WELL(S) / PERFORM P&A / TA OPERATIONS / DEMOBE                30
                             TOTAL DAYS                                     129




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                                            APPENDIX C
                              GEOLOGICAL & GEOPHYSICAL INFORMATION

A) GEOLOGICAL DESCRIPTION
PROPRIETARY INFORMATION

B) STRUCTURE CONTOUR MAPS
Current structure maps drawn to the top of each prospective hydrocarbon sand, showing the location of
the proposed well(s) and location(s) of geological cross-sections are included in the attachment(s) to this
appendix of the proprietary information copy of this plan.

C) INTERPRETED 2D/3D SEISMIC CROSS SECTIONS
An interpreted 2D/3D seismic line cross section map is included for the proposed well(s) in the
attachment(s) to this appendix of the proprietary information copy of this plan.

D) GEOLOGICAL STRUCTURE CROSS SECTIONS
Geological structure cross-section markers showing the key horizons and objective sands for the
proposed well(s) location is included in the attachment(s) to this appendix of the proprietary
information copy of this plan.

E) SHALLOW HAZARDS REPORT
A shallow hazard report incorporating Green Canyon 895 was submitted to BOEM under separate cover
(Echo Offshore Report No. 17-022-50/1115). An archaeological report incorporating Green Canyon 988,
OCS-G 35417, was submitted to BOEM under separate cover (Echo Offshore Report No. 17-021-41).

F) SHALLOW HAZARDS ASSESSMENT
An assessment of any seafloor and subsurface geological and manmade features and conditions that
may adversely affect drilling operations for the proposed well(s) is included in the attachment(s) to this
appendix.

G) HIGH RESOLUTION SEISMIC LINES
High-resolution seismic lines for the proposed well(s) are included in the attachment(s) to this appendix
of the proprietary information copy of this plan

H) STRATIGRAPHIC COLUMN
A stratigraphic column from the seafloor to the proposed total depth of the proposed well(s) is included
in the attachment(s) to this appendix of the proprietary information copy of this plan.

I) TIME VS DEPTH TABLES
A time vs. depth table is included in the attachment(s) to this appendix of the proprietary information
copy of this plan

J) GEOCHEMICAL INFORMATION
In accordance with NTL 2008-G04, this information is not applicable to the activities proposed in this
plan as the subject area is within the boundaries of the Gulf of Mexico.




Initial Exploration Plan
Green Canyon 895, OCS-G 35879
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K) FUTURE G&G ACTIVITIES
In accordance with NTL 2008-G04, this information is not applicable to the activities proposed in this
plan as the subject area is within the boundaries of the Gulf of Mexico.




Initial Exploration Plan
Green Canyon 895, OCS-G 35879
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        SHALLOW HAZARDS ASSESSMENT
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                                                         Well Clearance Letter for
                                               BOE Exploration & Production LLC
                                                                 Public Copy

                                                                           Project:
                                             Block GC895, Offshore Gulf of Mexico



                                                                   Description:
                                                 Proposed GC895-A Well Location

                                                                   Project Number:
                                                               20-012-31/2018-103

                                                                     Report Status:
                                                                             Final
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                         REPORT AUTHORIZATION AND DISTRIBUTION


  Compilation                   Geophysics                                   L Fuentes




  Authorization                 Geophysics
                                                                             …………………
                                                                             A R Haigh


                                Quality Assurance
                                                                             …………………
                                                                             Matt Keith


  Revision       Date                      Title

  0              March 02, 2020            Final




  Distribution

  One digital copy (PDF)

  BOE Exploration & Production LLC
  300 Holiday Square Blvd,
  Suite 100
  Covington, LA 70433




  For the attention of
  Eva Gravouilla




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                                                Public Copy
Eva Gravouilla
BOE Exploration & Production LLC
300 Holiday Square Blvd,
Suite 100
Covington, LA 70433

Dear Mrs. Gravouilla:



Echo Offshore, LLC appreciates the opportunity to submit this Well Clearance letter based on a 3D
geohazard assessment covering Block GC895, Green Canyon protraction area. This assessment was
prepared utilizing 3D seismic data originally provided by Houston Energy, LP, in compliance with NTL Nos.
2008-G05, 2008-G04, and 2009-G40, by the Bureau of Ocean Energy Management (BOEM), Gulf of
Mexico Region. BOE Exploration & Production LLC is now the operator of the lease and has requested
that Echo Offshore provide this assessment of the referenced proposed well location.

This report has been prepared with due care, diligence, and with the skill reasonably expected of a reputable
contractor experienced in the types of work, carried out under the contract. As such, the findings in this
report are based on an interpretation of data which is a matter of opinion on which professionals may differ
and, unless clearly stated, is not a recommendation of any course of action.

Please be aware that further distribution of this report, in whole or part, or the use of the data for a purpose
not expressly stated within the contractual work scope is at the client’s sole risk, and it is recommended
that this disclaimer be included in any such distribution.

If we can be of further assistance, or if you have any questions, please do not hesitate to call.

We sincerely appreciate this opportunity to be of service to you.

                                                                 Very truly yours,




                                                                 C. D. Schempf, Jr.
                                                                 President



MK for CDS




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                                                           Location Map

                                                                                                                                       Mobile            Pensacola



                                                                                                                                          Viosca Knoll




                                                                                                                                        Viosca Knoll




Galveston Area


                                                                                                                  Mississippi Canyon




                                                                                         Ewing Bank




                                                                                                                                                         Lloyd Ridge
                                                                                                                      Atwater Valley
                               Garden Banks                            Green Canyon
       East Breaks




                                                                                 Study Area

                                                                                                                                                          Henderson
                                                                                                                           Lund
     Alaminos Canyon          Keathley Canyon                           Walker Ridge




                                                                                                                         Lund South
                                                                 Amery Terrace
                                      Sigsbee Escarpment


                                                                  Sources: Esri, GEBCO, NOAA, National Geographic, Garmin, HERE, Geonames.org, and other
                                                                  contributors
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    WELL CLEARANCE LETTER – PROPOSED GC895-A WELL LOCATION

                                                Public Copy
 March 02, 2020
 Bureau of Ocean Energy Management (MS 5230)
 Gulf of Mexico OCS Region
 1201 Elmwood Park Blvd.
 New Orleans, LA 70123-2394



RE: BOE Exploration & Production LLC
Proposed GC895-A
Block 895, Green Canyon
Offshore Gulf of Mexico
OCS-G-35879

Echo Offshore, LLC was contracted by BOE Exploration & Production LLC, to prepare a Well Clearance
Letter for the proposed GC895-A well in Block 895, Green Canyon Area (OCS-G-35879). This letter
addresses seafloor and shallow geologic conditions that may impact exploratory drilling operations within
2,000ft of the proposed well site. The depth limit of this site clearance assessment is at -8,792ft below sea
surface (3,208ft below seafloor). BOE Exploration & Production LLC plans to operate from a dynamically
positioned drilling module; therefore, an anchoring assessment is not required. Relevant letter-size chart
extracts, and data examples are presented with this Well Clearance Letter, plus annotated data examples
of the two nearest intersecting inlines and crosslines, the nearest sub-bottom profiler transect line, and the
side-scan sonar mosaic. This site clearance assessment is primarily based on the interpretation of an AUV
data set for seafloor and shallow soils and a 3D seismic data set for deeper geology. This assessment is
based on the area specific hazard assessment that has been produced under separate cover (Houston
Energy – Gardline Surveys Inc. Report No. 11115).

AUV Archaeological Investigation. The proposed activities occur within an area of the outer continental
shelf defined by BOEM as having a moderate archaeological resource potential (see NTL No.
2011-JOINT-G01). An archaeological investigation was performed across the wellsite area by Echo
Offshore on Nov. 21-27, 2017 using AUV geophysical data. An archaeological assessment of the proposed
well location based on this data set has been prepared.

3D Geophysical Survey. The 3D seismic dataset is of good quality and suitable for shallow hazard
assessment. Inlines are oriented northeast to southwest, have a numerical increment of one, and exhibit
a line spacing of 98.42ft. Crosslines are oriented northwest to southeast, have a numerical increment of
four and exhibit a line spacing of 82.02ft. Sample rate of the data was 4ft, and record length is 60,000ft.

The data presents an acceptable frequency response across the upper one second below seafloor, with an
equivalent effective frequency range at 50% power of 55-85Hz (Figure 11). The data exhibits a dominant
frequency in the upper one second of approximately 70Hz plus significant higher usable frequencies,
resulting in a mean vertical resolvability of typically 20ft and a layer detectability of 5ft.
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Several data types were provided, within two surveys: E Wave and E Octopus. The E Octopus survey data
was used primarily, and is characterized by the following collection and processing parameters and history,
based on the survey collection and processing phases:

    •    Modern WAZ data
    •    Spec. data widely licensed by many companies for exploration
    •    Using highest frequency product available “High-resolution sediment flood”, after 3 iterations of
         multiazimuth sediment tomography
    •    E-Octopus VII:
             o Shot 2010, Processed 2011
    •    E-Octopus II
             o Shot 2008, Processed 2008
    •    E-Octopus III
             o Shot 2009, Processed 2009
    •    Note that E-Oct II and III were merged together by WesternGeco

          E-Octopus VII
          Acquisition Parameters
          Recording System: Q-Marine*
          Energy Source: Single Source; 8,475 in.3
          Line Orientation: NE/SW
          Source Depth: 12m
          Streamer Configuration: Multi-streamer: 10 X 7,000m cables
          Streamer Depth: 12m
          Maximum Offset: 8,600m
          Sample Rate: 2ms
          Record Length: 14s
          DGF Receiver Interval: 12.5m
          Recording Bin Dimensions: 6.25 X60m
          Acquisition Completed: April 2010
          Processing Flow
          Q* point-receiver seismic acquisition and processing methodology
          Digital group forming (DGF): output 12.5m
          Navigation merge
          Calibrated marine source designature
          Anomalous amplitude attenuation
          Water velocity correction
          3D GSMP demultiple
          3 iterations of multiazimuth sediment tomography
          High-resolution sediment flow (pick top of salt 1)
          Salt flood 1(pick bottom salt 1)
          Salt body 1 (pick top of salt 2)
          Salt flood 1(pick bottom salt 2)
          Salt body 2
          Subsalt tomography (using ample gathers)
          Full salt velocity models
          RTM (Reverse Time Migration) and Kirchhoff migration

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          Processing completed: December 2011

          E-Octopus I & II
          Acquisition Parameters
          Recording System: Q-Marine*
          Energy Source: Single Source; 8,475 in.3
          Line Orientation: NE/SW
          Source Depth: 10m
          Streamer Configuration: Multi-streamer: 10 X 7,000m cables
          Streamer Depth: 12m
          Maximum Offset: 9,600m
          Sample Rate: 2ms
          Record Length: 14s
          DGF Receiver Interval: 12.5m
          Recording Bin Dimensions: 6.25 X60m
          Acquisition Completed: Phase I December 2006; Phase II: December 2008
          Processing Flow
          Q* point-receiver seismic acquisition and processing methodology
          Digital group forming (DGF): output 12.5m
          Navigation merge
          Calibrated marine source designature
          Anomalous amplitude attenuation
          Water velocity correction
          Inverse Q: phase only
          WEM demultiple
          3 iterations of multiazimuth sediment tomography (incorporating anistrophy)
          High-resolution sediment flow (pick top of salt 1)
          Salt flood 1(pick bottom salt 1)
          Salt body 1 (pick top of salt 2)
          Salt flood 1(pick bottom salt 2)
          Salt body 2
          Subsalt tomography (using ample gathers)
          Full salt velocity models
          Final WEM (Wave Equation Migration) 25Hz
          Processing completed: Phase I: April 2008; Phase II: December 2008




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          E-Octopus III
          Acquisition Parameters
          Recording System: Q-Marine*
          Energy Source: Single Source; 8,475 in.3
          Line Orientation: NE/SW
          Source Depth: 10m
          Streamer Configuration: Multi-streamer: 10 X 7,000m cables
          Streamer Depth: 12m
          Maximum Offset: 8,600m
          Sample Rate: 2ms
          Record Length: 14s
          DGF Receiver Interval: 12.5m
          Recording Bin Dimensions: 6.25 X60m
          Acquisition Completed: Phase I December 2008
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          Salt flood 1(pick bottom salt 1)
          Salt body 1 (pick top of salt 2)
          Salt flood 1(pick bottom salt 2)
          Salt body 2
          Subsalt tomography (using ample gathers)
          Full salt velocity models
          Final WEM (Wave Equation Migration) 25Hz
          Processing completed: May 2009

          Spectral whitening was applied to the data set as a post-processing technique to optimize
          interpretability.

           In summary, and with reference to NTL No. 2008-G04 and 2008-G05, the following statements are
           applicable to the seismic data:

In summary and with reference to NTL No. 2008-G04:

    a)     The data provides imaging of sufficient resolution of the shallow section allowing a clear analysis
           of the shallow conditions.
    b)     The data can be loaded to a workstation at 16-bit resolution or greater and is unscaled.
    c)     There is no trace or sample decimation.
    d)     The sample interval and bin size are maintained throughout the assessment area.

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Well Clearance Letter – Offshore Gulf of Mexico – Proposed GC895-A Well Location
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    e)     The data possess a frequency content of 50Hz or higher at 50% power in the first second below
           seafloor.
    f)     Seafloor reflection is free of gaps and is defined by a wavelet of stable shape and phase, allowing
           auto-tracking of the seafloor event with minimum user intervention and guidance.
    g)     There are no significant acquisition artifacts throughout the dataset.
    h)     Merge points in the data are marked by no time shifts and very minimal amplitude changes and
           are not a detriment to interpretation.
    i)     Processed bin sizes are 98.42ft x 82.02ft.
    j)     The sample rate of the data is 4ft.
    k)     There is no significant multiple energy.




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1.      LOCATION COORDINATES

1.1      Proposed GC895-A Well Location (OCS-G-35879).


             Proposed GC895-A Well Location
             Location Coordinates
             NAD 27 Datum - Clarke 1866 Ellipsoid         UTM Zone 15 - CM 93° West
             Latitude     27° 03’ 31.626” North Easting              2,226,500       US ft E
             Longitude    91° 11’ 55.517         West     Northing 9,823,000         US ft N
             FEL Green Canyon 895           6,940ft      US ft      Inline       5232
             FSL Green Canyon 895           2,200ft      US ft      Crossline    39025
             Water Depth: -5,584 ft.        Slope: 3.3° WSW
             Nearest Shoreline              118 Nautical Miles @ 06.47°
                                            A-Constitution TLP in
             Nearest Manned Platform                                     19.23 Nautical Miles @ 23.5°
                                            GC680




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2.      VELOCITY DATA

2.1      Seafloor Depth

           Seafloor depth around the proposed well was derived from multibeam echosounder data acquired
           as part of an AUV geophysical investigation over approximately 15.3 square miles of blocks GC895
           & GC939.

2.2      Sub-seafloor Depth

           3D seismic data was provided as a depth volume; therefore, no depth conversion was required.




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3.      SEAFLOOR CONDITIONS

3.1      Seafloor Depth

         Water depth at the Proposed GC895-A well location is -5,584ft below sea surface (Figure 1). The
         seafloor slopes to the WNW at 3.3°.

3.2      Seafloor Morphology and Man-Made Features

         The proposed GC895-A well location is in the south-central part of block GC895.

         Side-scan sonar data indicates the proposed well is located on an area of smooth seafloor
         interpreted as clays and silts with no significant variations within 2,000ft (Figure 6).

         A thin ENE/WSW trending debris flow, originating from a possible fluid expulsion feature several
         thousand feet to the southeast, occurs 960ft to the southeast of the proposed location. This feature
         does not present a problem or hazard to the proposed location. No other natural seafloor features
         were observed within a 2,000ft radius (Figure 6).

         In accordance with NTL stipulations for archaeological resources, an archeological survey was
         performed in the study area in November 2017. Several targets were identified within the study
         area. A side-scan target (Target #2) occurs approximately 606ft to the southeast of the proposed
         well. No features of archaeological resources were identified within 2,000ft of the proposed
         well location. All targets are interpreted as modern anthropogenic debris.

         There are no anomalous seafloor amplitudes indicative of hydrocarbon macroseep observed within
         a 2,000ft radius of the proposed location (Figure 3). No features or areas that could support
         high-density sensitive sessile benthic communities are located within 2,000ft of any mud or
         cuttings discharge location. The nearest area with the potential for benthic communities occurs
         2,145ft to the east.




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4.      SUB-SEAFLOOR CONDITIONS

4.1      Geology and Lithology

         The sub-seafloor geology has been divided into seven Units, A, B, C, D, E, F, and G, separated by
         Horizons, H10, H20, H30, H40, H50, H60, and Top of salt (Figures 8 through 10). Top of salt is
         the depth limit of investigation.

4.2      Unit A

         The lithology within Unit A from seafloor to -5,854ft below sea surface (270ft below seafloor) is
         characterized by well-layered, low and slightly moderate-amplitude reflectors interpreted as clays
         and silts with occasional sand interbeds. A <10ft thick sand interbed is located near the base of
         Unit A at -5,778ft below sea surface (194ft below seabed). Minor drilling fluid circulation and
         wellbore stability problems are possible at the level of the sand interbed.

         Sub bottom profiler data shows the upper part of Unit A consists of predominantly clays and silts
         (Figure 7).

         No risk of gas or shallow water flow is interpreted within Unit A at the location. Nearest risk of gas
         is located 1,128ft to the southwest with no connectivity to the proposed well location.

         Unit A appears conducive to conductor jetting with no hardgrounds or problems interpreted.

         Horizon H10 marks the base of Unit A occurring at -5,854ft below sea surface (270ft below
         seafloor).

4.3      Unit B

         Unit B, from -5,854ft to -6,122ft below sea surface (270ft to 538ft below seafloor), is characterized
         by well-layered, low- moderate-amplitude reflectors interpreted as clays, silts, and occasional
         sands.

         No risk of gas is predicted within Unit B at the proposed well location or within 2,000ft of the
         proposed well.

         The well-path will not traverse any faults within Unit B.

         Horizon H20 marks the base of Unit B occurring at -6,122ft below sea surface (538ft below
         seafloor).

4.4      Unit C

         The well-path will not traverse Unit C which is absent due to salt uplift.




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4.5      Unit D

         Unit D between -6,122ft below sea surface (538ft below seabed) to -7,402ft below sea surface
         (1,818ft below seabed) is interpreted as a higher energy mass-transport deposit, characterized by
         semi-continuous and discontinuous variable amplitude reflectors interpreted as clays, silts, and
         several sands. Sand interbeds within this interval may have been rapidly deposited with inadequate
         dewatering time and the proposed well is located within a regional sand fairway that occupies most
         of the study area (Figure 5).

         Several wells in the Green Canyon protraction area experienced shallow water flow risk but these
         are at least 15miles to the northeast of the proposed well. At the proposed well location some
         minor sand interbeds are considered probable and therefore a Slight Shallow Water Flow Risk
         is assigned throughout Unit D.

         In addition, due to the increased potential for encountering poorly consolidated granular material in
         Unit D, minor drilling fluid circulation and wellbore stability problems may also occur within Unit D.

         The well-path will not traverse any predicted risk of gas anomalies within Unit D, however, several
         risk of gas hazards occur within 2,000ft of the proposed well. The closest occurs 1,200ft to the
         NNE associated with a fault. The anomaly occurs on the northeast side of the fault and is
         disconnected from the proposed well location.

         A vertical borehole will penetrate two faults within Unit D at -6,323ft below sea surface (739ft below
         seabed) and at -7,263ft below sea surface (1,679ft below seabed). The shallower fault is minor,
         exhibiting only around 10ft of throw. Minor drilling fluid circulation and wellbore stability problems
         may occur in association with the shallower fault. The deeper fault is larger, exhibiting around 35ft
         of throw and downward connectivity to top of salt and upward connectivity to at or near seafloor.
         Given this setting, in addition to minor drilling fluid and wellbore stability problems, the connectivity
         to near seafloor may result in additional drilling fluid circulation problems if pressures over
         hydrostatic are exerted by the drilling fluid column.

         Horizon H40 marks the base of Unit D at -7,402ft below sea surface (1,818ft below seafloor).

4.6      Unit E

         Unit E, from -7,402ft to -7,676ft below sea surface (1,818ft to 2,092ft below seafloor), is
         characterized by slightly-chaotic, low and occasional moderate-amplitude reflectors interpreted as
         clays and silts with several sands. Minor drilling fluid circulation and wellbore stability problems
         may occur within Unit E.

         No risk of gas is predicted within Unit E at the proposed well or within 2,000ft.

         The well-path will not traverse any faults within Unit E.

         Horizon H50 marks the base of this unit and the base of this interpretation at -7,676ft below sea
         surface (2,092ft below seafloor).



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4.7      Unit F

         Unit F, from -7,676ft to -8,375ft below sea surface (2,092ft to 2,791ft below seafloor), is
         characterized by slightly-chaotic, low-amplitude reflectors interpreted as clays and silts with
         occasional sands.

         No risk of gas is predicted within Unit F at the proposed well or within 2,000ft.

         The well-path will not traverse any faults within Unit F.

         Horizon H60 marks the base of this unit and the base of this interpretation at -8,375ft below sea
         surface (2,791ft below seafloor).

4.8      Unit G

         Unit G, from -8,375ft to -8,792ft below sea surface (2,791ft to 2,823ft below seafloor), is
         characterized by slightly-chaotic, low and occasional moderate-amplitude reflectors interpreted as
         clays and silts with several sands. Minor drilling fluid circulation and minor wellbore stability
         problems may occur within this interval.

         No risk of gas is predicted within Unit G at the proposed well or within 2,000ft.

         The well-path will traverse a fault, exhibiting around 30ft of throw, within Unit G at -8,407ft below
         sea surface (2,823ft below seabed). The fault is limited in upward and downward connectivity but
         may still induce minor drilling fluid circulation and wellbore stability problems.

         Top of Salt marks the base of this unit and the base of this interpretation at -8,792ft below sea
         surface (3,208ft below seafloor).

4.9      Shallow Gas Assessment

         No risk of gas is interpreted at the proposed well location.

4.10     Shallow Water Flow Assessment

         Throughout Unit D, a Slight Shallow Water Flow Risk is interpreted from -6,122ft to -7,402ft below
         sea surface (538ft to 1,275ft below seafloor).




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5.      CONCLUSIONS AND RECOMMENDATIONS

         •   Seafloor

             No drilling hazards or problems are interpreted at seafloor.

             No features of potential biological or archaeological significance were identified within 2,000ft
             of the proposed well location.

             A side-scan sonar target (Target #2) occurs approximately 652ft to the southeast of the
             proposed well.

         •   Unit A

             Minor wellbore stability and drilling fluid circulation problems are possible at the level of a <10ft
             thick sand interbed at -5,778ft below sea surface (194ft below seabed).

         •   Unit B

             None Predicted.

         •   Unit D

             Throughout Unit D, a Slight Shallow Water Flow Risk is interpreted from -6,122ft to -7,402ft
             below sea surface (538ft to 1,818ft below seafloor). Appropriate drilling methodology should
             be applied to contain with a short-lived, non-persistent water flow event. Additionally, minor
             drilling and wellbore stability problems are possible within this interval.

             A vertical borehole will penetrate two faults within Unit D at -6,323ft below sea surface (739ft
             below seabed) and at -7,263ft below sea surface (1,679ft below seabed). Minor drilling fluid
             circulation and wellbore stability problems may occur in association with the shallower fault.
             Additional drilling fluid circulation problems may occur at the level of the deeper fault if
             pressures over hydrostatic are exerted by the drilling fluid column. Casing seats should avoid
             all fault intersections as formation integrity could be compromised.

         •   Unit E

             Minor drilling and wellbore stability problems are possible within Unit E.




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         •   Unit F

             None drilling hazards or problems are interpreted.

         •   Unit G

             Minor drilling and wellbore stability problems are possible within Unit G.

             The well-path will traverse a fault within Unit G at -8,407ft below sea surface (2,823ft below
             seabed). Minor wellbore stability and drilling fluid circulation problems may occur at the level
             of the fault. Casing seats should avoid all fault intersections as formation integrity could be
             compromised.




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Well Clearance Letter – Offshore Gulf of Mexico – Proposed GC895-A Well Location
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We appreciate the opportunity to work with you on this project and look forward to continuing as your
geohazards consultants. Please contact us if you have any questions or if we can be of further assistance.

 Sincerely,
 Echo Offshore, LLC




 Andrew Haigh                                                     Matt Keith
 Geophysical Manager                                              Quality Assurance
 Ocean Geo Solutions, Inc                                         Echo Offshore, LLC




 Copies Submitted: One digital copy (PDF) to Eva Gravouilla at BOE Exploration & Production LLC.

 Attachments:
 Proposed GC895-A Well Location
 Seafloor Depth Extract
 Seafloor Morphology Extract
 Seafloor Amplitude Extract
 Geohazard Summary Extract
 Sand Lithology Extract-Unit D




                                                           14
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                                                                                                                                             91°11'30"W
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                                                               GREEN CANYON 895 (OCS-G35879)



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                                                                       Seabed Depth Extract
                     ³         Proposed GC895-A Well Location                                                          -5575        Depth in feet below sea surface to
                               (2,226,500ft E / 9,823,000ft N)                                                                      seabed contoured at 25ft intervals
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                                                                                             Chart Scale 1" = 1,000'
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                                                                                                                                                            Figure 1
                                                                                 0          150     300                   600 Meters                       (GC895-A)
                              Seabed Depth (Feet)
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                                                             GREEN CANYON 895 (OCS-G35879)




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                                                               GREEN CANYON 939 (OCS-G36308)

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                                                                                                                                                                27°3'0"N




                                                               Seabed Morphology Extract
                     ³       Proposed GC895-A Well Location                                                        Seabed failure scarps
                             (2,226,500ft E / 9,823,000ft N)
               ³




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                     ³                                                                                             Area of mass transport deposits
                                                                                                                   Seabed mounds or areas of disturbed seabed
                                                                                                                   related to shallow subsurface hydrocarbons
                                                                                                                   and/or possible fluid expulsion sites. Sensitive
                                                                                                                   sessile benthic communities are possible.
                                                                                                                   Seabed furrow area


                                                                                                                   Side-scan sonar contact with 100ft
                                                                                                         S         exclusion zone




                                                                                        Chart Scale 1" = 1,000'
                                                                            0                 950                 1,900 Feet
                                                                                                                                                  Figure 2
                                                                            0          150       300                 600 Meters                  (GC895-A)
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                                                                                                                                    91°11'30"W
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                                                               GREEN CANYON 895 (OCS-G35879)




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                                                               Seabed Amplitude Extract
                     ³       Proposed GC895-A Well Location
                             (2,226,500ft E / 9,823,000ft N)
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                                                                                        Chart Scale 1" = 1,000'
                                                                            0                 950                 1,900 Feet
                                                                                                                                                  Figure 3
                                                                            0          150     300                   600 Meters                  (GC895-A)
                             Relative Seabed Amplitude
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                                                         GREEN CANYON 939 (OCS-G36308)

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                                                        Geohazard Summary Extract
   ³           Proposed GC895-A Well Location                     Seabed failure scarps                                        Slight and Moderate Risk
               (2,226,500ft E / 9,823,000ft N)                                                                                 of Gas within Unit A
³




   ®
       ³




                                                                  Area of mass transport deposits
   ³
                                                                                                                               Slight, Moderate, and High
                                                                  Seabed mounds or areas of disturbed                          Risk of Gas within Unit B
                                                                  seabed related to shallow subsurface
                                                                  hydrocarbons and/or possible fluid                           Slight, Moderate, and High
                                                                  expulsion sites. Sensitive sessile                           Risk of Gas within Unit C
                                                                  benthic communities are possible.
                                                                                                                               Moderate and High Risk of
                                                                  Seabed furrow area                                           Gas within Unit D

                                                                                                                               Slight Risk of Gas within Unit F
                                                             S    Side-scan sonar contact with
                                                                  100ft exclusion zone




                                                                                    Chart Scale 1" = 1,000'
                                                                        0                 950                 1,900 Feet
                                                                                                                                              Figure 4
                                                                        0          150     300                   600 Meters                  (GC895-A)
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                                                                       91°12'0"W




                                                                                                                                    91°11'30"W
9,826,000
                                                                                                                                                              27°4'0"N




                                                             GREEN CANYON 895 (OCS-G35879)




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                                                                       Proposed GC895-A Well
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                                                               GREEN CANYON 939 (OCS-G36308)

9,820,000
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                                                  Sand-Prone Lithology Extract (Unit D)
                     ³       Proposed GC895-A Well Location                                                              Predicted sands within Unit D
                             (2,226,500ft E / 9,823,000ft N)
               ³




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                                                                                        Chart Scale 1" = 1,000'
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                                                                                                                                                  Figure 5
                                                                            0          150     300                   600 Meters                  (GC895-A)
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                                                         Well Clearance Letter for
                                               BOE Exploration & Production LLC
                                                                 Public Copy

                                                                           Project:
                                             Block GC895, Offshore Gulf of Mexico



                                                                   Description:
                                                 Proposed GC895-B Well Location

                                                                   Project Number:
                                                               20-012-31/2018-104

                                                                     Report Status:
                                                                             Final
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BOE Exploration & Production LLC
Well Clearance Letter – Offshore Gulf of Mexico – Proposed GC895-B Well Location
Report 20-012-31/2018-104


                         REPORT AUTHORIZATION AND DISTRIBUTION


  Compilation                   Geophysics                                   L Fuentes




  Authorization                 Geophysics
                                                                             …………………
                                                                             A R Haigh


                                Quality Assurance
                                                                             …………………
                                                                             Matt Keith


  Revision       Date                      Title

  0              March 2, 2020             Final




  Distribution

  One digital copy (PDF)

  BOE Exploration & Production LLC
  300 Holiday Square Blvd,
  Suite 100
  Covington, LA 70433




  For the attention of
  Eva Gravouilla




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BOE Exploration & Production LLC
Well Clearance Letter – Offshore Gulf of Mexico – Proposed GC895-B Well Location
Report 20-012-31/2018-104



                                                Public Copy
Eva Gravouilla
BOE Exploration & Production LLC
300 Holiday Square Blvd,
Suite 100
Covington, LA 70433

Dear Mrs. Gravouilla:



Echo Offshore, LLC appreciates the opportunity to submit this Well Clearance letter based on a 3D
geohazard assessment covering Block GC895, Green Canyon protraction area. This assessment was
prepared utilizing 3D seismic data originally provided by Houston Energy, LP, in compliance with NTL Nos.
2008-G05, 2008-G04, and 2009-G40, by the Bureau of Ocean Energy Management (BOEM), Gulf of
Mexico Region. BOE Exploration & Production LLC is now the operator of the lease and has requested
that Echo Offshore provide this assessment of the referenced proposed well location.

This report has been prepared with due care, diligence, and with the skill reasonably expected of a reputable
contractor experienced in the types of work, carried out under the contract. As such, the findings in this
report are based on an interpretation of data which is a matter of opinion on which professionals may differ
and, unless clearly stated, is not a recommendation of any course of action.

Please be aware that further distribution of this report, in whole or part, or the use of the data for a purpose
not expressly stated within the contractual work scope is at the client’s sole risk, and it is recommended
that this disclaimer be included in any such distribution.

If we can be of further assistance, or if you have any questions, please do not hesitate to call.

We sincerely appreciate this opportunity to be of service to you.

                                                                 Very truly yours,




                                                                 C. D. Schempf, Jr.
                                                                 President



MK for CDS




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                                                           Location Map

                                                                                                                                       Mobile            Pensacola



                                                                                                                                          Viosca Knoll




                                                                                                                                        Viosca Knoll




Galveston Area


                                                                                                                  Mississippi Canyon




                                                                                         Ewing Bank




                                                                                                                                                         Lloyd Ridge
                                                                                                                      Atwater Valley
                               Garden Banks                            Green Canyon
       East Breaks




                                                                                 Study Area

                                                                                                                                                          Henderson
                                                                                                                           Lund
     Alaminos Canyon          Keathley Canyon                           Walker Ridge




                                                                                                                         Lund South
                                                                 Amery Terrace
                                      Sigsbee Escarpment


                                                                  Sources: Esri, GEBCO, NOAA, National Geographic, Garmin, HERE, Geonames.org, and other
                                                                  contributors
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    WELL CLEARANCE LETTER – PROPOSED GC895-B WELL LOCATION
                                              PUBLIC COPY

 March 02, 2020
 Bureau of Ocean Energy Management (MS 5230)
 Gulf of Mexico OCS Region
 1201 Elmwood Park Blvd.
 New Orleans, LA 70123-2394



RE: BOE Exploration & Production LLC
Proposed GC895-B
Block 895, Green Canyon
Offshore Gulf of Mexico
OCS-G-35879

Echo Offshore, LLC was contracted by BOE Exploration & Production LLC, to prepare a Well Clearance
Letter for the proposed GC895-B well in Block 895, Green Canyon Area (OCS-G-35879). This letter
addresses seafloor and shallow geologic conditions that may impact exploratory drilling operations within
2,000ft of the proposed well site. The depth limit of this site clearance assessment is at -8,710ft below sea
surface (3,138ft below seafloor). BOE Exploration & Production LLC plans to operate from a dynamically
positioned drilling module; therefore, an anchoring assessment is not required. Relevant letter-size chart
extracts, data examples are presented with this Well Clearance Letter, plus annotated data examples of
the two nearest intersecting inlines and crosslines, the nearest sub-bottom profiler transect line, and the
side-scan sonar mosaic. This site clearance assessment is primarily based on the interpretation of and
AUV data set for seafloor and shallow soils and a 3D seismic data set for deeper geology. This assessment
is based on the area specific hazard assessment that has been produced under separate cover (Houston
Energy – Gardline Surveys Inc. Report No. 11115).

AUV Archaeological Investigation. The proposed activities occur within an area of the outer continental
shelf defined by BOEM as having a moderate archaeological resource potential (see NTL No.
2011-JOINT-G01). An archaeological investigation was performed across the wellsite area by Echo
Offshore on Nov. 21-27, 2017 using AUV geophysical data. An archaeological assessment of the proposed
well location based on this data set has been prepared.

3D Geophysical Survey. The 3D seismic dataset is of good quality and suitable for shallow hazard
assessment. Inlines are oriented northeast to southwest, have a numerical increment of one, and exhibit
a line spacing of 98.42ft. Crosslines are oriented northwest to southeast, have a numerical increment of
four and exhibit a line spacing of 82.02ft. Sample rate of the data was 4ft, and record length is 60,000ft.

The data presents an acceptable frequency response across the upper one second below seafloor, with an
equivalent effective frequency range at 50% power of 55-85Hz (Figure 11). The data exhibits a dominant
frequency in the upper one second of approximately 70Hz plus significant higher usable frequencies,
resulting in a mean vertical resolvability of typically 20ft and a layer detectability of 5ft.
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Several data types were provided, within two surveys: E Wave and E Octopus. The E Octopus survey was
used primarily, and is characterized by the following collection and processing parameters and history, based
on the survey collection and processing phases:

    •    Modern WAZ data
    •    Spec. data widely licensed by many companies for exploration
    •    Using highest frequency product available “High-resolution sediment flood”, after 3 iterations of
         multiazimuth sediment tomography
    •    E-Octopus VII:
             o Shot 2010, Processed 2011
    •    E-Octopus II
             o Shot 2008, Processed 2008
    •    E-Octopus III
             o Shot 2009, Processed 2009
    •    Note that E-Oct II and III were merged together by WesternGeco

          E-Octopus VII
          Acquisition Parameters
          Recording System: Q-Marine*
          Energy Source: Single Source; 8,475 in.3
          Line Orientation: NE/SW
          Source Depth: 12m
          Streamer Configuration: Multi-streamer: 10 X 7,000m cables
          Streamer Depth: 12m
          Maximum Offset: 8,600m
          Sample Rate: 2ms
          Record Length: 14s
          DGF Receiver Interval: 12.5m
          Recording Bin Dimensions: 6.25 X60m
          Acquisition Completed: April 2010
          Processing Flow
          Q* point-receiver seismic acquisition and processing methodology
          Digital group forming (DGF): output 12.5m
          Navigation merge
          Calibrated marine source designature
          Anomalous amplitude attenuation
          Water velocity correction
          3D GSMP demultiple
          3 iterations of multiazimuth sediment tomography
          High-resolution sediment flow (pick top of salt 1)
          Salt flood 1(pick bottom salt 1)
          Salt body 1 (pick top of salt 2)
          Salt flood 1(pick bottom salt 2)
          Salt body 2
          Subsalt tomography (using ample gathers)
          Full salt velocity models
          RTM (Reverse Time Migration) and Kirchhoff migration

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          Processing completed: December 2011

          E-Octopus I & II
          Acquisition Parameters
          Recording System: Q-Marine*
          Energy Source: Single Source; 8,475 in.3
          Line Orientation: NE/SW
          Source Depth: 10m
          Streamer Configuration: Multi-streamer: 10 X 7,000m cables
          Streamer Depth: 12m
          Maximum Offset: 9,600m
          Sample Rate: 2ms
          Record Length: 14s
          DGF Receiver Interval: 12.5m
          Recording Bin Dimensions: 6.25 X60m
          Acquisition Completed: Phase I December 2006; Phase II: December 2008
          Processing Flow
          Q* point-receiver seismic acquisition and processing methodology
          Digital group forming (DGF): output 12.5m
          Navigation merge
          Calibrated marine source designature
          Anomalous amplitude attenuation
          Water velocity correction
          Inverse Q: phase only
          WEM demultiple
          3 iterations of multiazimuth sediment tomography (incorporating anistrophy)
          High-resolution sediment flow (pick top of salt 1)
          Salt flood 1(pick bottom salt 1)
          Salt body 1 (pick top of salt 2)
          Salt flood 1(pick bottom salt 2)
          Salt body 2
          Subsalt tomography (using ample gathers)
          Full salt velocity models
          Final WEM (Wave Equation Migration) 25Hz
          Processing completed: Phase I: April 2008; Phase II: December 2008




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          E-Octopus III
          Acquisition Parameters
          Recording System: Q-Marine*
          Energy Source: Single Source; 8,475 in.3
          Line Orientation: NE/SW
          Source Depth: 10m
          Streamer Configuration: Multi-streamer: 10 X 7,000m cables
          Streamer Depth: 12m
          Maximum Offset: 8,600m
          Sample Rate: 2ms
          Record Length: 14s
          DGF Receiver Interval: 12.5m
          Recording Bin Dimensions: 6.25 X60m
          Acquisition Completed: Phase I December 2008
          Processing Flow
          Q* point-receiver seismic acquisition and processing methodology
          Digital group forming (DGF): output 12.5m
          Navigation merge
          Calibrated marine source designature
          Anomalous amplitude attenuation
          Water velocity correction
          Inverse Q: phase only
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          3 iterations of multiazimuth sediment tomography (incorporating anistrophy)
          High-resolution sediment flow (pick top of salt 1)
          Salt flood 1(pick bottom salt 1)
          Salt body 1 (pick top of salt 2)
          Salt flood 1(pick bottom salt 2)
          Salt body 2
          Subsalt tomography (using ample gathers)
          Full salt velocity models
          Final WEM (Wave Equation Migration) 25Hz
          Processing completed: May 2009

          Spectral whitening was applied to the data set as a post-processing technique to optimize
          interpretability.

           In summary, and with reference to NTL No. 2008-G04 and 2008-G05, the following statements are
           applicable to the seismic data:

In summary and with reference to NTL No. 2008-G04:

    a)     The data provides imaging of sufficient resolution of the shallow section allowing a clear analysis
           of the shallow conditions.
    b)     The data can be loaded to a workstation at 16-bit resolution or greater and is unscaled.
    c)     There is no trace or sample decimation.
    d)     The sample interval and bin size are maintained throughout the assessment area.

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    e)     The data possess a frequency content of 50Hz or higher at 50% power in the first second below
           seafloor.
    f)     Seafloor reflection is free of gaps and is defined by a wavelet of stable shape and phase, allowing
           auto-tracking of the seafloor event with minimum user intervention and guidance.
    g)     There are no significant acquisition artifacts throughout the dataset.
    h)     Merge points in the data are marked by no time shifts and very minimal amplitude changes and
           are not a detriment to interpretation.
    i)     Processed bin sizes are 98.42ft x 82.02ft.
    j)     The sample rate of the data is 4ft.
    k)     There is no significant multiple energy.




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1.      LOCATION COORDINATES

1.1      Proposed GC895-B Well Location (OCS-G-35879).


             Proposed GC895-B Well Location
             Location Coordinates
             NAD 27 Datum - Clarke 1866 Ellipsoid         UTM Zone 15 - CM 93° West
             Latitude     27° 03’ 48.905” North Easting              2,227,550       US ft E
             Longitude    91° 11’ 43.625         West     Northing 9,824,760         US ft N
             FEL Green Canyon 895           5,890ft      US ft      Inline       5227
             FSL Green Canyon 895           3,960ft      US ft      Crossline    39121
             Water Depth: -5,572 ft.        Slope: 2.1° northeast
             Nearest Shoreline              118 Nautical Miles @ 06.47°
                                            A-Constitution TLP in
             Nearest Manned Platform                                     18.83 Nautical Miles @ 23.5°
                                            GC680




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2.      VELOCITY DATA

2.1      Seafloor Depth

           Seafloor depth around the proposed well was derived from multibeam echosounder data acquired
           as part of an AUV geophysical investigation over approximately 15.3 square miles of blocks GC895
           & GC939.

2.2      Sub-seafloor Depth

           3D seismic data was provided as a depth volume; therefore, no depth conversion was required.




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3.      SEAFLOOR CONDITIONS

3.1      Seafloor Depth

         Water depth at the Proposed GC895-B well location is -5,572ft below sea surface (Figure 1). The
         seafloor slopes to the northeast at 2.1°.

3.2      Seafloor Morphology and Man-Made Features

         The proposed GC895-B well location is in the east-central part of block GC895.

         Side-scan sonar data indicates the proposed well is located on an area of smooth seafloor
         interpreted as clays and silts with no significant variations within 2,000ft. No major seabed features
         were identified within 2,000ft (Figure 6).

         In accordance with NTL stipulations for archaeological resources, an archeological survey was
         performed in the study area in November 2017. Several targets were identified within the study
         area. No side scan targets occur within 2,000ft of the proposed well. No features of
         archaeological resources were identified within 2,000ft of the proposed well location. All
         targets are interpreted as modern anthropogenic debris.

         There are no anomalous seafloor amplitudes indicative of hydrocarbon macroseep observed within
         a 2,000ft radius of the proposed location (Figure 3). No features or areas that could support
         high-density sensitive sessile benthic communities are located within 2,000ft of any mud or
         cuttings discharge location. The nearest area with the potential for benthic communities occurs
         2,015ft to the southeast.




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4.      SUB-SEAFLOOR CONDITIONS

4.1      Geology and Lithology

         The sub-seafloor geology has been divided into seven Units, A, B, C, D, E, F, and G, separated by
         Horizons, H10, H20, H30, H40, H50, H60, and Top of salt (Figures 8 through 10). Top of Salt is
         the depth limit of investigation.

4.2      Unit A

         The lithology within Unit A from seafloor to -5,842ft below sea surface (270ft below seafloor) is
         characterized by well-layered, low and slightly moderate-amplitude reflectors interpreted as clays
         and silts with occasional sand interbeds.

         Seismic data profiler shows the upper part of Unit A consists of clays and silts overlying a well-
         layered stratum interpreted as clays and silts (Figure 7).

         No risk of gas or shallow water flow is interpreted within Unit A at the location. Nearest risk of gas
         is located 1,615ft to the northeast with no connectivity to the proposed well location.

         Unit A appears conducive to conductor jetting.

         Horizon H10 marks the base of Unit A occurring at -5,842ft below sea surface (270ft below
         seafloor).

4.3      Unit B

         Unit B, from -5,842ft to -6,344ft below sea surface (270ft to 772ft below seafloor), is characterized
         by well-layered and slightly chaotic, low and occasional moderate-amplitude reflectors interpreted
         as clays, silts, and occasional sands.

         No risk of gas is predicted within Unit B at the proposed well location or within 2,000ft of the
         proposed well.

         The well-path will not traverse any faults within Unit B.

         Horizon H20 marks the base of Unit B occurring at -6,344ft below sea surface (772ft below
         seafloor).

4.4      Unit C

         The well-path will not traverse Unit C which is absent due to salt uplift.




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4.5      Unit D

         Unit D between -6,344ft below sea surface (722ft below seabed) to -7,587ft below sea surface
         (2,015ft below seabed) is interpreted as a higher energy mass-transport deposit, characterized by
         semi-continuous and discontinuous variable amplitude reflectors interpreted as clays, silts, and
         several sands. Sand interbeds within this interval may have been rapidly deposited with inadequate
         dewatering time and the proposed well is located within a regional sand fairway that occupies most
         of the study area (Figure 5).

         Several wells in the Green Canyon protraction area experienced shallow water flow risk but these
         are at least 15miles to the northeast of the proposed well. At the proposed well location some
         minor sand interbeds are considered probable and therefore a Slight Shallow Water Flow Risk
         is assigned throughout Unit D.

         In addition, due to the increased potential for encountering poorly consolidated granular material in
         Unit D, minor drilling fluid circulation and wellbore stability problems may also occur within Unit D.

         The well-path will not traverse any predicted risk of gas anomalies within Unit D, however, several
         risk of gas hazards occur within 2,000ft of the proposed well. The closest occurs 410ft northwest.
         This anomaly is interpreted as a slight risk of gas associated with a sandy interbed / lens. The
         anomaly is downdip of location, but there is possible connectivity of the sand interbed to the
         proposed well location. Although this sand interbed does not present direct hydrocarbon indicators
         at the well location, Drilling Caution should be considered at this level (-6,440ft below sea surface,
         868ft below seabed).

         A vertical borehole will penetrate two faults within Unit D at -6,786ft below sea surface (1,214ft
         below seabed) and at -7,063ft below sea surface (1,491ft below seabed). Both faults are relatively
         minor, and exhibit around 20ft of throw. Minor drilling fluid circulation and wellbore stability
         problems may occur in association with the faults.

         Horizon H40 marks the base of Unit D at -7,587ft below sea surface (2,015ft below seafloor).

         A fault occurs at the level of Horizon H40 at -7,587ft below sea surface (2,015ft below seafloor)
         exhibiting an estimated 40ft of throw. This fault is connected upwards to near seabed levels. Given
         this setting, drilling fluid circulation problems may occur if pressures over hydrostatic are exerted
         by the drilling fluid column. Minor wellbore stability problems may occur in association with the
         fault.

4.6      Unit E

         Unit E, from -7,587ft to -7,809ft below sea surface (2,015ft to 2,237ft below seafloor), is
         characterized by slightly chaotic, low and occasional moderate-amplitude reflectors interpreted as
         clays and silts with occasional sands.

         No drilling hazards or problems are interpreted within Unit E.

         The well-path will not traverse any faults within Unit E.

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         Horizon H50 marks the base of this unit and the base of this interpretation at -7,809ft below sea
         surface (2,237ft below seafloor).

4.7      Unit F

         Unit F, from -7,809ft to -8,388ft below sea surface (2,237ft to 2,816ft below seafloor), is
         characterized by slightly chaotic, low-amplitude reflectors interpreted as clays and silts with
         occasional sands.

         No drilling hazards or problems are interpreted within Unit F.

         Horizon H60 marks the base of this unit and the base of this interpretation at -8,388ft below sea
         surface (2,816ft below seafloor).

4.8      Unit G

         Unit G, from -8,388ft to -8,710ft below sea surface (2,816ft to 3,138ft below seafloor), is
         characterized by slightly chaotic, low and occasional moderate-amplitude reflectors interpreted as
         clays and silts with occasional sands.

         No drilling hazards or problems are interpreted within Unit G.

         Top of Salt marks the base of this unit and the base of this interpretation at -8,710ft below sea
         surface (3,138ft below seafloor).

4.9      Shallow Gas Assessment

         Although there are no anomalies indicative of shallow gas at the proposed well location, a sand
         interbed within Unit D, occurring at -6,440ft below sea surface (868ft below seabed) is connected
         to an anomaly considered a Slight Risk of Gas 410ft to the northwest.

4.10     Shallow Water Flow Assessment

         Throughout Unit D a Slight Shallow Water Flow Risk is interpreted from -6,344ft to -7,587ft below
         sea surface (772ft to 2,015ft below seafloor).




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5.      CONCLUSIONS AND RECOMMENDATIONS

         •   Seafloor

             No drilling hazards or problems are interpreted at seafloor.

             No features of potential biological or archaeological significance were identified within 2,000ft
             of the proposed well location.

             No side-scan sonar targets were identified within 2,000ft of the proposed well.

         •   Unit A

             No drilling hazards or problems interpreted.

         •   Unit B

             No drilling hazards or problems interpreted.

         •   Unit D

             A sand interbed, estimated to be around 20ft thick, within Unit D, occurring at -6,440ft below
             sea surface (868ft below seabed) is connected to an anomaly considered a Slight Risk of Gas
             410ft to the northwest. Drilling Caution is advised.

             Throughout Unit D, a Slight Shallow Water Flow Risk is interpreted from -6,344ft to -7,587ft
             below sea surface (772ft to 2,015ft below seafloor). Appropriate drilling methodology should
             be applied to contain a short-lived, non-persistent water flow event. Additionally, minor drilling
             and wellbore stability problems are possible.

             A vertical borehole will penetrate two faults within Unit D at -6,786ft below sea surface (1,214ft
             below seabed) and at -7,063ft below sea surface (1,491ft below seabed). Minor drilling fluid
             circulation and wellbore stability problems may occur in association with the faults.

             A larger fault occurs at the level of Horizon H40 at -7,587ft below sea surface (2,015ft below
             seafloor). This fault is connected to near seabed and drilling fluid circulation problems may
             occur if pressures over hydrostatic are exerted by the drilling fluid column. In addition, minor
             wellbore stability problems may occur. Casing seats should avoid all fault intersections as
             formation integrity could be compromised.

         •   Unit E

             No drilling hazards or problems are interpreted.




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         •   Unit F

             No drilling hazards or problems are interpreted

         •   Unit G

             No drilling hazards or problems are interpreted




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Well Clearance Letter – Offshore Gulf of Mexico – Proposed GC895-B Well Location
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We appreciate the opportunity to work with you on this project and look forward to continuing as your
geohazards consultants. Please contact us if you have any questions or if we can be of further assistance.

 Sincerely,
 Echo Offshore, LLC




 Andrew Haigh                                                     Matt Keith
 Geophysical Manager                                              Quality Assurance
 Ocean Geo Solutions, Inc                                         Echo Offshore, LLC




 Copies Submitted: One digital copy (PDF) to Eva Gravouilla at BOE Exploration & Production LLC.

 Attachments:
 Proposed GC895-B Well Location
 Seafloor Depth Extract
 Seafloor Morphology Extract
 Seafloor Amplitude Extract
 Geohazard Summary Extract
 Sand Lithology Extract-Unit D




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            Case 3:23-cv-00342               Document 1                 Filed on 10/13/23 in TXSD                         Page 95 of 333



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                                                              GREEN CANYON 895 (OCS-G35879)




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Case 3:23-cv-00342   Document 1   Filed on 10/13/23 in TXSD     Page 96 of 333




                                                         Well Clearance Letter for
                                               BOE Exploration & Production LLC
                                                                 Public Copy

                                                                           Project:
                                             Block GC895, Offshore Gulf of Mexico



                                                                   Description:
                                                 Proposed GC895-C Well Location

                                                                   Project Number:
                                                               20-012-31/2020-243

                                                                     Report Status:
                                                                             Final
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BOE Exploration & Production LLC
Well Clearance Letter – Offshore Gulf of Mexico – Proposed GC895-C Well Location
Report 20-012-31/2018-243


                         REPORT AUTHORIZATION AND DISTRIBUTION


  Compilation                   Geophysics                                   L Fuentes




  Authorization                 Geophysics
                                                                             …………………
                                                                             A R Haigh


                                Quality Assurance
                                                                             …………………
                                                                             Matt Keith


  Revision       Date                      Title

  0              March 02, 2020            Final




  Distribution

  One digital copy (PDF)

  BOE Exploration & Production LLC
  300 Holiday Square Blvd,
  Suite 100
  Covington, LA 70433




  For the attention of
  Eva Gravouilla




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BOE Exploration & Production LLC
Well Clearance Letter – Offshore Gulf of Mexico – Proposed GC895-C Well Location
Report 20-012-31/2018-243



                                                Public Copy
Eva Gravouilla
BOE Exploration & Production LLC
300 Holiday Square Blvd,
Suite 100
Covington, LA 70433

Dear Mrs. Gravouilla:



Echo Offshore, LLC appreciates the opportunity to submit this Well Clearance letter based on a 3D
geohazard assessment covering Block GC895, Green Canyon protraction area. This assessment was
prepared utilizing 3D seismic data originally provided by Houston Energy LP, in compliance with NTL Nos.
2008-G05, 2008-G04, and 2009-G40, by the Bureau of Ocean Energy Management (BOEM), Gulf of
Mexico Region. BOE Exploration & Production LLC is now the operator of the lease and has requested
that Echo Offshore provide this assessment of the referenced proposed well location.

This report has been prepared with due care, diligence, and with the skill reasonably expected of a reputable
contractor experienced in the types of work, carried out under the contract. As such, the findings in this
report are based on an interpretation of data which is a matter of opinion on which professionals may differ
and, unless clearly stated, is not a recommendation of any course of action.

Please be aware that further distribution of this report, in whole or part, or the use of the data for a purpose
not expressly stated within the contractual work scope is at the client’s sole risk, and it is recommended
that this disclaimer be included in any such distribution.

If we can be of further assistance, or if you have any questions, please do not hesitate to call.

We sincerely appreciate this opportunity to be of service to you.

                                                                 Very truly yours,




                                                                 C. D. Schempf, Jr.
                                                                 President



MK for CDS




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                       Case 3:23-cv-00342       Document 1      Filed on 10/13/23 in TXSD             Page 99 of 333

                                                           Location Map

                                                                                                                                       Mobile            Pensacola



                                                                                                                                          Viosca Knoll




                                                                                                                                        Viosca Knoll




Galveston Area


                                                                                                                  Mississippi Canyon




                                                                                         Ewing Bank




                                                                                                                                                         Lloyd Ridge
                                                                                                                      Atwater Valley
                               Garden Banks                            Green Canyon
       East Breaks




                                                                                 Study Area

                                                                                                                                                          Henderson
                                                                                                                           Lund
     Alaminos Canyon          Keathley Canyon                           Walker Ridge




                                                                                                                         Lund South
                                                                 Amery Terrace
                                      Sigsbee Escarpment


                                                                  Sources: Esri, GEBCO, NOAA, National Geographic, Garmin, HERE, Geonames.org, and other
                                                                  contributors
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Well Clearance Letter – Offshore Gulf of Mexico – Proposed GC895-C Well Location
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    WELL CLEARANCE LETTER – PROPOSED GC895-C WELL LOCATION
                                              PUBLIC COPY
 March 02, 2020
 Bureau of Ocean Energy Management (MS 5230)
 Gulf of Mexico OCS Region
 1201 Elmwood Park Blvd.
 New Orleans, LA 70123-2394



RE: BOE Exploration & Production LLC
Proposed GC895-C
Block 895, Green Canyon
Offshore Gulf of Mexico
OCS-G-35879

Echo Offshore, LLC was contracted by BOE Exploration & Production LLC, to prepare a Well Clearance
Letter for the proposed GC895-C well in Block 895, Green Canyon Area (OCS-G-35879). This letter
addresses seafloor and shallow geologic conditions that may impact exploratory drilling operations within
2,000ft of the proposed well site. The depth limit of this site clearance assessment is at -8,218ft below sea
surface (2,622ft below seafloor). BOE Exploration & Production LLC plans to operate from a dynamically
positioned drilling module; therefore, an anchoring assessment is not required. Relevant letter-size chart
extracts, data examples are presented with this Well Clearance Letter, plus annotated data examples of
the two nearest intersecting inlines and crosslines, the nearest sub-bottom profiler transect line, and the
side-scan sonar mosaic. This site clearance assessment is primarily based on the interpretation of an AUV
data set for seafloor and shallow soils and a 3D seismic data set for deeper geology. This assessment is
based on the area specific hazard assessment that has been produced under separate cover (Houston
Energy – Gardline Surveys Inc. Report No. 11115).

AUV Archaeological Investigation. The proposed activities occur within an area of the outer continental
shelf defined by BOEM as having a moderate archaeological resource potential (see NTL No.
2011-JOINT-G01). An archaeological investigation was performed across the wellsite area by Echo
Offshore on Nov. 21-27, 2017 using AUV geophysical data.

3D Geophysical Survey. The 3D seismic dataset is of good quality and suitable for shallow hazard
assessment. Inlines are oriented northeast to southwest, have a numerical increment of one, and exhibit
a line spacing of 98.42ft. Crosslines are oriented northwest to southeast, have a numerical increment of
four and exhibit a line spacing of 82.02ft. Sample rate of the data was 4ft, and record length is 60,000ft.

The data presents an acceptable frequency response across the upper one second below seafloor, with an
equivalent effective frequency range at 50% power of 55-85Hz (Figure 11). The data exhibits a dominant
frequency in the upper one second of approximately 70Hz plus significant higher usable frequencies,
resulting in a mean vertical resolvability of typically 20ft and a layer detectability of 5ft.
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Several data types were provided, within two surveys: E Wave and E Octopus. The E Octopus survey was
used primarily, and is characterized by the following collection and processing parameters and history, based
on the survey collection and processing phases:

    •    Modern WAZ data
    •    Spec. data widely licensed by many companies for exploration
    •    Using highest frequency product available “High-resolution sediment flood”, after 3 iterations of
         multiazimuth sediment tomography
    •    E-Octopus VII:
             o Shot 2010, Processed 2011
    •    E-Octopus II
             o Shot 2008, Processed 2008
    •    E-Octopus III
             o Shot 2009, Processed 2009
    •    Note that E-Oct II and III were merged together by WesternGeco

          E-Octopus VII
          Acquisition Parameters
          Recording System: Q-Marine*
          Energy Source: Single Source; 8,475 in.3
          Line Orientation: NE/SW
          Source Depth: 12m
          Streamer Configuration: Multi-streamer: 10 X 7,000m cables
          Streamer Depth: 12m
          Maximum Offset: 8,600m
          Sample Rate: 2ms
          Record Length: 14s
          DGF Receiver Interval: 12.5m
          Recording Bin Dimensions: 6.25 X60m
          Acquisition Completed: April 2010
          Processing Flow
          Q* point-receiver seismic acquisition and processing methodology
          Digital group forming (DGF): output 12.5m
          Navigation merge
          Calibrated marine source designature
          Anomalous amplitude attenuation
          Water velocity correction
          3D GSMP demultiple
          3 iterations of multiazimuth sediment tomography
          High-resolution sediment flow (pick top of salt 1)
          Salt flood 1(pick bottom salt 1)
          Salt body 1 (pick top of salt 2)
          Salt flood 1(pick bottom salt 2)
          Salt body 2
          Subsalt tomography (using ample gathers)
          Full salt velocity models
          RTM (Reverse Time Migration) and Kirchhoff migration

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BOE Exploration & Production LLC
Well Clearance Letter – Offshore Gulf of Mexico – Proposed GC895-C Well Location
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          Processing completed: December 2011

          E-Octopus I & II
          Acquisition Parameters
          Recording System: Q-Marine*
          Energy Source: Single Source; 8,475 in.3
          Line Orientation: NE/SW
          Source Depth: 10m
          Streamer Configuration: Multi-streamer: 10 X 7,000m cables
          Streamer Depth: 12m
          Maximum Offset: 9,600m
          Sample Rate: 2ms
          Record Length: 14s
          DGF Receiver Interval: 12.5m
          Recording Bin Dimensions: 6.25 X60m
          Acquisition Completed: Phase I December 2006; Phase II: December 2008
          Processing Flow
          Q* point-receiver seismic acquisition and processing methodology
          Digital group forming (DGF): output 12.5m
          Navigation merge
          Calibrated marine source designature
          Anomalous amplitude attenuation
          Water velocity correction
          Inverse Q: phase only
          WEM demultiple
          3 iterations of multiazimuth sediment tomography (incorporating anistrophy)
          High-resolution sediment flow (pick top of salt 1)
          Salt flood 1(pick bottom salt 1)
          Salt body 1 (pick top of salt 2)
          Salt flood 1(pick bottom salt 2)
          Salt body 2
          Subsalt tomography (using ample gathers)
          Full salt velocity models
          Final WEM (Wave Equation Migration) 25Hz
          Processing completed: Phase I: April 2008; Phase II: December 2008




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          E-Octopus III
          Acquisition Parameters
          Recording System: Q-Marine*
          Energy Source: Single Source; 8,475 in.3
          Line Orientation: NE/SW
          Source Depth: 10m
          Streamer Configuration: Multi-streamer: 10 X 7,000m cables
          Streamer Depth: 12m
          Maximum Offset: 8,600m
          Sample Rate: 2ms
          Record Length: 14s
          DGF Receiver Interval: 12.5m
          Recording Bin Dimensions: 6.25 X60m
          Acquisition Completed: Phase I December 2008
          Processing Flow
          Q* point-receiver seismic acquisition and processing methodology
          Digital group forming (DGF): output 12.5m
          Navigation merge
          Calibrated marine source designature
          Anomalous amplitude attenuation
          Water velocity correction
          Inverse Q: phase only
          WEM demultiple
          3 iterations of multiazimuth sediment tomography (incorporating anistrophy)
          High-resolution sediment flow (pick top of salt 1)
          Salt flood 1(pick bottom salt 1)
          Salt body 1 (pick top of salt 2)
          Salt flood 1(pick bottom salt 2)
          Salt body 2
          Subsalt tomography (using ample gathers)
          Full salt velocity models
          Final WEM (Wave Equation Migration) 25Hz
          Processing completed: May 2009

          Spectral whitening was applied to the data set as a post-processing technique to optimize
          interpretability.

          In summary, and with reference to NTL No. 2008-G04 and 2008-G05, the following statements are
          applicable to the seismic data:

In summary and with reference to NTL No. 2008-G04:

    a)     The data provides imaging of sufficient resolution of the shallow section allowing a clear analysis
           of the shallow conditions.
    b)     The data can be loaded to a workstation at 16-bit resolution or greater and is unscaled.
    c)     There is no trace or sample decimation.
    d)     The sample interval and bin size are maintained throughout the assessment area.

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    e)     The data possess a frequency content of 50Hz or higher at 50% power in the first second below
           seafloor.
    f)     Seafloor reflection is free of gaps and is defined by a wavelet of stable shape and phase, allowing
           auto-tracking of the seafloor event with minimum user intervention and guidance.
    g)     There are no significant acquisition artifacts throughout the dataset.
    h)     Merge points in the data are marked by no time shifts and very minimal amplitude changes and
           are not a detriment to interpretation.
    i)     Processed bin sizes are 98.42ft x 82.02ft.
    j)     The sample rate of the data is 4ft.
    k)     There is no significant multiple energy.




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1.      LOCATION COORDINATES

1.1      Proposed GC895-C Well Location (OCS-G-35879).


             Proposed GC895-C Well Location
             Location Coordinates
             NAD 27 Datum - Clarke 1866 Ellipsoid         UTM Zone 15 - CM 93° West
             Latitude     27° 04’ 08.419” North Easting              2,228,339       US ft E
             Longitude    91° 11’ 34.584         West     Northing 9,826,742         US ft N
             FEL Green Canyon 895           5,101ft      US ft      Inline       5218
             FSL Green Canyon 895           5,942ft      US ft      Crossline    39221
             Water Depth: -5,596 ft.        Slope: 2.0° SW
             Nearest Shoreline              118 Nautical Miles @ 06.47°
                                            A-Constitution TLP in
             Nearest Manned Platform                                     18.83 Nautical Miles @ 23.5°
                                            GC680




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2.      VELOCITY DATA

2.1      Seafloor Depth

           Seafloor depth around the proposed well was derived from multibeam echosounder data acquired
           as part of an AUV geophysical investigation over approximately 15.3 square miles of blocks GC895
           & GC939.

2.2      Sub-seafloor Depth

           3D seismic data was provided as a depth volume; therefore, no depth conversion was required.




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3.      SEAFLOOR CONDITIONS

3.1      Seafloor Depth

         Water depth at the Proposed GC895-C well location is -5,596ft below sea surface (Figure 1). The
         seafloor slopes to the southeast at 2.0°.

3.2      Seafloor Morphology and Man-Made Features

         The proposed GC895-C well location is in the east-central part of block GC895.

         Side-scan sonar data indicates the proposed well is located on an area of smooth seafloor
         interpreted as clays and silts. A small seabed furrow occurs 1,293ft to the north of the proposed
         well. A seabed fault is located 1,872ft to the north. No other major seabed features were identified
         within 2,000ft of the proposed well (Figure 6).

         In accordance with NTL stipulations for archaeological resources, an archeological survey was
         performed in the study area in November 2017. Several targets were identified within the study
         area. No side scan targets occur within 2,000ft of the proposed well. No features of
         archaeological resources were identified within 2,000ft of the proposed well location. All
         targets are interpreted as modern anthropogenic debris.

         There are no anomalous seafloor amplitudes indicative of hydrocarbon macroseep observed within
         a 2,000ft radius of the proposed location (Figure 3). No features or areas that could support
         high-density sensitive sessile benthic communities are located within 2,000ft of any mud or
         cuttings discharge location. The nearest area with the potential for benthic communities occurs
         approximately 2,027ft to the northwest.




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4.      SUB-SEAFLOOR CONDITIONS

4.1      Geology and Lithology

         The sub-seafloor geology has been divided into seven Units, A, B, C, D, E, F, and G, separated by
         Horizons, H10, H20, H30, H40, H50, H60, and Top of salt (Figures 8 through 10). Top of Salt is
         the depth limit of investigation.

4.2      Unit A

         The lithology within Unit A from seafloor to -6,006ft below sea surface (410ft below seafloor) is
         characterized by well-layered, low and slightly moderate-amplitude reflectors interpreted as clays
         and silts with and increased possibility for minor thin sand interbeds.

         Sub bottom profiler data shows the upper part of Unit A consists of predominantly clays and silts
         (Figure 7).

         No risk of gas or shallow water flow is interpreted within Unit A at the location. Nearest risk of gas
         is located 474ft to the south, presenting as a minor amplitude anomaly that is up-dip from the
         proposed location. This anomaly is likely lithological and not connected to the proposed well
         location.

         Unit A appears conducive to conductor jetting, though the possibility for minor sandy interbeds may
         make the jetting conditions a little more variable.

         Horizon H10 marks the base of Unit A occurring at -6,006ft below sea surface (410ft below
         seafloor).

4.3      Unit B

         Unit B, from -6,006ft to -6,600ft below sea surface (410ft to 1,004ft below seafloor), is characterized
         by well-layered and slightly chaotic, low and occasional moderate-amplitude reflectors interpreted
         as clays, silts, and occasional sands.

         No risk of gas is predicted within Unit B at the proposed well location or within 2,000ft of the
         proposed well.

         The well-path will traverse a fault within Unit B at -6,432ft below sea surface (836ft below seabed)
         exhibiting around 15ft of throw. Minor drilling fluid circulation and wellbore stability problems may
         occur in association with the fault.

         Horizon H20 marks the base of Unit B occurring at -6,600ft below sea surface (1,004ft below
         seafloor).




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4.4      Unit C

         The lithology within Unit C from 6,600ft below sea surface (1,004ft below seabed) to 6,702ft below
         sea surface (1,074ft below seabed) presents as slightly chaotic, low-amplitude reflectors
         interpreted as clays, silts, and occasional sands.

         No risk of gas is predicted within Unit C at the proposed well location. Nearest risk of gas occurs
         962ft to SSW with no connectivity to the proposed well location.

         The well-path will traverse a minor fault within Unit C at -6,670ft below sea surface (1,074ft below
         seabed) exhibiting around 15ft of throw. Minor drilling fluid circulation and wellbore stability
         problems may occur in association with the fault.

         Horizon H30 marks the base of Unit C occurring at -6,702ft below sea surface (1,106ft below
         seafloor).

4.5      Unit D

         Unit D from -6,702ft to -7,819ft below sea surface (1,106ft to 2,091ft below seafloor) is interpreted
         as a higher energy mass-transport deposit, characterized by semi-continuous and discontinuous
         variable amplitude reflectors interpreted as clays, silts, and several sands. Sand interbeds within
         this interval may have been rapidly deposited with inadequate dewatering time. The proposed well
         is located within a regional sand fairway that occupies most of the study rea (Figure 5). Several
         wells in the Green Canyon protraction area experienced shallow water flow risk but these are at
         least 15miles to the northeast of the proposed well. However, at the proposed well location seismic
         data indicates a lesser sand content in the upper part of Unit D and a Slight Shallow Water Flow
         Risk is still assigned throughout this upper interval. Due to the increased potential for encountering
         poorly consolidated granular material in Unit D, minor drilling fluid circulation and wellbore stability
         problems may also occur within this upper interval.

         The well-path will not traverse any predicted risk of gas anomalies within Unit D, still several risk of
         gas hazards occurs within 2,000ft of the proposed well. The closest is 305ft to the south and is
         considered a Slight Risk of Gas. The anomaly is up-dip of the proposed well location, and the
         downdip extension of the sand interbed associated with the anomaly just reaches the proposed
         well location but no indication of gas is observed. Anomalies to the northeast are considered a
         Moderate Risk of Gas with a closest approach of 320ft ENE, these anomalies are separated from
         the proposed well location by a fault that bounds the southwest side of the anomalies.

         A vertical borehole will penetrate two faults within Unit D at -7,062ft below sea surface (1,466ft
         below seabed) and at -7,687ft below sea surface (2,091ft below seabed). These faults exhibit
         throws of 30ft and 50ft respectively but are not connected to deeper anomalies or upwards to
         seafloor. Minor drilling fluid circulation and wellbore stability problems may occur in association
         with the faults.

         Horizon H40 marks the base of Unit D at -7,819ft below sea surface (2,223ft below seafloor).




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4.6      Unit E

         Unit E, from -7,819ft to -7,971ft below sea surface (2,223ft to 2,375ft below seafloor), is
         characterized by slightly chaotic, low amplitude reflectors interpreted as clays and silts with
         occasional sands.

         No risk of gas is predicted within Unit E at the proposed well or within 2,000ft.

         The well-path will not traverse any faults within Unit E.

         Horizon H50 marks the base of this unit and the base of this interpretation at -7,971ft below sea
         surface (2,375ft below seafloor).

4.7      Unit F

         Unit F, from -7,971ft to -8,167ft below sea surface (2,375ft to 2,571ft below seafloor), is
         characterized by slightly chaotic, low-amplitude reflectors interpreted as clays and silts with
         occasional sands.

         No risk of gas is predicted within Unit F at the proposed well. Nearest risk of gas anomaly is located
         1,476ft to the northeast and not connected to the proposed well location.

         The well-path will not traverse any faults within Unit F.

         Horizon H60 marks the base of this unit and the base of this interpretation at -8,167ft below sea
         surface (2,571ft below seafloor).

4.8      Unit G

         Unit G, from -8,167ft to -8,218ft below sea surface (2,571ft to 2,622ft below seafloor), is
         characterized by slightly-chaotic, low and occasional moderate-amplitude reflectors interpreted as
         clays and silts with occasional sands.

         No risk of gas is predicted within Unit G at the proposed well or within 2,000ft.

         The well-path will not traverse any faults within Unit G.

         Top of Salt marks the base of this unit and the base of this interpretation at -8,218ft below sea
         surface (2,622ft below seafloor).

4.9      Shallow Gas Assessment

         No shallow gas is interpreted at the proposed well location.




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4.10     Shallow Water Flow Assessment

         Throughout Unit D, a Slight Shallow Water Flow Risk is interpreted from -6,702ft to -7,819ft below
         sea surface (1,106ft to 2,223ft below seafloor).




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5.      CONCLUSIONS AND RECOMMENDATIONS

         •   Seafloor

             No major drilling hazards or problems are predicted at seafloor.

             No features of potential biological or archaeological significance were identified within 2,000ft
             of the proposed well location.

             No side-scan targets were identified within 2,000ft of the proposed well.

         •   Unit A

             No drilling hazards or problems are interpreted.

         •   Unit B

             The well-path will traverse a fault within Unit B at -6,432ft below sea surface (836ft below
             seabed). Minor drilling fluid circulation and wellbore stability problems may occur in association
             with the fault. Casing seats should avoid all fault intersections as formation integrity could be
             compromised.

         •   Unit C

             The well-path will traverse a fault within Unit C at -6,670ft below sea surface (1,074ft below
             seabed). Minor drilling fluid circulation and wellbore stability problems may occur in association
             with the fault. Casing seats should avoid all fault intersections as formation integrity could be
             compromised.

         •   Unit D

             Within the Unit D, a Slight Shallow Water Flow Risk is interpreted from -7,062ft below sea
             surface (1,466ft below seabed) to -7,819ft below sea surface (2,223ft below seabed).
             Appropriate drilling methodology should be applied to contain a possible non-persistent water
             flow event.

             A vertical borehole will penetrate two faults within Unit D at -7,062ft below sea surface (1,466ft
             below seabed) and at -7,687ft below sea surface (2,091ft below seabed). Minor drilling fluid
             circulation and wellbore stability problems may occur in association with the faults. Minor
             drilling fluid circulation and wellbore stability problems may occur in association with the faults.
             Casing seats should avoid all fault intersections as formation integrity could be compromised.

         •   Unit E

             No drilling hazards or problems interpreted.



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         •   Unit F

             No drilling hazards or problems interpreted.

         •   Unit G

             No drilling hazards or problems interpreted.




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We appreciate the opportunity to work with you on this project and look forward to continuing as your
geohazards consultants. Please contact us if you have any questions or if we can be of further assistance.

 Sincerely,
 Echo Offshore, LLC




 Andrew Haigh                                                     Matt Keith
 Geophysical Manager                                              Quality Assurance
 Ocean Geo Solutions, Inc                                         Echo Offshore, LLC




 Copies Submitted: One digital copy (PDF) to Eva Gravouilla at BOE Exploration & Production LLC.

 Attachments:
 Proposed GC895-C Well Location
 Seafloor Depth Extract
 Seafloor Morphology Extract
 Seafloor Amplitude Extract
 Geohazard Summary Extract
 Sand Lithology Extract-Unit D




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Case 3:23-cv-00342   Document 1   Filed on 10/13/23 in TXSD     Page 122 of 333




                                                          Well Clearance Letter for
                                                BOE Exploration & Production LLC
                                                                  Public Copy

                                                                           Project:
                                             Block GC895, Offshore Gulf of Mexico



                                                                   Description:
                                                 Proposed GC895-D Well Location

                                                                    Project Number:
                                                                20-012-31/2020-244

                                                                     Report Status:
                                                                             Final
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Well Clearance Letter – Offshore Gulf of Mexico – Proposed GC895-D Well Location
Report 20-012-31/2018-244


                         REPORT AUTHORIZATION AND DISTRIBUTION


  Compilation                   Geophysics                                   L Fuentes




  Authorization                 Geophysics
                                                                             …………………
                                                                             A R Haigh


                                Quality Assurance
                                                                             …………………
                                                                             Matt Keith


  Revision       Date                      Title

  0              March 2, 2020             Final




  Distribution

  One digital copy (PDF)

  BOE Exploration & Production LLC
  300 Holiday Square Blvd,
  Suite 100
  Covington, LA 70433




  For the attention of
  Eva Gravouilla




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                                                Public Copy
Eva Gravouilla
BOE Exploration & Production LLC
300 Holiday Square Blvd,
Suite 100
Covington, LA 70433

Dear Mrs. Gravouilla:



Echo Offshore, LLC appreciates the opportunity to submit this Well Clearance letter based on a 3D
geohazard assessment covering Block GC895, Green Canyon protraction area. This assessment was
prepared utilizing 3D seismic data provided by Houston Energy, LP, in compliance with NTL Nos. 2008-
G05, 2008-G04, and 2009-G40, by the Bureau of Ocean Energy Management (BOEM), Gulf of Mexico
Region. BOE Exploration & Production LLC is now the operator of the lease and has requested that Echo
Offshore provide this assessment of the referenced proposed well location.

This report has been prepared with due care, diligence, and with the skill reasonably expected of a reputable
contractor experienced in the types of work, carried out under the contract. As such, the findings in this
report are based on an interpretation of data which is a matter of opinion on which professionals may differ
and, unless clearly stated, is not a recommendation of any course of action.

Please be aware that further distribution of this report, in whole or part, or the use of the data for a purpose
not expressly stated within the contractual work scope is at the client’s sole risk, and it is recommended
that this disclaimer be included in any such distribution.

If we can be of further assistance, or if you have any questions, please do not hesitate to call.

We sincerely appreciate this opportunity to be of service to you.

                                                                 Very truly yours,




                                                                 C. D. Schempf, Jr.
                                                                 President



MK for CDS




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                                                            Location Map

                                                                                                                                        Mobile            Pensacola



                                                                                                                                           Viosca Knoll




                                                                                                                                         Viosca Knoll




Galveston Area


                                                                                                                   Mississippi Canyon




                                                                                          Ewing Bank




                                                                                                                                                          Lloyd Ridge
                                                                                                                       Atwater Valley
                                Garden Banks                            Green Canyon
       East Breaks




                                                                                  Study Area

                                                                                                                                                           Henderson
                                                                                                                            Lund
     Alaminos Canyon           Keathley Canyon                           Walker Ridge




                                                                                                                          Lund South
                                                                  Amery Terrace
                                       Sigsbee Escarpment


                                                                   Sources: Esri, GEBCO, NOAA, National Geographic, Garmin, HERE, Geonames.org, and other
                                                                   contributors
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2      Seafloor Morphology Extract
3      Seafloor Amplitude Extract
4      Geohazard Summary Extract
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    WELL CLEARANCE LETTER – PROPOSED GC895-D WELL LOCATION
                                              PUBLIC COPY
 March 02, 2020
 Bureau of Ocean Energy Management (MS 5230)
 Gulf of Mexico OCS Region
 1201 Elmwood Park Blvd.
 New Orleans, LA 70123-2394



RE: BOE Exploration & Production LLC
Proposed GC895-D
Block 895, Green Canyon
Offshore Gulf of Mexico
OCS-G-35879

Echo Offshore, LLC was contracted by BOE Exploration & Production LLC, to prepare a Well Clearance
Letter for the proposed GC895-D well in Block 895, Green Canyon Area (OCS-G-35879). This letter
addresses seafloor and shallow geologic conditions that may impact exploratory drilling operations within
2,000ft of the proposed well site. The depth limit of this site clearance assessment is at -11,274ft below
sea surface (5,832ft below seafloor). BOE Exploration & Production LLC plans to operate from a
dynamically positioned drilling module; therefore, an anchoring assessment is not required. Relevant letter-
size chart extracts, data examples are presented with this Well Clearance Letter, plus annotated data
examples of the two nearest intersecting inlines and crosslines, the nearest sub-bottom profiler transect
line, and the side-scan sonar mosaic. This site clearance assessment is primarily based on the
interpretation of and AUV data set for seafloor and shallow soils and a 3D seismic data set for deeper
geology. This assessment is based on the area specific hazard assessment that has been produced under
separate cover (Houston Energy – Gardline Surveys Inc. Report No. 11115).

AUV Archaeological Investigation. The proposed activities occur within an area of the outer continental
shelf defined by BOEM as having a high archaeological resource potential (see NTL No. 2011-JOINT-G01).
An archaeological investigation was performed across the wellsite area by Echo Offshore on Nov. 21-27,
2017 using AUV geophysical data.

3D Geophysical Survey. The 3D seismic dataset is of good quality and suitable for shallow hazard
assessment. Inlines are oriented northeast to southwest, have a numerical increment of one, and exhibit
a line spacing of 98.42ft. Crosslines are oriented northwest to southeast, have a numerical increment of
four and exhibit a line spacing of 82.02ft. Sample rate of the data was 4ft, and record length is 60,000ft.

The data presents an acceptable frequency response across the upper one second below seafloor, with an
equivalent effective frequency range at 50% power of 55-85Hz (Figure 11). The data exhibits a dominant
frequency in the upper one second of approximately 70Hz plus significant higher usable frequencies,
resulting in a mean vertical resolvability of typically 20ft and a layer detectability of 5ft.
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Several data types were provided, within two surveys: E Wave and E Octopus. The E Octopus survey was
used primarily, and is characterized by the following collection and processing parameters and history, based
on the survey collection and processing phases:

    •    Modern WAZ data
    •    Spec. data widely licensed by many companies for exploration
    •    Using highest frequency product available “High-resolution sediment flood”, after 3 iterations of
         multiazimuth sediment tomography
    •    E-Octopus VII:
             o Shot 2010, Processed 2011
    •    E-Octopus II
             o Shot 2008, Processed 2008
    •    E-Octopus III
             o Shot 2009, Processed 2009
    •    Note that E-Oct II and III were merged together by WesternGeco

          E-Octopus VII
          Acquisition Parameters
          Recording System: Q-Marine*
          Energy Source: Single Source; 8,475 in.3
          Line Orientation: NE/SW
          Source Depth: 12m
          Streamer Configuration: Multi-streamer: 10 X 7,000m cables
          Streamer Depth: 12m
          Maximum Offset: 8,600m
          Sample Rate: 2ms
          Record Length: 14s
          DGF Receiver Interval: 12.5m
          Recording Bin Dimensions: 6.25 X60m
          Acquisition Completed: April 2010
          Processing Flow
          Q* point-receiver seismic acquisition and processing methodology
          Digital group forming (DGF): output 12.5m
          Navigation merge
          Calibrated marine source designature
          Anomalous amplitude attenuation
          Water velocity correction
          3D GSMP demultiple
          3 iterations of multiazimuth sediment tomography
          High-resolution sediment flow (pick top of salt 1)
          Salt flood 1(pick bottom salt 1)
          Salt body 1 (pick top of salt 2)
          Salt flood 1(pick bottom salt 2)
          Salt body 2
          Subsalt tomography (using ample gathers)
          Full salt velocity models
          RTM (Reverse Time Migration) and Kirchhoff migration

                                                           2
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Well Clearance Letter – Offshore Gulf of Mexico – Proposed GC895-D Well Location
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          Processing completed: December 2011

          E-Octopus I & II
          Acquisition Parameters
          Recording System: Q-Marine*
          Energy Source: Single Source; 8,475 in.3
          Line Orientation: NE/SW
          Source Depth: 10m
          Streamer Configuration: Multi-streamer: 10 X 7,000m cables
          Streamer Depth: 12m
          Maximum Offset: 9,600m
          Sample Rate: 2ms
          Record Length: 14s
          DGF Receiver Interval: 12.5m
          Recording Bin Dimensions: 6.25 X60m
          Acquisition Completed: Phase I December 2006; Phase II: December 2008
          Processing Flow
          Q* point-receiver seismic acquisition and processing methodology
          Digital group forming (DGF): output 12.5m
          Navigation merge
          Calibrated marine source designature
          Anomalous amplitude attenuation
          Water velocity correction
          Inverse Q: phase only
          WEM demultiple
          3 iterations of multiazimuth sediment tomography (incorporating anistrophy)
          High-resolution sediment flow (pick top of salt 1)
          Salt flood 1(pick bottom salt 1)
          Salt body 1 (pick top of salt 2)
          Salt flood 1(pick bottom salt 2)
          Salt body 2
          Subsalt tomography (using ample gathers)
          Full salt velocity models
          Final WEM (Wave Equation Migration) 25Hz
          Processing completed: Phase I: April 2008; Phase II: December 2008




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Well Clearance Letter – Offshore Gulf of Mexico – Proposed GC895-D Well Location
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          E-Octopus III
          Acquisition Parameters
          Recording System: Q-Marine*
          Energy Source: Single Source; 8,475 in.3
          Line Orientation: NE/SW
          Source Depth: 10m
          Streamer Configuration: Multi-streamer: 10 X 7,000m cables
          Streamer Depth: 12m
          Maximum Offset: 8,600m
          Sample Rate: 2ms
          Record Length: 14s
          DGF Receiver Interval: 12.5m
          Recording Bin Dimensions: 6.25 X60m
          Acquisition Completed: Phase I December 2008
          Processing Flow
          Q* point-receiver seismic acquisition and processing methodology
          Digital group forming (DGF): output 12.5m
          Navigation merge
          Calibrated marine source designature
          Anomalous amplitude attenuation
          Water velocity correction
          Inverse Q: phase only
          WEM demultiple
          3 iterations of multiazimuth sediment tomography (incorporating anistrophy)
          High-resolution sediment flow (pick top of salt 1)
          Salt flood 1(pick bottom salt 1)
          Salt body 1 (pick top of salt 2)
          Salt flood 1(pick bottom salt 2)
          Salt body 2
          Subsalt tomography (using ample gathers)
          Full salt velocity models
          Final WEM (Wave Equation Migration) 25Hz
          Processing completed: May 2009

          Spectral whitening was applied to the data set as a post-processing technique to optimize
          interpretability.

          In summary, and with reference to NTL No. 2008-G04 and 2008-G05, the following statements are
          applicable to the seismic data:

In summary and with reference to NTL No. 2008-G04:

    a)     The data provides imaging of sufficient resolution of the shallow section allowing a clear analysis
           of the shallow conditions.
    b)     The data can be loaded to a workstation at 16-bit resolution or greater and is unscaled.
    c)     There is no trace or sample decimation.
    d)     The sample interval and bin size are maintained throughout the assessment area.

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    e)     The data possess a frequency content of 50Hz or higher at 50% power in the first second below
           seafloor.
    f)     Seafloor reflection is free of gaps and is defined by a wavelet of stable shape and phase, allowing
           auto-tracking of the seafloor event with minimum user intervention and guidance.
    g)     There are no significant acquisition artifacts throughout the dataset.
    h)     Merge points in the data are marked by no time shifts and very minimal amplitude changes and
           are not a detriment to interpretation.
    i)     Processed bin sizes are 98.42ft x 82.02ft.
    j)     The sample rate of the data is 4ft.
    k)     There is no significant multiple energy.




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1.      LOCATION COORDINATES

1.1      Proposed GC895-D Well Location (OCS-G-35879).


             Proposed GC895-D Well Location
             Location Coordinates
             NAD 27 Datum - Clarke 1866 Ellipsoid         UTM Zone 15 - CM 93° West
             Latitude     27° 05’ 08.628” North Easting              2,228,530       US ft E
             Longitude    91° 11’ 31.505         West     Northing 9,832,825         US ft N
             FEL Green Canyon 895           4,910ft      US ft      Inline       5176
             FNL Green Canyon 895           3,815ft      US ft      Crossline    39433
             Water Depth: -5,442 ft.        Slope: 2.1° NW
             Nearest Shoreline              118 Nautical Miles @ 06.47°
                                            A-Constitution TLP in
             Nearest Manned Platform                                     18.83 Nautical Miles @ 23.5°
                                            GC680




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Well Clearance Letter – Offshore Gulf of Mexico – Proposed GC895-D Well Location
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2.      VELOCITY DATA

2.1      Seafloor Depth

           Seafloor depth around the proposed well was derived from multibeam echosounder data acquired
           as part of an AUV geophysical investigation over approximately 15.3 square miles of blocks GC895
           & GC939.

2.2      Sub-seafloor Depth

           3D seismic data was provided as a depth volume; therefore, no depth conversion was required.




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3.      SEAFLOOR CONDITIONS

3.1      Seafloor Depth

         Water depth at the Proposed GC895-D well location is -5,442ft below sea surface (Figure 1). The
         seafloor slopes to the northwest at 2.1°.

3.2      Seafloor Morphology and Man-Made Features

         The proposed GC895-D well location is in the east-central part of block GC895.

         Side-scan sonar data indicates the proposed well is located on an area of smooth seafloor
         interpreted as clays and silts. The scarp of a surficial failure is located 1,470ft to the west of the
         proposed well. No other major seabed features were identified within 2,000ft of the proposed well
         (Figures 4 & 6).

         In accordance with NTL stipulations for archaeological resources, an archeological survey was
         performed in the study area in November 2017. Several targets were identified within the study
         area. No side scan targets occur within 2,000ft of the proposed well. No features of
         archaeological resources were identified within 2,000ft of the proposed well location. All
         targets are interpreted as modern anthropogenic debris.

         A cable is located 1,765ft to the southeast of the proposed well.

         There are no anomalous seafloor amplitudes indicative of hydrocarbon macroseep observed within
         a 2,000ft radius of the proposed location (Figure 3). No features or areas that could support
         high-density sensitive sessile benthic communities are located within 2,000ft of any mud or
         cuttings discharge location. The nearest area with the potential for benthic communities occurs
         approximately 3,479ft to the southeast.




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4.      SUB-SEAFLOOR CONDITIONS

4.1      Geology and Lithology

         The sub-seafloor geology has been divided into seven Units, A, B, C, D, E, F, and G, separated by
         Horizons, H10, H20, H30, H40, H50, H60, and Top of salt (Figures 8 through 10). Top of Salt is
         the depth limit of investigation.

4.2      Unit A

         The lithology within Unit A from seafloor to -5,820ft below sea surface (378ft below seafloor) is
         characterized by well-layered, low and slightly moderate-amplitude reflectors interpreted as clays
         and silts with the possibility of minor sandy interbeds.

         Sub-bottom profiler data shows the upper part of Unit A consists of predominantly clays and silts
         (Figure 7).

         No risk of gas or shallow water flow is interpreted within Unit A at the location or within 2,000ft of
         the proposed well.

         Unit A appears conducive to conductor jetting, though the possibility of minor sandy interbeds could
         cause some slight variability.

         Horizon H10 marks the base of Unit A occurring at -5,820ft below sea surface (378ft below
         seafloor).

4.3      Unit B

         Unit B, from -5,820ft to -6,518ft below sea surface (378ft to 1,076ft below seafloor), is characterized
         by well-layered and slightly chaotic, low and occasional moderate-amplitude reflectors interpreted
         as clays, silts, and occasional sands.

         No risk of gas is predicted within Unit B at the proposed well location or within 2,000ft of the
         proposed well.

         The well-path will not traverse any faults at the proposed well.

         Horizon H20 marks the base of Unit B occurring at -6,518ft below sea surface (1,076ft below
         seafloor).

4.4      Unit C

         The lithology within Unit C from 6,518ft below sea surface (1,076ft below seabed) to 7,316ft below
         sea surface (1,874ft below seabed) is characterized by low to moderate amplitude discontinuous
         to semi-continuous reflectors interpreted as a higher-energy mass-transport comprising
         channelized deposits interpreted as clays, silts, and several sands. Due to the possibility of rapid
         deposition with inadequate dewatering time a Slight Shallow Water Flow Risk is assigned to this


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Well Clearance Letter – Offshore Gulf of Mexico – Proposed GC895-D Well Location
Report 20-012-31/2018-244
         interval. Due to the increased possibility of encountering poorly consolidated granular sediments
         minor drilling fluid circulation and wellbore stability problems may also occur within this interval.

         No risk of gas is predicted within Unit C at the proposed well location. Nearest risk of gas occurs
         865ft to WSW with no connectivity to the proposed well.

         The well-path will not traverse any faults within Unit C.

         Horizon H30 marks the base of Unit C occurring at -7,316ft below sea surface (1,874ft below
         seabed).

4.5      Unit D

         Unit D from -7,316ft to -9,065ft below sea surface (1,874ft to 3,623ft below seafloor) is interpreted
         as a higher energy mass-transport deposit, characterized by semi-continuous and discontinuous
         variable amplitude reflectors interpreted as clays, silts, and several sands. Sand interbeds within
         this interval may have been rapidly deposited with inadequate dewatering time. The proposed well
         is located within a regional sand fairway that occupies most of the study rea (Figure 5). Several
         wells in the Green Canyon protraction area experienced shallow water flow risk but these are at
         least 15miles to the northeast of the proposed well. However, at the proposed well location seismic
         data indicates a lesser sand content in the upper part of Unit D and a Slight Shallow Water Flow
         Risk is still assigned throughout this unit. Due to the increased potential for encountering poorly
         consolidated granular material in Unit D, minor drilling fluid circulation and wellbore stability
         problems may also occur.

         A vertical borehole will not penetrate any faults within Unit D.

         No risk of gas is predicted.

         Horizon H40 marks the base of Unit D at -9,065ft below sea surface (3,623ft below seafloor).

4.6      Unit E

         The well-path will not traverse Unit E.

4.7      Unit F

         Unit F, from -9,065ft to -9,669ft below sea surface (3,623ft to 4,227ft below seafloor), is
         characterized by slightly chaotic, low-amplitude reflectors interpreted as clays and silts with
         occasional sands.

         No risk of gas is predicted within Unit F at the proposed well. Nearest risk of gas anomaly is located
         1,551ft to the west and is not connected to the proposed well.

         The well-path will not traverse any faults within Unit F.




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         Horizon H60 marks the base of this unit and the base of this interpretation at -9,669ft below sea
         surface (4,227ft below seafloor).


4.8      Unit G

         Unit G, from -9,669ft to -11,274ft below sea surface (4,227ft to 5,832ft below seafloor), is
         characterized by slightly chaotic, low and occasional moderate-amplitude reflectors interpreted as
         clays and silts with occasional sands.

         No risk of gas is predicted within Unit G at the proposed well. The nearest risk of gas anomaly
         occurs approximately 1,387ft to the northeast with no connectivity to the proposed location.

         The well-path will not traverse any faults within Unit G.

         Top of Salt marks the base of this unit and the base of this interpretation at -11,274ft below sea
         surface (5,382ft below seafloor).

4.9      Shallow Gas Assessment

         No risk of gas is interpreted at the proposed well location.

4.10     Shallow Water Flow Assessment


         Throughout Unit C, a Slight Shallow Water Flow Risk is interpreted from -6,518ft to -7,316ft below
         sea surface (1,076ft to 1,874ft below seafloor).

         Throughout Unit D, a Slight Shallow Water Flow Risk is interpreted from -7,316ft to -9,065ft below
         sea surface (1,874ft to 3,623ft below seafloor).




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5.      CONCLUSIONS AND RECOMMENDATIONS

         •   Seafloor

             No major drilling hazards or problems are predicted at seafloor.

             No features of potential biological or archaeological significance were identified within 2,000ft
             of the proposed well location.

             No side-scan targets were identified within 2,000ft of the proposed well.

         •   Unit A

             No drilling hazards or problems are interpreted.

         •   Unit B

             No drilling hazards or problems are interpreted.

         •   Unit C

             Throughout Unit C, a Slight Shallow Water Flow Risk is interpreted from -6,518ft to -7,316ft
             below sea surface (1,076ft to 1,874ft below seafloor). Appropriate drilling methodology should
             be applied to contain a short-lived, non-persistent water flow event. Additionally, minor drilling
             and wellbore stability problems are possible within this unit.

         •   Unit D

             Throughout Unit D, a Slight Shallow Water Flow Risk is interpreted from -7,316ft to -9,065ft
             below sea surface (1,874ft to 3,623ft below seafloor). Appropriate drilling methodology should
             be applied to contain a short-lived, non-persistent water flow event. Additionally, minor drilling
             and wellbore stability problems are possible within this unit.

         •   Unit E

             The well-path will not traverse Unit E.

         •   Unit F

             No drilling hazards or problems are interpreted.

         •   Unit G

             No drilling hazards or problems are interpreted.




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Well Clearance Letter – Offshore Gulf of Mexico – Proposed GC895-D Well Location
Report 20-012-31/2018-244
We appreciate the opportunity to work with you on this project and look forward to continuing as your
geohazards consultants. Please contact us if you have any questions or if we can be of further assistance.

 Sincerely,
 Echo Offshore, LLC




 Andrew Haigh                                                     Matt Keith
 Geophysical Manager                                              Quality Assurance
 Ocean Geo Solutions, Inc                                         Echo Offshore, LLC




 Copies Submitted: One digital copy (PDF) to Eva Gravouilla at BOE Exploration & Production LLC.

 Attachments:
 Proposed GC895-D Well Location
 Seafloor Depth Extract
 Seafloor Morphology Extract
 Seafloor Amplitude Extract
 Geohazard Summary Extract
 Sand Lithology Extract-Unit D




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                                         APPENDIX D
                                 HYDROGEN SULFIDE INFORMATION

A) CONCENTRATION
In accordance with NTL 2008-G04, this information is not applicable as BOE Exploration & Production
does not anticipate encountering any H2S while conducting the activities proposed in this plan.

B) CLASSIFICATION
In accordance with 30 CFR 250.490(c), BOE Exploration & Production is requesting the subject area and
block, and lease(s), respectively be classified as an area where H2S is absent. This is based upon
information from the well(s) listed in the table below.

PROPRIETARY INFORMATION

C) H2S CONTINGENCY PLAN
In accordance with NTL 2008-G04, this information is not applicable as BOE Exploration & Production
does not anticipate encountering H2S while conducting the activities proposed in this plan.

D) MODELING REPORT
In accordance with NTL 2008-G04, a modeling report is not included in the attachments for this
appendix as BOE Exploration & Production does not anticipate encountering H2S in concentrations
greater than 500 ppm.




Initial Exploration Plan
Green Canyon 895, OCS-G 35879
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                                         APPENDIX E
                         MINERAL RESOURCE CONSERVATION INFORMATION

A) TECHNOLOGY & RESERVOIR ENGINEERING PRACTICES & PROCEDURES
In accordance with NTL 2008-G04, this information is not applicable to the activities proposed in this
plan as this is an Exploration Plan.

B) TECHNOLOGY & RECOVERY PRACTICES & PROCEDURES
In accordance with NTL 2008-G04, this information is not applicable to the activities proposed in this
plan as this is an Exploration Plan.

C) RESERVOIR DEVELOPMENT
In accordance with NTL 2008-G04, this information is not applicable to the activities proposed in this
plan as this is an Exploration Plan.




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Green Canyon 895, OCS-G 35879
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                                           APPENDIX F
                      BIOLOGICAL, PHYSICAL, & SOCIOECONOMIC INFORMATION

A) HIGH-DENSITY DEEPWATER BENTHIC COMMUNITIES INFORMATION
The activities proposed in this plan could disturb seafloor areas in water depths or 984 feet or greater.

Echo Offshore prepared a Wellsite Clearance Letter for the proposed locations indicated in this plan
addressing site-specific seafloor and subsurface geologic conditions.

A summary statement addressing seafloor and subsurface geologic conditions for the proposed
locations indicated in this plan is included below.

Green Canyon 895 Well Location A
No features or areas that could support high-density sensitive sessile benthic communities are located
within 2,000ft of any mud or cuttings discharge location.

Green Canyon 895 Well Location B
No features or areas that could support high-density sensitive sessile benthic communities are located
within 2,000ft of any mud or cuttings discharge location.

Green Canyon 895 Well Location C
No features or areas that could support high-density sensitive sessile benthic communities are located
within 2,000ft of any mud or cuttings discharge location.

Green Canyon 895 Well Location D
No features or areas that could support high-density sensitive sessile benthic communities are located
within 2,000ft of any mud or cuttings discharge location.

Maps depicting wellsite-specific seafloor features are included in the attachment to this appendix.

B) TOPOGRAPHIC FEATURES MAP
In accordance with NTL 2008-G04, this information is not applicable to the activities proposed in this
plan as no rig, barge or anchors, etc. will be placed within 1,000 feet of the "No Activity Zone" of an
identified topographic feature.

C) TOPOGRAPHIC FEATURES STATEMENT (SHUNTING)
In accordance with NTL 2008-G04, this information is not applicable to the activities proposed in this
plan as BOE Exploration & Production is not proposing to drill more than two wells from the same
surface location.

D) LIVE BOTTOM (PINNACLE TREND) MAP
In accordance with NTL 2008-G04, this information is not applicable to the activities proposed in this
plan as the Live Bottom (Pinnacle Trend) lease stipulation is not attached to the subject lease(s).




Initial Exploration Plan
Green Canyon 895, OCS-G 35879
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E) LIVE BOTTOM (LOW RELIEF) MAP
In accordance with NTL 2008-G04, this information is not applicable to the activities proposed in this
plan as the Live Bottom (Low Relief) lease stipulation is not attached to the subject lease(s).

F) POTENTIALLY SENSITIVE BIOLOGICAL FEATURES
In accordance with NTL 2009-G39. this information is not applicable to the activities proposed in this
plan as the bottom-disturbing activities are not within 100 feet of potentially sensitive biological
features.

G) THREATENED & ENDANGERED SPECIES, CRITICAL HABITAT, & MARINE MAMMAL INFORMATION
The subject area(s) and block(s) is not designated as a critical habitat for any federally listed threated or
endangered species. BOE Exploration & Production does not anticipate that any threatened or
endangered species will be adversely affected as a result of the activities proposed in this plan.
However, in the unlikely event of an accident, adverse impacts to endangered marine mammal species
are possible.

In monitoring the effect of the proposed activities on marine life, BOE Exploration & Production will
adhere to the information and guidelines set forth by NTL 2015-G03 “Marine Trash and Debris
Awareness and Elimination” and NTL BOEM 2016-G01 “Vessel Strike Avoidance and Injured/Dead
Protected Species Reporting” and will follow guidance resulting from the Programmatic Biological
Opinion on Federally Regulated Oil and Gas Program Activities in the Gulf of Mexico.

A list of endangered and threatened species and critical habitats found in the Gulf of Mexico is
included in the attachments to this appendix.

For reference, Appendices to the Programmatic Biological Opinion on the Gulf of Mexico Oil and
Gas Program is included in the attachments to this appendix.

H) ARCHAEOLOGICAL REPORT
Echo Offshore prepared a Wellsite Clearance Letter for the proposed locations indicated in this plan
addressing archaeological resources. A summary of the archaeological assessment for the proposed
well locations indicated in this plan is included below.

Green Canyon 895 Well Location A
No features of archaeological resources were identified within 2,000ft of the proposed well location.

Green Canyon 895 Well Location B
No features of archaeological resources were identified within 2,000ft of the proposed well location.

Green Canyon 895 Well Location C
No features of archaeological resources were identified within 2,000ft of the proposed well location.

Green Canyon 895 Well Location D
No features of archaeological resources were identified within 2,000ft of the proposed well location.




Initial Exploration Plan
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I) AIR & WATER QUALITY INFORMATION
In accordance with NTL 2008-G04, this information is not applicable to the activities proposed in this
plan as the State of Florida is not an affected State.

J) SOCIOECONOMIC INFORMATION
In accordance with NTL 2008-G04, this information is not applicable to the activities proposed in this
plan as the State of Florida is not an affected State.




Initial Exploration Plan
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 WELLSITE-SPECIFIC SEAFLOOR FEATURES MAPS
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       Case 3:23-cv-00342                          Document 1           Filed on 10/13/23 in TXSD                              Page 153 of 333



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       Case 3:23-cv-00342                          Document 1           Filed on 10/13/23 in TXSD                              Page 154 of 333



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       Case 3:23-cv-00342                        Document 1         Filed on 10/13/23 in TXSD                              Page 155 of 333



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                                                                  seabed related to shallow subsurface
                                                                  hydrocarbons and/or possible fluid                            Slight, Moderate, and High
                                                                  expulsion sites. Sensitive sessile                            Risk of Gas within Unit C
                                                                  benthic communities are possible.
                                                                                                                                Moderate and High Risk of
                                                                  Seabed furrow area                                            Gas within Unit D

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       Case 3:23-cv-00342                          Document 1           Filed on 10/13/23 in TXSD                              Page 156 of 333



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            Case 3:23-cv-00342               Document 1                 Filed on 10/13/23 in TXSD                         Page 161 of 333



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    Case 3:23-cv-00342                             Document 1               -5300
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    Case 3:23-cv-00342                     Document 1        Filed on 10/13/23 in TXSD                      Page 163 of 333



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    Case 3:23-cv-00342                        Document 1         Filed on 10/13/23 in TXSD                Page 164 of 333



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      Case 3:23-cv-00342                     Document 1               Filed on 10/13/23 in TXSD                                 Page 165 of 333



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       Case 3:23-cv-00342                 Document 1         Filed on 10/13/23 in TXSD                             Page 166 of 333



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      5        3:23-cv-00342                           Document 1           Filed on 10/13/23 in TXSD                     Page 167 of 333
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ENDANGERED AND THREATENED SPECIES IN
        THE GULF OF MEXICO
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Gulf of Mexico
Threatened and Endangered Species and Critical Habitats Under NOAA Fisheries
Jurisdiction




                                                                     Recovery Critical
Species         Listing Status
                                                                     Plan     Habitat
                                                                                   63 FR 46693;
Green sea       Threatened - North and South Atlantic Distinct       October
                                                                                   September 2,
turtle          Population Segment (81 FR 20057; April 6, 2016)      1991
                                                                                   1998

Kemp’s ridley   Endangered (35 FR 18319; December 2, 1970)           September
                                                                                   None
sea turtle                                                           2011

Leatherback     Endangered (35 FR 8491; June 2, 1970)                              44 FR 17710;
                                                                     April 1992
sea turtle                                                                         March 23, 1979

                Threatened - Northwest Atlantic Ocean Distinct
Loggerhead                                                           December      79 FR 39856; July
                Population Segment
sea turtle                                                           2008          10, 2014
                (76 FR 58868; September 22, 2011)

                                                                                   63 FR
Hawksbill sea   Endangered (35 FR 8491; June 2, 1970)                December      46693; September
turtle                                                               1993          2, 1998

                                                                                   72 FR
Smalltooth      U.S. Distinct Population Segment Endangered (68 FR   January       45353; October 2,
sawfish         15674; April 1, 2003)                                2009          2009

                                                                                   68 FR
                Threatened (56 FR 49653; September 30, 1991)         September     13370; March 19,
Gulf sturgeon
                                                                     1995          2003

                                                                     2018
Nassau grouper Threatened (81 FR 42268; June 29, 2016)               Recovery      None
                                                                     Outline
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 Species          Listing Status                                    Recovery Critical
                                                                    Plan     Habitat
                                                                    2018
 Oceanic          Threatened (83 FR 4153; January 30, 2018)         Recovery     None
 whitetip shark
                                                                    Outline

                                                                    December
 Giant manta ray Threatened (83 FR 2916; January 22, 2018)                       None
                                                                    2019

                                                                                 73 FR
 Elkhorn coral    Threatened (71 FR 26852; May 9, 2006)             March 2015   72210; November
                                                                                 26, 2008

                                                                                 73 FR
 Staghorn coral   Threatened (71 FR 26852; May 9, 2006)             March 2015   72210; November
                                                                                 26, 2008

 Boulder star     Threatened (79 FR 53851; September 10, 2014)      None         None
 coral

 Mountainous      Threatened (79 FR 53851; September 10, 2014)      None         None
 star coral

 Lobed star       Threatened (79 FR 53851; September 10, 2014)      None         None
 coral

 Rough cactus     Threatened (79 FR 53851; September 10, 2014)      None         None
 coral

 Pillar coral     Threatened (79 FR 53851; September 10, 2014)      None         None

                  Endangered (35 FR 18319/ December 2, 1970)        August 2010 None
 Fin whale

                  Endangered (35 FR 18319; December 2, 1970)        December
 Sperm whale                                                                     None
                                                                    2010

                  Endangered (35 FR 12222/ December 2, 1970)        December
 Sei whale                                                                       None
                                                                    2011

 Gulf of Mexico   Endangered (81 FR 88639; December 8, 2016)        None         None
 Bryde’s whale


Last updated by Southeast Regional Office on February 05, 2020
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 Appendices to the Programmatic Biological
 Opinion on the Gulf of Mexico Oil and Gas
                 Program
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                Appendix A: Seismic Survey Mitigation and
                  Protected Species Observer Protocols
These protocols will be implemented by the Bureau of Ocean Energy Management (BOEM),
the Bureau of Safety and Environmental Enforcement (BSEE), and provide guidelines to
operators in complying with the Endangered Species Act (ESA; 16 U.S.C. §§ 1531-1544) and
Marine Mammal Protection Act (MMPA; 16 U.S.C. §§1361- 1423h). The measures contained
herein apply to all seismic surveys approved by BOEM and associated with the federally
regulated oil and gas program in the Gulf of Mexico.

Background
Geophysical surveys, including the use of airguns and airgun arrays,may have an impact on
marine wildlife. Many marine species are protected under the Endangered Species Act (ESA)
and all marine mammals (including manatees) are protected under the Marine Mammal
Protection Act (MMPA). The following Gulf of Mexico species are listed under the ESA:

                       ESA-listed Species common to the Gulf of Mexico
            Gulf of Mexico Bryde’s Whale (Balaenoptera edeni)
            Sperm Whale (Physeter macrocephalus)
            Green Turtle (Chelonia mydas) – North Atlantic DPS and South Atlantic DPS
            Hawksbill Turtle (Eretmochelys imbricata)
            Kemp’s Ridley Turtle (Lepidochelys kempii)
            Leatherback Turtle (Dermochelys coriacea) - Northwest Atlantic DPS
            Loggerhead Turtle (Caretta caretta) – Northwest Atlantic Ocean DPS
            Gulf Sturgeon (Acipenser oxyrinchus desotoi)
            Oceanic Whitetip Shark (Carcharhinus longimanus)
            Giant Manta Ray (Manta birostris)
            West Indian Manatee (Trichechus manatus)*
              *Managed by the US Fish and Wildlife Service

Note that this list can change as other species are listed/delisted, and this protocol shall be
applied to any ESA protected species (and all marine mammals) that occur in the Gulf of
Mexico, including rare and extralimital species.
BSEE and BOEM consult jointly with the National Marine Fisheries Service (NMFS) and the
U.S. Fish and Wildlife Service (FWS) under Section 7 of the ESA to ensure that BOEM- or
BSEE-authorized activities do not jeopardize the continued existence of ESA-listed species nor
result in destruction or adverse modification of designated critical habitat. Incidental take of
ESA-listed species is prohibited except as authorized pursuant to an Incidental Take Statement
in the attached Biological Opinion. Incidental take of ESA-listed marine mammals cannot be
exempted under the ESA unless also authorized under the MMPA. In this case, NMFS is


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developing an incidental take regulation (ITR) to facilitate subsequent issuance of MMPA
authorization (as applicable) to operators to authorize take incidental to seismic surveys. The
proposed regulations would establish a framework for authorization of incidental take by Level
A and Level B harassment through MMPA authorization (as applicable). Once an ITR and
subsequent LOA is complete, the Biological Opinion and associated Incidental Take Statement
may be amended to exempt take for Gulf of Mexico Bryde’s whale and sperm whale, which are
listed under the ESA. Following development of the ITRs, implementation could occur via
issuance of MMPA authorization (as applicable and as Letters of Authorization [LOAs]) upon
request from individual industry applicants planning specific seismic survey activities.

These protocols are the result of coordination between BOEM, BSEE, and NMFS and are
based on: past and present mitigation measures; terms and conditions and reasonable and
prudent measures identified in the attached Biological Opinion issued to the Bureaus;
conditions, mitigation, monitoring, and reporting requirements identified in the MMPA ITR;
and NMFS’ technical memorandum on standards for a protected species observer and data
management program (Baker et al. 2013). BSEE is tasked as the lead agency for compiling
lessee or operator reporting data required under current Biological Opinions applicable to
both Bureaus. Therefore, while BOEM is issuing these protocols, all observer reports
described herein must be submitted to BSEE as well as to NMFS where specified.
In order to protect ESA-listed species and marine mammals during seismic operations, seismic
operators will be required to use protected species observers (PSOs) and follow specific
seismic survey protocols when operating. These measures contained herein apply to all on-
lease ancillary activity surveys conducted under 30 CFR Part 550 and all off-lease surveys
conducted under 30 CFR Part 551, regardless of water depth. Operators must demonstrate
your compliance with these requirements by submitting to BSEE and NMFS certain reports as
detailed below.


Definitions
Terms used in these protocols have the following meanings:
   1. Protected species means any species listed under the ESA and/or protected by the
      MMPA. The requirements discussed herein focus on marine mammals and sea turtles
      since these species are the most likely to be observed during seismic surveys.
      However, other ESA-listed species (e.g., giant manta rays) are also protected and
      observations of them should be reported as detailed below.
   2. Airgun means a device that releases compressed air into the water column, creating
      an acoustical energy pulse with the purpose of penetrating the seafloor.
   3. Deep penetration surveys are those using a large airgun array as the acoustic source.
      These surveys may in some cases collect return signals using sensors incorporated
      into ocean-bottom cables (OBC) or autonomous ocean-bottom nodes (OBN) placed


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       on the seafloor. These surveys are also referred to as high energy surveys.
  4.   Shallow penetration surveys are those using a small airgun array or single airgun, or
       could include certain non-airgun acoustic sources (e.g., “boomer,” a type of sub-
       bottom profiler) as the acoustic source. These surveys are also referred to as low
       energy surveys.
  5.   Ramp-up (sometimes referred to as "soft start") means the gradual and systematic
       increase of emitted sound levels from an airgun array. Ramp-up begins by first
       activating a single airgun of the smallest volume, followed by doubling the number
       of active elements in stages until the full complement of an array's airguns are
       active. Each stage should be approximately the same duration, and the total duration
       should not be less than approximately 20 minutes for deep penetration surveys.
  6.   Shutdown of an airgun array means the immediate de-activation of all individual
       airgun elements of the array.
  7.   Exclusion zone means the area to be monitored for possible shutdown in order to
       reduce or eliminate the potential for injury of protected species. Two exclusion zones
       are defined, depending on the species and context. For beaked whales, Kogia spp.,
       sperm whales, and baleen whales, the exclusion zone encompasses the area at and
       below the sea surface out to a radius of 1.5 kilometers from the edges of the airgun
       array (0–1,500 meters). For all other protected species, the exclusion zone
       encompasses the area at and below the sea surface out to a radius of 500 meters from
       the edges of the airgun array (0–500 meters).
  8.   Buffer zone means an area beyond the exclusion zone to be monitored for the presence
       of protected species that may enter the exclusion zone. During pre-clearance
       monitoring (i.e., before ramp-up begins), the buffer zone also acts as an extension of
       the exclusion zone in that observations of marine mammals and sea turtles within the
       buffer zone would also prevent airgun operations from beginning (i.e. ramp-up). The
       buffer zone is not applicable for contexts that require an exclusion zone beyond 500
       meters. The buffer zone encompasses the area at and below the sea surface from the
       edge of the 0– 500 meter exclusion zone, out to a radius of 1000 meters from the edges
       of the airgun array (500–1,000 meters).
  9.   Visual monitoring means the use of trained protected species observers (herein referred
       to as visual PSOs) to scan the ocean surface visually for the presence of protected
       species. These observers must have successfully completed a visual observer training
       program as described below. The area to be scanned visually includes primarily the
       exclusion zone, but also the buffer zone. Visual monitoring of the exclusion zones and
       adjacent waters is intended to establish and, when visual conditions allow, maintain
       zones around the sound source that are clear of marine mammals and sea turtles,
       thereby reducing or eliminating the potential for injury. Visual monitoring of the buffer
       zone is intended to (1) provide additional protection to marine mammals and sea turtles
       and awareness and potential protection of other visual protected species that may be in



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      the area during pre-clearance, and (2) during airgun use, aid in establishing and
      maintaining the exclusion zone by alerting the visual observer and crew of marine
      mammals and sea turtles that are outside of, but may approach and enter, the exclusion
      zone.
  10. Acoustic monitoring means the use of trained personnel (sometimes referred to as
      passive acoustic monitoring [PAM] operators, herein referred to as acoustic PSOs) to
      operate PAM equipment to acoustically detect the presence of marine mammals. These
      observers must have successfully completed a passive acoustic observer training
      program as described below. Acoustic monitoring is intended to further support visual
      monitoring in maintaining an exclusion zone around the sound source that is clear of
      marine mammals, in part for the purpose of reducing or eliminating the potential for
      injury. In cases where visual monitoring is not effective (e.g., due to weather,
      nighttime), acoustic monitoring may be used to allow certain activities to occur, as
      further detailed below.

General Requirements
  1. A copy of a MMPA incidental take authorization (as applicable) and BOEM-
     approved Permit/Plan must be in the possession of the vessel operator, other relevant
     personnel, the lead PSO (see description below), and any other relevant designees
     operating under the authority of the MMPA authorization (as applicable) and BOEM
     Permit/Plan.
  2. The MMPA authorization (as applicable) and BOEM-approved Permit/Plan holder
     shall instruct relevant vessel personnel with regard to the authority of the protected
     species monitoring team, and shall ensure that relevant vessel personnel and the
     protected species monitoring team participate in a joint onboard briefing (hereafter
     PSO briefing) led by the vessel operator and lead PSO to ensure that responsibilities,
     communication procedures, protected species monitoring protocols, operational
     procedures, and MMPA authorization (as applicable) and BOEM Permit/Plan
     requirements are clearly understood. This PSO briefing must be repeated when
     relevant new personnel join the survey operations before work commences.
  3. The acoustic source must be deactivated when not acquiring data or preparing to
     acquire data, except as necessary for testing. Unnecessary use of the acoustic source
     shall be avoided. Notified operational capacity (not including redundant backup
     airguns) must not be exceeded during the survey, except where unavoidable for source
     testing and calibration purposes. All occasions where activated source volume exceeds
     notified operational capacity must be communicated to the PSO(s) on duty and fully
     documented. The lead PSO must be granted access to relevant instrumentation
     documenting acoustic source power and/or operational volume.

Protected Species Observers (PSOs, Visual and Acoustic)

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Qualifications
   1. The MMPA authorization (as applicable) and BOEM-approved Permit/Plan holder
      must use independent, dedicated, trained visual and acoustic PSOs, meaning that the
      PSOs must be employed by a third-party observer provider, may have no tasks other
      than to conduct observational effort (visual or acoustic), collect data, and communicate
      with and instruct relevant vessel crew with regard to the presence of protected species
      and mitigation requirements (including brief alerts regarding maritime hazards), and
      must have successfully completed an approved PSO training course appropriate for
      their designated task (visual or acoustic). Acoustic PSOs are required to complete
      specialized training for operating PAM systems and are encouraged to have familiarity
      with the vessel with which they will be working. PSOs can act as acoustic or visual
      observers (but not at the same time) as long as they demonstrate to NMFS
      (nmfs.psoreview@noaa.gov) that their training and experience are sufficient to
      perform necessary tasks. NMFS must review and approve PSO resumes accompanied
      by a relevant training course information packet that includes the name and
      qualifications (i.e., experience, training completed, or educational background) of the
      instructor(s), the course outline or syllabus, and course reference material as well as a
      document stating successful completion of the course. NMFS shall have one week to
      approve PSOs from the time that the necessary information is submitted by the
      BOEM-approved Permit/Plan holder, after which PSOs meeting the minimum
      requirements shall automatically be considered approved.
   2. NMFS approves PSOs as conditional or unconditional. A conditionally-approved PSO
      may be one who is trained but has not yet attained the relevant experience, or who has
      attained the necessary level of experience but not in the particular region. An
      unconditionally-approved PSO is one who has attained the necessary experience within
      the relevant region. At least one of the visual and two of the acoustic PSOs aboard the
      vessel must have a minimum of 90 days at-sea experience working in those roles,
      respectively, during a deep penetration seismic survey, with no more than 18 months
      elapsed since the conclusion of the at-sea experience. One visual PSO with such
      experience shall be designated as the lead for the entire protected species observation
      team. The lead shall coordinate duty schedules and roles for the PSO team and serve as
      primary point of contact for the vessel operator. To the maximum extent practicable,
      the lead PSO shall devise the duty schedule such that experienced PSOs are on duty
      with those PSOs with appropriate training but who have not yet gained relevant
      experience.
          a. PSOs must successfully complete relevant training, including completion of all
              required coursework and passing (80 percent or greater) a written and/or oral
              examination developed for the training program. PSOs must have successfully
              attained a bachelor’s degree from an accredited college or university with a
              major in one of the natural sciences, a minimum of 30 semester hours or


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              equivalent in the biological sciences, and at least one undergraduate course in
              math or statistics. The educational requirements may be waived if the PSO has
              acquired the relevant skills through alternate experience. Requests for such a
              waiver shall be submitted by the BOEM-approved Permit/Plan holder to NMFS
              (nmfs.psoreview@noaa.gov) and must include written justification. Requests
              shall be granted or denied (with justification) by NMFS within one week of
              receipt of submitted information. Alternate experience that may be considered
              includes, but is not limited to: (1) secondary education and/or experience
              comparable to PSO duties; (2) previous work experience conducting academic,
              commercial, or government-sponsored protected species surveys; or (3)
              previous work experience as a PSO; the PSO should demonstrate good standing
              and consistently good performance of PSO duties.
Equipment
The MMPA incidental take authorization (as applicable) and BOEM-approved Permit/Plan
holder is required to:
   1. Provide PSOs with bigeye binoculars (e.g., 25 x 150; 2.7 view angle; individual ocular
      focus; height control) of appropriate quality solely for PSO use. These shall be
      pedestal-mounted on the deck at the most appropriate vantage point that provides for
      optimal sea surface observation, PSO safety, and safe operation of the vessel.
   2. Work with the selected third-party observer provider to ensure PSOs have all
      equipment (including backup equipment) needed to adequately perform necessary
      tasks, including accurate determination of distance and bearing to observed protected
      species. Such equipment, at a minimum, shall include:
          a. Each vessel requiring PAM will include a passive acoustic monitoring system
              that has been verified and tested by an experienced acoustic PSO that will be
              using it during the trip for which monitoring is required.
          b. Reticle binoculars (e.g., 7 x 50) of appropriate quality (at least one per PSO,
              plus backups)
          c. Global Positioning Units (GPS) (plus backup)
          d. Digital camera with a telephoto lens (the camera or lens should also have an
              image stabilization system) that is at least 300 mm or equivalent on a full-frame
              single lens reflex (SLR) (plus backup)Radios for communication among vessel crew
              and PSOs (at least one per PSO, plus backups)
          e. Any other tools necessary to adequately perform necessary PSO tasks.
      Equipment specified in (a) through (g) above may be provided by an individual PSO,
      the third-party observer provider, or the MMPA authorization (as applicable) and
      BOEM-approved Permit/Plan holder but the latter is responsible for ensuring PSOs
      have the proper equipment required to perform the duties specified within these
      protocols.



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Visual Monitoring
   1. During survey operations (e.g., any day on which use of the acoustic source is planned
      to occur, and whenever the acoustic source is in the water, whether activated or not), a
      minimum of two visual PSOs must be on duty and conducting visual observations at
      all times during daylight hours (i.e., from 30 minutes prior to sunrise through 30
      minutes following sunset).
   2. Visual monitoring of the exclusion and buffer zones must begin no less than 30
      minutes prior to ramp-up and must continue until one hour after use of the acoustic
      source ceases or until 30 minutes past sunset.
   3. Visual PSOs shall coordinate to ensure 360° visual coverage around the vessel from
      the most appropriate observation posts, and shall conduct visual observations using
      binoculars and the naked eye while free from distractions and in a consistent,
      systematic, and diligent manner.
   4. PSOs shall establish and monitor applicable exclusion and buffer zones. These zones
      shall be based upon the radial distance from the edges of the airgun array (rather than
      being based on the center of the array or around the vessel itself). During use of the
      acoustic source (i.e., anytime the acoustic source is active, including ramp-up),
      occurrences of protected species within the buffer zone (but outside the exclusion zone)
      should be communicated to the operator to prepare for the potential shutdown for
      marine mammals (or voluntary pause for other non-marine mammal protected species
      [e.g., sea turtles] if being employed) of the acoustic source.
   5. Visual PSOs shall immediately communicate all observations to the on duty
      acoustic PSO(s), including any determination by the PSO regarding species
      identification, distance, and bearing and the degree of confidence in the
      determination.
   6. Any observations of protected species by crew members aboard any vessel associated
      with the survey shall be relayed to the PSO team.
   7. During good conditions (e.g., daylight hours; Beaufort sea state (BSS) 3 or less), visual
      PSOs shall conduct observations when the acoustic source is not operating for
      comparison of sighting rates and behavior with and without use of the acoustic source
      and between acquisition periods, to the maximum extent practicable.
   8. Visual PSOs may be on watch for a maximum of two consecutive hours followed by a
      break of at least one hour between watches and may conduct a maximum of 12 hours
      of observation per 24-hour period. Combined observational duties (visual and acoustic
      but not at same time) may not exceed 12 hours per 24-hour period for any individual
      PSO.
Acoustic Monitoring

   1. Applicants must provide a PAM plan to NMFS according to the MMPA authorization


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      including description of the hardware and software proposed for use prior to
      proceeding with any survey where PAM is required. The source vessel must use a
      towed PAM system at all times when operating in waters deeper than 100 m, which
      must be monitored by at a minimum one on duty acoustic PSO beginning at least 30
      minutes prior to ramp-up and at all times during use of the acoustic source. “PAM
      system” refers to calibrated hydrophone arrays with full system redundancy to detect,
      identify, and estimate distance and bearing to vocalizing cetaceans. The PAM system
      must have at least one calibrated hydrophone (per each deployed hydrophone type
      and/or set) sufficient for determining whether background noise levels on the towed
      PAM system are sufficiently low to meet performance expectations, and must
      incorporate appropriate hydrophone elements (1 Hz to 180 kHz range) and sound data
      acquisition card technology for sampling relevant frequencies (i.e., to 360 kHz).
      Applicants must provide a PAM plan including description of the hardware and
      software proposed for use prior to proceeding with any survey where PAM is required.
   2. Acoustic PSOs shall immediately communicate all detections to visual PSOs, when
      visual PSOs are on duty, including any determination by the PSO regarding species
      identification, distance, and bearing and the degree of confidence in the
      determination.
   3. Acoustic PSOs may be on watch for a maximum of four consecutive hours followed
      by a break of at least two hours between watches and may conduct a maximum of 12
      hours of observation per 24-hour period. Combined observational duties (acoustic and
      visual but not at same time) may not exceed 12 hours per 24-hour period for any
      individual PSO.
   4. Survey activity may continue for 30 minutes when the PAM system malfunctions or
      is damaged, while the PAM operator diagnoses the issue. If the diagnosis indicates
      that the PAM system must be repaired to solve the problem, operations may continue
      for an additional two hours without acoustic monitoring during daylight hours only
      under the following conditions:
          a. Sea state is less than or equal to BSS 4;
          b. No marine mammals (excluding delphinids) detected solely by PAM in
               the applicable exclusion zone in the previous two hours;
          c. NMFS and BSEE are notified via email (nmfs.psoreview@noaa.gov and
               protectedspecies@bsee.gov, respectively) as soon as practicable with the time
               and location in which operations began occurring without an active PAM
               system; and
          d. Operations with an active acoustic source, but without an operating PAM
               system, do not exceed a cumulative total of four hours in any 24-hour period.
Data Collection
PSOs must use a standardized data collection form, whether hard copy or electronic. PSOs
shall record detailed information about any implementation of mitigation requirements,

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including the distance of animals to the acoustic source and description of specific actions that
ensued, the behavior of the animal(s), any observed changes in behavior before and after
implementation of mitigation, and if shutdown was implemented, the length of time before
any subsequent ramp-up of the acoustic source. If required mitigation was not implemented,
PSOs should record a description of the circumstances. At a minimum, the following
information must be recorded within the interim reports:
   1. BOEM Permit/Plan number;
   2. Vessel names (source vessel and other vessels associated with survey), vessel size and
       type, maximum speed capability of vessel, port of origin, and call signs;
   3. PSO names and affiliations;
   4. Dates of departures and returns to port with port name;
   5. Date and participants of PSO briefings (as discussed in General Requirements. 2.);
   6. Dates and times (Greenwich Mean Time) of survey effort and times corresponding
       with PSO effort;
   7. Vessel location (latitude/longitude) when survey effort began and ended and
       vessel location at beginning and end of visual PSO duty shifts;
   8. Vessel heading and speed at beginning and end of visual PSO duty shifts and upon
       any line change;
   9. Environmental conditions while on visual survey (at beginning and end of PSO shift
       and whenever conditions changed significantly), including BSS and any other relevant
       weather conditions including cloud cover, fog, sun glare, and overall visibility to the
       horizon;
   10. Factors that may have contributed to impaired observations during each PSO shift
       change or as needed as environmental conditions changed (e.g., vessel traffic,
       equipment malfunctions);
   11. Survey activity information, such as acoustic source power output while in operation,
       number and volume of airguns operating in the array, tow depth of the array, and
       any other notes of significance (i.e., pre-clearance, ramp-up, shutdown, testing,
       shooting, ramp-up completion, end of operations, streamers, etc.); and
   12. Upon visual observation of any protected species, the following information:
           a. Watch status (sighting made by PSO on/off effort, opportunistic, crew,
               alternate vessel/platform);
           b. PSO who sighted the animal;
           c. Time of sighting;
           d. Vessel location at time of sighting;
           e. Water depth;
           f. Direction of vessel’s travel (compass direction);
           g. Direction of animal’s travel relative to the vessel;
           h. Pace of the animal;
           i. Estimated distance to the animal and its heading relative to vessel at


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                      initial sighting;
                 j. Identification of the animal (e.g., genus/species, lowest possible taxonomic
                    level, or unidentified) and the composition of the group if there is a mix of
                    species;
                 k. Estimated number of animals (high/low/best);
                 l. Estimated number of animals by cohort (adults, juveniles,, group composition,
                    etc.);
                 m. Description (as many distinguishing features as possible of each individual
                    seen, including length, shape, color, pattern, scars or markings, shape and size
                    of dorsal fin, shape of head, and blow characteristics);
                 n. Detailed behavior observations (e.g., number of blows/breaths, number
                    of surfaces, breaching, spyhopping, diving, feeding, traveling; as explicit
                    and detailed as possible; note any observed changes in behavior),
                    including an assessment of behavioral responses to survey activity;
                 o. Animal’s closest point of approach (CPA) and/or closest distance from
                    any element of the acoustic source;
                 p. Platform activity at time of sighting (e.g., deploying, recovering, testing,
                    shooting, data acquisition, other); and
                 q. Description of any actions implemented in response to the sighting (e.g.,
                    delays, shutdown, ramp-up) and time and location of the action.
        13. If a marine mammal is detected while using the PAM system, the following
            information should be recorded:
                 a. An acoustic encounter identification number, and whether the detection
                    was linked with a visual sighting;
                 b. Date and time when first and last heard;
                 c. Types and nature of sounds heard (e.g., clicks, whistles, creaks, burst
                    pulses, continuous, sporadic, strength of signal);
                 d. Any additional information recorded such as water depth of the hydrophone
                    array, bearing of the animal to the vessel (if determinable), species or
                    taxonomic group (if determinable), spectrogram screenshot, and any other
                    notable information.

    Seismic Survey Protocols 1
    Pre-clearance and Ramp-up
    The intent of pre-clearance observation (30 minutes) is to ensure no protected species are
    observed within the exclusion zones, and buffer zone if applicable (i.e., only when the
    exclusion zone is equal to 500 meters, see Definitions section for details on when the buffer

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    This includes borehole or vertical seismic profile surveys.


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zone is not applicable), prior to the beginning of ramp-up. During pre-clearance is the only
time observations of protected species in the buffer zone would prevent operations (i.e., the
beginning of ramp-up). The intent of ramp-up is to warn protected species of pending seismic
operations and to allow sufficient time for those animals to leave the immediate vicinity. A
ramp-up procedure, involving a step-wise increase in the number of airguns firing and total
array volume until all operational airguns are activated and the full volume is achieved, is
required at all times as part of the activation of the acoustic source. All operators must adhere
to the following pre-clearance and ramp-up requirements, which are applicable to both marine
mammals and sea turtles:
   1. The operator must notify a designated PSO of the planned start of ramp-up as agreed
      upon with the lead PSO; the notification time should not be less than 60 minutes prior
      to the planned ramp-up in order to allow the PSOs time to monitor the exclusion and
      buffer zones for 30 minutes prior to the initiation of ramp-up (pre-clearance).
   2. Ramp-ups shall be scheduled so as to minimize the time spent with the source
      activated prior to reaching the designated run-in.
   3. One of the PSOs conducting pre-clearance observations must be notified again
      immediately prior to initiating ramp-up procedures and the operator must
      receive confirmation from the PSO to proceed.
   4. Ramp-up may not be initiated if any marine mammal or sea turtle is within the
      applicable exclusion or buffer zone. If a marine mammal or sea turtle is observed
      within the applicable exclusion zone or the buffer zone during the 30 minute pre-
      clearance period, ramp-up may not begin until the animal(s) has been observed exiting
      the zones or until an additional time period has elapsed with no further sightings (15
      minutes for small odontocetes and 30 minutes for all other species including sea
      turtles).
   5. Ramp-up shall begin by activating a single airgun of the smallest volume in the array
      and shall continue in stages by doubling the number of active elements at the
      commencement of each stage, with each stage of approximately the same duration.
      Duration shall not be less than 20 minutes. The operator must provide information to
      the PSO documenting that appropriate procedures were followed.
   6. PSOs must monitor the exclusion and buffer zones during ramp-up, and ramp-up must
      cease and the source must be shut down upon observation of a marine mammal or sea
      turtle within the applicable exclusion zone. Once ramp-up has begun, observations of
      marine mammals and sea turtles within the buffer zone do not require shutdown, or
      voluntarily pause for other non-marine mammal protected species (e.g., sea turtles) if
      being employed, but such observation shall be communicated to the operator to prepare
      for the potential shutdown, or voluntarily pause if being employed.
   7. Ramp-up may occur at times of poor visibility, including nighttime, if appropriate
      acoustic monitoring has occurred with no detections in the 30 minutes prior to
      beginning ramp-up. Acoustic source activation may only occur at times of poor


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       visibility where operational planning cannot reasonably avoid such circumstances.
   8. If the acoustic source is shut down for brief periods (i.e., less than 30 minutes) for
      reasons other than that described below in Shutdown (e.g., mechanical difficulty), it
      may be activated again without ramp-up if PSOs have maintained constant visual
      and/or acoustic observation and no visual detections of marine mammals or sea turtles
      have occurred within the applicable exclusion zone and no acoustic detections of
      marine mammals have occurred. For any longer shutdown, pre-clearance observation
      and ramp-up are required. For any shutdown at night or in periods of poor visibility
      (e.g., BSS 4 or greater), ramp-up is required, but if the shutdown period was brief and
      constant observation was maintained, pre-clearance watch of 30 min is not required.
   9. Testing of the acoustic source involving all elements requires ramp-up. Testing limited
      to individual source elements or strings does not require ramp-up but does require pre-
      clearance of 30 min.
Shutdown
For non-marine mammal protected species (e.g., sea turtles), shutdowns are not required.
However, the BOEM Permit or authorized Plan and MMPA authorization (as applicable)
holder may employ a voluntary pause during which the visual PSO would request that the
operator voluntarily pause the airgun array for six shots if a non-marine mammal protected
species is observed within the exclusion zone (within 500 meters) during active airgun use, to
let the animal float past the array while it is inactive. For marine mammals, all operators must
adhere to the following shutdown requirements:
   1. Any PSO on duty has the authority to delay the start of survey operations or to call
      for shutdown of the acoustic source if a marine mammal is detected within the
      applicable exclusion zone.
   2. The operator must establish and maintain clear lines of communication directly
      between PSOs on duty and crew controlling the acoustic source to ensure that
      shutdown, and voluntary pause commands (optional for other protected species) are
      conveyed swiftly while allowing PSOs to maintain watch.
   3. When both visual and acoustic PSOs are on duty, all detections must be immediately
      communicated to the remainder of the on-duty PSO team for potential verification
      of visual observations by the acoustic PSO or of acoustic detections by visual PSOs.
   4. When the airgun array is active (i.e., anytime one or more airguns is active, including
      during ramp-up) and (1) a marine mammal appears within or enters the applicable
      exclusion zone and/or (2) a marine mammal (excluding delphinids) is detected
      acoustically and localized within the applicable exclusion zone, the acoustic source
      must be shut down. When shutdown is called for by a PSO, the acoustic source must be
      immediately deactivated and any dispute resolved only following deactivation.
   5. The shutdown requirement is waived for dolphins of the following genera:
      Steno, Tursiops, Stenella, and Lagenodelphis.


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         a. If a small delphinid (individual of the Family Delphinidae, which includes the
            aforementioned dolphin genera), is acoustically detected and localized within
            the exclusion zone, no shutdown is required unless the acoustic PSO or a
            visual PSO confirms the individual to be of a genera other than those listed
            above, in which case a shutdown is required.
  6. If there is uncertainty regarding identification (i.e., whether the observed marine
     mammal(s) belongs to one of the delphinid genera for which shutdown is waived or
     one of the species with a larger exclusion zone), visual PSOs may use best
     professional judgment in making the decision to call for a shutdown.
  7. Upon implementation of shutdown, the source may be reactivated after the marine
     mammal(s) has been observed exiting the applicable exclusion zone (i.e., animal is
     not required to fully exit the buffer zone where applicable) or following a 30-minute
     clearance period with no further observation of the marine mammal(s).

Shallow penetration protocols
    1. Shallow penetration surveys are defined as surveys using airgun arrays with total
       volume equal to or less than 400 in3, single airguns, boomers, or equivalent sources.
    2. LOA-holders shall follow the requirements defined for deep penetration surveys at §
       217.184(b), with the following exceptions:
            a. PAM is not required for shallow penetration surveys.
            b. Ramp-up for small airgun arrays must follow the procedure described above
               for large airgun arrays, but may occur over an abbreviated period of time.
               Ramp-up is not required for surveys using only a single airgun. For sub-
               bottom profilers, power should be increased as feasible to effect a ramp-up.
            c.    Two exclusion zones are defined, depending on the species and context. A
                 standard exclusion zone encompassing the area at and below the sea surface
                 out to a radius of 100 meters from the edges of the airgun array (if used) or
                 from the acoustic source (0-100 m) is defined. For special circumstances (§
                 217.184(b)(6)(v)), the exclusion zone encompasses an extended distance of
                 500 meters (0-500 m).
            d. The buffer zone encompasses the area at and below the sea surface from the
               edge of the 0-100 meter exclusion zone out to a radius of 200 meters from the
               edges of the airgun array (if used) or from the acoustic source (100-200
               meters). The buffer zone is not applicable when the exclusion zone is greater
               than 100 meters.


Non-Airgun High-Resolution Geophysical (HRG) Protocol


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 Non-airgun HRG surveys are conducted in leases and along pipeline routes to evaluate the
 potential for geohazards, archaeological resources, and certain types of benthic
 communities. Non-airgun HRG sources include but are not limited to side-scan sonars,
 boomers, sparkers (in limited situations) and compressed high-intensity radiated pulse
 (CHIRP) subbottom profilers (in limited situations), and single-beam or multibeam depth
 sounders.
 Non-Airgun HRG Surveys with Frequencies ≥180 kHz
 Acoustic sources do not require detailed analyses because the frequency is outside the
 general hearing range of marine mammals.
 Non-Airgun HRG Surveys with Frequencies <180 kHz
 For all non-airgun HRG surveys in which one or more active acoustic sound sources are
 operating at these frequencies, the following will be required for the indicated water depths.
 PAM is not required for any HRG survey. No shutdowns would be required for HRG
 surveys. Pre-clearance watch is required for a period of 30 minutes and over a 200-m radius
 from the acoustic source.

       Shallow-water (< 100 m)
    1. Employ a minimum of one visual PSO, which may be a crew member. PSOs
       employed during shallow-water HRG surveys are only required during a pre-
       clearance period.

       Deep-water (> 100 m)
    1. Employ a minimum of one independent visual PSO during all daylight operations,
       in the same manner as was described for deep and shallow airgun penetration
       surveys.
    2. PSOs are not required during survey operations in which the active acoustic
       source(s) are deployed on an autonomous underwater vehicle.



 Entanglement and Entrainment Risk Reduction
All lines (rope, chain, cable, etc.) associated with geophysical surveys must be stiff, taut, and
non-looping. Flexible lines such as nylon or polypropylene that could loop or tangle protected
species must be enclosed in a sleeve to add rigidity and prevent looping or tangling. No excess
underwater line is allowed. All equipment, especially towed apparatuses (e.g., tail buoys), shall
be designed in a way as to prevent entrainment of sea turtles or other protected species.
 Nodal Survey Requirements
To avoid the risk of entanglement, lessees and operators conducting surveys using ocean-bottom



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nodes or similar gear must:
1. Use negatively buoyant coated wire-core tether cable;
2. Ensure any cables/lines are designed to be rigid ;
3. Retrieve all lines immediately following completion of the survey; and
4. Attach acoustic pingers directly to the coated tether cable; acoustic releases should not be
   used.


 Reporting
    1. The BOEM Permit/Plan holder shall submit interim reports (see Data Collection
       section for details) on the 1st of each month to BSEE (protectedspecies@bsee.gov)
       detailing all protected species observations with closest approach distance.
    2. The MMPA authorization (as applicable) and BOEM Permit/Plan holder shall submit a
       draft comprehensive report to BOEM/BSEE (protectedspecies@boem.gov and
       protectedspecies@bsee.gov) and NMFS (nmfs.psoreview@noaa.gov) on all activities
       and monitoring results within 90 days of the completion of the survey or expiration of
       the MMPA authorization (as applicable) or BOEM Permit/Plan, whichever comes
       sooner, or if an issued MMPA authorization is valid for greater than one year, the
       summary report must be submitted on an annual basis,. The report must describe all
       activities conducted and sightings of protected species near the activities, must provide
       full documentation of methods, results, and interpretation pertaining to all monitoring,
       and must summarize the dates and locations of survey operations and all protected
       species sightings (dates, times, locations, activities, associated survey activities, and
       information regarding locations where the acoustic source was used). The draft report
       shall also include geo-referenced time-stamped vessel tracklines for all time periods
       during which airguns were operating. Tracklines should include points recording any
       change in airgun status (e.g., when the airguns began operating, when they were turned
       off, or when they changed from full array to single gun or vice versa). GIS files shall be
       provided in ESRI shapefile format and include the UTC date and time, latitude in
       decimal degrees, and longitude in decimal degrees. All coordinates shall be referenced
       to the WGS84 geographic coordinate system. In addition to the report, all raw
       observational data shall be made available to BOEM/BSEE and NMFS. The report
       must summarize the information submitted in interim monthly reports as well as
       additional data collected as described above in Data Collection and the MMPA
       authorization (as applicable). The draft report must be accompanied by a certification
       from the lead PSO as to the accuracy of the report, and the lead PSO may submit
       directly to BOEM/BSEE and NMFS a statement concerning implementation and
       effectiveness of the required mitigation and monitoring. A final report must be
       submitted within 30 days following resolution of any comments on the draft report.


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  3. Reporting injured or dead protected species:
     The MMPA authorization (as applicable) and BOEM Permit/Plan holder must report
     sightings of any injured or dead aquatic protected species immediately, regardless of
     the cause of injury or death.
      For injured or dead non-marine mammal aquatic protected species, report incidents to
      the hotlines listed at https://www.fisheries.noaa.gov/report (phone numbers vary by
      state). For reporting dead or injured marine mammals, refer to the reporting
      requirements specified in the MMPA authorization (as applicable), associated with
      the activity being conducted. The report must include the following information:

         1. Time, date, water depth and location (latitude/longitude) of the first discovery
            (and updated location information if known and applicable);
         2. Relevant weather conditions (e.g., cloud cover, fog, sun glare, etc.);
         3. Name, type, call sign, and speed of the vessel during and leading up to the first
            sighting;
         4. Species identification (if known) or description of the animal(s) involved;
         5. Condition of the animal(s) (including carcass condition if the animal is dead);
         6. Observed behaviors of the animal(s), if alive;
         7. If available, photographs or video footage of the animal(s); and
         8. General circumstances under which the animal was discovered.

References
Baker, K., D. Epperson, G. Gitschlag, H. Goldstein, J. Lewandowski, K. Skrupky, B. Smith,
  and T. Turk. 2013. National standards for a protected species observer and data
  management program: A model using geological and geophysical surveys. Technical
  Memorandum NMFS-OPR-49, Office of Protected Resources, National Marine Fisheries
  Service, National Oceanic and Atmospheric Administration; Bureau of Ocean Energy
  Management, U.S. Department of the Interior; Bureau of Safety and Environmental
  Enforcement, U.S. Department of the Interior, Silver Spring, Maryland.




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     Appendix B. Gulf of Mexico Marine Trash and Debris
             Awareness and Elimination Survey Protocols
These protocols will be implemented by the Bureau of Ocean Energy Management (BOEM),
the Bureau of Safety and Environmental Enforcement (BSEE), and operators in complying
with the Endangered Species Act (ESA; 16 U.S.C. §§ 1531-1544) and Marine Mammal
Protection Act (MMPA; 16 U.S.C. §§1361- 1423h).

Background
Marine trash and debris pose a threat to fish, marine mammals, sea turtles, and potentially
other marine animals; cause costly delays and repairs for commercial and recreational boating
interests; detract from the aesthetic quality of recreational shore fronts; and increase the cost
of beach and park maintenance. As Outer Continental Shelf (OCS) oil- and gas-related
activities expand into deeper waters, the number of species of protected marine animals
exposed to marine debris could increase. Many marine species are protected under the
Endangered Species Act (ESA) and all marine mammals (including manatees) are protected
under the Marine Mammal Protection Act (MMPA). The discharge of garbage and debris has
been the subject of strict laws, such as MARPOL-Annex V and the Marine Debris Act, 33
U.S.C. 1951 et seq., and regulations imposed by various agencies including the United States
Coast Guard and the Environmental Protection Agency.

Since OCS oil and gas operations in the Gulf of Mexico may contribute to this problem, 30
CFR 250.300(a) and (b)(6) prohibit discharging containers and other materials into the marine
environment, and 30 CFR 250.300(c) and (d) require durable identification markings on skid-
mounted equipment, portable containers, spools or reels, and drums, and to record and report
such items when lost overboard to the District Manager through facility daily operations
reports. Therefore, in accordance with 30 CFR 250.300(a) and (b)(6), exercise special caution
when handling and transporting small items and packaging materials, particularly those made
of non-biodegradable, environmentally persistent materials such as plastic or glass that can be
lost in the marine environment and washed ashore. Increasing awareness of the problem and
emphasizing offshore worker’s responsibilities will help minimize the litter issue and control
the unintended loss of items such as empty buckets, hard hats, shrink wrap, strip lumber and
pipe thread protectors.

BSEE and BOEM consult jointly with the National Marine Fisheries Service (NMFS) and the
U.S. Fish and Wildlife Service (FWS) under Section 7 of the ESA to ensure that BOEM or
BSEE authorized activities do not jeopardize the continued existence of ESA-listed species
nor result in adverse modification of designated critical habitat. Incidental take of ESA-listed
species is prohibited except as authorized pursuant to an Incidental Take Statement in a
Biological Opinion. Incidental take of ESA listed marine mammals cannot be authorized

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under the ESA unless also authorized under the MMPA.


Marine Trash and Debris Placards
Permit holders must continue to post placards that include each of the information text boxes
in Attachment 1 of this Appendix in prominent places on all fixed and floating production
facilities that have sleeping or food preparation capabilities and on mobile drilling units
engaged in oil and gas operations in the Gulf of Mexico OCS. Each of the placards depicted,
with the language specified, must be displayed on a 5x8 inch format or larger. These signs
must be displayed at line-of-sight height at or near boat landings and heliports; in mess areas;
and in the recreation, training or orientation areas. One or more areas may be omitted if there
is insufficient space. These notices must be referenced, and their contents explained, during
any initial orientation given on the facility for visitors or occupants. Placards must be sturdy
enough to withstand the local environment and must be replaced when damage or wear
compromises readability.

Marine Trash and Debris Awareness Training

All OCS offshore employees and those contractors actively engaged in OCS offshore
operations (e.g., wireline operators, contract lease operators, and maintenance or construction
crews) should complete marine trash and debris awareness training annually.

The training for employees and contractors consists of two parts: (1) viewing a marine trash
and debris training video or slide show (described below); and (2) receiving an explanation
from management personnel of the lessee or designated lease operator that emphasizes their
commitment to the requirements.

You may obtain the marine trash and debris training video, training slide packs, and other
marine debris related educational material produced by the Offshore Operators Committee
(OOC), through the OOC website at https://www.ooctraining.org/ or
https://www.bsee.gov/debris. The video and slides are offered in English and Spanish
versions and the video is available as a DVD or VHS tape. The video, slides, and related
material may also be downloaded directly from the website.

Marine Trash and Debris Awareness Training and Certification Process
Permit holders and offshore operators must continue to develop and use a marine trash and
debris awareness training and certification process that reasonably assures that the employees
and contractors specified above are in fact trained. Your training process must include the
following elements:



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1) viewing of either the video or the slide show by the personnel specified above using one of
   the following methods:
   a) attendance at periodic meetings held for this purpose;
   b) as part of several scheduled training components;
   c) web-based training with email notification; or
   d) training by a third-party contractor;
2) an explanation from the management that conveys the commitment of the company to
   achieve the objectives of the trash and debris containment requirement;
3) attendance measures (initial and annual); and
4) recordkeeping and availability of records for inspection by BSEE.

By January 31st of each year, you must provide BSEE and NMFS with an annual report (1-2
pages) signed by a company official that describes your marine trash and debris awareness
training process and certifies that the training process has been followed for the previous
calendar year. You should send the report by email to marinedebris@bsee.gov 1.

In lieu of emailing the report, you may send a printed copy to:

Bureau of Safety and Environmental Enforcement
Gulf of Mexico OCS Region
Office of Environmental Compliance (MS GE466)
1201 Elmwood Park Blvd.
New Orleans, Louisiana 70123



    Contact
    Please submit any questions by e-mail to: marinedebris@bsee.gov.




1
    BSEE will forward these reports to NMFS per the requirements under this biological opinion.

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                                           Attachment 1

                                     Marine Debris Placards


                                 WHAT IS MARINE DEBRIS?


   Marine debris is any object or fragment of wood, metal, glass, rubber, plastic, cloth, paper
   or any other man-made .item or material that is lost or discarded in the marine
   environment. Marine debris may be intentionally dumped, accidentally dropped, or indirectly
   deposited. Whatever the source, marine debris is a direct result of human activities on land
   and at sea. Depending upon its composition, marine debris may sink to the seafloor, drift in
   the water column, or float on the surface of the sea. Certain debris, such as plastics, can
   persist for hundreds of years in the marine environment without decomposing.




                                           WARNING!


    YOUR ACTIONS MAY SUBJECT YOU TO SEVERE LEGAL CONSEQUENCES!


 The disposal and/or discharge of any solid waste anywhere in the marine environment (other
 than ground-up food particles) is strictly prohibited by U.S. Coast Guard and Environmental
 Protection Agency regulations. THIS INCLUDES MATERIALS OR DEBRIS
 ACCIDENTALLY LOST OVERBOARD.


 The disposal of equipment, cables, chains, containers or other materials into offshore waters is
 prohibited by the Bureau of Safety and Environmental Enforcement (30 CFR 250.300(b)(6)).
 THIS INCLUDES MATERIALS OR DEBRIS ACCIDENTALLY LOST OVERBOARD.




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                                          ATTENTION!

          MARINE DEBRIS MAY CAUSE SEVERE ECOLOGICAL DAMAGE!

  Marine debris discarded or lost from offshore and coastal sources may injure or kill fish,
  marine mammals, sea turtles, seabirds and other wildlife.


  Thousands of marine animals, including marine mammals, sea turtles and seabirds, die every
  year from entanglement in fishing line, strapping bands, discarded ropes and nets and plastic
  six-pack rings. Additionally, unknown numbers of marine animals die each year from internal
  injury, intestinal blockage and starvation as a result of ingesting marine debris.


  Marine debris fouls boat propellers and clogs water intake ports on engines thereby endangering
  the safety of fishermen and boaters and resulting in heavy loss of time and money.


  Marine debris detracts from the aesthetic quality of recreational beaches and shorelines and
  increases the cost of park and beach maintenance.




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                                          ATTENTION!

                             SECURE ALL LOOSE ARTICLES!

NOAA Fisheries now expects petroleum industry personnel to pick up and recover any articles
lost overboard from boats and offshore structures as safety conditions permit. Additionally, 30
CFR 250.300 (d) requires recording and reporting items lost overboard to the District Manager
through facility daily operations reports.


Protect marine animals, as well as your valuable time and money, by doing the following to
prevent accidental loss of these items:


Properly securing all materials, equipment, and personal belongings. Articles such as hardhats,
life vests, sunglasses, cigarette lighters, parts bags, buckets, shrink wrap, strip lumber, and pipe
thread protectors become marine debris when lost overboard.


Making sure that all trash receptacles have tight fitting lids and that the lids are used.


Providing and using secure cigarette butt containers. Cigarette butts are one of the most
common forms of marine debris. Many cigarette butts contain some form of plastic and do
not decompose in the ocean. Cigarette butts pose a major threat to marine wildlife as they
resemble food and cause gut blockages and starvation when ingested.


Do your part to eliminate marine debris. Encourage others to be responsible about marine
debris by making suggestions to secure potential marine debris on your boat or structure or by
participating in a beach cleanup.




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      Appendix C. Gulf of Mexico Vessel Strike Avoidance and
              lnjured/Dead Aquatic Protected Species Reporting
              Protocols
These protocols will be implemented by the Bureau of Ocean Energy Management (BOEM), the
Bureau of Safety and Environmental Enforcement (BSEE), and provide guidelines to operators
in complying with the Endangered Species Act (ESA; 16 U.S.C. §§ 1531-1544) and Marine
Mammal Protection Act (MMPA; 16 U.S.C. §§1361- 1423h). The measures contained herein
apply to all vessels associated with the federally regulated oil and gas program in the Gulf of
Mexico.

 Aquatic Protected Species Identification
 Crew and supply vessel personnel should use a Gulf of Mexico reference guide that includes
 identifying information on marine mammals, sea turtles, and other marine protected species
 (i.e., Endangered Species Act listed species such as Gulf sturgeon, giant manta ray, or
 oceanic whitetip shark; hereafter collectively termed “other aquatic protected species”) that
 may be encountered in the Gulf of Mexico Outer Continental Shelf (OCS). Vessel operators
 must comply with the below measures except under extraordinary circumstances when the
 safety of the vessel or crew is in doubt or the safety of life at sea is in question.

 Vessel Strike Avoidance
    1. Vessel operators and crews must maintain a vigilant watch for all aquatic protected
       species and slow down, stop their vessel, or alter course, as appropriate and regardless
       of vessel size, to avoid striking any protected species. A single aquatic protected
       species at the surface may indicate the presence of submerged animals in the vicinity of
       the vessel; therefore, precautionary measures should always be exercised. A visual
       observer aboard the vessel must monitor a vessel strike avoidance zone (species-
       specific distances detailed below) around the vessel according to the parameters stated
       below, to ensure the potential for strike is minimized. Visual observers monitoring the
       vessel strike avoidance zone can be either third-party observers or crew members (e.g.,
       captain), but crew members responsible for these duties must be provided sufficient
       training to distinguish aquatic protected species to broad taxonomic groups, as well as
       those specific species detailed further below.
    2. Vessel speeds must also be reduced to 10 knots or less when mother/calf pairs, pods,
       or large assemblages (greater than three) of any marine mammal are observed near a
       vessel.
    3. All vessels must maintain a minimum separation distance of 100 meters (m) from


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            sperm whales, and 500 m from any baleen whale to specifically protect the Gulf of
            Mexico Bryde’s. If a large whale species is unidentifiable, then the
            vessel/observer/crew should act upon their actions per these mitigations as if it is a
            baleen whale.
       4.   All vessels must, to the maximum extent practicable, attempt to maintain a minimum
            separation distance of 50 meters from all “other aquatic protected species” including
            sea turtles, with an exception made for those animals that approach the vessel.
       5.   When aquatic protected species are sighted while a vessel is underway, the vessel
            should take action as necessary to avoid violating the relevant separation distance (e.g.,
            attempt to remain parallel to the animal’s course, avoid excessive speed or abrupt
            changes in direction until the animal has left the area). If aquatic protected species are
            sighted within the relevant separation distance, the vessel should reduce speed and shift
            the engine to neutral, not engaging the engines until animals are clear of the area. This
            does not apply to any vessel towing gear (e.g., source towed array and site clearance
            trawling).
       6.   If a manatee is sighted, vessels associated with the project should operate at "no
            wake/idle" speeds within that area. Vessels should follow routes of deep water
            whenever possible and attempt to maintain a distance of 50 m if practicable. This
            does not apply to any vessel towing gear (e.g., source towed array and site clearance
            trawling).
       7.   Any BOEM/BSEE-authorized or -permitted activity occurring within the Eastern
            Planning Area will be subject to a step-down review with NMFS under the attached
            2020 biological opinion on BOEM Oil and Gas Program Activities in the Gulf of
            Mexico.

    The above requirements do not apply in any case where compliance would create an
    imminent and serious threat to a person or vessel or to the extent that a vessel is restricted in
    its ability to maneuver and, because of that restriction, is unable to comply.

    Injured/Dead Protected Species Reporting
    Vessel operators must report sightings of any injured or dead aquatic protected species
    immediately, regardless of whether the injury or death is caused by your vessel. If the injury
    or death was caused by a collision with the operator’s vessel, an entrapment within the
    operator’s equipment or vessel (e.g. moon pool), or an entanglement within the operator’s
    equipment, the operator must further notify BOEM and BSEE within 24 hours of the strike
    or entrapment/entanglement by email to protectedspecies@boem.gov and
    protectedspecies@bsee.gov 1.


1
 BOEM/BSEE will forward these reports to NMFS ESA section 7 biologist per reporting requirements under the
attached biological opinion terms and conditions.


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For injured or dead non-marine mammal aquatic protected species, report incidents to the
hotlines listed at https://www.fisheries.noaa.gov/report (phone numbers vary by state). For
reporting dead or injured marine mammals, refer to the reporting requirements specified in
the MMPA authorization (as applicable), associated with the activity being conducted. The
report must include the following information:

   1. Time, date, water depth and location (latitude/longitude) of the first discovery (and
      updated location information if known and applicable);
   2. Relevant weather conditions (e.g., cloud cover, fog, sun glare, etc.);
   3. Name, type, call sign, and speed of the vessel during and leading up to the first sighting;
   4. Species identification (if known) or description of the animal(s) involved;
   5. Condition of the animal(s) (including carcass condition if the animal is dead);
   6. Observed behaviors of the animal(s), if alive;
   7. If available, photographs or video footage of the animal(s); and
   8. General circumstances under which the animal was discovered.




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Appendix D. Fisheries Take of Turtles
Table A- 1. Summary of Anticipated 3-year Take and Mortality Estimates for the Coastal
Migratory Pelagic Resources in the Atlantic and Gulf of Mexico (NMFS 2015).




Table A- 2. Anticipated takes over 3-years for the Highly Migratory Species Atlantic Shark and
Smoothhound Fisheries (NMFS 2012).
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Table A- 3. Anticipated takes over 3-years for the Southeast U.S. Shrimp Fisheries in Federal
Waters (NMFS 2014).
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Table A- 4. Anticipated take over three years starting in 2010 under the Gulf Of Mexico Reef Fish
Fishery Management Plan (NMFS 2011).
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Appendix E. Summary of Oil Industry Discharges to the OCS
Authorized by USEPA General NPDES Permits
Section 402 of the Clean Water Act authorizes the EPA to issue NPDES permits to regulate
discharges into the nation’s waters. EPA will issue a permit if they determine that the proposed
discharges will not result in unreasonable degradation. Factors for determining unreasonable
degradation can be found at 40 CFR 125.122. The EPA’s review of information provided for the
issuance of general permits GMG290000 and GEG460000 has not resulted in a determination of
degradation of the impacted waters. These permits considered the following discharges,
restrictions, and monitoring requirements:

   1. Drilling fluids/muds – Fluids that are pumped down the drill pipe to counteract
      formation pressure, remove drill cuttings, cool the drill bit, and support the bore hole.
      They are often referred to as drilling muds due to the addition of fine-grained solids,
      inorganic salts, and organic additives. There are two main types of drilling fluids: water-
      based fluids (WBF) and Non-aqueous based fluids (NABF) which include oil based
      fluids (OBF) and synthetic-based fluids (SBF). Drilling fluids often contain barite which
      is a source of cadmium and mercury, which have been shown to bio-accumulate in
      marine organisms.

           Restrictions: (1) The discharge of non-aqueous based drilling fluid is prohibited,
              except that which adheres to cuttings and small volume discharges. Non-aqueous
              base fluids may be used as a carrier fluid (transporter fluid), lubricity additive or
              pill in water based drilling fluids and discharged with those drilling fluids
              provided the discharge continues to meet the “No free oil” and 96-hour LC50
              toxicity limits (see below for description), and a pill is removed prior to
              discharge. (2) The discharge of oil-based drilling fluids and oil-based inverse
              emulsion drilling fluids are prohibited. (3) Drilling fluids to which any diesel oil
              has been added as a lubricant may not be discharged. (4) There shall be no
              discharge of drilling fluids to which barite has been added, if such barite contains
              mercury in excess of 1.0 mg/kg (dry weight) or cadmium in excess of 3.0 mg/kg
              (dry weight). (5) No free oil shall be discharged as measured using the static
              sheen test method. (6) All facilities are subject to a maximum discharge rate of
              1,000 barrels per hour.

           Toxicity testing: Operators wanting to discharge drilling fluids must conduct testing to
              insure the effluent is not toxic to marine organisms. Discharges must meet both a
              daily minimum and a monthly average minimum 96-hour lethal concentration test
              (LC50) in which 50% of the test organisms, Mysidopsis bahia, must survive the
              effluent medium. The effluent medium must be at least 30,000 ppm in a 9:1
              seawater to drilling fluid suspended particulate phase (SPP) volumetric ratio.
              Monitoring shall be performed at least once per month for both a daily minimum
              and the monthly average. In addition, an end-of-well sample is required for a
              daily minimum when drilling is conducted using aqueous-based drilling fluid.
              The type of sample required is a grab sample, taken from beneath the shale
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            shaker, or if there are no returns across the shale shaker, the sample must be taken
            from a location that is characteristic of the overall mud system to be discharged.
            Permittees shall report the results on the DMR using either the full toxicity test or
            the partial toxicity test as specified at 58 FR 12512, March 4, 1993; however, if
            the partial toxicity test shows a failure, all testing of future samples from that well
            shall be conducted using the full toxicity test method to determine the 96-hour
            LC50.

        Monitoring: Toxicity monitoring shall be performed at least once per month for both
          a daily minimum and the monthly average. Monitoring for sheen shall be
          performed using the static sheen method once per week when discharging. The
          permittee shall also maintain a precise chemical inventory of all constituents and
          their total volume or mass added down-hole for each well.

 2. Drill cuttings – particles of crushed rock produced by the grinding action of the drill bit
    as it penetrates the earth (Neff 2005). Drill cuttings are suspended in drilling fluids and
    conveyed up the annulus to the surface where they are removed from the fluid and
    disposed.

        Restrictions: No free oil as measured using the static sheen test method. Cuttings
           from oil contaminated drilling fluids are prohibited, including those containing
           diesel oil or mineral oil. Drill cuttings generated using drilling fluids to which
           barite has been added shall not be discharged if the barite contains mercury in
           excess of 1.0 milligram per kilogram (mg/kg) dry weight or cadmium in excess of
           3.0 mg/kg dry weight.

        Toxicity: Drill cuttings generated using drilling fluids that do not pass the 96-hour
           LC50 test described above shall not be discharged.

        Sheen Monitoring: Monitoring shall be performed using the static sheen test method
           once per week when discharging. Monitoring of base fluids retained on cuttings
           shall be performed at least once per day when generating new cuttings, unless
           meeting the conditions of a best management practice as described in the permits.

 3. Produced water – The water (brine) brought up from the hydrocarbon-bearing strata
    during the extraction of oil or gas. This can include formation water, injection water, and
    any chemicals added down-hole or during the oil/water separation. Since the oil/water
    separation process does not completely separate the oil, some hydrocarbons remain with
    the produced water and often the water is treated to prevent the formation of sheen. The
    composition of the discharge can vary greatly in the amounts of organic and inorganic
    compounds and may include: aluminum, arsenic, barium, benzene, cadmium, chromium,
    copper, cyanide, lead, mercury, nickel, selenium, silver, and zinc among others. The
    EPA general permits allow the discharge of produced waters provided they meet
    discharge criteria. Discharge volumes are variable and may range from 500-2,500 barrels
    per day.
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        Restrictions: Discharged oil and grease cannot exceed 42 milligrams per liter (mg/l)
           daily maximum or 29 mg/l monthly average (technology-based limits). The
           discharge must also be tested for toxicity on a monthly basis.

        Toxicity testing: Platforms wishing to discharge produced waters will be required to
           test the effluent for toxicity. Test results are good for a period of 6 months.

            7-day chronic toxicity testing – Tests the survival and growth of mysid shrimp
            (Mysidopsis bahia) and larval inland silversides (Menidia beryllina) in a series of
            effluent dilutions (different dilutions based on a critical dilution as determined by
            flow rates and the depth of discharge for each platform) in comparison to a
            control group. The purpose of the test is to determine the greatest effluent
            dilution at which no significant effect is observed between the test and the control
            (no observable effects concentration - NOEC). The 7-day average minimum and
            monthly average minimum NOEC must be equal to or greater than the critical
            dilution concentration. Test is to be completed at least every 6 months.

        Sheen Monitoring: Monitoring shall be performed using the static sheen test method
           once per day when discharging when a facility is manned. Grab sampling for oil
           and grease analysis will be conducted once per month. Flow rates shall also be
           monitored once per month.

 4. Well treatment, completion fluids, and workover fluids
      a. Well treatment fluids are any fluids used to restore or improve productivity by
           chemically or physically altering hydrocarbon-bearing strata after a well has been
           drilled. These fluids are typically added down-hole and mostly remain within the
           wellbore; any fractions that may escape are subject to the limitations described in
           the following restrictions.
      b. Completion fluids are salt solutions, weighted brines, polymers, and various
           additives used to prevent damage to the well bore during operations which
           prepare the drilled well for hydrocarbon production.
      c. Workover fluids are salt solutions, weighted brines, polymers, or other specialty
           additives used in a producing well to allow for maintenance, repair, or
           abandonment procedures. This includes packer fluids.
      Restrictions: No free oil as measured using the static sheen test method and no
           priority pollutants except in trace amounts (as established in the 2005 issued
           permit) may be discharged. Fluids must also meet both a daily maximum of 42
           mg/l and a monthly average of 29 mg/l limitation for oil and grease.
      Sheen Monitoring: Sampling for the static sheen test will be done daily when a
           discharge occurs. Grab sampling for oil and grease analysis will be conducted
           once per month and should not exceed technology-based limits.

 5. Deck drainage – Any waste resulting from deck washings, spillage, rainwater, and
    runoff from gutters and drains including drip pans and work areas within facilities subject
    to this permit. Deck drainage of the largest concern include oil and detergents, drilling
    fluids, and acids used during workover operations.
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        Restrictions: No free oil shall be discharged as determined by the presence of a film
           or sheen upon the surface of the receiving water. Typically these platforms are
           equipped with pans to collect deck drainage. The drainage is separated by gravity
           into waste material and liquid effluent. Waste materials are sent to a sump tank
           for treatment followed by disposal, recycling back to the drilling mud system, or
           transport to shore. Liquid effluent is discharged to the sea.
        Monitoring: Visual sheen test method to be completed once per day when
           discharging.

 6. Sanitary waste – human body waste discharged from toilets and urinals located within
    facilities subject to this permit. The volume and concentrations of these wastes vary
    widely with time, occupancy, platform characteristics, and operational situation. Past
    monthly average sanitary waste flows from Gulf Coast platforms was approximately 35
    gallons per day (EPA 1993).
        Restrictions: No floating solids and residual chlorine to be maintained as close to 1
             mg/l as possible for facilities continuously manned by 10 or more persons. No
             floating solids for facilities continuously manned by 9 or fewer persons. Any
             facility that properly operates and maintains a marine sanitation device (MSD)
             that complies with pollution control standards and regulations under Section 312
             of the Clean Water Act shall be deemed to be in compliance with permit
             limitations for sanitary waste.
        Monitoring: Observation for floating solids shall be conducted once daily during
             discharge while sampling for residual chlorine shall be done once per month. If a
             MSD is being used, yearly testing to insure proper operation is required.

 7. Domestic waste – Material discharged from galleys, sinks, showers, safety showers, eye
    wash stations, hand washing stations, fish cleaning stations, and laundries. The volume
    of domestic waste discharged is estimated to be 50-100 gallons per person per day.
        Restrictions: No floating solids or foam and require compliance with the
           requirements of 33 CFR 151. Region 4 only: Any soaps and detergents must be
           phosphate free (contain less than 0.5% phosphate).
        Monitoring: Observation for floating solids shall be conducted daily during daylight
           hours by visual observation of the receiving waters in the vicinity of the outfall.
           Observations shall be made following either the morning or midday meals at a
           time of maximum estimated discharge.

 8. Miscellaneous discharges – Various discharges of relatively small, though highly
    variable quantities.
        a. Hydrate control fluids – used to dehydrate natural gas in deep water operations to
            prevent pipeline blockages. It is unlikely that these fluids will be necessary in the
            relatively shallow water wells of the territorial seas of Texas. If used, however,
            they will typically be discharged in the produced water stream and would be
            limited by the same restrictions.
        b. Blowout preventer control fluid – fluid used to actuate the hydraulic equipment on
            the blow-out preventer or subsea production wellhead assembly. These may be
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             discharged periodically in small quantities (67-314 barrels per day, EPA 1993) at
             the sea floor.
        c.   Boiler blowdown – discharges from boilers necessary to minimize solids build-up
             in the boilers, including vents from boilers and other heating systems. Based on
             past operations, these may be discharged at a volume of 0-5 barrels per day (EPA
             1993).
        d.   Diatomaceous earth filter media – filter media used to filter seawater or other
             authorized completion fluids and subsequently washed from the filter.
        e.   Excess cement slurry – the excess mixed cement, including additives and wastes
             from equipment wash-down, after a cementing operation.
        f.   Mud, cuttings, and cement at the sea floor – discharges that occur at the sea floor
             prior to installation of the marine riser and during marine riser disconnect, well
             abandonment, and plugging operations.
        g.   Source water and sand – water from non-hydrocarbon bearing formations for the
             purpose of pressure maintenance or secondary recovery.
        h.   Uncontaminated or treated ballast/bilge water – seawater added or removed to
             maintain proper draft or water from a variety of sources that accumulates in the
             lowest part of the vessel/facility. Volumes may be expected to range from 70-620
             barrels per day (EPA 1993).
        i.   Uncontaminated freshwater or seawater – waters discharged without contact with
             or addition of chemicals, oil, or other wastes.

        Restrictions: No free oil, floating solids, or foam shall be discharged.
        Monitoring: Observations shall be made once per week.

 9. Chemically-treated seawater and freshwater – waters to which corrosion inhibitors,
    scale inhibitors, biocides, and/or other chemicals have been added and include the
    following discharges:

        a. Excess seawater which allows the continuous operation of fire control and utility
           lift pumps
        b. Excess seawater from pressure maintenance and secondary recovery projects
        c. Water released during training and testing of personnel in fire protection
        d. Seawater used to pressure test piping and pipelines
        e. Ballast water or bilge water
        f. Non-contact cooling water
        g. Desalinization unit discharge – the residual high-concentration brine discharged
           offshore from distillation or reverse osmosis units used for producing potable
           water. Past operations have discharged this at a volume of up to 238 barrels per
           day (EPA 1993).

        Restrictions: No free oil and the most stringent of the 3 following conditions:

                 i. The maximum concentrations and any other condition specified in the
                    EPA product registration labeling if the chemical additive is an EPA-
                    registered product
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                  ii. The maximum manufacturer’s recommended concentration when one
                      exists
                 iii. 500mg/l

          Toxicity testing: 48-hr acute toxicity test will determine if an appropriately dilute
               effluent sample adversely affects the survival of mysid shrimp and inland
               silversides. The 48-hr minimum and monthly average minimum NOEC must be
               equal to or greater than the critical dilution concentration (determined by the
               discharge rate and the pipe diameter at each facility).
          Monitoring: Visual sheen test shall be conducted once per week when discharging.
               Monitoring for toxicity will be required at least once per 6 months when
               discharging.
       Requirements pertaining to cooling water intake structure regulations per 40 CFR Part
       125 Subpart N (Requirements Applicable to Cooling Water Intake Structures for New
       Offshore Oil and Gas Extraction Facilities under Section 316(b) of the Clean Water Act).
       These requirements will limit intake velocity, minimize impingement and entrainment,
       and set monitoring and record keeping requirements (40 CFR 125.134 (b)(2-8)).

In addition, the new permit will also include the following improvement:
Increased ambient water monitoring requirements are replaced with well treatment fluids study.
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Appendix F. BOEM Oil and Gas Program AIS vessel types

id     Level 5 type                 Level 5 description


1      Aggregates Carrier           A single deck cargo vessel for the carriage of
                                    aggregates in bulk. Also known as a Sand Carrier.
                                    May be self discharging
2      Waste Disposal Vessel        A vessel equipped for the transportation,
                                    treatment and/or (now illegal) discharge at sea of
                                    waste material
3      Crane Vessel                 A vessel equipped with a large crane for lifting
                                    operations
5      Mooring Vessel               A vessel equipped to assist with the mooring
                                    and/or anchoring of larger vessels. Typically it will
                                    have a frame to prevent the ropes and chains
                                    fouling on the superstructure
10     Crude/Oil Products Tanker    A tanker for the bulk carriage of crude oil but also
                                    for carriage of refined oil products
11     Shuttle Tanker               A tanker for the bulk carriage of crude oil
                                    specifically for operation between offshore
                                    terminals and refineries. Is typically fitted with
                                    bow loading facilities
12     Pipe Burying Vessel          A vessel equipped to carry small stones and
                                    aggregates and to deliver them via a flexible fall
                                    pipe system to bury pipes and cables on the sea
                                    bed
15     Trailing Suction Hopper      A vessel equipped to obtain material from the sea
       Dredger                      bed by use of a trailing suction pipe. The material
                                    may be carried on board and discharged
                                    elsewhere through the bottom of the vessel,
                                    either by bottom doors or a split hull, or delivered
                                    to other vessels
16     Supply Platform, semi        A semi submersible offshore supply platform
       submersible
17     Water Tank Barge, non        A non propelled tank barge for the carriage of
       propelled                    water
19     Asphalt/Bitumen Tanker       A tanker for the bulk carriage of asphalt/bitumen
                                    at temperatures between 150 and 200 deg C
24     Cable Repair Ship            A vessel equipped for the retrieval and repair of
                                    underwater cables
25     Pipe Layer Crane Vessel      A pipe layer also equipped with a large crane or
                                    derrick
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26    Bulk Cement Barge, non        A non propelled barge for the carriage of bulk
      propelled                     cement
33    FSO, Oil                      A tanker purpose built or converted to store oil
                                    produced from a field prior to its transfer to
                                    another vessel for transportation. May be self or
                                    non propelled. This type does not include vessels
                                    which are temporarily being used for storage of
                                    oil
34    Jacket Launching Pontoon,     A semi submersible pontoon designed for
      semi submersible              positioning and launching jackets for offshore use
37    Drilling Rig, jack up         A jack up offshore drilling rig
44    Combination Gas Tanker        A tanker for the bulk carriage of Liquefied Natural
      (LNG/LPG)                     Gas (primarily methane) and/or Liquefied
                                    Petroleum Gas in independent insulated tanks
52    Research Survey Vessel        A vessel equipped for research and/or survey
                                    (e.g. geophysical, hydrographic)
53    LNG Tanker                    A tanker for the bulk carriage of Liquefied Natural
                                    Gas (primarily methane) in independent insulated
                                    tanks. Liquefaction is achieved at temperatures
                                    down to -163 deg C
54    Effluent carrier              A vessel equipped for the transportation of
                                    effluents. Discharge at sea is now illegal
55    Utility Vessel                A small multi functional response vessel not
                                    dedicated to a particular function
57    Anchor Handling Tug Supply    An offshore tug/supply ship equipped with a high
                                    bollard pull and a stern roller for anchor handling
58    Accommodation Platform,       A semi submersible offshore accommodation
      semi submersible              platform
71    Cement Storage Barge, non     A barge with pumping facilities for loading &
      propelled                     discharging cement.
82    Support Platform, jack up     A non-propelled jack up vessel for offshore
                                    support
83    Pollution Control Vessel      A vessel equipped for the primary function of
                                    pollution control. Typical types include oil spill
                                    recovery vessel and a pollution and debris
                                    collector
86    Pusher Tug                    A vessel equipped to push cargo-carrying barges
                                    and pontoons.
88    Bulk/Oil Carrier (OBO)        A bulk carrier arranged for the alternative (but
                                    not simultaneous) carriage of crude oil
91    Crane Platform, jack up       A jack up offshore crane platform
94    Crane Vessel, non propelled   A non self propelled vessel equipped with a large
                                    crane for lifting operations
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96    Bulk Aggregates Barge, non   A non propelled barge for the carriage of bulk
      propelled                    aggregates
99    Jacket Launching Pontoon     A pontoon designed for positioning and launching
                                   jackets for offshore use
100   Crew Boat                    A vessel equipped for the transportation of crew
                                   to ships and/or installations
102   Crude Oil Tanker             A tanker for the bulk carriage of crude oil
107   Hopper/Dredger               A vessel equipped to obtain material from the sea
      (unspecified)                bed by an unspecified means. The material may
                                   be carried on board and discharged elsewhere
                                   through the bottom of the vessel, either by
                                   bottom doors or a split hull, or delivered to other
                                   vessels, pumped a
110   FSO, Gas                     A tanker purpose built or converted to store gas
                                   produced from a field prior to its transfer to
                                   another vessel for transportation. May be self or
                                   non propelled. This type does not include vessels
                                   which are temporarily being used for storage of
                                   gas
112   Barge Carrier                A cargo vessel arranged for the carriage of
                                   purpose built barges (lighters) loaded with cargo.
                                   Typically loading is by way of a gantry crane. Also
                                   known as Lighter Aboard SHip vessels (LASH)
113   Grab Dredger                 A vessel equipped to obtain material from the sea
                                   bed by use of a grab. The material may be carried
                                   on board, transferred to other vessels, pumped
                                   ashore or deposited elsewhere using a spray
118   Pipe Carrier                 A platform supply ship equipped with increased
                                   scantlings & longer deck space for the
                                   transportation of pipes
123   Pipe layer Platform, semi    A semi submersible offshore pipe layer platform
      submersible
131   LPG Tanker                   A tanker for the bulk carriage of Liquefied
                                   Petroleum Gas in insulated tanks, which may be
                                   independent or integral. The cargo is pressurised
                                   (smaller vessels), refrigerated (larger vessels) or
                                   both ('semi-pressurised') to achieve liquefaction.
132   Well Stimulation Vessel      A vessel primarily equipped to maximize oil
                                   production from a well
136   Grab Hopper Dredger          A vessel equipped to obtain material from the sea
                                   bed by use of a grab or backhoe. The material
                                   may be carried on board and discharged
                                   elsewhere through the bottom of the vessel,
                                   either by bottom doors or a split hull, or delivered
                                   to other vessels, pump
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147   Ore/Oil Carrier                An ore carrier arranged for the alternative (but
                                     not simultaneous) carriage of crude oil
152   Maintenance Platform, semi     A semi submersible offshore maintenance
      Submersible                    platform
153   Tug                            A vessel equipped with a towing winch to tow
                                     other vessels (either in harbour or in open sea)
                                     and with manoeuvring capabilities to assist
                                     vessels to berth/unberth in ports. May also be
                                     able to push barges and other vessels
155   Pipe Layer                     A vessel primarily equipped to lay solid or flexible
                                     pipes on the sea bed
156   Pile Driving Vessel            A vessel equipped for pile driving operations
158   FPSO, Oil                      A vessel with the capability to control production
                                     rates from an oilfield and to store oil produced
                                     prior to its transfer to another vessel for
                                     transportation. May be self or non propelled
162   Production Platform, jack up   A jack up offshore production platform
165   Offshore Tug/Supply Ship       A vessel for the transportation of stores and
                                     goods to offshore platforms on an open stern
                                     deck and equipped with a towing facility
166   CNG Tanker                     A tanker for the bulk carriage of Compressed
                                     Natural Gas. Cargo remains in gaseous state but is
                                     highly compressed
167   Offshore Support Vessel        A single or multi functional offshore support
                                     vessel
168   Accommodation Platform,        A jack up offshore accommodation platform
      jack up
175   Water Tanker                   A tanker for the bulk carriage of water
176   Trenching Support Vessel       A vessel primarily equipped to operate
                                     submersibles for digging trenches on the sea bed
                                     for pipes and cables
177   Crude Oil Tank Barge, non      A non propelled tank barge for the carriage of
      propelled                      crude oil
180   Cable Layer                    A vessel equipped to lay and repair underwater
                                     cables
182   Sheerlegs Pontoon              A pontoon with sheerlegs for lifting
184   Production Platform, semi      A semi submersible offshore production Platform
      submersible
186   Drilling Ship                  A vessel primarily equipped for offshore drilling
                                     operations. May also be able to obtain cores for
                                     research purposes
187   Anchor Handling Vessel         A vessel equipped to assist with the handling of
                                     anchors
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188   Barge Carrier, semi        A barge carrier which is semi submersible for the
      submersible                float on loading/unloading of the barges
194   Heavy Load Carrier, semi   A heavy load carrier which is semi submersible for
      submersible                the float on loading/unloading of the cargoes
195   LPG/Chemical Tanker        An LPG tanker additionally capable of the carriage
                                 of chemical products as defined in the
                                 International Bulk Chemical Code
210   Drilling Rig, semi         A semi submersible offshore drilling rig
      submersible
214   Suction Dredger Pontoon    A non propelled dredger pontoon fitted with
                                 suction equipment
218   Passenger Ship             A vessel certificated to carry more than 12
                                 passengers, some of whom may be
                                 accommodated in cabins
222   Crew/Supply Vessel         A typically high speed vessel primarily for the
                                 transportation of crew to offshore facilities; may
                                 also have limited stores carriage capability on an
                                 open deck
228   Work/Repair Vessel         A multi functional vessel for general work and
                                 repair operations
236   Floating Dock              A submersible unit constructed and fitted out to
                                 dry dock ships whilst afloat.
237   Cement Carrier             A single deck cargo vessel fitted with pumping
                                 arrangements for the carriage of cement in bulk.
                                 There are no weather deck hatches. May be self
                                 discharging
238   Salvage Ship               A vessel equipped for salvage operations
239   Diving Support Platform,   A semi submersible diving support platform
      semi submersible
243   Crane Platform, semi       A semi submersible offshore crane platform
      submersible
244   Deck Cargo Pontoon, semi   A non propelled semi submersible pontoon for
      submersible                the carriage of general deck cargoes
248   LPG Tank Barge, non        A non propelled tank barge for the carriage of
      propelled                  LPG
251   Suction Hopper Dredger     A vessel equipped to obtain material from the sea
                                 bed by use of a suction pipe. The material may be
                                 carried on board and discharged elsewhere
                                 through the bottom of the vessel, either by
                                 bottom doors or a split hull, or delivered to other
                                 vessels
256   Supply Platform, jack up   A supply platform, jack up
258   Accommodation Ship         A vessel providing accommodation for those
                                 working on other vessels and installations
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263   Standby Safety Vessel          A vessel primarily equipped to perform safety
                                     standby duties. Will be fitted with
                                     accommodation and facilities for the rescue,
                                     reception and initial care of survivors from
                                     offshore installations accidents
271   Pipe layer Platform, jack up   A jack up offshore pipe layer platform
277   Diving Support Vessel          A vessel primarily equipped with decompression
                                     chambers for air dive operation. Does not include
                                     vessels which can only operate submersibles
281   Platform Supply Ship           A vessel for the transportation of stores and
                                     goods to offshore platforms on an open deck,
                                     typically at the stern. May also be fitted with
                                     specialist under deck tanks for water, cement
                                     and/or drilling mud
286   Cutter Suction Dredger         A vessel equipped to obtain material from the sea
                                     bed by use of a cutter wheel, which loosens the
                                     material, and a suction pipe. The material may be
                                     carried on board, transferred to other vessels,
                                     pumped ashore or deposited elsewhere using a
                                     spray
297   Production Testing Vessel      A vessel primarily equipped for testing the quality
                                     and amount of oil produced by a well
298   Mechanical Lift Dock           A lifting dock facility using winches to lower and
                                     raise platform
301   Offshore Construction          A propelled vessel with a self-elevating facility to
      Vessel, jack up                facilitate offshore maintenance, construction
                                     and/or installation
305   Grab Dredger Pontoon           A non propelled dredger pontoon fitted with a
                                     system of grabs
318   Suction Dredger                A vessel equipped to obtain material from the sea
                                     bed by use of a suction pipe. The material may be
                                     carried on board, transferred to other vessels,
                                     pumped ashore or deposited elsewhere using a
                                     spray
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Appendix G. Extremely large spill assessment
Before we conducted our hazard assessment and exposure analysis for oil spills associated with
the proposed action, we first assessed the available information used to determine the potential
largest spill size volumes (refer to Table 114 in the Opinion), which one of these estimates of
representative very large spill sizes was provided by BOEM (100,000 bbl per Ji et al. 2014).
Determination of the Upper Range of Spill Sizes
BOEM has defined very large spills as any spill volume greater than or equal to 10,000 bbl, and
provided NMFS with information projecting that two oil spills greater than or equal to 10,000
bbl may occur over the duration of the proposed action. However, BOEM has not defined an
upper volume for such a spill size. BOEM stated that it “does not consider an extremely large
event as reasonably certain to occur” over the time frame of this opinion, although BOEM does
acknowledge that impacts from the DWH blowout and resulting spill warrant inclusion in Gulf
of Mexico consultation as part of the environmental baseline. For informational purposes for
decision-makers, BOEM used current reservoir sizes to demonstrate the size and duration of
extremely large releases in shallow water and deepwater areas. BOEM characterized an
extremely large spill in shallow water as being uncontrolled flow for one to three months,
resulting in an estimated range of 900,000-3,000,000 bbl released 1. For deep water, BOEM
provided information that if an extremely large event occurred and remained uncontrolled up to
four months, potentially 2.7-7.2 million bbl could be released. Following our analysis of spill
data and statistical assessments of the occurrence of very large spills that is explained in more
detail below, we estimated the volume of the largest spill size based on the duration of a spill that
could possibly occur over the timeframe of the opinion.
A fundamental challenge is to accurately describe this risk, especially since there have been
relatively few large to very large oil spills that can serve as benchmarks. Prior to the DWH event,
the three largest blowout spills on the U.S. OCS were 80,000 bbl, 65,000 bbl, and 53,000 bbl,
and all occurred before 1971 (Anderson et al. 2012). At the present time, there is a not an ideal,
standardized approach to characterizing the risk of spill occurrence and consequence.
Historically, BOEM has characterized oil-spill risk using the Oil Spill Risk Analysis (OSRA)
model to identify the risk of oil released from numerous locations on the OCS occurring and
contacting environmental, social and economic resources. BOEM performs OSRA modeling in
the evaluation of individual lease sales and certain exploration/development plans. BOEM or
BSEE also consider risk during the review of an operator’s Exploration Plan, Development and
Production Plan (or Development Operations Coordination Document), and/or Application for
Permit to Drill.
BOEM’s probabilistic spill estimates use an oil spill risk method based on historical spill rates
per volume of oil produced. The number of spills has been estimated for different spill sizes
based on the anticipated volume of oil produced over this consultation period. One data point,

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the DWH event, represents both the greater than or equal to 10,000 bbl and extremely large spill
categories in BOEM’s analyses. The lack of data for very large spills results in a high degree of
statistical uncertainty. It is worth noting that BOEM’s methodology would not have predicted
that the DWH event would have occurred. Because of this high uncertainty to produce
probabilistic estimates of the frequency of large oil spills resulting from protracted loss of well
control, BOEM provided NMFS additional information to support their conclusions. BOEM
provided NMFS a summary of recent peer reviewed literature regarding oil spills, information on
new safety requirements, spill response preparedness, and new spill response and containment
technology. Given the additional information we decided to defer to BOEM as the experts on the
probability of occurrence of an extremely large spill.
To estimate a reasonable maximum possible spill size, we considered the following main factors:
   •   The pre-DWH spill risk considered in the 2007 biological opinion.
   •   The causes of blowout, loss of well control and other potential risks that cause spills.
   •   Information from our review of extremely large spill risk assessments provided by
       BOEM, federal reports, and independent studies on determining the risk and frequency of
       very large spills found in the peer-reviewed literature.
   •   Regulatory reforms and improvements in offshore drilling safety since DWH. Assuming
       some risk of a blowout and other risk factors, we will consider the likelihood of those risk
       factors that could actually result in a loss of well control and uncontrolled release of oil
       into the ocean.
   •   The volume of oil that could be spilled in the future using BOEM’s estimated flow rates.
   •   The anticipated flow duration of an uncontrolled blowout based on our assessment of the
       ability of industry to rapidly respond to a blowout and bring a well under permanent
       control.
   •   The adequateness of OSRPs to prepare for extremely large spill responses, limit the
       duration of the spill, clean up the oil, and respond to ESA-listed species and critical
       habitat that may be affected.
Pre-Deepwater Horizon Risk
In the 2007 biological opinion, although BOEM did not predict a major, uncontrolled oil spill,
we predicted that a single extremely large spill would occur approximately every 40 years. That
estimate proved reasonably accurate, with the DWH spill’s occurrence 31 years after Ixtoc I and
is reflected in the 26-34 year pre-DWH extremely large spill frequency estimate found in the
economic analysis prepared for BOEM’s drilling safety rule
(https://www.bsee.gov/sites/bsee.gov/files/research-guidance-manuals-or-best-
practices/regulations-and-guidance/aa02-final-rule-8-10-12.pdf). Our 2007 opinion significantly
underestimated the severity of a major uncontrolled release, as evidenced by the DWH event.
The flow rate of oil from the well and the amount of time it took to bring the well under control
were the primary reasons we underestimated the size of and impacts associated with the largest
spill we predicted would occur. Our underestimate of impacts to listed species was the primary
reason reinitiation of consultation was requested in 2010. During consultation, we emphasized
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the necessity of additional information on the risk of future extremely large spills to complete
this opinion.
Causes of Very Large Oil Spills and Risks
Blowouts and subsequent losses of well control are the primary concern for a very large release
of oil in the Gulf of Mexico. Blowouts are generally associated with equipment failures, human
error, hurricane-related failures, or a combination of these events. The DWH event has been the
only disastrous blowout and loss of well control on the U.S. OCS in the Gulf of Mexico;
therefore, in this section, we will review the past occurrences of blowouts, as well as some recent
causes of other large, but non-disasterous oil spills.
There have been 21 blowouts associated with seven individual events that have resulted in loss
of well control in the Gulf of Mexico (Table 1). Four of the spills were the result of hurricane-
related failures, another four were the result of blowouts during drilling, and the remaining spills
resulted from a single event where a platform shifted position and blew out all the wells
connected to it. Four of these blowout-related spills, including DWH, were greater than 10,000
bbl. Until the occurrence of the DWH event, all blowout-related spills occurred between 1965
and 1970 (Table 1).
Table 1. Blowouts on the Federal OCS that have Resulted in Loss of Well Control and Oil
Spills Greater than 1,000 bbl.
 Year of    Number        Duration     Water          Volume         Details
 Spill      of            (days)       Depth (ft)     Spilled
 Event      Blowouts                                  (bbl)
 1964       3             several      48             5,180          Hurricane Hilda destroyed 3
                          days                                       platforms in Eugene Island,
                                                                     Block 208
 1964       1             17           33             5,100          Hurricane Hilda destroyed a
                                                                     platform in Ship Shoal,
                                                                     Block 149
 1965       1             8            190            1,688          Drilling Blowout in Ship
                                                                     Shoal, Block 29
 1969       1             10           190            80,000         Drilling blowout in Santa
                                                                     Barbara Channel in lease
                                                                     area 6B 5165
 1970       13            49           39             65,000         Rig shift and fire resulting in
                                                                     13 blowouts in Main Pass,
                                                                     Block 41
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 Year of      Number         Duration      Water            Volume        Details
 Spill        of             (days)        Depth (ft)       Spilled
 Event        Blowouts                                      (bbl)
 1970         1              138           60               53,000        Drilling blowout and fire in
                                                                          South Timbalier, Block 26
 2010         1              86            4,992            4.9 million   Blowout and fire in
                                                            est.          Mississippi Canyon, Block
                                                                          252
Source: BOEM BA supplemental information



Several other non-blowout-related spills were caused by Hurricane Rita in 2005 (six structures
lost or damaged), Hurricane Jeanne in 1980 (one damaged structure), a sinking storage barge
(one event), vessels colliding with platform (two events), and leaking storage structures (three
events) (Table 2). However, all but one of these non-blowout-related spills were less than 10,000
bbl.
Table 2. Non-blowout Spills on the Outer Continental Shelf that Have Resulted in Spills
Greater than 1,000 bbl.
 Year of Spill     Number of        Water Depth     Volume            Details
 Event             Structures       (ft)            Spilled (bbl)

 1964              1                94              2,559             Freighter struck platform in
                                                                      Eugene Island, block 208.
 1964              1                102             1,589             Storage tank lost during
                                                                      Hurricane Hilda in Ship
                                                                      Shoal, Block 149

 1969              1                30              2,500             Supply vessel collided with a
                                                                      semisubmersible drilling rig
                                                                      in Ship Shoal, Block 72

 1973              1                110             9,935             Storage tank failure in West
                                                                      Delta, Block 79
 1973              1                61              7,000             Storage barge sank
 1979              1                61              1,500             Workboat collided with a
                                                                      drilling rig putting a hole in a
                                                                      diesel tank, Main Pass, Block
                                                                      151
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 Year of Spill     Number of        Water Depth    Volume          Details
 Event             Structures       (ft)           Spilled (bbl)

 1980              1                60             1,456           A storage tank overflowed
                                                                   during evacuation of platform
                                                                   during hurricane Jeanne, High
                                                                   Island, Block 206

 2004              1                               >1,000          Hurricane Ivan and
                                                                   underwater landslide toppled
                                                                   platforms and severed
                                                                   numerous wellheads. Low
                                                                   discharge, chronic oil seepage
                                                                   is still ongoing.

 2005              3                182-238        5,066           Hurricane Rita destroyed 1
                                                                   platform and 2 drilling rigs.
 2013              1                               1,531           Drilling rig lost station; lower
                                                                   marine riser emergency
                                                                   disconnect activated.

 2015              1                               2,200           Lower marine riser
                                                                   installation error.

 2016              1                               2,100           Subsea flowline.
 2017              1                               16,152          Subsea jumper (pipeline
                                                                   segment) damage.
Source: BOEM BA supplemental information



After the DWH incident, from 2011-2013 BSEE investigated 139 total accidents including 18
spill releases. One hundred and fifteen accidents (82.7 percent) were caused, at least in part, by
human error and 73 (52.5 percent) were determined to have been entirely caused by human error
(Figure 1). Eighteen of the accidents (12.9 percent) resulted in some type of pollution being
released and those included spills of less than one gallon of gas/oil (only enough to produce a
sheen), minor chemical or diesel spills associated with facility maintenance, drilling fluid
releases and releases of synthetic oil based mud. Spills were mainly small volumes of oil caused
by human error (misuse of equipment or failure to notice an over-pressurized vessel), sometimes
leading to a series of events, and ultimately causing an unplanned release.
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                                                             Equipment failure
                                                             Weather related
                                                             Equipment
                                                             failure/human
                                                             Human error




Source: BOEM BA supplemental information
Figure 1. Causes of oil and gas accidents reported on the Gulf of Mexico OCS from 2011-
2013 as reported to BSEE.
BSEE (2017) examined loss of well control events and categorized contributors to the
probability as shown in Figure 2, and Figure 3 displays BSEE’s risk analysis for oil spills caused
by loss of well control events. The highest risk events are the blowout (surface flow) accidents,
which have potential for the more severe overall impacts (BSEE 2017). According to BSEE
(2017), risk may be reduced by reducing the drilling kick frequency.




Source: BOEM BA supplemental information
Figure 2. Pie chart from BSEE (2017) displaying the categories of contributors to large
spill probability.
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Source: BOEM BA supplemental information
Figure 3. Risk matrix from BSEE (2017) for oil spills caused by loss of well control events, with the
X indicating BSEE’s predicted loss of well control risk level. Red indicates high risk, yellow
indicates moderate risk, green indicates low risk.
Based on our review of the historical spill data above, the cause of spills occurring in volumes
greater than 10,000 bbl could likely be the result of a loss of well control resulting from a
drilling-related blowout. Three of the four very large drilling-related blowouts that have occurred
in the greater than or equal to 10,000 bbl category average a spill size of 66,000 bbl (53,000,
65,000 and 80,000 bbl) and one spill (DWH) has been extremely large (≥ three million bbl).
BOEM has indicated that two spills greater than 10,000 bbl may result from the proposed action.
Based on the historical data above and the estimate of the number of spills provided by BOEM,
two very large (greater than 10,000 bbl) drilling-related releases of oil can be expected to occur
during the next 50 years, for the reasons discussed in further detail below. The information above
leads us to conclude that one of these spills can be expected as the result of a blowout resulting
in a release of 100,000 bbl (per Ji et al. 2014; and Table 114, section 8.8 of the biological
opinion). Since we have only a single extremely large release of oil (the DWH event) from
which to estimate future impacts, we will next consider in more detail the frequency and likely
largest size of such extremely large releases occurring on the OCS.
Best Available Information on the Largest Potential Spill
This section first provides a summary of some relevant peer-reviewed literature regarding
statistical methods to predict the risk of extremely large spills occurring from significant
uncontrolled blowouts. As discussed above, loss of well control and associated extremely large
release of oil is more likely to occur in deep water due to the increased risks associated with
higher well pressures and the technological challenges of drilling in deep water than are present
in shallow water. Many regulatory changes have been made since the DWH event. NMFS agrees
with BOEM that new regulatory and technological advances reduce the risk of another DWH-
sized event. However, the effectiveness of the changes cannot be quantitatively measured. By
their very nature, oil spill risk analyses rely on data from past accidents to project future spill
occurrences. Consequently, analyses published since the DWH event do not consider the
effectiveness of post-DWH risk-reducing measures that decrease the likelihood or magnitude of
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spills which occur in the future. NMFS requested that BOEM provide a quantitative estimate of
risk reduction from their new regulations, but this was not provided. Thus, we consider
qualitative information on risk reducing measures that BOEM provided and we will take into
account that oil and gas drilling is occurring in increasingly deeper waters thereby increasing
risk. An ultra-deep lease at 2200 m can yield a predicted 374.9 thousand barrels per month-18
times a lease at 200m deep (Murawski et al. 2020). Murawski et al. (2020) also states: “The
inherent risks of catastrophic well blowouts at extreme depths will increase as the productivity of
oil facilities increases exponentially with water depth.” The following summarizes some of the
relevant oil spill risk literature since DWH.
Muehlenbachs et al. 2013 provides an empirical analysis of company-reported incidents (e.g.
blowouts, injuries, spills) on oil and gas production platforms in the Gulf of Mexico between
1996 and 2010. This same time period was marked by a dramatic increase in the depths at which
offshore oil and gas extraction occurred. Compared with platforms at water depths less than
1,000 ft, the average number of incidents increases more than threefold for depths greater than
1,000 ft. One of the key findings is that company-reported incidents (such as blowouts, fires,
injuries, and pollution) increase with water depth. Controlling for platform characteristics such as
age, quantity of oil and gas produced, and number of producing wells, for an average platform,
each 100 ft of added depth increases the probability of a company-reported incident by 8.5
percent. The paper does not demonstrate that there is a causal link between water depth and
incident or violations, but it demonstrates there are statistically significant relationships between
the variables.
Rathnayaka et al. (2013) developed an accident modeling and risk assessment framework based
on “early warning” accident precursors using system hazard identification, prediction and
prevention methodology to model the event. The risk assessment methodology was demonstrated
using the DWH event and modeled over a given time period a disasterous event occurrence
probability of 1.52 x 10-5. Results generated from this method of assessment can provide a
comprehensive understanding of safety barrier performance, occurrence probabilities, risk values
of severity levels, and safety performance of the deepwater drilling rig.
Xue et al. (2013) proposed a new barrier-based accident model for drilling-related blowouts
based on the three-level well-control theory: primary and secondary well-control barriers and an
extra well-monitoring barrier established between the reservoir and the blowout event. The
DWH event was used as a case study to show how the model can be used to understand the
development of events leading to an accident and can also be used as an aid to prevent future
blowouts or to stop the escalation of events. In addition to primary and secondary barriers, well
monitoring is included as an independent and special barrier between the other barriers. Well
monitoring is considered crucial to remedy an incomplete primary well barrier or activate the
secondary barrier in a timely manner. The authors state that “the simplest and safest way to
prevent blowout accidents is certainly keeping all the safety barriers intact” and further noted
that “these failures, especially the ones based on statistical data or accident reports, are still
conceptual because the records or reports are not always sufficiently detailed.”
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In Eckle et al. (2012) accidental global oil spills in the energy sector larger than 200 tons
between 1974 and 2010 were extracted from the global Energy-Related Severe Accident
Database, resulting in a total of 1,213 accidents. This independent analysis with global data of
marine exploration and production oil spills, including the DWH event, calculated an
approximate return frequency (i.e., occurrence) of an event the size of DWH as of once every 17
years with an uncertainty of between eight and 91 years (five and 95 percent confidence). The
high uncertainty is a direct result of the structure of the risk with few but very severe events.
Importantly, given that this analysis relied on a global dataset, the calculated return period
represents the occurance on a global scale.
Ji et al. (2014), an analysis conducted by BSEE oil spill experts, used new methods to predict
rare events and apply extreme value methods to predict the return period specific to the OCS for
extremely large spills. These methods have been used with good results for other events that are
rare when considered individually for a smaller area or shorter time period, but become
predictable or foreseeable when larger areas and longer times periods are considered. The
authors used Federal OCS oil spill data from 1964-2012, which mainly consists of data from the
Gulf of Mexico. This study predicted the return period for a worst-case spill (defined as a spill
over 1 Mbbl) as 165 years with a 95 percent confidence interval between 41-500 years (Ji et al.
2014).
The peer-reviewed literature discussed above highlights some key points that are relevant for
determining the largest spill size that is possible within the time frame covered in the scope of
this opinion. The large range of predicted frequency, or return periods, of disasterous spills from
a minimum of 17 years globally to more than 500 years in the Gulf of Mexico specifically
demonstrates that different statistical methods and different data sets can yield very different
results. Human error and hurricanes play a large role in the occurrence of large spill events and
occurrence of blowouts resulting in loss of well control in the Gulf of Mexico. There is some
evidence suggesting that there may be a relationship between increased accidents as the depth of
oil and gas development increases (Muehlenbachs et al. 2013). Increased accident rates could
lead to an increased risk of an oil spill occurring.
BOEM estimates that in an average year operators will drill 160 deepwater wells and 186
shallow wells on the federal OCS. In shallow water, well pressures are generally lower due to the
fact that many reserves have been produced, resulting in lower well pressures and the general
trend of no new large discoveries in shallow water. Although small to medium volumes of oil are
sometimes released from blowouts, the blowout is most often controlled with safety equipment
such as BOPs, and any release of oil is minimized.
BOEM believes that a blowout leading to a loss of well control and release of oil is most likely
in water deeper than 3,000 ft, where the spill size and consequences from a blowout are
estimated to be greater (BSEE 2012). Figure 2 displays the annual number of blowouts resulting
in a loss of well control from 2007 through 2016. Although blowouts may still occur in shallow
water, there is a high likelihood that well control will be maintained due to lower reservoir
pressure, the greater prevalence of gas rather than oil, and the presence of more accessible
surface BOPs with diverters (BSEE 2012). If a release were to occur, it most likely would not be
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a large volume of oil. From 1990-2010, BSEE recorded six Gulf of Mexico shallow water well-
control incidents resulting in a spill of hydrocarbons. The total volume spilled is estimated to be
132 bbl of condensate over these last two decades. Our review of the information for shallow
water and deep water wells leads us to agree with BOEM’s finding of a low risk of an extremely
large release of oil in shallow water. However, based on the historical data we analyzed above,
including Ji et al. (2014), we believe the very large release of 100,000 bbl of oil could occur
either in shallow water or deep water.
Regulatory Reform and Drilling Safety Improvements
BOEM and BSEE have carried out many regulatory reforms in response to reviews of the DWH
event to improve offshore safety and oversight. These reforms are expected to reduce the volume
of oil spilled during accidental events by reducing risks and improving control and response
measures. BOEM provided NMFS a qualitative analysis of oil spill literature, regulatory
changes, and improvements in response since DWH. The key points of the 2014 Qualitative
Review of Safety Measures to Minimize Frequency of Blowouts and Spills and Maximize
Containment Capabilities appear in the proposed action section of this opinion. Pertinent to this
section of the analysis, we looked at the improvements in the well-containment system and
responses that are specifically designed to cap a well after a blowout in order to assess how long
a drilling-related extremely large release might last. While the blowout preventer is designed to
manage drilling operations and prevent a blowout, a capping stack is designed to be deployed
after a subsea blowout has already occurred. At the time of the DWH, there were few capping
stacks in existence, and capabilities to support subsea well containment were limited. Subsequent
improvements have increased industry’s capacity to respond to a subsea well blowout in the Gulf
of Mexico. The new well-containment response capability includes multiple vessels for
assessment of the well, clearance of debris from the well, and launch and installation of the
capping stack. BSEE conducted field testing with installation and testing of capping stacks for
Shell and the Marine Well Containment Corporation in July 2012 and Noble Energy and Helix
Well Containment Group in April 2013 to assess compliance with their regulations for oil-spill-
response/containment systems. In both of these actual field tests, the capping stacks were
installed and tested in less than seven days. The total process would take about 21 days under
ideal sea conditions. BOEM has indicated that a new capping system has the capacity to contain
about 55,000 bbl for transfer to storage vessels and includes a 15,000 psi single or dual ram
capping stack. New regulatory measures and improvements in the capping stack technology are
effective to bringing a spill under control in shorter time periods than occurred for DWH.
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Figure 4. Annual losses of well control from 2007 to 2016 (BSEE 2016).


There were 4,123 deepwater wells drilled between 1973 and 2010. Active leases and associated
oil and gas activities have been moving into increasingly deeper waters over the last two decades
and are continuing to move into ultra deepwater. As drilling occurs at deeper depths, there can be
an increased risk of loss of well control (Murawski et al. 2020). Pressures and temperatures in
deeper waters provide extreme conditions where equipment, including safety-critical systems,
could be more likely to fail and that are more difficult to reach quickly. Capping deepwater wells
is not a regularly-occurring activity, so lack of experience also plays into the risk. Vessels are
having to travel much farther to get out to those deeper sites, which could increase spill response
times or have fewer available response vessels. Murawski et al. (2020) states, “…the next deep
oil blowout and ensuing spill, wherever it may happen, will likely occur under fundamentally
different conditions than have the two previous sub-surface mega-blowouts (DWH and Ixtoc)…
While the previous 80+ years of oil exploration and production from the Gulf of Mexico have
included responses to literally hundreds of oil spills (Ramseur 2010), a 3000 m blowout will be
unlike any previous.”
Muehlenbachs et al. (2013) reported that the probability of offshore oil and gas accidents
increase by 8.5 percent for every 100 feet of increasing depth. BOEM indicated there have been
20 deepwater blowouts. In their 2016 annual report, BSEE calculated an average of five losses of
well control per year over the last ten years. According to BSEE’s loss of well control data
(available at BSEE’s website; www.bsee.gov), from 2006 to 2014 and including DWH, there
have been eleven blowouts resulting in loss of well control in greater than 2,000 feet of water,
eight of which were greater than 3,000 feet of water, and two of which resulted in spills. Since
1990, the frequency of deepwater blowouts is about one blowout for about every 275 deepwater
wells. BOEM forecasts that an average of 160 wells will be drilled each year in deep water, or up
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to 8,000 wells over the scope of this opinion. Using these estimates, we predict up to 29
blowouts [(1/275)*8000] will occur in deepwater over the next 50 years. Using BSEE loss of
well control data to estimate for two spills for every eight loss of well control incidents, we
would expect about eight (rounding up) of those blowouts occurring in depths at the greatest risk
(i.e., depth greater than 3,000 ft) of an oil spill resulting from loss of well control (Table 3).
Eight blowouts in deepwater over 50 years is equivalent to about one deepwater blowout every
six years for the proposed action. Based on historical data provided by BOEM, most of these
blowouts will result in non-disasterous loss of well control.
Table 3. Deepwater Wells Drilled Greater Than 3,000 ft and Blowout Risk as a Result of
the Proposed Action.
 Total Wells
 Annual Average            Total Number of              Number of                 Number of
 Number of                 Deepwater Wells Drilled      Deepwater Blowouts        Deepwater
 Deepwater Wells           under the Proposed           and Subsequent Oil        Disasterous
 Drilled                   Action                       Spill Predicted*          Blowouts
                                                                                  resulting in
                                                                                  uncontrolled
                                                                                  release of oil
 160                       8,000                        8                         1
*Number of drilled deepwater wells resulting in blowout over 38 years.


BOEM has concluded that an extremely large blowout and uncontrolled release of oil should not
be considered an effect of the action because the probability is so low that it is not reasonably
certain to occur within the time period covered by this opinion and so is not an anticipated result
of the proposed action. The more recent analysis by Ji et al. (2014) used more applicable
statistical methods to evaluate the risk of extremely large spill events on the U.S. OCS. As noted
earlier, this study predicted the return period for a worst-case spill (defined as a spill over 1
Mbbl) as 165 years with a 95 percent confidence interval between 41-500 years. This still results
in a wide range of years over which a disasterous uncontrolled blowout might occur. This wide
range of years is due, in part, to the high uncertainty involved in predicting rare events. The
lower end of this range (the year 2051 is 41 years after DWH) places us at the higher end of the
scope of this consultation (2068). According to this statistical prediction, a disasterous blowout,
subsequent protracted loss of well control and resulting oil spill would still be a statistically rare
event, but it could possibly occur within the timeframe analyzed in this opinion. The majority of
spills are less than one barrel, however the majority of volume spilled comes from larger spill
events. DWH was 8.5 times the cumulative 570,000 bbl that were spilled in the previous 46
years in the U.S. (Ji et al. 2014). Figure 3, from Ji et al. (2014) shows the time series of annual
largest oil spills derived from OCS data for 49 years from 1964 to 2012. The return level (or
return frequency or value) of a random variable is the quantile value which is exceeded, on
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average, once in a period of time (called the return period). For example, the return period (such
as 100-year flood) based on extreme precipitation (i.e., certain return value) is commonly used to
assess the capacity of drainage systems (Ji et al. 2014).




Figure 5. Annual largest oil spills derived from OCS data from 1964 to 2012. The dotted
line is the 10-year return level and the dashed line is the 1-year return level. Figure from Ji
et al. (2014).


The ranges in return frequencies of oil spills from protracted loss of well control provided in
several studies and their strengths/limitations are provided in Table 4. The lower spill return
value of 41 years from Ji et al. (2014) is within range of other estimates of possible spill
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frequencies 2, and is still consistent with the predicted frequency of one extremely large spill
every 40 years used in the 2007 biological opinion. Considering all the information above, while
an extremely large spill is hypothetically possible, NMFS agrees with BOEM that new
regulatory and technological advances reduce the risk of another DWH-sized event.


Table 4. Comparison from Different Studies of Recurrence Values for Very Large Spill Risk.
    Study                  Recurrence 95 percent           Limitations                  Strengths
                           frequency confidence
                           (years)    interval
                                      (years)
    Rathnayaka et al.      probability NA                  Narrow focus on              Used publicly
    2013                   1.52 X 10-5                     DWH and risk                 available data to
                                                           assessment                   create a framework
                                                           methodology is               accident model and
                                                           reliant on available         risk assessment
                                                           and precise                  algorithm based on
                                                           precursory data              DWH series of events
    Eckle et al. 2012      17              8-91            Global data takes into       More data points on
                                                           account risk factors         extreme spill events;
                                                           potentially not              1213 accidents total.
                                                           relevant to Gulf of          Data from 1974-
                                                           Mexico                       2010. Bayesian
                                                                                        model fitting.
    Ji et al. 2014         165             41-500          Using all available          Uses multiple
                                                           data, which is mostly        approaches and 49
                                                           shallow water spill          years of spill data
                                                           data, to analyze for         (rather than only one
                                                           ultra deepwater              or a few data points).
                                                           drilling risk                Data from 1964-
                                                                                        2012. Maximum
                                                                                        likelihood model
                                                                                        fitting.


In summary, BOEM provided NMFS with information that two oil spills greater than or equal to
10,000 bbl may occur over the duration of the proposed action. Based on the historical


2
 Note also that, as shown in Table 4, Eckle et al 2012 estimated a 17 year recurrence frequency based on a larger
number of large events with a confidence interval range from 8-91 years.
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information on oil spills and advances in offshore drilling safety, we anticipate that one of these
spills will be on the order of approximately 100,000 bbl (Ji et al. 2014). We define the largest
spill size possible as a median spill volume of 1.1 million bbl (Mbbl) in the Gulf of Mexico
(between 900,000-1.3 Mbbl). We determined this volume of oil by assessing how long a spill
might last and how much oil could flow over that time. We also determined that a median
volume would be a reasonable estimate of the largest spill size possible because of the safety
measures that were implemented with the 2012 drilling rule and subsequent safety measures.
The volume of oil spilled during an uncontrolled blowout is highly dependent on the flow rate
per day and the duration of the flow. BOEM estimates an uncontrolled flow rate of 30,000-
60,000 bbl per day is possible if an uncontrolled blowout occurs. These flow rates are based on
BOEM data from well tests, the maximum flow rate from the 1979 Ixtoc blowout in shallow
water, and the maximum flow rate estimated for the 2010 DWH oil spill in deep water.
Considering the time to deploy a capping stack and accounting for poor weather or other
logistical delays that could arise, we conservatively consider the possibility of BOEM’s position
that an uncontrolled blowout release could last up to 30 days before containment, which we
estimated could result in a release of up to 1.1 Mbbl of oil. BOEM and BSEE, predicted the
return period for an extremely large event due to a well-control incident in the Gulf of Mexico (Ji
et al. 2014) within the next 165 years with a 95 percent confidence interval between 41-500
years. NMFS will defer to the BOEM and BSEE analysis for this conclusion based on their
expertise in this subject, and accordingly will not carry an extremely large event into our analysis
of the effects of the action for the hypothetical occurrence of this low-probability extremely large
(greater than 1 Mbbl) event.




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        for Energy Development on the Outer Continental Shelf. Department of Commerce
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       26(1):164-171.
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Appendix H. Cetacean and Sea Turtle Wildlife
Response Guidance for the Gulf of Mexico

I.     Introduction
The protection of wildlife during the course of an oil release event is an essential element in
every oil spill response operation. A Wildlife Response Plan (WRP) as part of an OSRP provides
for coordinated, immediate, and effective protection, rescue or recovery, and rehabilitation of
wildlife resources present in the oceanic, coastal, and inland waters of the Gulf of Mexico. WRPs
typically focus on bird species and coastal terrestrial animals. This document provides a
framework for Cetacean and Sea Turtle Response Plans, which should be included in the larger
WRP covering all potential impacted wildlife based on the geographic area covered 1.

Under incident command, NOAA’s National Marine Fisheries Service (NMFS) will lead marine
mammal and sea turtle response efforts for spills that may impact any sea turtle species,
cetaceans, and/or pinnipeds. Therefore, the Wildlife Response Plan for these species must ensure
that NMFS is notified immediately if any sea turtle or cetacean species are suspected to be
impacted, using the contact information provided in this document. If response is determined to
be necessary, NMFS will lead the response and follow existing protocols found in approved
agency Oil Spill Response Guidelines documents. The WRP and OSRP must ensure that NMFS
is engaged and included in the response efforts, and that the responsible party is prepared to
provide appropriate and reasonable resources for response efforts.


II. Marine Mammal and Sea Turtle Response Plans and
Guidance Documents
Oil spill response planning and strategies should follow standard protocols, techniques, and best
management practices for particular taxa, species and habitats, as available. NMFS developed
Oil Spill Response Guideline documents for use during oil spills, and recommends that these
Guidelines be incorporated by reference to WRPs, to avoid duplication and variability between

1
  Wildlife Response Plan considerations for birds are not included in this document, although
that information is available in other documents and formats. Additionally, this document does
not address response strategies to other ESA-listed species under NMFS jurisdiction, such as
corals, smalltooth sawfish, and sturgeon. If an oil spill involves these species, please consult with
NMFS representatives on response needs. Emergency consultation for responses which may
affect ESA-listed species in the Gulf of Mexico can be accomplished by emailing
nmfs.ser.emergency.consult@noaa.gov.
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protocols. This will allow for consistent and coordinated response efforts regardless of the
responsible party. NMFS recommends that all WRPs include the following information related
to marine mammal and sea turtle species that are present in the specific geographic area covered:
1) the notification/contact information listed in Section III below, 2) reference to the following
two documents, and 3) overview of response roles and anticipated response strategies including
pre-planned facility and equipment availability during a spill. For response to marine mammals
and sea turtles during a spill, response strategies will likely include initial reconnaissance efforts
at a minimum. Based on initial reconnaissance, response strategies may also require continued
reconnaissance/surveillance throughout the response, recovery of stranded and oiled animals,
triage, and rehabilitation care. Further details on these activities including descriptions of
procedures and safety considerations can be found in the following guidance documents.

Title: Pinniped and Cetacean Oil Spill Response Guidelines
Citation: Ziccard, M., Wilkin, S., Rowles, T.K. and S. Johnson. 2015. NOAA Technical
Memorandum.
URL: https://www.fisheries.noaa.gov/resource/document/pinniped-and-cetacean-oil-spill-
response-guidelines
These Guidelines provide a foundation for coordination and communication between local, state
and federal oil spill response agencies and the marine mammal conservation, research and
welfare communities (including marine mammal stranding networks and research scientists).
More specifically, these Guidelines provide key information to, and standardize activities of,
marine mammal responders to build and maintain oiled wildlife readiness at a national level.

Title: Guidelines for Oil Spill Response and Natural Resource Damage Assessments: Sea Turtles
(in review): Stacy, B.A., B.P. Wallace, T. Brosnan, S.M. Wissmann, B.A. Schroeder, A.M.
Lauritsen, R.F. Hardy, J.L. Keene, S.A. Hargrove. 2018. Guidelines for Oil Spill Response and
Natural Resource Damage Assessment: Sea Turtles. U.S. Department of Commerce, National
Marine Fisheries Service and National Ocean Service, NOAA Technical Memorandum
[Designated number], Washington, D.C.
URL: https://www.fisheries.noaa.gov/resource/document/guidelines-oil-spill-response-and-
natural-resource-damage-assessment-sea-turtles
These guidelines provide a foundation for coordination and communication between local, state
and federal oil spill response agencies for sea turtle response efforts. These guidelines
specifically cover actions that may be undertaken during emergency response to oil spills or
subsequent Natural Resource Damage Assessment (NRDA), and provide standardized protocols
for responders. Since the circumstances of each oil spill vary significantly, the information in this
document is not meant to be prescriptive, it is intended to supplement existing regulations,
policy, and guidance.
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III.    Notification of Spills


NMFS Office of Protected Resources coordinates agency assessment of the need for response
and leads response efforts for spills that may impact sea turtles, and cetaceans. If a spill may
impact cetaceans, or sea turtles, NMFS Protected Resources Contacts should be notified and they
will initiate notification of other relevant parties.

NMFS Protected Resources Contacts for the Gulf of Mexico:
           ○ Marine mammals- Southeast emergency stranding hotline 1-877-433-8299
           ○ Sea turtles- Dr. Brian Stacy at brian.stacy@noaa.gov and 352-283-3370 (cell); or
             Stacy Hargrove at stacy.hargrove@noaa.gov and 305-781-7453 (cell)
           ○ Other ESA-listed species- ESA section 7 consulting biologist:
             nmfs.ser.emergency.consult@noaa.gov
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Appendix I. Explosive Removal of Structures Measures
  I.   Sargassum habitat monitoring
       “Sargassum habitat” is defined as the presence of Sargassum in sufficient amounts that
       serve as developmental habitat in which small juvenile sea turtles are likely to be found.
       Small juvenile turtles are extremely difficult to detect and Sargassum habitat will be used
       as the primary indicator of their presence in an impact zone. Typically, the occasional
       presence of a few, small Sargassum “clumps” are not considered developmental habitat.
       Sargassum habitat for sea turtles is visually described as mats, continuous lines, broken
       windrows (short lines or non-linear clumps), or scattered patches (Table 135). NMFS
       PSOs will be required to monitor local conditions to determine if Sargassum habitat is
       present based on the hourly conditions at a decommissioning site and implement the
       appropriate measures.

Table I- 1. Description of Sea Turtle Sargassum Habitat Types {Witherington, 2012 #648}.
  Sargassum Habitat Type                                      Description
 Mat                          One or more consolidated areas of Sargassum forming a mat large
                              enough to provide shelter and/or food for a small sea turtle.
 Continuous Line              One or more contiguous meandering lines or scattered patches along a
                              linear path. Lines may be narrow or wide. These lines are often
                              associated with convergence zones.
 Broken Windrows              Many parallel, short lines or clumps that may or may not be distributed
                              linearly
 Scattered patches            Numerous patches scattered over an area


 II.   Requirements for Establishing Impact Zones
       A. Impact zones in both shallow and deep water are determined by the net explosive
          weights used during a decommissioning event. The impact distance(s) shall be based
          on the largest charge size proposed to be used during a removal event when multiple
          charges are used. The measures herein apply to any charge size up to 500 lb. The
          charge weight establishes the specific mitigation scenario that must be adhered to as a
          permit condition.
       B. Impact zones for each scenario shall be calculated using the most recent version of the
          Underwater Calculator (UWC) that has been reviewed and approved by NMFS. The
          current required impact zones (Table 136) are based on UWC version 1.5.3 that is the
          latest approved version at the time of this opinion. Review and approval of UWC
          revisions will be completed according to the second tier consultation procedures
          detailed in section 4 of this opinion.
Table I- 2. Impact zones for net explosive weights based on underwater calculator version 1.5.3.
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         Net Explosive                                 Impact Zone Distance
          Weight (lb)                          BLM                             AML
              1-10                         261 m (856 ft)                  293 m (961 ft)
            >10-20                        373 m (1,224 ft)                522 m (1,714 ft)
            >20-80                        631 m (2,069 ft)                829 m (2,721 ft)
           >80-200                        941 m (3,086 ft)               1,126 m (3,693 ft)
           >200-500                      1,500 m (4,916 ft)              1,528 m (5,012 ft)


       C. NMFS understands all decisions on explosive composition, configuration, and usage
          need to be made by the qualified explosive contractors in accordance with the
          applicable explosive-related laws and regulations. BSEE or their permitee shall
          provide a written blasting plan to the PROP Program Manager prior to the anticipated
          blasting date. The blasting plan shall include the number of and type of structures,
          number of decommissioning events, type of explosives, and weight of explosives.
          Any changes to the net explosive weights detailed in the blasting plan shall be
          submitted in writing to the PROP program manager or lead PSO on site. The PROP
          Program Manager or lead PSO will determine the appropriate scenario measure
          (described below) and impact zone required based on the final net explosive weights
          used for the removal.
       D. PSOs may use binoculars and the naked eye to monitor the exclusion zones. The
          sighting distance of all listed species and Sargassum habitat that result in delays must
          be recorded.
       E. Buoys or some visible markers will be necessary for visual reference of the impact
          zone when only surface monitoring is required. The perimeter of impact zones should
          be demarcated (e.g., brightly colored buoys, vessels, or other markers) for visual
          reference.
       F. If any ESA-listed species, or Sargassum habitat indicative of small juvenile sea turtles
          are present in the impact zone, a detonation must not proceed. Steps for tracking
          animals, inspecting Sargassum habitat, delay periods, and additional monitoring are
          detailed below.
III.   Requirements for differing scenario mitigations
       A. Permittees must fully comply with the relevant measures according to impact zones in
          Table 136 and the mitigation scenarios in Table 137. Table 136 provides the impact
          zone distances required based on the net explosive weight used. Table 137
          summarizes the required mitigation and monitoring surveys, and duration of
          monitoring required. Sea turtles can remain submerged on a single dive for well over
          30 minutes, hence the reason for increasing the pre-detonation aerial survey to 45
          minutes (Byles, 1989; Renaud, 1995; Gitschlag, 1996).
Table I- 3. Mitigation overview for net explosive weights used in any configuration in shallow
water (SW; less than 200 m) and deep water (DW; greater than 200 m).
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                                                                                                                                                          within one Week
                               Pre-Det Surface




                                                                                                                       Surface Survey
                                                                                                    Habitat Waiting




                                                                                                                                        Post-Det Aerial
                                                                                Waiting Period
                                                 Pre-Det Aerial




                                                                                                                                                          Post-Post-Det
               Net explosive




                                                                                                                                                          Aerial Survey
                                                                  Pre-Det PAM
                               Survey (min)



                                                 Survey (min)




                                                                                                                                        Survey (min)
                                                                                                    Sargassum
               weight (lb)




                                                                                Sightings




                                                                                                                       Post-Det
                                                                                Animal
Mitigation




                                                                                                    Period
                                                                  (min)




                                                                                (min)




                                                                                                                       (min)
scenario
 Number
                                                                                    SHALLOW WATER
SW-1            1-10               60             N/A             N/A               30      Until visually                  30           N/A                  No
SW-2          >10-20               90               45            N/A               30       inspected or                 N/A               45                No
                                                                                          Sargassum floats
SW-3          >20-80               90               45            N/A               30      out of Impact                 N/A               45                No
SW-4         >80-200             120                60            N/A               30           Zone                     N/A               45                No
SW-5          >200-              150                90            N/A                45                                   N/A               45                No
               500
                                                                                          DEEPWATER
  DW-1          1-10               90             N/A             N/A                45           Until visually            30           N/A                  No
  DW-2        >10-20               90               45            N/A                45            inspected or           N/A               45                No
                                                                                                 Sargassum floats
  DW-3        >20-80               90               60             150               45           out of Impact           N/A               45                Yes
  DW-4       >80-200             150                60             180               45                Zone               N/A               45                Yes
  DW-5        >200-              180                90             270               45                                   N/A               45                Yes
               500


       B. Permittees must stagger the detonation of multiple charges in a series by an interval of
          at least 0.9 sec (900 msec) between blasts. Otherwise, the combined charge sizes (or
          net explosive weight) will be used to determine the impact zone.
       C. Detonations must only occur during daylight and during a time that would allow for
          post- detonation surveys. Monitoring will cease if the lead PSO determines that
          weather or marine conditions are not adequate for visual observations.
       D. Scare charges shall not be used to clear impact zones of sea turtles or ESA-listed
          whales (i.e., sperm whale).
       E. Images/pictures taken during any surveys are the property of the U.S. Government and
          should not be sold, duplicated or used in any way other than for which the project it
          was intended.
       F. Unusual Circumstances: Occasionally, sea turtle(s) remain within the impact zone or
          are present in high numbers. On rare occasions, very small turtles may be seen in
          absence of Sargassum habitat near vessels from which monitoring is occurring.
          During these unusual circumstances, the on-site NMFS PSO shall exercise discretion
          in the implementation of measures or modification of the mitigation procedures that
          serve to avoid or minimize impacts to sea turtle(s). Typically, modifications of
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             mitigations include increasing the duration of monitoring periods, increasing the
             number of PSOs, delaying blasting, or a combination of measures. The lead PSO will
             coordinate with the PROP Manager, appropriate BSEE personnel, and NMFS ESA
             section 7 consulting biologist when circumstances necessitate additional monitoring.


IV.      Requirements for Surface Monitoring Surveys
        A. A surface monitoring survey is required for all blasting scenarios and must be
           conducted for the length of time indicated for the net explosive weights in Table 136
           and Table 137.

        B. Surface monitoring is generally conducted by at least two PSOs. Surface monitoring
           surveys are to be conducted from the highest vantage point(s) and/or other location(s)
           that provide the best, clear view of the entire impact zone. These vantage points may
           be on the structure being removed or proximal surface vessels such as crew boats and
           derrick barges. Additional PSOs will be positioned around the decommissioning site,
           as determined by the PROP manager/coordinator in consultation with the lead PSO for
           additional structures, large net explosive weights, or other circumstances as needed.

        C. Surface monitoring must be conducted in adequate light during daylight hours (sunrise
           to sunset) and with an adequate line of sight including meteorological conditions free
           of rain or fog, and free of other visual obstructions such as other work vessels.

        D. For mitigation scenarios requiring only surface monitoring and no aerial monitoring,
           surface monitoring must be conducted under good environmental conditions that are
           conducive for monitoring for sea turtles and marine mammals. Surface-only
           monitoring shall be delayed if: 1.) Sea conditions exceed Beaufort Wind Force Scale
           4.5 (see Table 138), or 2.) inadequate line of sight including poor light conditions,
           meteorological conditions (e.g., rain or fog) and other visual obstructions such as other
           work vessels.

Table I- 4. Beaufort Sea State Scale.
 Beaufort State       Wind       Wind        Wave                       Description
                      mph        Knots     Height (ft)
 0 (calm)           0-1        0-1        0              Sea surface like a mirror
 1 (light air)      1-3        1-3        0.33-0.65      Ripples with the appearance of scales, but
                                                         no foam crests
 2 (light breeze)   4-7        4-6        0.66-1.9       Small wavelets, more pronounced. Crests
                                                         have glassy appearance, but do not break.
 3 (gentle          8-12       7-10       2-3.2          Large wavelets. Crests begin to break. Foam
 breeze)                                                 of glassy appearance. Perhaps scattered
                                                         white horses.
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Beaufort State      Wind      Wind         Wave                       Description
                     mph     Knots      Height (ft)
4 (moderate        13-18    11-16      3.3-6.5        Small waves, becoming larger; fairly frequent
breeze)                                               white horses.
4.5 (moderate-     ≤15.5    ≤13.5      ≤4.9           Small waves, crests break, scattered but
fresh breeze)                                         regular white horses
5 (fresh breeze)   19-24    17-21      6.6-9.8        Moderate waves, more pronounced long
                                                      form, many white horses, some spray
                                                      possible



     E. For charge sizes between 0-10 lb, the detonation may proceed if ESA-listed species or
        Sargassum habitat is not sighted.

     F. If a listed species is sighted, or sighted heading inbound toward the impact zone, a
        waiting period is required (see Waiting Periods in “F” below), or

     G. If Sargassum habitat is sighted in the impact zone, , a waiting period is required until
        the Sargassum habitat drifts out of the impact zone (see Waiting Periods in “F”
        below). Alternatively, a vessel-based PSO could inspect the Sargassum for juvenile
        sea turtles. This must be done from a small vessel or inflatable boat so that an
        observer will be close to the water surface and can see small turtles. If no sea turtles
        are sighted, the waiting period ends and the survey can continue for the remaining
        period required under the mitigation. If a sea turtle(s) is sighted, the waiting period
        must continue until the Sargassum drifts out of the impact zone.

V.    Requirements for Pre-Det Aerial Surveys
       A. Aerial monitoring surveys are to be conducted from helicopters running standard
          low-altitude search patterns over the extent of the decommissioning area, including
          the impact zone that corresponds to the appropriate mitigation scenario.

       B. Aerial surveys will be restricted to daylight hours only and cannot begin until the
          requisite surface monitoring survey has been completed.

       C. Aerial surveys will cease if the lead PSO determines that weather or marine
          conditions are not adequate for visual observations, or when the pilot/removal
          supervisor determines that helicopter operations must be suspended.

       D. When two or more PSOs are on site, NMFS may decide two PSOs conduct the aerial
          survey or have one or more PSOs continue surface monitoring while the other
          observer flies the survey. The helicopter will traverse the impact zone at low
          speed/altitude in the specified survey pattern.
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          E. Flight patterns during pre-detonation and post-detonation surveys shall follow the
             procedures listed in Table 139. At any time during the survey period, the flight path
             may be altered to investigate sightings and confirm their location in reference to the
             impact zone.

Table I- 5. Flight patterns during pre-detonation surveys. All surveys should begin at the center of
the impact zone. At any time during the entire survey period it may be necessary to alter the flight
path to investigate sightings and confirm their location in reference to the impact zone.
                           Flight Path                                30-       45-        60-       90-
                                                                     minute    minute     minute    minute

 Follow a spiraling or corkscrewing flight path out from the
 center of the impact zone to the perimeter of the impact zone.
 This should be followed by a gradually contracting spiral flight      10        20         25        40
 path until the aircraft returns to the center of the impact zone.   minutes   minutes    minutes   minutes
 Repeat the pattern for the specified time period.
 Unless higher priority targets (ex. turtles, dolphins, Sargassum)
 are present, the aircraft should survey outside of the impact
 zone to a distance approximately equal to the radius of the            5         5          5         5
 impact zone to determine if any protected species (sea turtles      minutes   minutes    minutes   minutes
 or marine mammals) might be moving into the area.
 Expanding and contracting spirals should again be used for the
 The aircraft should survey inside the impact zone and follow
 the same procedures as during the first part of the survey.
 However, near the end of the survey period the flight path            15        20         30        45
 should usually be concentrated near the center of the impact        minutes   minutes    minutes   minutes
 zone since this is where animals will have the highest risk of
 severe impact


          F. For charge sizes greater than 10-500 lb, the detonation may proceed if listed species
             are not sighted.

          G. If listed species are sighted, or sighted heading inbound toward the impact zone, a
             waiting period is required (see Waiting Periods below).

          H. If Sargassum habitat is sighted, a waiting period is required until either a) a vessel-
             based PSO inspects the Sargassum from a small vessel or inflatable boat for juvenile
             sea turtles to determine if a Sargassum waiting period is required, or b) no vessel-
             based inspection occurs and a waiting period is triggered until the Sargassum has
             drifted out of the impact zone. If no sea turtles are sighted during a PSO inspection,
             the surface monitoring can continue for the remainder of the required monitoring
             period.
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VI.    Requirements for Passive Acoustic Monitoring (PAM)
       A. BOEM and BSEE must require operators to provide for review a plan for the use of
          passive acoustic monitoring for marine mammal detection in the relevant deepwater
          mitigation scenarios (DW-3, DW-4, and DW-5). The plan must include on-site
          monitoring protocols, description of the passive acoustic system, software used,
          recording and storage of data, and other aspects of acoustic monitoring.

       B. Persons conducting acoustic surveys will be required to comply with NMFS-
          approved passive acoustic monitoring protocols and use approved devices and
          technicians.

       C. Acoustic surveys will be run concurrent with requisite pre-detonation surveys,
          beginning with the surface observations and concluding at the finish of the aerial
          surveys when the detonation(s) is allowed to proceed. Operators must also report on
          an assessment of the usefulness, effectiveness, and problems encountered with the
          use of the method. PAM operators shall notify NMFS PSOs immediately when any
          acoustic targets are detected.

       D. For mitigation Scenarios DW-3, DW-4, and DW-5, the detonation may proceed if
          ESA-listed whales (i.e., sperm whale) are not detected with PAM and the other pre-
          det surveys do not detect listed species or Sargassum habitat. If ESA-listed whales
          are detected with PAM (or listed species or Sargassum habitat are otherwise
          sighted), a waiting period is required (see Waiting Periods below).

VII.   Requirements for Waiting Periods for Surface, Aerial, and PAM Surveys
       A. For pre-det surveys. If sea turtle, Sargassum habitat or ESA-listed whales (i.e.,
          sperm whale) are observed within (or about to enter, heading inbound) the impact
          zone of any pre-detonation survey, detonations must be delayed until no protected
          species are inside the impact zone or the Sargassum has drifted out of the impact
          zone. The waiting period must be completed before the monitoring protocol for the
          requisite mitigation, and following measures can continue. The purpose of a waiting
          period is to allow any inbound animal(s) within the impact zone to exit the impact
          zone under their own volition. For small juvenile sea turtles, the purpose of the
          waiting period is to allow floating Sargassum habitat to drift out of the area or to
          confirm no turtles are present in the Sargassum.

       B. For surface, aerial, PAM surveys. When listed species are inside the impact zone or
          inbound toward the impact zone during a surface, aerial or PAM survey:

         i.   Halt the detonation countdown and implement the waiting period,
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          ii.   Continue opportunistic monitoring during the required waiting period after the
                last sighting.

         iii.   If additional sightings occur inside the impact zone or animals sighted heading
                inbound during the waiting period, then continue surface surveys and start a new
                waiting period after the occurrence of the last sighting.

         iv.    Except for waiting periods triggered by Sargassum habitat, anytime a waiting
                period for an aerial survey or for a surface survey for blast scenarios with surface
                only surveys (when no aerial survey is required) is triggered by a sea turtle or
                marine mammal sighting, the interrupted survey must be completed over in its
                entirety. For blast scenarios that include both survey types, only the aerial survey
                would need to be repeated.

          v.    Anytime a surface survey waiting period is due only for Sargassum habitat, a
                waiting period is required until either a) a vessel-based PSO inspects the
                Sargassum and determines no turtles are present, or b) no vessel-based inspection
                occurs and a waiting period is triggered until the Sargassum has drifted out of the
                impact zone. If no sea turtles are sighted during a PSO inspection of Sargassum
                habitat, the surface monitoring can continue for the remainder of the required
                monitoring period.

         vi.    Anytime an aerial survey waiting period is triggered only due to Sargassum
                habitat (no marine mammals or large juvenile or adult sea turtles sighted), only
                the aerial survey needs to be repeated.

         vii.   Other than in the case of waiting periods described above, any interrupted surface
                or aerial surveys must be repeated in their entirety. Also, the post-detonation
                aerial survey must begin immediately following completion of the pre-detonation
                surface survey.

VIII.   Requirements for Post-Detonation and Post-Post Detonation Monitoring
        Surveys
 The primary purpose of post-det and post-post-det surveys is to detect any listed species that may
 have been impacted (stunned, injured or killed) by the detonation and monitor the effectiveness
 of the pre-det mitigation requirements. Post-det and post-post-det surveys must follow the
 following measures.

         A. A 45-minute post-detonation aerial survey must be conducted by the PSO(s) for all
            explosive use greater than 10 lb. The aerial survey must be conducted immediately
            upon conclusion of the detonation.
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      B. For deepwater, mitigation scenarios DW-3, DW-4 and DW-5, post-post-detonation
         aerial monitoring surveys must be conducted within 2-7 days after detonation
         activities conclude, by either helicopter or fixed-wing aircraft. Any distressed,
         stunned, injured, or dead marine mammals will be noted in the survey report, and if
         possible, tracked and collected after notifying the National Marine Fisheries Service.

      C. Detonations shall not occur if the post-detonation survey cannot be concluded prior
         to sunset.

      D. For post-detonation surveys, follow a spiraling or corkscrewing flight path out from
         the center of the impact zone to the perimeter of the impact zone. This should be
         followed by gradually contracting spiral flight path until the aircraft returns to the
         center of the impact zone. If strong currents are present, the down current area
         should be surveyed outside the impact zone to an appropriate distance. Repeat the
         pattern for the specified time period.

      E. For post-post-detonation surveys, survey a 7x7 nmi grid centered over the removal
         site. This grid includes eight, parallel transect lines each measuring 7 nmi long and
         spaced approximately 1 nmi apart. If strong currents are determined to be present,
         the the grid may be shifted in the down current direction to an appropriate distance.
         Any injured or dead sea turtle or marine mammal must be recorded in the survey
         report and reported to the appropriate stranding network. The stranding network
         may request that the carcass be tracked and collected if possible.

IX.   Requirements for the Recovery of Sea Turtles
      A. BOEM and BSEE shall allow an option for trained diver(s) to attempt capture of sea
         turtles known to be present around a structure slated for removal by explosive
         severance. NMFS SERO shall be notified prior to any capture attempts and the
         capture, handling, holding, and release of sea turtles shall be under the guidance and
         supervision of NMFS PSOs

      B. Sea turtles that are observed to be stunned, injured, or killed during post-det surveys
         or follow-up aerial surveys must be recovered by PSOs when it is possible to do so.
         The company and offshore service contractors on site must make assets available,
         such as vessels, divers, so PSOs can capture or recover stunned, injured, or dead
         turtles and transport them to shore.

      C. Impacted sea turtles that are recovered alive or dead must be immediately
         transported to shore in coordination with NMFS. Turtles must be transported to an
         authorized rehabilitation facility for veterinary treatment, or properly stored for
         necropsy to document the injuries and cause of death.
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      D. If a sperm whale is unintentionally exposed to a blast, the incident must immediately
         be reported to the Marine Mammal Stranding Network at 1-877-WHALE-HELP (1-
         877-942-5343).

X.    PSO Requirements
      A. NMFS PSOs are required to perform surface and aerial surveys. These PSOs are
         qualified NMFS employees or contractors delegated under the Platform Removal
         Observer Program (PROP) of NMFS’ Galveston Laboratory. Explosive-severance
         contractors or operators enter into agreements with the NMFS Galveston Laboratory
         to provide PSO monitoring. Under the agreements, NMFS achieves full cost
         recovery for the goods and services provided. Generally, at least 2 or 3 NMFS PSOs
         are required to conduct surveys for the mitigation scenarios. When simultaneous
         surface, aerial, or PAM surveys are required, teams of PSOs may be required. The
         PROP Manager will determine the required number of teams and PSOs depending
         on the complexity of severance activities, structure configurations, adequacy of
         structures and vessels to conduct effective monitoring, and other environmental
         monitoring conditions.

      B. PSOs must brief affected crew and severance contractors of the monitoring efforts
         and notify topsides personnel to report any sighted animals or Sargassum habitat to
         the lead PSO immediately;

      C. PSOs must establish an active line of communication (such as 2-way radio) with
         company and blasting personnel;

      D. PSOs must devote the entire, uninterrupted survey time to listed species monitoring.

      E. For aerial surveys, a PSO should sit in one of the seats in the front of the cockpit.
         This is typically on the port side of the aircraft next to the pilot. Whenever possible,
         a second PSO should sit on the opposite side of the aircraft so that both sides of the
         aircraft are surveyed. If additional PSOs are available, seating should be adjacent to
         a window. Communications equipment should be provided which allows the pilot
         and PSOs to talk to each other and which provides clear communications.

XI.   Requirements for Reporting
      A. Any take of listed species should be reported to NMFS at
         takereport.nmfsser@noaa.gov and nmfs.psoreview@noaa.gov. If the taking
         involves a whale, the lead PSO shall also report it immediately to the Marine
         Mammal Stranding Network at 1-877-WHALE-HELP (1-877-942-5343).
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       B. Final monitoring reports (also referred to as the trip report) will be prepared for each
          removal. The monitoring report responsibilities will be assumed by NMFS’s lead
          PSO and completed following completion of the severance activities.

       C. In addition to basic operational data (e.g., area and block, water depth,
          company/platform information), the trip reports must contain all of the applicable
          information:

         i.   Target: Type/Composition (pile, caisson, concrete piling, nylon mooring, etc.) and
              Diameter and Thickness

        ii.   Charge: Type (bulk, configured-bulk, linear-shaped, etc.), Charge weight/material
              (RDX, C4, HMX, etc.), Configuration (internal/external, cut depth [below mud
              line], water depth [above mud line], etc.), Deployment method (diver, ROV, from
              surface, etc.)

       iii.   Monitoring: Survey Type: (pre-det and post-det; surface, aerial, etc.), Time(s)
              initiated/terminated, Marine Conditions

        iv.   Observed/Detected summary: Type/number (basic description or species
              identification, if possible, during all survey types- i.e., surface, aerial, and acoustic
              and both during pre- and post-detonation periods), Location/orientation –
              inside/outside impact zone, inbound/outbound, etc., Any “halted-detonation”
              details – i.e., waiting periods, re-surveys, etc., Any “Take-Event” details – actual
              MPS injury/mortality

       D. BOEM shall provide an annual report to the NMFS consulting biologist describing
          the total annual structures removed, sea turtle and sperm whale sightings during pre-
          detonation surveys, sea turtle and sperm whale sightings during post- detonation
          surveys, visibility during the surveys, details of sea turtles (including loggerhead,
          green, Kemp’s ridley, hawksbill and leatherback sea turtles) and ESA-listed whales
          (i.e., sperm whale) that were observed injured, killed or otherwise affected and the
          measures taken for each sea turtle and sperm whale. These annual reports should be
          combined with any MMPA reporting requirements, as appropriate.

       E. The annual reports shall be sent electronically by email to
          nmfs.psoreview@noaa.gov with “Decommissioning Protected Species Annual
          Report” in the subject header.


References:
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NMFS-SEFC-232, pp. 25-26.

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Gitschlag, G. R. 1996. Migration and diving behavior of Kemp's ridley (Garman) sea turtles
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205, pp. 115-135.
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Appendix J. Sea Turtle Handling and Resuscitation Guidelines
Any sea turtles taken incidentally during the course of fishing or scientific research activities
must be handled with due care to prevent injury to live specimens, observed for activity, and
returned to the water according to the following procedures:

  I.   Sea turtles that are actively moving or determined to be dead (as described in paragraph
       (B)(4) below) must be released over the stern of the boat. In addition, they must be
       released only when fishing or scientific collection gear is not in use, when the engine
       gears are in neutral position, and in areas where they are unlikely to be recaptured or
       injured by vessels.

 II.   Resuscitation must be attempted on sea turtles that are comatose or inactive by:

           i.   Placing the turtle on its bottom shell (plastron) so that the turtle is right side
                up and elevating its hindquarters at least 6 inches (15.2 cm) for a period of 4
                to 24 hours. The amount of elevation depends on the size of the turtle; greater
                elevations are needed for larger turtles. Periodically, rock the turtle gently left
                to right and right to left by holding the outer edge of the shell (carapace) and
                lifting one side about 3 inches (7.6 cm) then alternate to the other side. Gently
                touch the eye and pinch the tail (reflex test) periodically to see if there is a
                response.
         ii.    Sea turtles being resuscitated must be shaded and kept damp or moist but
                under no circumstance be placed into a container holding water. A water-
                soaked towel placed over the head, carapace, and flippers is the most effective
                method in keeping a turtle moist.
         iii.   Sea turtles that revive and become active must be released over the stern of
                the boat only when fishing or scientific collection gear is not in use, when the
                engine gears are in neutral position, and in areas where they are unlikely to be
                recaptured or injured by vessels. Sea turtles that fail to respond to the reflex
                test or fail to move within 4 hours (up to 24, if possible) must be returned to
                the water in the same manner as that for actively moving turtles.
         iv.    A turtle is determined to be dead if the muscles are stiff (rigor mortis) and/or
                the flesh has begun to rot; otherwise, the turtle is determined to be comatose
                or inactive and resuscitation attempts are necessary.

 Any sea turtle so taken must not be consumed, sold, landed, offloaded, transshipped, or
 kept below deck.

 These requirements are excerpted from 50 CFR 223.206(d)(1). Failure to follow these
 procedures is therefore a punishable offense under the Endangered Species Act.
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                                           APPENDIX G
                                 WASTES AND DISCHARGES INFORMATION

A) PROJECTED GENERATED WASTES
A table entitled “Wastes you will transport and/or dispose of onshore” is included in the attachments to
this appendix.

B) PROJECTED OCEAN DISCHARGES
A table entitled “Wastes you will generate, treat and/or downhole dispose or discharge to the GOM” is
included in the attachments to this appendix.

C) MODELING REPORT
In accordance with NTL 2008-G04, this information is not applicable to the activities proposed in this
plan as the subject activities do not require an individual NPDES permit. Therefore, a modeling report is
not required.

D) NPDES PERMITS
The subject rig and/or facility will be covered under BOE Exploration & Production's General Permit
upon commencement of the activities proposed in this plan.

E) COOLING WATER INTAKES
In accordance with NTL 2008-G04, this information is not applicable to the activities proposed in this
plan as the associated leases are within the Gulf of Mexico Region.




Initial Exploration Plan
Green Canyon 895, OCS-G 35879
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          WATER QUALITY SPREADSHEETS
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   TABLE 1. WASTES YOU WILL GENERATE, TREAT AND DOWNHOLE DISPOSE OR
   please specify if the amount reported is a total or per well amount
                                                                                                                                                                                      Projected
                       GC895 #1                                                                                                                                                       Downhole
   Projected generated waste                                                                                              Projected
                                                                                                                          Projected ocean
                                                                                                                                    ocean discharges
                                                                                                                                          discharges                                  Disposal
    Type of Waste                                            Composition                       Projected Amount           TDischarge rate             Discharge Method               Answer yes or no
Will drilling occur ? If yes, fill in the muds and cuttings.
                                                             Cuttings generated while using
    EXAMPLE: Cuttings wetted with synthetic based fluid      synthetic based drilling fluid. X bbl/well                   X bbl/day/well              discharge overboard                  No
                                                               Water based mud additives,
   Water-based drilling fluid                                  barite and gel used for WBM         101,194 bbls/well          7,354 bbls/day/well        Discharge overboard               No
                                                              Cuttings generated while using
   Cuttings wetted with water-based fluid                        water based drilling fluid.        5,613 bbls/well            408 bbls/day/well         Discharge overboard               No
                                                              Cuttings generated while using
   Cuttings wetted with synthetic-based fluid                  synthetic based drilling fluid.      6,165 bbls/well            171 bbls/day/well         Discharge overboard               No

Will humans be there? If yes, expect conventional waste                                                                   Y
                                                                   Sanitary waste from living                             l                             chlorinate and discharge
   EXAMPLE: Sanitary waste water                                            quarters                   X bbl/well         i       X bbl/hr/well                overboard                   No
                                                                                                                                                        Discharge overboard (no
   Domestic waste                                             Misc waste for living quarters        9,411 bbls/well             4.6 bbls/hr/well                 free oil)                 No
                                                              Processed sanitary waste from                                                             Chlorinate and discharge
   Sanitary waste                                                    living quarters                6,274 bbls/well             3.1 bbls/hr/well               overboard                   No

Is there a deck? If yes, there will be Deck Drainage
                                                              Accumulated drainage due to                                                              Test for oil and grease and
   Deck Drainage                                                        rainfall                 0 to 47,261 bbls/well        0 to 167 bbls/hr/well       discharge overboard              No

Will you conduct well treatment, completion, or workover?
                                                               NPDES approved treatment                                                                Test for oil and grease and
   Well treatment fluids                                       fluid used for well operations        100 bbls/well              20 bbls/hr/well           discharge overboard.             No
                                                                                                                                                       Test for oil and grease and
                                                                                                                                                       discharge overboard. This
                                                                     Clear brines used for                                                                excludes clear brines
   Well completion fluids                                           completion operations            500 bbls/well              100 bbls/hr/well             containing Zinc               No
   Workover fluids                                                            NA                          NA                          NA                          NA                       NA

Miscellaneous discharges. If yes, only fill in those associated with your activity.

                                                                     Uncontaminated spent
                                                                   seawater used for potable
   Desalinization unit discharge                                     water generation unit       0 to 100,000 bbls/well         60 bbls/hr/well          Discharge overboard               No
                                                                    Treated freshwater used
                                                                   control of subsea blowout
   Blowout prevent fluid                                                   preventers              0 to 100 bbls/well            5 bbls/hr/well          Discharge at seafloor             No
                                                             Uncontaminated seawater used
   Ballast water                                                   for ballast control    0 to 100,000 bbls/well              16,350 bbls/hr/well        Discharge overboard               No




   Bilge water                                                                NA                          NA                          NA                          NA                       NA
                                                                Excess cement slurry and
                                                               mixwater used for cementing
   Excess cement at seafloor                                   operation - NPDES allowed             300 bbls/well              360 bbls/hr/well         Discharge at mudline              No
                                                             Uncontaminated seawater used
   Fire water                                                    for fire control system         0 to 10,000 bbls/well        16,350 bbls/hr/well        Discharge overboard               No
                                                             Uncontaminated seawater used
                                                              for heat exchanger operations
   Cooling water                                                  used to cool machinery    0 to 400,000 bbls/well              120 bbls/hr/well         Discharge overboard               No

Will you produce hydrocarbons? If yes fill in for produced water.
    Produced water                                                            NA                          NA                     NA                               NA                       NA
                                                                                                                          N
Will you be covered by an individual or general NPDES permit ?                                     General NPDES          O
                                                                                                                          GMG 290000

                                                                                                                          Comply with the requirements of the NPDES permit.
NOTE: If you will not have a type of waste, enter NA in the row.
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   TABLE 2. WASTES YOU WILL TRANSPORT AND /OR DISPOSE OF ONSHORE
   Please specify whatever the amount reported is a total or per well
                                                                                     Solid and Liquid
                                                     Projected                           Wastses
                GC 895 #1                         generated waste                     Transportation                                        Waste Disposal
   Type of Waste                                Composition                     Transport Method                  Name/Location of Facility      Amount             Disposal Method



                                                                                                                  Newport Environmental
                                                                                                                  Services Inc., Ingleside, TX   X bbl/well         Recycled

   Oil-based drilling fluid or mud              NA                              NA                                NA                             NA                 NA
                                                                                Barged in 25 bbls cutting boxes
                                                Internal olifin, ester nbased   and / or liquid mud tanks for     Ecoserv, Fourchon, LA /
   Synthetic-based drilling fluid or mud        mud                             supply vessels                    R360, Fourcon, LA              6750 bbls / well   Recycled



   Cuttings wetted with Water-based fluid       NA                              NA                                NA                             NA                 NA


   Cuttings wetted with Synthetic-based fluid   NA                              NA                                NA                             NA                 NA

   Cuttings wetted with oil-based fluids        NA                              NA                                NA                             NA                 NA

Will you produce hydrocarbons? If yes fill in for produced sand.
   Produced sand                               NA                               NA                                NA                             NA                 NA

Will you have additional wastes that are not permitted for discharge? If
   EXAMPLE: trash and debris (recylables)       Plastic, paper, aluminum        barged in a storage bin           ARC, New Iberia, LA            X lb/well          Recycled
                                                                                                                  Blanchard Landfill, Golden
   Trash and debris                             Plastic, paper, aluminum        Barged in a storage bin           Meadows, LA                    4000 lbs / well    Recycled
                                                                                Barged in USCG approved
   Used oil                                     Spent oil from machinery        transfer tote tanks.              L&L Services, Fourchon, LA     200 bbls / well    Recycled
                                                                                Barged in 25 bbls cutting boxes
                                                Wash water w/ SBM               and / or liquid mud tanks for     Ecoserv, Fourchon, LA /                           Approved disposal well
   Wash water                                   residue and surfactants         supply vessels                    R360, Fourcon, LA              2000 bbls / well   injection or land farm
                                                Spent treatment and / or
                                                damaged chemicals used          Barged in 25 bbls cutting boxes
   Chemical product wastes                      in operations                   and / or cutting boxes            L&L Services, Fourchon, LA     10 bbls / well     Recycled

   NOTE: If you will not have a type of waste, enter NA in the row.
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                                              APPENDIX H
                                      AIR EMISSIONS INFORMATION

A specific drilling unit has not been determined to conduct activities proposed in this plan.

In accordance with BOEM guidance, only one form for the type of drilling unit that has the highest
potential emissions is included in the attachments to this appendix.

Multiple rig types proposed to conduct activities proposed in this plan are clarified on the title page of
the attached.




Initial Exploration Plan
Green Canyon 895, OCS-G 35879
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            AIR EMISSION SPREADHSEETS
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                                                                                                                                OMB Control No. 1010-0151
                                                                  EXPLORATION PLAN (EP)                                    OMB Approval Expires: 06/30/2021
                                                             AIR QUALITY SCREENING CHECKLIST


                           COMPANY                       BOE Exploration & Productoin
                           AREA                          GC
                           BLOCK                         895
                           LEASE                         OCS-G 35879
                           PLATFORM                      N/A
                           WELL                          A/B/C/D

                           COMPANY CONTACT               Brandon Hebert
                           TELEPHONE NO.                 985.666.0143
                           REMARKS                       Proposed Rig Types: Drillship / DP Semisubmerisble




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                                                                        EMISSIONS FACTORS


       Fuel Usage Conversion Factors Natural Gas Turbines                  Natural Gas Engines      Diesel Recip. Engine         REF.              DATE
                                      SCF/hp-hr      9.524                  SCF/hp-hr    7.143      GAL/hp-hr 0.0483           AP42 3.2-1         4/76 & 8/84


       Equipment/Emission Factors                  units          PM            SOx          NOx      VOC          CO            REF.              DATE

       NG Turbines                              gms/hp-hr                     0.00247         1.3      0.01       0.83      AP42 3.2-1& 3.1-1       10/96
       NG 2-cycle lean                          gms/hp-hr                     0.00185        10.9      0.43        1.5         AP42 3.2-1           10/96
       NG 4-cycle lean                          gms/hp-hr                     0.00185        11.8      0.72        1.6         AP42 3.2-1           10/96
       NG 4-cycle rich                          gms/hp-hr                     0.00185         10       0.14        8.6         AP42 3.2-1           10/96


       Diesel Recip. < 600 hp.                  gms/hp-hr          1           0.1835         14       1.12       3.03         AP42 3.3-1           10/96
       Diesel Recip. > 600 hp.                  gms/hp-hr         0.32         0.1835         11       0.33        2.4         AP42 3.4-1           10/96
       Diesel Boiler                             lbs/bbl         0.084         0.3025        0.84     0.008       0.21       AP42 1.3-12,14          9/98


       NG Heaters/Boilers/Burners               lbs/mmscf         7.6          0.593         100       5.5          84 AP42 1.4-1, 14-2, & 14-3      7/98
       NG Flares                                lbs/mmscf                      0.593         71.4     60.3        388.5     AP42 11.5-1               9/91
       Liquid Flaring                             lbs/bbl        0.42           6.83          2       0.01         0.21  AP42 1.3-1 & 1.3-3          9/98
       Tank Vapors                                lbs/bbl                                             0.03                     E&P Forum             1/93
       Fugitives                               lbs/hr/comp.                                          0.0005                    API Study             12/93
       Glycol Dehydrator Vent                   lbs/mmscf                                              6.6                      La. DEQ              1991
       Gas Venting                                lbs/scf                                            0.0034


            Sulphur Content Source                Value         Units
                    Fuel Gas                       3.33          ppm
                   Diesel Fuel                     0.05        % weight
              Produced Gas( Flares)                3.33          ppm
           Produced Oil (Liquid Flaring)            1          % weight




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                                                                                                                       EMISSIONS CALCULATIONS 3RD YEAR


      COMPANY                           AREA                      BLOCK         LEASE        PLATFORM         WELL                                 CONTACT                   PHONE         REMARKS
BOE Exploration & Productoin
                        GC                                         895       OCS-G 35879         N/A      A/B/C/D                              Brandon Hebert             985.666.0143   Drillship
   OPERATIONS                    EQUIPMENT                     RATING MAX. FUEL ACT. FUEL                             RUN TIME                    MAXIMUM POUNDS PER HOUR                                                ESTIMATED TONS
                                Diesel Engines                   HP    GAL/HR      GAL/D
                               Nat. Gas Engines                  HP    SCF/HR      SCF/D
                                    Burners                   MMBTU/HR SCF/HR      SCF/D                      HR/D            D/YR      PM        SOx            NOx         VOC               CO       PM       SOx          NOx         VOC        CO
DRILLING                PRIME MOVER>600hp diesel                61800  2984.94   71638.56                      24             150      43.56      24.98         1497.36      44.92           326.70    78.41     44.96       2695.24      80.86    588.05
                        PRIME MOVER>600hp diesel                  0       0         0.00                        0               0      0.00       0.00           0.00        0.00             0.00     0.00      0.00         0.00        0.00      0.00
                        PRIME MOVER>600hp diesel                  0       0         0.00                        0               0      0.00       0.00           0.00        0.00             0.00     0.00      0.00         0.00        0.00      0.00
                        PRIME MOVER>600hp diesel                  0       0         0.00                        0               0      0.00       0.00           0.00        0.00             0.00     0.00      0.00         0.00        0.00      0.00
                        BURNER diesel                             0                                             0               0      0.00       0.00           0.00        0.00             0.00     0.00      0.00         0.00        0.00      0.00
                        AUXILIARY EQUIP<600hp diesel              0       0         0.00                        0               0      0.00       0.00           0.00        0.00             0.00     0.00      0.00         0.00        0.00      0.00
                        VESSELS>600hp diesel(crew)              7200   347.76     8346.24                       6              86      5.07       2.91          174.45       5.23             38.06    1.31      0.75         45.01       1.35      9.82
                        VESSELS>600hp diesel(supply)            7200   347.76     8346.24                      10             128      5.07       2.91          174.45       5.23             38.06    3.25      1.86        111.65       3.35      24.36
                        VESSELS>600hp diesel(tugs)                0       0         0.00                        0               0      0.00       0.00           0.00        0.00             0.00     0.00      0.00         0.00        0.00      0.00

FACILITY                DERRICK BARGE diesel                        0              0            0.00              0              0      0.00       0.00          0.00         0.00            0.00     0.00      0.00         0.00        0.00      0.00
INSTALLATION            MATERIAL TUG diesel                         0              0            0.00              0              0      0.00       0.00          0.00         0.00            0.00     0.00      0.00         0.00        0.00      0.00
                        VESSELS>600hp diesel(crew)                  0              0            0.00              0              0      0.00       0.00          0.00         0.00            0.00     0.00      0.00         0.00        0.00      0.00
                        VESSELS>600hp diesel(supply)                0              0            0.00              0              0      0.00       0.00          0.00         0.00            0.00     0.00      0.00         0.00        0.00      0.00

                        MISC.                                     BPD          SCF/HR         COUNT
                        TANK-                                      0                                              0              0                                            0.00                                                        0.00

DRILLING                OIL BURN                                    0                                             0              0      0.00       0.00          0.00         0.00            0.00     0.00      0.00         0.00        0.00      0.00
WELL TEST               GAS FLARE                                                  0                              0              0                 0.00          0.00         0.00            0.00               0.00         0.00        0.00      0.00

                 2020 YEAR TOTAL                                                                                                       53.71      30.80         1846.26      55.39           402.82    82.96     47.57       2851.90      85.56    622.23

   EXEMPTION                   DISTANCE FROM LAND IN
  CALCULATION                          MILES                                                                                                                                                          4528.80   4528.80      4528.80   4528.80    89916.25
                                       136.0




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                                                                                                                       EMISSIONS CALCULATIONS 4TH YEAR


      COMPANY                           AREA                      BLOCK         LEASE        PLATFORM         WELL                                 CONTACT                   PHONE         REMARKS
BOE Exploration & Productoin
                        GC                                         895       OCS-G 35879         N/A      A/B/C/D                              Brandon Hebert             985.666.0143   Drillship
   OPERATIONS                    EQUIPMENT                     RATING MAX. FUEL ACT. FUEL                             RUN TIME                    MAXIMUM POUNDS PER HOUR                                                ESTIMATED TONS
                                Diesel Engines                   HP    GAL/HR      GAL/D
                               Nat. Gas Engines                  HP    SCF/HR      SCF/D
                                    Burners                   MMBTU/HR SCF/HR      SCF/D                      HR/D            D/YR      PM        SOx            NOx         VOC               CO       PM       SOx          NOx         VOC        CO
DRILLING                PRIME MOVER>600hp diesel                61800  2984.94   71638.56                      24             150      43.56      24.98         1497.36      44.92           326.70    78.41     44.96       2695.24      80.86    588.05
                        PRIME MOVER>600hp diesel                  0       0         0.00                        0               0      0.00       0.00           0.00        0.00             0.00     0.00      0.00         0.00        0.00      0.00
                        PRIME MOVER>600hp diesel                  0       0         0.00                        0               0      0.00       0.00           0.00        0.00             0.00     0.00      0.00         0.00        0.00      0.00
                        PRIME MOVER>600hp diesel                  0       0         0.00                        0               0      0.00       0.00           0.00        0.00             0.00     0.00      0.00         0.00        0.00      0.00
                        BURNER diesel                             0                                             0               0      0.00       0.00           0.00        0.00             0.00     0.00      0.00         0.00        0.00      0.00
                        AUXILIARY EQUIP<600hp diesel              0       0         0.00                        0               0      0.00       0.00           0.00        0.00             0.00     0.00      0.00         0.00        0.00      0.00
                        VESSELS>600hp diesel(crew)              7200   347.76     8346.24                       6              86      5.07       2.91          174.45       5.23             38.06    1.31      0.75         45.01       1.35      9.82
                        VESSELS>600hp diesel(supply)            7200   347.76     8346.24                      10             128      5.07       2.91          174.45       5.23             38.06    3.25      1.86        111.65       3.35      24.36
                        VESSELS>600hp diesel(tugs)                0       0         0.00                        0               0      0.00       0.00           0.00        0.00             0.00     0.00      0.00         0.00        0.00      0.00

FACILITY                DERRICK BARGE diesel                        0              0            0.00              0              0      0.00       0.00          0.00         0.00            0.00     0.00      0.00         0.00        0.00      0.00
INSTALLATION            MATERIAL TUG diesel                         0              0            0.00              0              0      0.00       0.00          0.00         0.00            0.00     0.00      0.00         0.00        0.00      0.00
                        VESSELS>600hp diesel(crew)                  0              0            0.00              0              0      0.00       0.00          0.00         0.00            0.00     0.00      0.00         0.00        0.00      0.00
                        VESSELS>600hp diesel(supply)                0              0            0.00              0              0      0.00       0.00          0.00         0.00            0.00     0.00      0.00         0.00        0.00      0.00

                        MISC.                                     BPD          SCF/HR         COUNT
                        TANK-                                      0                                              0              0                                            0.00                                                        0.00

DRILLING                OIL BURN                                    0                                             0              0      0.00       0.00          0.00         0.00            0.00     0.00      0.00         0.00        0.00      0.00
WELL TEST               GAS FLARE                                                  0                              0              0                 0.00          0.00         0.00            0.00               0.00         0.00        0.00      0.00

                 2021 YEAR TOTAL                                                                                                       53.71      30.80         1846.26      55.39           402.82    82.96     47.57       2851.90      85.56    622.23

   EXEMPTION                   DISTANCE FROM LAND IN
  CALCULATION                          MILES                                                                                                                                                          4528.80   4528.80      4528.80   4528.80    89916.25
                                       136.0




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                                                                                                                       EMISSIONS CALCULATIONS 5TH YEAR


      COMPANY                           AREA                      BLOCK         LEASE        PLATFORM         WELL                                 CONTACT                   PHONE         REMARKS
BOE Exploration & Productoin
                        GC                                         895       OCS-G 35879         N/A      A/B/C/D                              Brandon Hebert             985.666.0143   Drillship
   OPERATIONS                    EQUIPMENT                     RATING MAX. FUEL ACT. FUEL                             RUN TIME                    MAXIMUM POUNDS PER HOUR                                                ESTIMATED TONS
                                Diesel Engines                   HP    GAL/HR      GAL/D
                               Nat. Gas Engines                  HP    SCF/HR      SCF/D
                                    Burners                   MMBTU/HR SCF/HR      SCF/D                      HR/D           D/YR       PM        SOx            NOx         VOC               CO       PM       SOx          NOx         VOC        CO
DRILLING                PRIME MOVER>600hp diesel                61800  2984.94   71638.56                      24            150       43.56      24.98         1497.36      44.92           326.70    78.41     44.96       2695.24      80.86    588.05
                        PRIME MOVER>600hp diesel                  0       0         0.00                        0              0       0.00       0.00           0.00        0.00             0.00     0.00      0.00         0.00        0.00      0.00
                        PRIME MOVER>600hp diesel                  0       0         0.00                        0              0       0.00       0.00           0.00        0.00             0.00     0.00      0.00         0.00        0.00      0.00
                        PRIME MOVER>600hp diesel                  0       0         0.00                        0              0       0.00       0.00           0.00        0.00             0.00     0.00      0.00         0.00        0.00      0.00
                        BURNER diesel                             0                                             0              0       0.00       0.00           0.00        0.00             0.00     0.00      0.00         0.00        0.00      0.00
                        AUXILIARY EQUIP<600hp diesel              0       0         0.00                        0              0       0.00       0.00           0.00        0.00             0.00     0.00      0.00         0.00        0.00      0.00
                        VESSELS>600hp diesel(crew)              7200   347.76     8346.24                       6             86       5.07       2.91          174.45       5.23             38.06    1.31      0.75         45.01       1.35      9.82
                        VESSELS>600hp diesel(supply)            7200   347.76     8346.24                      10            128       5.07       2.91          174.45       5.23             38.06    3.25      1.86        111.65       3.35      24.36
                        VESSELS>600hp diesel(tugs)                0       0         0.00                        0              0       0.00       0.00           0.00        0.00             0.00     0.00      0.00         0.00        0.00      0.00

FACILITY                DERRICK BARGE diesel                        0              0            0.00              0              0      0.00       0.00          0.00         0.00            0.00     0.00      0.00         0.00        0.00      0.00
INSTALLATION            MATERIAL TUG diesel                         0              0            0.00              0              0      0.00       0.00          0.00         0.00            0.00     0.00      0.00         0.00        0.00      0.00
                        VESSELS>600hp diesel(crew)                  0              0            0.00              0              0      0.00       0.00          0.00         0.00            0.00     0.00      0.00         0.00        0.00      0.00
                        VESSELS>600hp diesel(supply)                0              0            0.00              0              0      0.00       0.00          0.00         0.00            0.00     0.00      0.00         0.00        0.00      0.00

                        MISC.                                     BPD          SCF/HR         COUNT
                        TANK-                                      0                                              0              0                                            0.00                                                        0.00

DRILLING                OIL BURN                                    0                                             0              0      0.00       0.00          0.00         0.00            0.00     0.00      0.00         0.00        0.00      0.00
WELL TEST               GAS FLARE                                                  0                              0              0                 0.00          0.00         0.00            0.00               0.00         0.00        0.00      0.00

                 2022 YEAR TOTAL                                                                                                       53.71      30.80         1846.26      55.39           402.82    82.96     47.57       2851.90      85.56    622.23

   EXEMPTION                   DISTANCE FROM LAND IN
  CALCULATION                          MILES                                                                                                                                                          4528.80   4528.80      4528.80   4528.80    89916.25
                                       136.0




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                                                                                                                       EMISSIONS CALCULATIONS 6TH YEAR


      COMPANY                           AREA                      BLOCK         LEASE        PLATFORM         WELL                                 CONTACT                   PHONE         REMARKS
BOE Exploration & Productoin
                        GC                                         895       OCS-G 35879         N/A      A/B/C/D                              Brandon Hebert             985.666.0143   Drillship
   OPERATIONS                    EQUIPMENT                     RATING MAX. FUEL ACT. FUEL                             RUN TIME                    MAXIMUM POUNDS PER HOUR                                                ESTIMATED TONS
                                Diesel Engines                   HP    GAL/HR      GAL/D
                               Nat. Gas Engines                  HP    SCF/HR      SCF/D
                                    Burners                   MMBTU/HR SCF/HR      SCF/D                      HR/D           D/YR       PM        SOx            NOx         VOC               CO       PM       SOx          NOx         VOC        CO
DRILLING                PRIME MOVER>600hp diesel                61800  2984.94   71638.56                      24            150       43.56      24.98         1497.36      44.92           326.70    78.41     44.96       2695.24      80.86    588.05
                        PRIME MOVER>600hp diesel                  0       0         0.00                        0              0       0.00       0.00           0.00        0.00             0.00     0.00      0.00         0.00        0.00      0.00
                        PRIME MOVER>600hp diesel                  0       0         0.00                        0              0       0.00       0.00           0.00        0.00             0.00     0.00      0.00         0.00        0.00      0.00
                        PRIME MOVER>600hp diesel                  0       0         0.00                        0              0       0.00       0.00           0.00        0.00             0.00     0.00      0.00         0.00        0.00      0.00
                        BURNER diesel                             0                                             0              0       0.00       0.00           0.00        0.00             0.00     0.00      0.00         0.00        0.00      0.00
                        AUXILIARY EQUIP<600hp diesel              0       0         0.00                        0              0       0.00       0.00           0.00        0.00             0.00     0.00      0.00         0.00        0.00      0.00
                        VESSELS>600hp diesel(crew)              7200   347.76     8346.24                       6             86       5.07       2.91          174.45       5.23             38.06    1.31      0.75         45.01       1.35      9.82
                        VESSELS>600hp diesel(supply)            7200   347.76     8346.24                      10            128       5.07       2.91          174.45       5.23             38.06    3.25      1.86        111.65       3.35      24.36
                        VESSELS>600hp diesel(tugs)                0       0         0.00                        0              0       0.00       0.00           0.00        0.00             0.00     0.00      0.00         0.00        0.00      0.00

FACILITY                DERRICK BARGE diesel                        0              0            0.00              0              0      0.00       0.00          0.00         0.00            0.00     0.00      0.00         0.00        0.00      0.00
INSTALLATION            MATERIAL TUG diesel                         0              0            0.00              0              0      0.00       0.00          0.00         0.00            0.00     0.00      0.00         0.00        0.00      0.00
                        VESSELS>600hp diesel(crew)                  0              0            0.00              0              0      0.00       0.00          0.00         0.00            0.00     0.00      0.00         0.00        0.00      0.00
                        VESSELS>600hp diesel(supply)                0              0            0.00              0              0      0.00       0.00          0.00         0.00            0.00     0.00      0.00         0.00        0.00      0.00

                        MISC.                                     BPD          SCF/HR         COUNT
                        TANK-                                      0                                              0              0                                            0.00                                                        0.00

DRILLING                OIL BURN                                    0                                             0              0      0.00       0.00          0.00         0.00            0.00     0.00      0.00         0.00        0.00      0.00
WELL TEST               GAS FLARE                                                  0                              0              0                 0.00          0.00         0.00            0.00               0.00         0.00        0.00      0.00

                 2023 YEAR TOTAL                                                                                                       53.71      30.80         1846.26      55.39           402.82    82.96     47.57       2851.90      85.56    622.23

   EXEMPTION                   DISTANCE FROM LAND IN
  CALCULATION                          MILES                                                                                                                                                          4528.80   4528.80      4528.80   4528.80    89916.25
                                       136.0




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                                                                               SUMMARY



                           COMPANY        AREA                BLOCK                LEASE             PLATFORM            WELL
                           BOE ExplorationGC
                                          & Productoin        895                  OCS-G 35879       N/A                 A/B/C/D
                                                                    Emitted                                Substance
                                Year

                                                 PM                  SOx                 NOx                 VOC              CO
                               2020             82.96                47.57              2851.90              85.56           622.23
                               2021             82.96                47.57              2851.90              85.56           622.23
                               2022             82.96                47.57              2851.90              85.56           622.23
                               2023             82.96                47.57              2851.90              85.56           622.23
                            Allowable          4528.80              4528.80             4528.80             4528.80         89916.25




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                                               APPENDIX I
                                        OIL SPILLS INFORMATION

A) OIL SPILL RESPONSE PLANNING
Pursuant to 30 CFR 550.219 and NTL BOEM 2015-N01, this appendix provides information regarding any
potential oil spill(s), the assumptions and calculations used to determine the worst-case discharge
(WCD) measures scenario.

Below is a reference to and status of BOE Exploration & Production's Regional OSRP. A site specific OSRP
nor a sub-regional OSRP is not required with this plan, as the State of Florida is not an affected State for
the activities proposed in this plan.

1) REGIONAL OR SUBREGIONAL OSRP INFORMATION
Activities proposed in this plan will be covered by oil spill response plan number O-1039, approved via
letter dated September 17, 2019.

The below operators are covered under oil spill response plan number O-1039:
    • BOE Exploration & Production LLC (03572)
    • Beacon Growthco Operating Company, L.L.C. (03567)

2) SPILL RESPONSE SITES
The table below provides information on the location of the primary spill response equipment and the
location of the planned staging area(s) that would be used should an oil spill occur resulting from the
activities proposed in this plan.

     Primary Response Equipment Location                       Pre-Planned Staging Location
                  Houma, LA                                             Venice, LA

3) OIL SPILL REMOVAL ORGANIZATION (OSRO) INFORMATION
The O’Brien Group will provide trained personnel capable of providing supervisory oil spill response
management in addition to contacting and deploying cleanup personnel and equipment.

BOE Exploration & Production's primary equipment provider is Clean Gulf Associates (CGA). CGA is
supported by the Marine Spill Response Corporation (MSRC), which is responsible for storing, inspecting,
maintaining and dispatching CGA equipment. The MSRC STARs network provides for the closest
available personnel as well as an MSRC supervisor to operate the equipment.

4) WORST CASE SCENARIO COMPARISON
The table below provides a comparison of the worst-case discharge scenario from the above referenced
Regional OSRP with the worst-case scenario from the activities proposed in this plan. Please note the
Regional OSRP distance to shore scenarios are approximate and will be updated as required with
modifications to the OSRP. The distance to shore for the proposed activities is accurate and based on
survey data.




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                                Worst Case Discharge Comparison Chart

          Category                   Regional OSRP WCD                          Plan WCD
      Type of Activity                      Drilling                             Plan WCD
   Facility (Area/Block)            Mississippi Canyon 257                   Green Canyon 895
    Facility Designation                   Well 002                             Location A
 Distance to Shore (miles)                    61                                    136
                                                               Volume
   Flowlines (on facility)                    0                                      0
   Lease Term Pipelines                       0                                      0
          Storage                             0                                      0
   Uncontrolled Blowout                 337,164 BOPD                           313,100 BOPD
      Total Volume                      337,164 BOPD                           313,100 BOPD
       Type of Oil                          Crude                                  Crude
       API Gravity                           35°                                   31.6°

BOE Exploration & Production has the capability to respond to the worst-case spill scenario included in
its regional OSRP, approved via letter dated September 17, 2019, and since the worst-case scenario
determined for the subject EP does not replace the worst-case scenario in its regional OSRP, BOE
Exploration & Production hereby certifies that it has the capability to respond, to the maximum extent
practicable, to a worst-case discharge, or a substantial threat of such a discharge, resulting from the
activities proposed in the subject EP.

5) WORST CASE DISCHARGE ASSUMPTIONS AND CALCULATIONS
In accordance with NTL No. 2015-N01, “Information Requirements for Exploration Plans,
Development and Production Plans, and Development Operations Coordination Documents on
the OCS,” worst case discharge assumptions and calculations are included in the attachments of the
proprietary information copy of this plan.

6) OIL SPILL RESPONSE DISCUSSION
An oil spill response discussion is included in the attachments to this appendix.




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          OIL SPILL RESPONSE DISCUSSION
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SPILL RESPONSE DISCUSSION

BOE Exploration & Production LLC will make every effort to respond to the Worst Case Discharge
as effectively as practicable. A description of the response equipment under contract to contain and
recover the Worst Case Discharge is shown in Figure 2.

Figure 2 outlines equipment, personnel, materials and support vessels as well as temporary storage
equipment available to respond to the worst case discharge. The volume accounts for the amount
remaining after evaporation/dispersion at 24 hours. The list estimates individual times needed for
procurement, load out, travel time to the site and deployment. Figure 2 also indicates how
operations will be supported.

BOE Exploration & Production LLC’s Oil Spill Response Plan includes alternative response
technologies such as dispersants and in-situ burn. Strategies will be decided by Unified Command
based on an operations safety analysis, the size of the spill, weather and potential impacts. If aerial
dispersants are utilized, 8 sorties (9,600 gallons) from two of the DC-3 aircrafts and 4 sorties (8,000
gallons) from the Basler aircraft would provide a daily dispersant capability of 7,540 barrels. If the
conditions are favorable for in-situ burning, the proper approvals have been obtained and the proper
planning is in place, in-situ burning of oil may be attempted. Slick containment boom would be
immediately called out and on-scene as soon as possible. Offshore response strategies may include
attempting to skim utilizing CGA and MSRC spill response equipment, with a total derated
skimming capacity of 616,318 barrels. Temporary storage associated with skimming equipment
equals 120,896 barrels. If additional storage is needed, various tank barges with a total of 505,000+
barrels of storage capacity may be mobilized and centrally located to provide temporary storage
and minimize off-loading time. Safety is first priority. Air monitoring will be accomplished
and operations deemed safe prior to any containment/skimming attempts.

If the spill went unabated, shoreline impact would depend upon existing environmental conditions.
Shoreline protection would include the use of CGA’s near shore and shallow water skimmers with
a totaled derated skimming capacity of 235,300 barrels. Temporary storage associated with
skimming equipment equals 2,841 barrels. If additional storage is needed, various tank barges with
a total of 235,000+ barrels of storage capacity may be mobilized and centrally located to provide
temporary storage and minimize off-loading time. Onshore response may include the deployment
of shoreline boom on beach areas, or protection and sorbent boom on vegetated areas. Master
Service Agreements with AMPOL and OMI Environmental will ensure access to 131,350 feet of
18” shoreline protection boom. Figure 2 outlines individual times needed for procurement, load
out, travel time to the site and deployment. Strategies would be based upon surveillance and real
time trajectories that depict areas of potential impact given actual sea and weather conditions.
Applicable Area Contingency Plans (ACPs), Geographic Response Plans (GRPs), and Unified
Command (UC) will be consulted to ensure that environmental and special economic resources are
correctly identified and prioritized to ensure optimal protection. Shoreline protection strategies
depict the protection response modes applicable for oil spill clean-up operations. As a secondary
resource, the State of Louisiana Initial Oil Spill Response Plan will be consulted as appropriate to
provide detailed shoreline protection strategies and describe necessary action to keep the oil spill
from entering Louisiana’s coastal wetlands. The UC should take into consideration all appropriate
items detailed in Tactics discussion of this Appendix. The UC and their personnel have the option
to modify the deployment and operation of equipment to allow for a more effective response to
site-specific circumstances. BOE Exploration & Production LLC’s contract Incident Management
Team has access to the applicable ACP(s) and GRP(s).
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Initial Response Considerations
Actual actions taken during an oil spill response will be based on many factors to include but not
be limited to:
    • Safety
    • Weather
    • Equipment and materials availability
    • Ocean currents and tides
    • Location of the spill
    • Product spilled
    • Amount spilled
    • Environmental risk assessments
    • Trajectory and product analysis
    • Well status, i.e., shut in or continual release

BOE Exploration & Production LLC will take action to provide a safe, aggressive response to
contain and recover as much of the spilled oil as quickly as it is safe to do so. In an effort to protect
the environment, response actions will be designed to provide an “in-depth” protection strategy
meant to recover as much oil as possible as far from environmentally sensitive areas as possible.
Safety will take precedence over all other considerations during these operations.

Coordination of response assets will be supervised by the designation of a SIMOPS group as
necessary for close quarter vessel response activities. Most often, this group will be used during
source control events that require a significant number of large vessels operating independently to
complete a common objective, in close coordination and support of each other. This group must
also monitor the subsurface activities of each vessel (ROV, dispersant application, well control
support, etc.). The SIMOPS group leader reports to the Source Control Section Chief.

In addition, these activities will be monitored by the Incident Management Team (IMT) and
Unified Command via a structured Common Operating Picture (COP) established to track resource
and slick movement in real time.

Upon notification of a spill, the following actions will be taken:
   • Information will be confirmed
   • An assessment will be made and initial objectives set
   • OSROs and appropriate agencies will be notified
   • ICS 201, Initial Report Form completed
   • Initial Safety plan will be written and published
   • Unified Command will be established
      o Overall safety plan developed to reflect the operational situation and coordinated
           objectives
      o Areas of responsibility established for Source Control and each surface operational
           site
      o On-site command and control established




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Offshore Response Actions

Equipment Deployment
Surveillance
   • Surveillance Aircraft: within two hours of QI notification, or at first light
   • Provide trained observer to provide on site status reports
   • Provide command and control platform at the site if needed
   • Continual surveillance of oil movement by remote sensing systems, aerial photography
        and visual confirmation
   • Continual monitoring of vessel assets using vessel monitoring systems

Dispersant application assets
   • Put ASI on standby
   • With the FOSC, conduct analysis to determine appropriateness of dispersant application
       (refer to Section 18)
   • Gain FOSC approval for use of dispersants on the surface
   • Deploy aircraft in accordance with a plan developed for the actual situation
   • Coordinate movement of dispersants, aircraft, and support equipment and personnel
   • Confirm dispersant availability for current and long range operations
   • Start ordering dispersant stocks required for expected operations

Containment boom
   • Call out early and expedite deployment to be on scene ASAP
   • Ensure boom handling and mooring equipment is deployed with boom
   • Provide continuing reports to vessels to expedite their arrival at sites that will provide for
       their most effective containment
   • Use Vessels of Opportunity (VOO) to deploy and maintain boom

Oceangoing Boom Barge
   • Containment at the source
   • Increased/enhanced skimmer encounter rate
   • Protection booming

In-situ Burn assets
    • Determine appropriateness of in-situ burn operation in coordination with the FOSC and
        affected SOSC
    • Determine availability of fire boom and selected ignition systems
    • Start ordering fire boom stocks required for expected operations
    • Contact boom manufacturer to provide training & tech support for operations, if required
    • Determine assets to perform on water operation
    • Build operations into safety plan
    • Conduct operations in accordance with an approved plan
    • Initial test burn to ensure effectiveness




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Dedicated off-shore skimming systems
General
   • Deployed to the highest concentration of oil
   • Assets deployed at safe distance from aerial dispersant and in-situ burn operations

CGA HOSS Barge
  • Use in areas with heaviest oil concentrations
  • Consider for use in areas of known debris (seaweed, and other floating materials)

CGA 95’ Fast Response Vessels (FRVs)
  • Designed to be a first vessel on scene
  • Capable of maintaining the initial Command and Control function for on water recovery
      operations
  • 24 hour oil spill detection capability
  • Highly mobile and efficient skimming capability
  • Use as far off-shore as safely possible

CGA FRUs
  • To the area of the thickest oil
  • Use as far off-shore as allowed
  • VOOs 140’ – 180’ in length
  • VOOs with minimum of 18’ x 38’ or 23’ x 50’ of optimum deck space
  • VOOs in shallow water should have a draft of <10 feet when fully loaded

T&T Koseq Skimming Systems
  • To the area of the thickest oil
  • Use as far off-shore as allowed
  • VOOs with a minimum of 2,000 bbls storage capacity
  • VOOs at least 200’ in length
  • VOOs with deck space of 100’ x 40’ to provide space for arms, tanks, and crane
  • VOOs for shallow water should be deck barges with a draft of <10 feet when fully loaded

Storage Vessels
    • Establish availability of CGA contracted assets (See Appendix E)
    • Early call out (to allow for tug boat acquisition and deployment speeds)
    • Phase mobilization to allow storage vessels to arrive at the same time as skimming
       systems
    • Position as closely as possible to skimming assets to minimize offloading time




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Vessels of Opportunity (VOO)
   • Use BOE Exploration & Production LLC’s contracted resources as applicable
   • Industry vessels are ideal for deployment of Vessel of Opportunity Skimming Systems
       (VOSS)
   • Acquire additional resources as needed
   • Consider use of local assets, i.e. fishing and pleasure craft for ISB operations or boom
       tending
   • Expect mission specific and safety training to be required
   • Plan with the US Coast Guard for vessel inspections
   • Place VOOs in Division or Groups as needed
   • Use organic on-board storage if appropriate
   • Maximize non-organic storage appropriate to vessel limitations
   • Decant as appropriate after approval to do so has been granted
   • Assign bulk storage barges to each Division/Group
   • Position bulk storage barges as close to skimming units as possible
   • Utilize large skimming vessel (e.g. barges) storage for smaller vessel offloading
   • Maximize skimming area (swath) to the optimum width given sea conditions and available
       equipment
   • Maximize use of oleophilic skimmers in all operations, but especially offshore
   • Nearshore, use shallow water barges and shuttle to skimming units to minimize offloading
       time
   • Plan and equip to use all offloading capabilities of the storage vessel to minimize
       offloading time

Adverse Weather Operations:

In adverse weather, when seas are > 3 feet, the use of larger recovery and storage vessels, oleophilic
skimmers, and large offshore boom will be maximized. KOSEQ Arm systems are built for rough
conditions, and they should be used until their operational limit (9.8’ seas) is met. Safety will be
the overriding factor in all operations and will cease at the order of the Unified Command, vessel
captain, or in an emergency, ”stop work” may be directed by any crew member.

Surface Oil Recovery Considerations and Tactics
(Offshore and Near-shore Operations)

Maximization of skimmer-oil encounter rate
  • Place barges in skimming task forces, groups, etc., to reduce recovered oil offloading
      time
  • Place barges alongside skimming systems for immediate offloading of recovered oil
      when practicable
  • Use two vessels, each with heavy sea boom, in an open-ended “V” configuration to
      funnel surface oil into a trailing skimming unit’s organic, V-shaped boom and skimmer
      (see page 7, CGA Equipment Guide Book and Tactic Manual (CGATM)




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   •   Use secondary vessels and heavy sea boom to widen boom swath beyond normal
       skimming system limits (see page 15, CGATM)
   •   Consider night-time operations, first considering safety issues
   •   Utilize all available advanced technology systems ( IR, X-Band Radar, etc.) to determine
       the location of, and move to, recoverable oil
   •   Confirm the presence of recoverable oil prior to moving to a new location

Maximize skimmer system efficiency
  • Place weir skimming systems in areas of calm seas and thick oil
  • Maximize the use of oleophilic skimming systems in heavier seas
  • Place less mobile, high EDRC skimming systems (e.g. HOSS Barge) in the largest
      pockets of the heaviest oil
  • Maximize onboard recovered oil storage for vessels.
  • Obtain authorization for decanting of recovered water as soon as possible
  • Use smaller, more agile skimming systems to recover streamers of oil normally found
      farther from the source. Place recovered oil barges nearby

Recovered Oil Storage
   • Smaller barges in larger quantities will increase flexibility for multi-location skimming
      operations
   • Place barges in skimming task forces, groups, etc., to reduce recovered oil offloading
      time
   • Procure and deploy the maximum number of portable tanks to support Vessel of
      Opportunity Skimming Systems if onboard storage is not available
   • Maximize use of the organic recovered oil storage capacity of the skimming vessel

Command, Control, and Communications (C3)
  • Publish, implement, and fully test an appropriate communications plan
  • Design an operational scheme, maintaining a manageable span of control
  • Designate and mark C3 vessels for easy aerial identification
  • Designate and employ C3 aircraft for task forces, groups, etc.
  • Use reconnaissance air craft and Rapid Response Teams (RAT) to confirm the presence
     of recoverable oil




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On Water Recovery Group
When the first skimming vessel arrives on scene, a complete site assessment will be conducted
before recovery operations begin. Once it is confirmed that the air monitoring readings for O2,
LEL, H2S, CO, VOC, and Benzene are all within the permissible limits, oil recovery operations
may begin.

As skimming vessels arrive, they will be organized to work in areas that allow for the most efficient
vessel operation and free vessel movement in the recovery of oil. Vessel groups will vary in
structure as determined by the Operations Section of the Unified Command, but will generally
consist, at a minimum, of the following dedicated assets:

   •   3 to 5 – Offshore skimming vessels (recovery)
   •   1 – Tank barge (temporary storage)
   •   1 – Air asset (tactical direction)
   •   2 – Support vessels (crew/utility for supply)
   •   6 to 10 – Boom vessels (enhanced booming )

Example (Note: Actual organization of TFs will be dependent on several factors including, asset
availability, weather, spilled oil migration, currents, etc.)

The 95’ FRV Breton Island out of Venice arrives on scene and conducts an initial site assessment.
Air monitoring levels are acceptable and no other visual threats have been observed. The area is
cleared for safe skimming operations. The Breton Island assumes command and control (CoC) of
on-water recovery operations until a dedicated non-skimming vessel arrives to relieve it of those
duties.

A second 95’ FRV arrives and begins recovery operations alongside the Breton Island. Several
more vessels begin to arrive, including a third 95’ FRV out of Galveston, the HOSS Barge (High
Volume Open Sea Skimming System) out of Harvey, a boom barge (CGA 300) with 25,000’ of
42” auto boom out of Leeville, and 9 Fast Response Units (FRUs) from the load-out location at C-
Port in Port Fourchon.

As these vessels set up and begin skimming, they are grouped into task forces (TFs) as directed by
the Operations Section of the Unified Command located at the command post.

Initial set-up and potential actions:

   •   A 1,000 meter safety zone has been established around the incident location for vessels
       involved in Source Control
   •   The HOSS Barge is positioned facing the incident location just outside of this safety zone
       or at the point where the freshest oil is reaching the surface
   •   The HOSS Barge engages its Oil Spill Detection (OSD) system to locate the heaviest oil
       and maintains that ability for 24-hour operations




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   •   The HOSS Barge deploys 1,320’ of 67” Sea Sentry boom on each side, creating a swath
       width of 800’
   •   The Breton Island and H.I. Rich skim nearby, utilizing the same OSD systems as the HOSS
       Barge to locate and recover oil
   •   Two FRUs join this group and it becomes TF1
   •   The remaining 7 FRUs are split into a 2 and 3 vessel task force numbered TF2 and TF3
   •   A 95’ FRV is placed in each TF
   •   The boom barge (CGA 300) is positioned nearby and begins deploying auto boom in
       sections between two utility vessels (1,000’ to 3,000’ of boom, depending on conditions)
       with chain-link gates in the middle to funnel oil to the skimmers
   •   The initial boom support vessels position in front of TF2 and TF3
   •   A 100,000+ barrel offshore tank barge is placed with each task force as necessary to
       facilitate the immediate offload of skimming vessels

The initial task forces (36 hours in) may be structured as follows:

TF 1
   •   1 – 95’ FRV
   •   1 – HOSS Barge with 3 tugs
   •   2 – FRUs
   •   1 – 100,000+ barrel tank barge and associated tug(s)
   •   1 – Dedicated air asset for tactical direction
   •   8 – 500’ sections of auto boom with gates
   •   8 – Boom-towing vessels
   •   2 – Support vessels (crew/utility)

TF 2
   •   1 – 95’ FRV
   •   4 – FRUs
   •   1 – 100,000+ barrel tank barge and associated tug(s)
   •   1 – Dedicated air asset for tactical direction
   •   10 – 500’ sections of auto boom with gates
   •   10 – Boom-towing vessels
   •   2 – Support vessels (crew/utility)

TF 3
   •   1 – 95’ FRV
   •   3 – FRUs
   •   1 – 100,000+ barrel tank barge and associated tug(s)
   •   1 – Dedicated air asset for tactical direction
   •   8 – 500’ sections of auto boom with gates
   •   8 – Boom-towing vessels
   •   2 – Support vessels (crew/utility)




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Offshore skimming equipment continues to arrive in accordance with the ETA data listed in figure
H.3a; this equipment includes 2 AquaGuard skimmers and 11 sets of Koseq Rigid Skimming
Arms. These high volume heavy weather capable systems will be divided into functional groups
and assigned to specific areas by the Operations Section of the Unified Command.

At this point of the response, the additional TFs may assume the following configurations:

TF 4
   •   2 – Sets of Koseq Rigid Skimming Arms w/ associated 200’+ PIDVs
   •   1 – AquaGuard Skimmer
   •   1 – 100,000+ barrel tank barge and associated tug(s)
   •   1 – Dedicated air asset for tactical direction
   •   2 – Support vessels (crew/utility)
   •   6 – 500’ sections of auto boom with gates
   •   6 – Boom-towing vessels

TF 5
   •   3 – Sets of Koseq Rigid Skimming Arms w/ associated 200’+ PIDVs
   •   1 – AquaGuard Skimmer
   •   1 – 100,000+ barrel tank barge and associated tug(s)
   •   1 – Dedicated air asset for tactical direction
   •   2 – Support vessels (crew/utility)
   •   8 – 500’ sections of auto boom with gates
   •   8 – Boom-towing vessels

TF 6
   •   3 – Sets of Koseq Rigid Skimming Arms w/ associated 200’+ PIDVs
   •   1 – 100,000+ barrel tank barge and associated tug(s)
   •   1 – Dedicated air asset for tactical direction
   •   2 – Support vessels (crew/utility)
   •   6 – 500’ sections of auto boom with gates
   •   6 – Boom-towing vessels

TF 7
   •   3 – Sets of Koseq Rigid Skimming Arms w/ associated 200’+ PIDVs
   •   1 – 100,000+ barrel tank barge and associated tug(s)
   •   1 – Dedicated air asset for tactical direction
   •   2 – Support vessels (crew/utility)
   •   6 – 500’ sections of auto boom with gates
   •   6 – Boom-towing vessels




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CGA Minimum Acceptable Capabilities for Vessels of Opportunity (VOO)
Minimum acceptable capabilities of Petroleum Industry Designed Vessels (PIDV) for conducting
Vessel of Opportunity (VOO) skimming operations are shown in the table below. PIDVs are
“purpose-built” to provide normal support to offshore oil and gas operators. They include but are
not limited to utility boats, offshore supply vessels, etc. They become VOOs when tasked with oil
spill response duties.

 Capability                               FRU               KOSEQ               AquaGuard
                                                      Offshore Supply
 Type of Vessel                  Utility Boat                                Utility Boat
                                                      Vessel
 Operating parameters
    Sea State                    3-5 ft max           9.8 ft max             3-5 ft max
 Skimming speed                  ≤1 kt                ≤3 kts                 ≤1 kt
 Vessel size
    Minimum Length               100 ft               200 ft                 100 ft
    Deck space for:
      • Tank(s)
      • Crane(s)
      • Boom Reels               18x32 ft             100x40 ft              18x32 ft
      • Hydraulic Power
        Units
      • Equipment Boxes
                                 Marine Band                                 Marine Band
 Communication Assets                                 Marine Band Radio
                                 Radio                                       Radio

Tactical use of Vessels of Opportunity (VOO): BOE Exploration & Production LLC will take
all possible measures to maximize the oil-to-skimmer encounter rate of all skimming systems, to
include VOOs, as discussed in this section. VOOs will normally be placed within an On-water
recovery unit as shown in figures below.

Skimming Operations: PIDVs are the preferred VOO skimming platform. OSROs are more
versed in operating on these platforms and the vessels are generally large enough with crews
more likely versed in spill response operations. They also have a greater possibility of having
on-board storage capacity and the most likely vessels to be under contract, and therefore more
readily available to the operator. These vessels would normally be assigned to an on-water
recovery group/division (see figure below) and outfitted with a VOSS suited for their size and
capabilities. Specific tactics used for skimming operations would be dependent upon many
parameters which include, but are not limited to, safety concerns, weather, type VOSS on board,
product being recovered, and area of oil coverage. Planners would deploy these assets with the
objective of safely maximizing oil- to-skimmer encounter rate by taking actions to minimize
non-skimming time and maximizing boom swath. Specific tactical configurations are shown in
figures below.




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The Fast Response Unit (FRU): A self-contained, skid based, skimming system that is
deployed from the right side of a vessel of opportunity (VOO). An outrigger holds a 75’ long
section of air inflatable boom in place that directs oil to an apex for recovery via a Foilex 250
weir skimmer. The outrigger creates roughly a 40’ swath width dependent on the VOO beam.
The lip of the collection bowl on the skimmer is placed as close to the oil and water interface as
possible to maximize oil recovery and minimize water retention. The skimmer then pumps all
fluids recovered to the storage tank where it is allowed to settle, and with the approval of the
Coast Guard, the water is decanted from the bottom of the tank back into the water ahead of the
containment boom to be recycled through the system. Once the tank is full of as much pure
recovered oil as possible it is offloaded to a storage barge for disposal in accordance with an
approved disposal plan. A second 100 barrel storage tank can be added if the appropriate
amount of deck space is available to use as secondary storage.

Tactical Overview
Mechanical Recovery – The FRU is designed to provide fast response skimming capability in the
offshore and nearshore environment in a stationary or advancing mode. It provides a rated daily
recovery capacity of 4,100 barrels. An additional boom reel with 440’ of offshore boom can be
deployed along with the FRU, and a second support vessel for boom towing, to extend the swath
width when attached to the end of the fixed boom. The range and sustainability offshore is
dependent on the VOO that the unit is placed on, but generally these can stay offshore for
extended periods. The FRU works well independently or assigned with other on-water recovery
assets in a task force. In either case, it is most effective when a designated aircraft is assigned to
provide tactical direction to ensure the best placement in recoverable oil.
Maximum Sea Conditions – Under most circumstances the FRU can maintain standard oil spill
recovery operations in 2’ to 4’ seas. Ultimately, the Coast Guard licensed Captain in charge of
the VOO (with input from the CGAS Supervisor assigned) will be responsible to determine when
the sea conditions have surpassed the vessel’s safe operating capabilities.

Possible Task Force Configuration (Multiple VOOs can be deployed in a task force)
1 – VOO (100’ to 165’ Utility or Supply Vessel)
1 – Boom reel w/support vessel for towing
1 – Tank barge (offshore) for temporary storage
1 – Utility/Crewboat (supply)
1 – Designated spotter aircraft




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    The VOSS (yellow) is being deployed and connected to an out-rigged arm. This is
    suitable for collection in both large pockets of oil and for recovery of streaming oil.
    The oil-to-skimmer encounter rate is limited by the length of the arm. Skimming
    pace is < 1 knot.




    Through the use of an additional VOO, and using extended sea boom, the swath of
    the VOSS is increased therefore maximizing the oil-to-skimmer encounter rate.
    Skimming pace is < 1 knot.




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The Koseq Rigid Sweeping Arm: A skimming system deployed on a vessel of opportunity. It
requires a large Offshore or Platform Supply Vessel (OSV/PSV), greater than 200’ with at least
100’ x 50’ of free deck space. On each side of the vessel, a 50’ long rigid framed Arm is
deployed that consists of pontoon chambers to provide buoyancy, a smooth nylon face, and a
hydraulically adjustable mounted weir skimmer. The Arm floats independently of the vessel and
is attached by a tow bridle and a lead line. The movement of the vessel forward draws the rubber
end seal of the arm against the hull to create a collection point for free oil directed to the weir by
the Arm face. The collection weir is adjusted to keep the lip as close to the oil water interface as
possible to maximize oil recovery while attempting to minimize excess water collection. A
transfer pump (combination of positive displacement, screw type and centrifuge suited for highly
viscous oils) pump the recovered liquid to portable tanks and/or dedicated fixed storage tanks
onboard the vessel. After being allowed to sit and separate, with approval from the Coast Guard,
the water can be decanted (pumped off) in front of the collection arm to be reprocessed through
the system. Once full with as much pure recovered oil as possible, the oil is transferred to a
temporary storage barge where it can be disposed of in accordance with an approved disposal
plan.

Tactical Overview
Mechanical Recovery – Deployed on large vessels of opportunity (VOO) the Koseq Rigid
Sweeping Arms are high volume surge capacity deployed to increase recovery capacity at the
source of a large oil spill in the offshore and outer nearshore environment of the Gulf of Mexico.
They are highly mobile and sustainable in rougher sea conditions than normal skimming vessels
(9.8’ seas). The large Offshore Supply Vessels (OSV) required to deploy the Arms are able to
remain on scene for extended periods, even when sea conditions pick up. Temporary storage on
deck in portable tanks usually provides between 1,000 and 3,000 bbls. In most cases, the OSV
will be able to pump 20% of its deadweight into the liquid mud tanks in accordance with the
vessels Certificate of Inspection (COI). All storage can be offloaded utilizing the vessels liquid
transfer system.

Maximum Sea Conditions - Under most circumstances the larger OSVs are capable of remaining
on scene well past the Skimming Arms maximum sea state of 9.8’. Ultimately it will be the
decision of the VOO Captain, with input from the T&T Supervisor onboard, to determine when
the sea conditions have exceeded the safe operating conditions of the vessel.

Command and Control – The large OSVs in many cases have state of the art communication and
electronic systems, as well as the accommodations to support the function of directing all
skimming operations offshore and reporting back to the command post.

Possible Task Force Configuration (Multiple Koseq VOOs can be deployed in a task force)
1 – > 200’ Offshore Supply Vessels (OSV) with set of Koseq Arms
2 to 4 portable storage tanks (500 bbl)
1 – Modular Crane Pedestal System set (MCPS) or 30 cherry picker (crane) for deployment
1 – Tank barge (offshore) for temporary storage
1 – Utility/Crewboat (supply)
1 – Designated spotter aircraft
4 – Personnel (4 T&T OSRO)



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    Scattered oil is “caught” by two VOO and collected at the apex of the towed sea
    boom. The oil moves thought a “gate” at that apex, forming a larger stream of oil
    which moves into the boom of the skimming vessel. Operations are paced at >1. A
    recovered oil barge stationed nearby to minimize time taken to offload recovered
    oil.




    This is a depiction of the same operation as above but using KOSEQ Arms. In this
    configuration, the collecting boom speed dictates the operational pace at > 1 knot to
    minimize entrainment of the oil.




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     Clean Gulf Associates (CGA) Procedure for Accessing Member-Contracted and other
     Vessels of Opportunity (VOOs) for Spill Response

 •    CGA has procedures in place for CGA member companies to acquire vessels of
      opportunity (VOOs) from an existing CGA member’s contracted fleet or other sources for
      the deployment of CGA portable skimming equipment including Koseq Arms, Fast
      Response Units (FRUs) and any other portable skimming system(s) deemed appropriate
      for the response for a potential or actual oil spill, WCD oil spill or a Spill of National
      Significance (SONS).

 •    CGA uses Port Vision, a web-based vessel and terminal interface that empowers CGA to
      track vessels through Automatic Identification System (AIS) and terminal activities using
      a Geographic Information System (GIS). It provides live AIS/GIS views of waterways
      showing current vessel positions, terminals, created vessel fleets, and points-of-interest.
      Through this system, CGA has the ability to get instant snapshots of the location and status
      of all vessels contracted to CGA members, day or night, from any web-enabled PC.




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Near Shore Response Actions

Timing
   • Put near shore assets on standby and deployment in accordance with planning based on
       the actual situation, actual trajectories and oil budgets
   • VOO identification and training in advance of spill nearing shoreline if possible
   • Outfitting of VOOs for specific missions
   • Deployment of assets based on actual movement of oil

Considerations
   • Water depth, vessel draft
   • Shoreline gradient
   • State of the oil
   • Use of VOOs
   • Distance of surf zone from shoreline

Surveillance
   • Provide trained observer to direct skimming operations
   • Continual surveillance of oil movement by remote sensing systems, aerial photography
        and visual confirmation
   • Continual monitoring of vessel assets

Dispersant Use
   • Generally will not be approved within 3 miles of shore or with less than 10 meters of
       water depth
   • Approval would be at Regional Response Team level (Region 6)

Dedicated Near Shore skimming systems
   • FRVs
   • Egmopol and Marco SWS
   • Operate with aerial spotter directing systems to observed oil slicks

VOO
  • Use BOE Exploration & Production LLC’s contracted resources as applicable
  • Industry vessel are usually best for deployment of Vessel of Opportunity Skimming
    Systems (VOSS)
  • Acquire additional resources as needed
  • Consider use of local assets, i.e. fishing and pleasure craft
  • Expect mission specific and safety training to be required
  • Plan with the US Coast Guard for vessel inspections
  • Operate with aerial spotter directing systems to oil patches




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Shoreline Protection Operations

Response Planning Considerations
   • Review appropriate Area Contingency Plan(s)
   • Locate and review appropriate Geographic Response and Site Specific Plans
   • Refer to appropriate Environmentally Sensitive Area Maps
   • Capability for continual analysis of trajectories run periodically during the response
   • Environmental risk assessments (ERA) to determine priorities for area protection
   • Time to acquire personnel and equipment and their availability
   • Refer to the State of Louisiana Initial Oil Spill Response Plan, Deep Water Horizon,
      dated 2 May 2010, as a secondary reference
   • Aerial surveillance of oil movement
   • Pre-impact beach cleaning and debris removal
   • Shoreline Cleanup Assessment Team (SCAT) operations and reporting procedures
   • Boom type, size and length requirements and availability
   • Possibility of need for In-situ burning in near shore areas
   • Current wildlife situation, especially status of migratory birds and endangered species in
      the area
   • Check for Archeological sites and arrange assistance for the appropriate state agency
      when planning operations the may impact these areas

Placement of boom
   • Position boom in accordance with the information gained from references listed above
      and based on the actual situation
   • Determine areas of natural collection and develop booming strategies to move oil into
      those areas
   • Assess timing of boom placement based on the most current trajectory analysis and the
      availability of each type of boom needed. Determine an overall booming priority and
      conduct booming operations accordingly. Consider:
          o Trajectories
          o Weather forecast
          o Oil Impact forecast
          o Verified spill movement
          o Boom, manpower and vessel (shallow draft) availability
          o Near shore boom and support material, (stakes, anchors, line)

Beach Preparation - Considerations and Actions
   • Use of a 10 mile go/no go line to determine timing of beach cleaning
   • SCAT reports and recommendations
   • Determination of archeological sites and gaining authority to enter
   • Monitoring of tide tables and weather to determine extent of high tides
   • Pre cleaning of beaches by moving waste above high tide lines to minimize waste
   • Determination of logistical requirements and arranging of waste removal and disposal




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   •   Staging of equipment and housing of response personnel as close to the job site as
       possible to maximize on-site work time
   •   Boom tending, repair, replacement and security (use of local assets may be advantageous)
   •   Constant awareness of weather and oil movement for resource re-deployment as
       necessary
   •   Earthen berms and shoreline protection boom may be considered to protect sensitive
       inland areas
   •   Requisitioning of earth moving equipment
   •   Plan for efficient and safe use of personnel, ensuring:
           o A continual supply of the proper Personal Protective Equipment
           o Heating or cooling areas when needed
           o Medical coverage
           o Command and control systems (i.e. communications)
           o Personnel accountability measures
   •   Remediation requirements, i.e., replacement of sands, rip rap, etc.
   •   Availability of surface washing agents and associated protocol requirements for their use
       (see National Contingency Plan Product Schedule for list of possible agents)
   •   Discussions with all stakeholders, i.e., land owners, refuge/park managers, and others as
       appropriate, covering the following:
           o Access to areas
           o Possible response measures and impact of property and ongoing operations
           o Determination of any specific safety concerns
           o Any special requirements or prohibitions
           o Area security requirements
           o Handling of waste
           o Remediation expectations
           o Vehicle traffic control
           o Domestic animal safety concerns
           o Wildlife or exotic game concerns/issues

Inland and Coastal Marsh Protection and Response
Considerations and Actions
    • All considered response methods will be weighed against the possible damage they may
       do to the marsh. Methods will be approved by the Unified Command only after
       discussions with local Stakeholder, as identified above.
           o In-situ burn may be considered when marshes have been impacted
    • Passive clean up of marshes should considered and appropriate stocks of sorbent boom
       and/or sweep obtained.
    • Response personnel must be briefed on methods to traverse the marsh, i.e.,
           o use of appropriate vessel
           o use of temporary walkways or road ways
    • Discuss and gain approval prior cutting or moving vessels through vegetation
    • Discuss use of vessels that may disturb wildlife, i.e, airboats
    • Safe movement of vessels through narrow cuts and blind curves




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 •   Consider the possibility that no response in a marsh may be best
 •   In the deployment of any response asset, actions will be taken to ensure the safest, most
     efficient operations possible. This includes, but is not limited to:
         o Placement of recovered oil or waste storage as near to vessels or beach cleanup
             crews as possible.
         o Planning for stockage of high use items for expeditious replacement
         o Housing of personnel as close to the work site as possible to minimize travel time
         o Use of shallow water craft
         o Use of communication systems appropriate ensure command and control of assets
         o Use of appropriate boom in areas that I can offer effective protection
         o Planning of waste collection and removal to maximize cleanup efficiency
 •   Consideration or on-site remediation of contaminated soils to minimize replacement
     operations and impact on the area




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Decanting Strategy
Recovered oil and water mixtures will typically separate into distinct phases when left in a
quiescent state. When separation occurs, the relatively clean water phase can be siphoned or
decanted back to the recovery point with minimal, if any, impact. Decanting therefore increases
the effective on-site oil storage capacity and equipment operating time. FOSC/SOSC approval will
be requested prior to decanting operations. This practice is routinely used for oil spill recovery.

CGA Equipment Limitations
The capability for any spill response equipment, whether a dedicated or portable system, to operate
in differing weather conditions will be directly in relation to the capabilities of the vessel the
system in placed on. Most importantly, however, the decision to operate will be based on the
judgment of the Unified Command and/or the Captain of the vessel, who will ultimately have the
final say in terminating operations. Skimming equipment listed below may have operational limits
which exceed those safety thresholds. As was seen in the Deepwater Horizon (DWH) oil spill
response, vessel skimming operations ceased when seas reached 5-6 feet and vessels were often
recalled to port when those conditions were exceeded. Systems below are some of the most up- to-
date systems available and were employed during the DWH spill.

              Boom                   3 foot seas, 20 knot winds
              Dispersants            Winds more than 25 knots
                                     Visibility less than 3 nautical miles
                                     Ceiling less than 1,000 feet.
              FRU                    8 foot seas
              HOSS Barge/OSRB        8 foot seas
              Koseq Arms             8 foot seas
              OSRV                   4 foot seas




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Environmental Conditions in the GOM
Louisiana is situated between the easterly and westerly wind belts, and therefore, experiences
westerly winds during the winter and easterly winds in the summer. Average wind speed is
generally 14-15 mph along the coast. Wave heights average 4 and 5 feet. However, during
hurricane season, Louisiana has recorded wave heights ranging from 40 to 50 feet high and winds
reaching speeds of 100 mph. Because much of southern Louisiana lies below sea level, flooding
is prominent.

Surface water temperature ranges between 70 and 80˚F during the summer months. During the
winter, the average temperature will range from 50 and 60˚F.

The Atlantic and Gulf of Mexico hurricane season is officially from 1 June to 30 November. 97%
of all tropical activity occurs within this window. The Atlantic basin shows a very peaked season
from August through October, with 78% of the tropical storm days, 87% of the minor (Saffir-
Simpson Scale categories 1 and 2) hurricane days, and 96% of the major (Saffir-Simpson
categories 3, 4 and 5) hurricane days occurring then. Maximum activity is in early to mid
September. Once in a few years there may be a hurricane occurring "out of season" - primarily in
May or December. Globally, September is the most active month and May is the least active
month.




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                                  FIGURE 1
                         TRAJECTORY BY LAND SEGMENT


   Trajectory of a spill and the probability of it impacting a land segment have been projected
   utilizing information in the BOEM Oil Spill Risk Analysis Model (OSRAM) for the Central
   and Western Gulf of Mexico available on the BOEM website using 30 day impact. The
   results are tabulated below.


                                      Launch       Land Segment and/or           Conditional
     Area/Block           OCS-G
                                       Area             Resource                Probability (%)

                         G35879        C45             Calhoun, TX                     1
                                                      Matagorda, TX                    1
      GC 895                                           Brazoria, TX                    1
                                                      Galveston, TX                    2
                                                       Jefferson, TX                   1
                                                       Cameron, LA                     4
                                                      Vermilion, LA                    2
                                                         Iberia, LA                    1
                                                     Terrebonne, LA                    2
                                                      Lafourche, LA                    1
                                                     Plaquemines, LA                   2




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    Figure 2 Equipment Response Time
                                                                              Surveillance Aircraft
                       Name/Type        Persons Req.                From                Hrs to Procure          Hrs to Loadout     Travel to site          Total Hrs
                                                                      ASI (available through contract with CGA)
                  Aero Commander                2                Houma, LA                        2                    2                    0.9               4.9
                                                                T&T Marine (available through contract with CGA)
                  CJ3 Citation                  2           Houston/Galveston, TX                 2                    2                    1                  5

                                                                               Dispersant Aircraft
            Name/Type            Dispersant Capacity (gal)      Persons Req.                From             Hrs to Procure   Hrs to Loadout            Travel to site   Total Hrs
                                                                      ASI (available through contract with CGA)
     Basler 67T                              2000                        2              Houma, LA                  2                    2                    0.9            4.9
     DC 3                                    1200                        2              Houma, LA                  2                    2                    1.1            5.1
     DC 3                                    1200                        2              Houma, LA                  2                    2                    1.1            5.1
                                                                                       MSRC
     C-130 Spray AC                          3,250                       3                  Kiln, MS               4                    0                    0.4            4.4
     King Air BE90 Spray AC                  250                         2                  Kiln, MS               4                    0                    0.7            4.7

                                                                              Offshore Response
     Offshore Equipment                        Storage      Support          Persons                               Hrs to         Hrs to          Hrs to    Travel to    Hrs to      Total
   Pre-Determined Staging           EDRC       Capacity     Vessel(s)        Required              From           Procure        Loadout          GOM       Spill Site   Deploy       Hrs
                                                                                        CGA
95 FRV                              22885            249       NA                 6              Galveston             2            0               2           20         1          25
95 FRV                              22885            249       NA                 6               Leeville             2            0               2          6.5         1         11.5
95 FRV                              22885            249       NA                 6                Venice              2            0               3              4       1          10
95 FRV                              22885            249       NA                 6              Vermilion             2            0               3           10         1          16
Boom Barge (CGA-300)                                          1 Tug            4 (Barge)
                                      NA             NA                                         Leeville, LA           8            0               4           19         2          33
                                                             50 Crew         2 (Per Crew)
HOSS Barge                           76285           4000    3 Tugs               8              Harvey, LA            6            0              12           10         2          30
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   Offshore Equipment                   Storage             Persons                        Hrs to    Hrs to    Hrs to   Travel to    Hrs to   Total
  Pre-determined Staging        EDRC    Capacity   VOO      Required        From          Procure   Loadout    GOM      Spill Site   Deploy    Hrs
                                                                       MSRC
Louisiana Responder
1 Transrec 350                  10567    4000       NA        10       Fort Jackson, LA      2         1         4         6.5         1      14.5
Pressure Boom
MSRC 452 Offshore Barge
1 Crucial Disk 88/30            11122    45000     3 Tugs      9       Fort Jackson, LA      4         1         6           11        1       23
Curtain Pressure Boom
Mississippi Responder
1 Transrec 350                  10567    4000       NA        10       Pascagoula, MS        2         1         2           8         1       14

MSRC 402 Offshore Barge
1 Crucial Disk 88/30            11122    40300     3 Tugs      9       Pascagoula, MS        4         1         3           14        1       23

S.T. Benz Responder
1 LFF 100 Brush                 18086    4000       NA        10        Grand Isle, LA       3         1         1           9         1       15

Gulf Coast Responder
1 Transrec 350                  10567    4000       NA        10       Lake Charles, LA      2         1         4           24        1       32
                Pressure Boom
Texas Responder
1 Transrec 350                  10567    4000       NA        10        Galveston, TX        2         1         1           29        1       34

MSRC 570 Offshore Barge
1 Crucial Disk 88/30            11122    56900     3 Tugs      9        Galveston, TX        4         1         2           50        1       58

Southern Responder
1 Transrec 350                  10567    4000       NA        10        Ingleside, TX        2         1         2           39        1       45

MSRC 403 Offshore Barge
1 Crucial Disk 88/30            11122    40300     3 Tugs      9        Ingleside, TX        4         1         3           69        1       78
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   Offshore Equipment                 Storage             Persons                   Hrs to    Hrs to     Hrs to   Travel to    Hrs to   Total
  Pre-determined Staging      EDRC    Capacity   VOO      Required       From      Procure   Loadout     GOM      Spill Site   Deploy    Hrs
                                                                     MSRC
Florida Responder
1 Transrec 350                10567    4000       NA        10         Miami, FL      2          1         1           47        1       52

MSRC 360 Offshore Barge
1 Crucial Disk 88/30          11122    36000     3 Tugs      9         Tampa, FL      4          1         3           44        1       53
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 Offshore Recovered Oil Storage          Storage    Support       Persons                         Hrs to      Hrs to      Hrs to   Travel to    Hrs to   Total
     Pre-determined Staging       EDRC   Capacity   Vessel(s)     Required          From         Procure     Loadout      GOM      Spill Site   Deploy    Hrs
                                              Kirby Offshore (available through contract with CGA and/or MSRC)
RO Barge                           NA     80000+       1 Tug           6          Venice, LA        45           0          4          10         1       60
RO Barge                           NA    100000+       1 Tug           6          Venice, LA        45           0          4          10         1       60
RO Barge                           NA    100000+       1 Tug           6          Venice, LA        45           0          4          10         1       60
RO Barge                           NA    100000+       1 Tug           6          Venice, LA        45           0          4          10         1       60
RO Barge                           NA    100000+       1 Tug           6          Venice, LA        45           0          4          10         1       60
RO Barge                           NA    110000+       1 Tug           6          Venice, LA        45           0          4          10         1       60
RO Barge                           NA    130000+       1 Tug           6          Venice, LA        45           0          4          10         1       60
RO Barge                           NA    140000+       1 Tug           6          Venice, LA        45           0          4          10         1       60
RO Barge                           NA    150000+       1 Tug           6          Venice, LA        45           0          4          10         1       60
RO Barge                           NA    160000+       1 Tug           6          Venice, LA        45           0          4          10         1       60
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    Staging Area: Fourchon
    Offshore Equipment                     Storage      Support          Persons                           Hrs to       Hrs to       Travel to     Travel     Hrs to   Total
     Preferred Staging          EDRC       Capacity     Vessel(s)         Req.            From            Procure      Loadout       Staging       to Site    Deploy    Hrs
                                                                                       CGA
FRU (1) + 100 bbl Tank (2)       4251        200         1 Utility          6           Vermilion             2           6             5.5          11         1      25.5
FRU (1) + 100 bbl Tank (2)       4251        200         1 Utility          6           Galveston             2           6             12           11         1       32
FRU (1) + 100 bbl Tank (2)       4251        200         1 Utility          6          Aransas Pass           2           6            16.5          11         1      36.5
FRU (1) + 100 bbl Tank (2)       4251        200         1 Utility          6          Lake Charles           2           6              7           11         1       27
FRU (3) + 100 bbl Tank (6)       12753       600         3 Utility         18            Leeville             2           6              2           11         1       22
FRU (2) + 100 bbl Tank (4)       8502        400         2 Utility         12             Venice              2           6              5           11         1       25
                                                             T&T Marine (available through direct contract with CGA)
Aqua Guard Triton RBS (1)        22323       2000        1 Utility          6           Galveston             4          12             12           11         2       41
Aqua Guard Triton RBS (1)        22323       2000        1 Utility          6            Harvey               4          12              3           11         2       32
Koseq Skimming Arms (10)
                                228850      60000        10 OSV            60           Galveston            24          24             12           11         2       73
Lamor Brush
Koseq Skimming Arms (6)
                                108978      36000        6 OSV             36           Galveston            24          24             12           11         2       73
MariFlex 150 HF
Koseq Skimming Arms (2)
                                 45770      12000        2 OSV             12            Harvey              24          24              3           11         2       64
Lamor Brush
Koseq Skimming Arms (4)
                                 72652      24000        4 OSV             24            Harvey              24          24              3           11         2       64
MariFlex 150 HF


Offshore Equipment Preferred                 Storage                       Persons                            Hrs to      Hrs to      Travel to   Travel to   Hrs to   Total
          Staging                   EDRC     Capacity         VOO           Req.              From           Procure     Loadout      Staging       Site      Deploy    Hrs
                                                                                       CGA
Hydro-Fire Boom                      NA         NA           8 Utility          40            Harvey              0           24         3           11          6       44
                                                                                      MSRC
                                     NA         NA             80*              160          Houston              1           2          11          11          1       37
                                     NA         NA              3*              6            Galveston            1           4          12          11          6       45
                                     NA         NA              3*              6            Houston              1           4          11          11          6       44
                                     NA         NA              8*              8         Lake Charles            1           4          7           11          6       40
              * Utility Boats, Crew Boats, Supply Boats, or Fishing Vessels
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      Staging Area: Fourchon
     Offshore Equipment                     Storage                Persons                       Hrs to    Hrs to   Travel to   Travel    Hrs to   Total
                                   EDRC                 VOO                         From
      Preferred Staging                     Capacity                Req.                        Procure   Loadout   Staging     to Site   Deploy    Hrs
                                                                          MSRC
Crucial Disk 56/30 Skimmer (1)
                                    5671      500      2 Utility      5           Ingleside        1         1         17         11        1       31
33
GT-185 Skimmer w Adaptor (1)
                                    1371      500      2 Utility      5           Ingleside        1         1         17         11        1       31
33
Foilex 250 Skimmer (1)
                                    3977      500      2 Utility      5           Ingleside        1         1         17         11        1       31
33
Stress I Skimmer (1)
                                    15840     500      2 Utility      5           Ingleside        1         1         17         11        1       31
33
Walosep 4 Skimmer (1)
                                    3017      500      2 Utility      5           Ingleside        1         1         17         11        1       31
33
Crucial Disk 88/30 Skimmer (1)
                                    11122     500      2 Utility      5           Galveston        1         1         12         11        1       26
33
GT-185 Skimmer w Adaptor (2)
                                    2742      1000     4 Utility     10           Galveston        1         1         12         11        1       26
66     Curtain Pressure Boom
Walosep 4 Skimmer (1)
                                    3017      500      2 Utility      5           Galveston        1         1         12         11        1       26
33
Foilex 250 Skimmer (1)
                                    3977      500      2 Utility      5           Galveston        1         1         12         11        1       26
33
Stress I Skimmer (1)
                                    15840     500      2 Utility      5           Galveston        1         1         12         11        1       26
33
GT-185 Skimmer w Adaptor (1)
                                    1371      500      2 Utility      5           Port Arthur      1         1         9          11        1       23
33
Desmi Skimmer (1)
                                    3017      500      2 Utility      5          Lake Charles      1         1         7          11        1       21
33
Foilex 250 Skimmer (1)
                                    3977      500      2 Utility      5          Lake Charles      1         1         7          11        1       21
33
GT-185 Skimmer w Adaptor (1)
                                    1371      500      2 Utility      5          Lake Charles      1         1         7          11        1       21
33
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     Offshore Equipment                     Storage                       Persons                       Hrs to    Hrs to   Travel to   Travel    Hrs to   Total
                                   EDRC                     VOO                            From
      Preferred Staging                     Capacity                       Req.                        Procure   Loadout   Staging     to Site   Deploy    Hrs
                                                                                 MSRC
Stress I Skimmer (2)
                                    31680     1000         2 Utility        10          Lake Charles      1         1         7          11        1       21
33
LFF 100 Brush Skimmer (1)                                  1 PSV +
                                    18086     1000                           9          Lake Charles      1         1          7         11        1       21
                                                       1 Support Vessel
LFF 100 Brush Skimmer (1)                                  1 PSV +
                                    18086     1000                           9          Lake Charles      1         1          7         11        1       21
                                                       1 Support Vessel
LFF 100 Brush Skimmer (1)                                  1 PSV +
                                    18086     1000                           9          Lake Charles      1         1          7         11        1       21
                                                       1 Support Vessel
Transrec 350 Skimmer (1)                                   1 PSV +
                                    10567     1000                           9          Lake Charles      1         1          7         11        1       21
                                                       1 Support Vessel
Transrec 350 Skimmer (1)                                   1 PSV +
                                    10567     1000                           9          Lake Charles      1         1          7         11        1       21
                                                       1 Support Vessel
GT-185 Skimmer w Adaptor (1)
                                    1371      500          2 Utility         5          Baton Rouge       1         1         4          11        1       18
33
Stress I Skimmer (1)
                                    15840     500          2 Utility         5           Grand Isle       1         1         1          11        1       15
33
LFF 100 Brush Skimmer (1)                                  1 PSV +
                                    10567     1000                           9            Houma           1         1          2         11        1       16
                                                       1 Support Vessel
GT-185 Skimmer w Adaptor (1)
                                    1371      500          2 Utility         5          Belle Chasse      1         1         3          11        1       17
33
Walosep W4 Skimmer (1)
                                    3017      500          2 Utility         5          Belle Chasse      1         1         3          11        1       17
33
Foilex 250 Skimmer (1)
                                    3977      500          2 Utility         5          Belle Chasse      1         1         3          11        1       17
33
Foilex 200 Skimmer (1)
                                    1989      500          2 Utility         5          Belle Chasse      1         1         3          11        1       17
33
Crucial Disk 56/30 Skimmer (1)
                                    5671      500          2 Utility         5          Belle Chasse      1         1         3          11        1       17
33       Curtain Pressure Boom
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     Offshore Equipment                     Storage                       Persons                   Hrs to    Hrs to   Travel to   Travel    Hrs to   Total
      Preferred Staging             EDRC    Capacity        VOO            Req.        From        Procure   Loadout   Staging     to Site   Deploy    Hrs
                                                                             MSRC
Desmi Skimmer (1)
                                     3017     500          2 Utility         5      Fort Jackson      1         1         5          11        1       19
33
Stress I Skimmer (1)
                                    15840     500          2 Utility         5      Fort Jackson      1         1         5          11        1       19
33
Crucial Disk 88/30 Skimmer (1)                             1 PSV +
                                    11122     1000                           9      Fort Jackson      1         1         5          11        1       19
                  Pressure Boom                        1 Support Vessel
Crucial Disk 88/30 Skimmer (1)                             1 PSV +
                                    11122     1000                           9      Fort Jackson      1         1         5          11        1       19
                                                       1 Support Vessel
GT-185 Skimmer (1)
                                     1371     500          2 Utility         5      Pascagoula        1         1         6          11        1       20
33           Pressure Boom
Crucial Disk 88/30 Skimmer (1)
                                    11122     500          2 Utility         5      Pascagoula        1         1         6          11        1       20
33
Stress I Skimmer (1)
                                    15840     500          2 Utility         5      Pascagoula        1         1         6          11        1       20
33
Stress II Skimmer (1)
                                     3017     500          2 Utility         5      Pascagoula        1         1         6          11        1       20
33
Stress I Skimmer (1)
                                    15840     500          2 Utility         5        Tampa           1         1         22         11        1       36
33
Crucial Disk 56/30 Skimmer (1)
                                     5671     500          2 Utility         5        Tampa           1         1         22         11        1       36
33
GT-185 Skimmer w Adaptor (1)
                                     1371     500          2 Utility         5        Tampa           1         1         22         11        1       36
33
GT-185 Skimmer w Adaptor (1)
                                     1371     500          2 Utility         5         Miami          1         1         28         11        1       42
33
Walosep W4 Skimmer (1)
                                     3017     500          2 Utility         5         Miami          1         1         28         11        1       42
33
Desmi Skimmer (1)
                                     3017     500          2 Utility         5         Miami          1         1         28         11        1       42
33
Stress I Skimmer (1)
                                    15840     500          2 Utility         5         Miami          1         1         28         11        1       42
33       Curtain Pressure Boom
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                                                                Nearshore Response
                               Storage    Support     Persons                          Hrs to    Hrs to      Hrs to   Travel to   Hrs to   Total
 Nearshore Equipment   EDRC    Capacity   Vessel(s)    Req.             From          Procure   Loadout      GOM      Staging     Deploy    Hrs
                                                                         CGA
46 FRV                 15257      65         NA          4          Aransas Pass         2         0           2            16      1       21
46 FRV                 15257      65         NA          4             Leeville          2         0           2            3       1        8
46 FRV                 15257      65         NA          4          Lake Charles         2         0           2         2.5        1       7.5
46 FRV                 15257      65         NA          4             Venice            2         0           2            11      1       16
Mid-Ship SWS           22885     249         NA          4             Leeville          2         0          N/A           48      1       51
Mid-Ship SWS           22885     249         NA          4             Venice            2         0          N/A           48      1       51
Mid-Ship SWS           22885     249         NA          4            Galveston          2         0          N/A           48      1       51
Trinity SWS            21500     249         NA          4             Leeville          2         0          N/A           48      1       51
Trinity SWS            21500     249         NA          4          Lake Charles         2         0          N/A           48      1       51
Trinity SWS            21500     249         NA          4            Vermilion          2         0          N/A           48      1       51
Trinity SWS            21500     249         NA          4            Galveston          2         0          N/A           48      1       51
                                                                        MSRC
MSRC Lightning
                       5000       50         NA          3           Tampa. FL           2         0           1            36      1       40
2 LORI Brush Pack
MSRC Quick Strike
                       5000       50         NA          3         Lake Charles, LA      2         0           1            2       1        6
2 LORI Brush Pack
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                              Storage    Support      Persons                                  Hrs to           Hrs to      Hrs to   Travel to   Hrs to   Total
 Nearshore Equipment   EDRC   Capacity   Vessel(s)     Req.                 From              Procure          Loadout      GOM      Staging     Deploy    Hrs
                                                     Enterprise Marine (available through contract with CGA)
CTCo 2603               NA     25000       1 Tug           6              Amelia, LA               26             0           6            15      1       48
CTCo 2604               NA     20000       1 Tug           6              Amelia, LA              26              0           6            15      1       48
CTCo 2605               NA     20000       1 Tug           6              Amelia, LA              26              0           6            15      1       48
CTCo 2606               NA     20000       1 Tug           6              Amelia, LA              26              0           6            15      1       48
CTCo 2607               NA     23000       1 Tug           6              Amelia, LA              26              0           6            15      1       48
CTCo 2608               NA     23000       1 Tug           6              Amelia, LA              26              0           6            15      1       48
CTCo 2609               NA     23000       1 Tug           6              Amelia, LA              26              0           6            15      1       48
CTCo 5001               NA     47000       1 Tug           6              Amelia, LA              26              0           6            15      1       48
                                               Kirby Offshore (available through contract with CGA and/or MSRC)
RO Barge                NA     80000+      1 Tug          6                Venice, LA             24           0              4            31      1       60
RO Barge                NA     80000+      1 Tug           6              Venice, LA              24              0           4            31      1       60
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         Staging Area: Cameron
    Nearshore and Inland                 Storage    Support       Persons                    Hrs to    Hrs to     Travel to    Travel to   Hrs to   Total
   Skimmers With Staging         EDRC    Capacity   Vessel(s)      Req.         From        Procure   Load Out    Staging     Deployment   Deploy    Hrs
                                                                             CGA
SWS Egmopol                       1810     100          NA           3        Galveston        2         2            5           2          1       12
SWS Egmopol                       1810     100          NA           3         Leeville        2         2            7           2          1       14
SWS Marco                         3588      20          NA           3       Lake Charles      2         2            2           2          1        9
SWS Marco                         3588      34          NA           3         Leeville        2         2            7           2          1       14
SWS Marco                         3588      34          NA           3          Venice         2         2           9.5          2          1      16.5
Foilex Skim Package (TDS 150)     1131      50          NA           3       Lake Charles      4         12           2           2          2       22
Foilex Skim Package (TDS 150)     1131      50          NA           3        Galveston        4         12           5           2          2       25
Foilex Skim Package (TDS 150)     1131      50          NA           3         Harvey          4         12           7           2          2       27
4 Drum Skimmer (Magnum 100)       680      100        1 Crew         3       Lake Charles      2         2            2           2          1        9
4 Drum Skimmer (Magnum 100)       680      100        1 Crew         3         Harvey          2         2            7           2          1       14
2 Drum Skimmer (TDS 118)          240      100        1 Crew         3       Lake Charles      2         2            2           2          1        9
2 Drum Skimmer (TDS 118)          240      100        1 Crew         3         Harvey          2         2            7           2          1       14
                                                                            MSRC
30 ft. Kvichak
                                  3588      24          NA           2         Ingleside       1         1           9.5          2          1      14.5
Marco I Skimmer (1)
30 ft. Kvichak
                                  3588      24          NA           2        Galveston        1         1            5           2          1       10
Marco I Skimmer (1)
30 ft. Kvichak
                                  3588      24          NA           2       Belle Chasse      1         1            7           2          1       12
Marco I Skimmer (1)
30 ft. Kvichak
                                  3588      24          NA           2        Pascagoula       1         1           9.5          2          1      14.5
Marco I Skimmer (1)
AardVac Skimmer (1)               3840     500        1 Utility      5       Lake Charles      1         1            1           2          1        6
AardVac Skimmer (1)               3840     500        1 Utility      5        Pascagoula       1         1           9.5          2          1      14.5
AardVac Skimmer (2)               7680     1000       2 Utility     10          Miami          1         1           31           2          1       36
Queensboro Skimmer (1)            905      400      1 Push Boat      4        Galveston        1         1            5           2          1       10
Queensboro Skimmer (5)            4525     2000     5 Push Boat     20       Lake Charles      1         1            1           2          1        6
Queensboro Skimmer (1)            905      400      1 Push Boat      4       Belle Chasse      1         1            7           2          1       12
Queensboro Skimmer (1)            905      400      1 Push Boat      4        Pascagoula       1         1           9.5          2          1      14.5
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                                                               Shoreline Protection
           Staging Area: Cameron
Shoreline Protection             Persons   Storage/Warehouse            Hrs to      Hrs to      Travel to     Travel to       Hrs to
       Boom             VOO       Req.          Location               Procure     Loadout      Staging      Deployment       Deploy   Total Hrs

                                                   AMPOL (available through Letter of Intent)
                       13 Crew     26        New Iberia, LA               2           2            6             2              12        24
                       7 Crew      14        Chalmette, LA                2           2            2.5           2              6        14.5
                       1 Crew      2         Morgan City, LA              2           2            4.5           2              2        12.5
                       2 Crew      4           Venice, LA                 2           2            0             2              2         8
                       7 Crew      14        Port Arthur, TX              2           2            10            2              6         22
                                                    ES&H (available through Letter of Intent)
                       6 Crew      12      Golden Meadow, LA              .5          .5           4             2              4         11
                       6 Crew      12         LaPlace, LA                 .5          .5           3             2              4         10
                       6 Crew      12       Lake Charles, LA              .5          .5           8             2              4         15
                       1 Crew      2          Lafayette, LA               .5          .5           6             2              1         10
                       1 Crew      2         Morgan City, LA              .5          .5           5             2              1         9
                       1 Crew      2          Fourchon, LA                .5          .5           5             2              1         9
                       6 Crew      12       Belle Chasse, LA              .5          .5           2             2              4         7
                       12 Crew     24          Houma, LA                  .5          .5           4             2              4         11
                       1 Crew      2           Venice, LA                 .5          .5           0             2              4         7
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                                  Storage              Person                          Hrs to      Hrs to       Travel to    Travel to   Hrs to   Total
    Wildlife Response      EDRC   Capacity   VOO         s               From         Procure     Loadout        Staging    Deploymen    Deploy    Hrs
                                                                         CGA
Wildlife Support Trailer    NA      NA       NA           2              Harvey          2          2               7           1          2       14
Bird Scare Guns (24)        NA      NA       NA           2              Harvey          2          2               7           1          2       14
Bird Scare Guns (12)        NA      NA       NA           2             Galveston        2          2               5           1          2       12
Bird Scare Guns (12)        NA      NA       NA           2          Aransas Pass        2          2              9.5          1          2      16.5
Bird Scare Guns (48)        NA      NA       NA           2          Lake Charles        2          2               2           1          2       9
Bird Scare Guns (24)        NA      NA       NA           2             Leeville         2          2               7           1          2       14


                                                Response Asset Totals                                       Total (bbls)
                                                Offshore EDRC                                           1,189,841
                                                Offshore Recovered Oil Storage                          1,585,796+
                                                Nearshore / Shallow Water EDRC                              291,303
                                                Nearshore / Shallow Water Recovered Oil Storage         370,737+
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                                        APPENDIX J
                           ENVIRONMENTAL MONITORING INFORMATION

A) MONITORING SYSTEMS
The proposed drilling units are equipped with Acoustic Doppler Current Profile (ADCP) monitoring
equipment. Data from these meters are reported to the National Data Buoy Center website.

B) INCIDENTAL TAKES
In accordance with NTL 2008-G04, this information is not applicable as BOE Exploration & Production
has no reason to believe that any of the endangered species or marine mammals as listed in the ESA will
be “taken” as a result of the operations proposed in this plan.

Additionally, BOE Exploration & Production will follow guidance resulting from the Programmatic
Biological Opinion on Federally Regulated Oil and Gas Program Activities in the Gulf of Mexico.

Vessels associated with activity proposed in this plan do not pose an entrapment/entanglement risk to
aquatic protected species. In the event of inadvertent entrapment/entanglement of protected aquatic
species, vessel operators associated with activity proposed in this plan will report sightings of any
injured or dead aquatic protected species immediately, regardless of whether the injury or death is
caused by its vessel. If the injury or death was caused by a collision with the operator’s vessel, an
entrapment within the operator’s equipment or vessel (e.g. moon pool), or an entanglement within the
operator’s equipment, the operator will further notify BOEM and BSEE within 24 hours of the strike or
entrapment/entanglement via email to protectedspecies@boem.gov and protectedspecies@bsee.gov.

BOE Exploration & Production and/or its contractor representatives will provide a dedicated crew
member to monitor and continually survey the moon pool area for sea turtles and marine mammals
during activity requiring moon pool utilization. Further, BOE Exploration & Production and/or its
contractor representatives will provide a dedicated crew member to monitor and continually survey the
moon pool area for sea turtles and marine mammals after conclusion of operations and prior to hull
door(s) closure and vessel transit. Dedicated crew member will continue observations while the door(s)
is closing and maintain communication with the door operator(s) and bridge. Once the door(s) is closed
and confirmation that no turtle/mammal has been detected, the observer will secure their position for
vessel transit.

C) FLOWER GARDEN BANKS NATIONAL MARINE SANCTUARY
In accordance with NTL 2008-G04, this information is not applicable to the activities proposed in this
plan as the subject area and block(s) are not located within the Protective Zones of the Flower Garden
Banks and Stetson Bank.




Initial Exploration Plan
Green Canyon 895, OCS-G 35879
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                                             APPENDIX K
                                  LEASE STIPULATIONS INFORMATION

Stipulation 8 - Protected Species
Lease Stipulation No. 8 is designed to reduce the potential taking of federally protected species in
conjunction with activity conducted on the Outer Continental Shelf (OCS).

BOE Exploration & Production and its operators, personnel, contractors and subcontractors will operate
in accordance with NTL BOEM 2016-G01, “Vessel Strike Avoidance and Injured/Dead Protected Species
Reporting,” NTL 2015-G03, “Marine Trash and Debris Awareness and Elimination” and NTL BOEM 2016-
G02, “Implementation of Seismic Survey Mitigation Measures and Protected Species Observer Program”
and any additional measures in conditions of approval for corresponding plans and permits in satisfying
this condition of the subject lease relating to its proposed activity.




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                                         APPENDIX L
                       ENVIRONMENTAL MITIGATION MEASURES INFORMATION

A) MEASURES TAKEN TO AVOID, MINIMIZE, AND MITIGATE IMPACTS
In accordance with NTL 2008-G04, this information is not applicable to the activities proposed in this
plan as the State of Florida is not an affected State.

B) INCIDENTAL TAKES
BOE Exploration & Production will adhere to the requirements as set forth in the following Notices to
Lessees, as applicable, to avoid or minimize impacts to any of the species listed in the ESA as a result of
the proposed operations:

    •   NTL BOEM 2016-G01, “Vessel Strike Avoidance and Injured/Dead Protected Species Reporting"
    •   NTL 2015-G03, “Marine Trash and Debris Awareness and Elimination”
    •   NTL BOEM 2016-G02, “Implementation of Seismic Survey Mitigation Measures and Protected
        Species Observer Program”

Additionally, BOE Exploration & Production will follow guidance resulting from the Programmatic
Biological Opinion on Federally Regulated Oil and Gas Program Activities in the Gulf of Mexico.

Vessels associated with activity proposed in this plan do not pose an entrapment/entanglement risk to
aquatic protected species. In the event of inadvertent entrapment/entanglement of protected aquatic
species, vessel operators associated with activity proposed in this plan will report sightings of any
injured or dead aquatic protected species immediately, regardless of whether the injury or death is
caused by its vessel. If the injury or death was caused by a collision with the operator’s vessel, an
entrapment within the operator’s equipment or vessel (e.g. moon pool), or an entanglement within the
operator’s equipment, the operator will further notify BOEM and BSEE within 24 hours of the strike or
entrapment/entanglement via email to protectedspecies@boem.gov and protectedspecies@bsee.gov.

BOE Exploration & Production and/or its contractor representatives will provide a dedicated crew
member to monitor and continually survey the moon pool area for sea turtles and marine mammals
during activity requiring moon pool utilization. Further, BOE Exploration & Production and/or its
contractor representatives will provide a dedicated crew member to monitor and continually survey
the moon pool area for sea turtles and marine mammals after conclusion of operations and prior to
hull door(s) closure and vessel transit. Dedicated crew member will continue observations while the
door(s) is closing and maintain communication with the door operator(s) and bridge. Once the door(s)
is closed and confirmation that no turtle/mammal has been detected, the observer will secure their
position for vessel transit.




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                                            APPENDIX M
                           RELATED FACILITIES & OPERATIONS INFORMATION

A) RELATED OCS FACILITIES AND OPERATIONS
In accordance with NTL 2008-G04, this information is not applicable to the activities proposed in this
plan as this is an Exploration Plan.

Operations proposed in this plan will not utilize pile-driving.

Pipelines are not proposed as part of this plan.

B) TRANSPORTATION SYSTEM
In accordance with NTL 2008-G04, this information is not applicable to the activities proposed in this
plan as this is an Exploration Plan.

C) PRODUCED LIQUID HYDROCARBONS TRANSPORTATION VESSELS
In accordance with NTL 2008-G04, this information is not applicable to the activities proposed in this
plan as no new production is being proposed for transport nor is existing production transporting
methods being modified.




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                                           APPENDIX N
                            SUPPORT VESSELS AND AIRCRAFT INFORMATION

A) GENERAL
The most practical and direct route from the shorebase as permitted by weather and traffic conditions
will be utilized. The table below provides information on vessels and aircraft that will be used to support
the proposed activities.

                        Maximum Fuel          Maximum Number in
       Type                                                              Trip Frequency or Duration
                        Tank Capacity          Area at Any Time
    Supply Boat           1900 bbls                    1                           6x/week
     Crew Boat            1700 bbls                    1                           4x/week
      Aircraft             250 gals                    1                          As Needed

B) DIESEL OIL SUPPLY VESSELS
The table below provides information on the vessels that will be used to supply diesel oil. It also includes
all vessels that will transfer diesel oil that will be used for purposes other than fuel.

    Size of Fuel        Capacity of Fuel        Frequency of Fuel         Route Fuel Supply Vessel
   Supply Vessel         Supply Vessel              Transfers                    Will Take
                                                                           Most direct route from
      180 feet             1900 bbls                  Weekly
                                                                             shorebase to site

C) DRILLING FLUID TRANSPORTATION
In accordance with NTL 2008-G04, this information is not applicable to the activities proposed in this
plan as the State of Florida is not an affected State.

D) SOLID AND LIQUID WASTE TRANSPORTATION
In accordance with BOEM guidance, the required data regarding the solid and liquid waste which will be
transported from the site of the activities proposed in this plan has been incorporated into the Waste &
Discharge tables which are included in the attachment(s) to the Waste & Discharge Information
appendix.

E) VICINITY MAP
Enclosed as an attachment to this appendix is a vicinity map for the activities proposed in this plan
depicting the location of same relative to the shoreline with the distance of the proposed activities from
the shoreline and the primary route(s) of the support vessels and aircraft which will be used when
traveling between the onshore support facilities and the proposed operations.

Vessels associated with and/or utilized to support activity proposed in this plan will take the most direct
route when transiting from onshore support facilities to a well site(s). Vessels associated with and/or
utilized to support activity proposed in this plan will not transit the Bryde’s whale area.




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                         VICINITY MAP
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                                                                                                                                                            MO
                                                                                                                                                               306 of 333              PE




 K                                                                                                                                                  CA                VK




                                                                                                                             BS                                                        DD


                                                                                                                                                           MP




                                                                                                      BRISTOW                                                    VK

                                                                                            ^_
                                                                                            _^        HELIPORT
                                                                                            BM
                                                                   _
                                                                   ^                                                        SP
                                                                                                      GI         WD
                                                      NEAREST             PL                         PORT
                                                     SHORELINE
                                                                                                   FOURCHON


VR
              SM              EI
                                                                                                     EW
                                                      SS                               ST                                                                                             DC
                                                                                                                                        MC




                                                                                             EW




                                                                                            GC895 PROPOSED WELL LOCATION
                                                                               ~136 STATUE (118 NAUTICAL) MILES TO NEAREST SHORELINE
                                                                               ~169 STATUE (147 NAUTICAL) MILES TO BRISTOW HELIPORT
                                                                               ~152 STATUE (132 NAUTICAL) MILES TO PORT FOURCHON
                                                                                                                                                                                       LL
                                                                                                                                           AT
                                                              GC
      GB

                                                                                                 GC895 - LEASE OCS-G35879
                                                                                             BOE EXPLORATION & PRODUCTION LLC



                                      GC 895                                                                                                                   PLAT 1 - VICINITY MAP
                                                                                                                                                          PROPOSED WELL LOCATION - HEGC895
      KC                                                      WR
                                                                                                                                               LU               GC895 - LEASE OCS-G35879
                                                                                                                                                           GREEN CANYON AREA - GULF OF MEXICO
 GEODETIC DATUM: NAD 27                                                                0      15       30             60
 PROJECTION: BLM 15 (NORTH) UTM 15N                                      SCALE
 GRID UNITS: US SURVEY FEET                                                                           Miles


     SHEET:        MAP BY: ESSJ (BOE)
     1 OF 1        CHECKED BY: DH (BOE)
                                               PROJE CT NAME: EP GC895 - HIGHGA RDEN                                        DATE: 04/03/2020
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                                          APPENDIX O
                             ONSHORE SUPPORT FACILITIES INFORMATION

A) GENERAL
The table below is a list of the onshore facilities that will be used to provide supply and service support
for the activities proposed in this plan.

     Name of Shorebase                       Location                     Existing/New/Modified
          EPS Dock                         Fourchon, LA                           Existing
      Bristow Heliport                      Galliano, LA                          Existing

B) SUPPORT BASE CONSTRUCTION OR EXPANSION
In accordance with NTL 2008-G04, this information is not applicable to the activities proposed in this
plan as BOE Exploration & Production will use an existing onshore base facility and will not need to
expand or modify those facilities to accommodate the operations proposed in this plan.

C) SUPPORT BASE CONSTRUCTION OR EXPANSION TIMETABLE
In accordance with NTL 2008-G04, this information is not applicable to the activities proposed in this
plan as no land is being acquired to construct or expand an onshore support base.

D) WASTE DISPOSAL
In accordance with BOEM guidance, the required data regarding the facilities that will be used to store
and dispose of any solid and liquid wastes generated by the activities proposed in this plan has been
incorporated into the Waste & Discharge tables which are included in the attachment(s) to the Waste &
Discharge Information appendix.

E) AIR EMISSIONS
In accordance with NTL 2008-G04, this information is not applicable to the activities proposed in this
plan as the air emissions information in this section is not required for plans where the activities being
proposed are within the boundaries of the Gulf of Mexico Region.

F) UNUSUAL SOLID AND LIQUID WASTES
In accordance with NTL 2008-G04, this information is not applicable to the activities proposed in this
plan as the unusual solid and liquid wastes information generated by onshore support facilities is not
required for plans that propose activities that fall within the boundaries of the Gulf of Mexico Region.




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                                        APPENDIX P
                        COASTAL ZONE MANAGEMENT (CZMA) INFORMATION

Relevant enforceable policies were considered in certifying consistency for Louisiana.

A certificate of Coastal Zone Management Consistency for each of the states listed above is included in
the attachments to this appendix.




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COASTAL ZONE MANAGEMENT CONSISTENCY CERTIFICATION
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             COASTAL ZONE MANAGEMENT
             CONSISTENCY CERTIFICATION


                     INITIAL EXPLORATION PLAN

                          GREEN CANYON 895
                             OCS-G 35879


The proposed activities described in detail in this OCS Plan comply with
Louisiana’s approved Coastal Management Program and will be conducted in a
manner consistent with such program(s).



                     BOE Exploration & Production LLC
                           Lessee or Operator




                            Certifying Official

                              March 1, 2020

                                   Date
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                                          APPENDIX Q
                                  ENVIRONMETAL IMPACT ANALYSIS

An Environmental Impact Analysis is included in the attachments to this appendix.




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        ENVIRONMETAL IMPACT ANALYSIS
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                            ENVIRONMENTAL IMPACT ANALYSIS WORKSHEET
Identify the IPF’s that can cause impacts to the listed environmental resources by placing an “x” in the space under
each IPF category associated with your proposed activities that may impact a particular environmental resource.
If you determine an IPF would not impact a particular environmental resource, leave the space blank. For
those cells that are footnoted, provide a statement as to the applicability to your proposed operations, and, where
there may be an effect, provide an analysis of the effect. If you are aware of other environmental resources
at or near your activity’s site that are not included on the worksheet, address them too.

                                                                     Impact Producing Factors (IPFs)
         Environmental                                                  Categories and Examples
           Resources                            Refer to a recent GOM OCS Lease Sale EIS for a more complete list of IPFs
                                      Emissions      Effluents (muds,   Physical           Wastes      Accidents          Other
                                      (air, noise, cuttings, other      disturbances       sent to     (e.g., oil spills, IPFs
                                      light, etc.)   discharges to the  to the seafloor    shore for   chemical           you
                                                     water column or    (rig or anchor     treatment   spills, H2S        identify
                                                     seafloor)          emplacements,      or disposal releases)
                                                                        etc.)

 Site-specific at Offshore
 Location
 Designated topographic                                      (1)                  (1)                          (1)
       features
 Pinnacle Trend area live                                    (2)                  (2)                          (2)
       bottoms
 Eastern Gulf live bottoms                                   (3)                  (3)                          (3)
 Chemosynthetic communities                                   x                   x(4)                          x
 Water quality                                                x                    x               x            x
 Fisheries                                                    x                    x                            x
 Marine mammals                           x(8)                x                    x                           x(8)
 Sea turtles                              x(8)                x                    x                           x(8)
 Air quality                              x(9)                                                                  x
 Shipwreck sites (known or                                                        x(7)
 potential)
 Prehistoric archaeological sites                                                 x(7)

 Vicinity of Offshore Location
 Essential fish habitat                                       x                    x                           x(6)
 Marine and pelagic birds                  x                                                                    x
 Public health and safety                                                                                      (5)

 Coastal and Onshore
 Beaches                                                                                                       x(6)
 Wetlands                                                                                                      x(6)
 Shore birds and coastal nesting                                                                               x(6)
   birds
 Coastal wildlife refuges                                                                                       x
 Wilderness areas                                                                                               x

 Other Resources You
 Identify


NOTE: The numbers in parentheses refer to the footnotes on page 2 of this form.
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Footnotes for Environmental Impact Analysis Matrix

1. Activities that may affect a marine sanctuary or topographic feature. Specifically, if the well or platform site or any anchors
     will be on the seafloor within the:
     (a) 4-mile zone of the Flower Garden Banks, or the 3-mile zone of Stetson Bank;
     (b) 1000-m, 1-mile or 3-mile zone of any topographic feature (submarine bank) protected by the Topographic Features
            Stipulation attached to an OCS lease;
     (c) Essential Fish Habitat (EFH) criteria of 500 ft from any no-activity zone; or
     (d) Proximity of any submarine bank (500 ft buffer zone) with relief greater than 2 meters that is not protected by the
            Topographic Features Stipulation attached to an OCS lease.
2.   Activities with any bottom disturbance within an OCS lease block protected through the Live Bottom (Pinnacle Trend)
     Stipulation attached to an OCS lease.
3.   Activities within any Eastern Gulf OCS block where seafloor habitats are protected by the Live Bottom (Low- Relief)
     Stipulation attached to an OCS lease.
4.   Activities on blocks designated by the BOEM as being in water depths 400 meters or greater.
5.   Exploration or production activities where H2S concentrations greater than 500 ppm might be encountered.
6.   All activities that could result in an accidental spill of produced liquid hydrocarbons or diesel fuel that you determine
     would impact these environmental resources. If the proposed action is located a sufficient distance from a resource that
     no impact would occur, the EIA can note that in a sentence or two.
7.   All activities that involve seafloor disturbances, including anchor emplacements, in any OCS block designated by the BOEM as
     having high-probability for the occurrence of shipwrecks or prehistoric sites, including such blocks that will be affected that are
     adjacent to the lease block in which your planned activity will occur. If the proposed activities are located a sufficient distance
     from a shipwreck or prehistoric site that no impact would occur, the EIA can note that in a sentence or two.
8.   All activities that you determine might have an adverse effect on endangered or threatened marine mammals or sea turtles or
     their critical habitats.
9.   Production activities that involve transportation of produced fluids to shore using shuttle tankers or barges.




Paperwork Reduction Act of 1995 (PRA) Statement: The PRA (44 U.S.C. 3501et seq.) requires us to inform you that BOEM
collects this information as part of an applicant’s Exploration Plan (EP) or Development Operations Coordination Document
(DOCD) submitted for BOEM approval. We use the information in our review and data entry for OCS plans. Reponses are
mandatory (43 U.S.C 1334). We will protect proprietary data according to the Freedom of Information Act and 30 CFR 550.197.
An agency may not conduct or sponsor, and a person is not required to respond to, a collection of information unless it displays a
currently valid Office of Management and Budget Control Number. The public reporting burden for this form is included in the
burden for preparing EPs and DOCDs. We estimate that burden to average 600 hours per response for EPs and 700 hours per
response for DOCDs, including the time for reviewing instructions, gathering and maintaining data, and completing and reviewing
the forms associated with subpart B. Direct comments regarding the burden estimate or any other aspect of this form to the
Information Collection Clearance Officer, Bureau of Ocean Energy Management, 381 Elden Street, Herndon, VA 20170.




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The proposed project includes the drilling of well locations A, B, C and D in Green Canyon Area Block 895
(OCS-G 35879).

SITE-SPECIFIC IMPACTS

     •   DESIGNATED TOPOGRAPHIC FEATURES

There are no impacts to designated topographic features expected from the proposed project
including Impact Producing Factors (IPFs) such as emissions, effluents, physical disturbances to the
seafloor, wastes sent to shore for treatment or disposal, accidents, or other factors or resources
identified.

The proposed project location is not located in an area characterized by the existence of topographic
features and associated no activity zones. The subject lease does not contain a topographic features
stipulation. The nearest stipulated topographic features area is located a significant distance from the
proposed project location.

     •   PINNACLE TREND AREA LIVE BOTTOMS

There are no impacts to a pinnacle trend area expected from the proposed project IPFs such as emissions,
effluents, physical disturbances to the seafloor, wastes sent to shore for treatment or disposal,
accidents, or other factors or resources identified.

The proposed project location is not located in an area characterized by the existence of live bottoms.
The subject lease does not contain a live bottom stipulation. The nearest stipulated live bottom pinnacle
trend area is located a significant distance from the proposed project location.

     •   EASTERN GULF LIVE BOTTOMS

There are no impacts to a live bottom low relief area expected from the proposed project including
IPFs such as emissions, effluents, physical disturbances to the seafloor, wastes sent to shore for
treatment or disposal, accidents, or other factors or resources identified.

The proposed project location is not located in an area characterized by the existence of live bottoms.
The subject lease does not contain a live bottom stipulation. The nearest stipulated live bottom low
relief area is located a significant distance from the proposed project location.

     •   CHEMOSYNTHETIC COMMUNITIES

IPFs that have the potential to cause impacts to high density deepwater benthic communities from the
proposed project include effluents, physical disturbances to the seafloor, and accidents.

No features or areas that could support high-density sensitive sessile benthic communities are located
within 2,000ft of any mud or cuttings discharge location associated with well locations proposed as part
of this plan.

Effluents: Discharges from the proposed project will be in compliance with NPDES permit and NTL No.
2009‐G40 conditions and are expected to have minimal impact on high density deepwater benthic
communities in the area.



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Physical Disturbances to the Seafloor: Bottom disturbances to the seafloor from the proposed project
could include rig placement, drilling of wells, and installation of pipelines and platforms. Impacts to
water column turbidity and distribution of disturbed sediments and associated nutrients could affect
high density deepwater benthic communities in the area. The project will adhere to the requirements
of NTL No. 2009‐G40 to minimize impacts to high density deepwater benthic communities from seafloor
disturbances.

Accidents: An accidental spill or well blowout from the proposed project could cause temporary and
possibly long term impacts to high density deepwater benthic communities. Accidental spills would be
expected to be small in in size, expeditiously recovered from the surface, and droplets in the water table
microbiologically degraded, resulting in short term impacts. An accidental blowout of the well could have
both short term and long term effects depending on the size and complexity of the event. In the event of
a spill or blowout, the facility will immediately implement the Regional Oil Spill Response Plan and active
controls and countermeasures to minimize the impact to high density deepwater benthic communities.

There are no other impacts to high density deepwater benthic communities expected from the
proposed project including IPFs such as emissions, wastes sent to shore for treatment or disposal, or
other factors or resources identified.

     •   WATER QUALITY

IPFs that have the potential to cause impacts to water quality from the proposed project include
effluents, physical disturbances to the seafloor, wastes sent to shore for treatment and disposal, and
accidents.

Effluents: Discharges of effluents associated with drilling and production activity from the proposed
project include overboard effluents including well cutting, drilling and completion fluids, sanitary and
domestic wastewater, deck drainage, excess cement and spacers, rig wash water, and uncontaminated
cooling water from the drilling rig which will be in compliance with the Federal Water Pollution Control
Act, regulated by the United States Environmental Protection Agency – Region 6, and authorized under
the National Pollutant Discharge Elimination System General Permit for New and Existing Sources and
New Dischargers in the Offshore Subcategory of the Oil and Gas Extraction Category for the Western
Portion of the Outer Continental Shelf of the Gulf of Mexico Permit (NPDES). A comprehensive list of
types and quantities of effluent discharges associated with the proposed activities can be found in
Appendix G of the governing document to which this report is included. Authorized effluent discharges in
compliance with permit conditions are not expected to have significant impact on water quality.

Physical Disturbances to the Seafloor: Bottom disturbances to the seafloor from the proposed project
could include rig placement, drilling of wells, and installation of pipelines and platforms. Impacts to
water quality include water column turbidity and distribution of disturbed sediments and associated
nutrients. Impacts from seafloor disturbances are expected to be minimal and effects temporary.

Wastes Sent to Shore for Treatment or Disposal: Wastes generated by the proposed project could
include contaminated well cuttings and fluids, cement cuttings, washwater, oily debris, chemical
wastes, used oil and non‐ contaminated domestic waste. Contaminated material will be manifested,
transported, and recycled or disposed of as exempt Exploration and Production Waste to an approved
facility in accordance with Louisiana Department of Natural Resources regulations regarding E&P


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Wastes. Domestic waste is transported to an approved domestic waste disposal facility. Waste
generated which may be hazardous will be manifested, transported, and recycled or disposed of in
accordance with the Resource Conservation and Recovery Act (RCRA). A comprehensive list of types,
quantities, and methods of disposal can be found in Appendix G of the governing document to which
this report is included. Impacts from waste sent to shore for treatment or disposal are not expected.

Accidents: An accidental spill or well blowout from the proposed project could cause temporary and
possibly long term impacts to water quality. Accidental spills would be expected to be small in in size,
expeditiously recovered from the surface, and droplets in the water table microbiologically degraded,
resulting in short term impacts. An accidental blowout of the well could have both short term and long
term effects on water quality depending on the size and complexity of the event. In the event of a
spill or blowout, the facility will immediately implement the Regional Oil Spill Response Plan and active
controls and countermeasures to minimize the impact to water quality.

There are no other IPFs that have the potential to cause impact to water quality from the proposed
project including emissions, or other factors or resources identified.

     •   FISHERIES

IPFs that have the potential to cause impacts to fisheries from the proposed project include
effluents, physical disturbances to the seafloor, and accidents. The Magnuson‐Stevens Fishery and
Conservation and Management Act protects fisheries through implementation of Fishery Management
Plans (FMPs). Fisheries located in the Gulf of Mexico managed by the Gulf of Mexico Fishery
Management Council plans include Coastal Migratory Pelagics, Red Drum, Reef Fish, Shrimp, Spiny
Lobster, and Coral. Fisheries managed by National Oceanic and Atmospheric Administration (NOAA)
National Marine Fisheries Service (NMFS) plans include Tuna, Swordfish, Billfish, and Sharks.

Effluents: Discharges from the proposed project will be in compliance with NPDES permit conditions
and are expected to have minimal impact on fisheries or fishing activities in the area.

Physical Disturbances to the Seafloor: Bottom disturbances to the seafloor from the proposed project
could include rig placement, drilling of wells, and installation of pipelines and platforms. Impacts to
water column turbidity and distribution of disturbed sediments and associated nutrients could affect
fisheries. Impacts to fisheries from seafloor disturbances are expected to be minimal and effects
temporary.

Accidents: An accidental spill or well blowout from the proposed project could cause temporary and
possibly long term impacts to fisheries and fishing activity. Accidental spills would be expected to be
small in in size, expeditiously recovered from the surface, and droplets in the water table
microbiologically degraded, resulting in short term impacts to fisheries. An accidental blowout of the
well could have both short term and long term effects on fisheries and fishing activity depending on the
size and complexity of the event. Fishing activities could be interrupted or temporarily closed. Effects
on fishery populations could include mortality, bioaccumulation, and habitat degradation. In the event
of a spill or blowout, the facility will immediately implement the Regional Oil Spill Response Plan and active
controls and countermeasures to minimize the impact to fisheries.




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There are no other IPFs that have the potential to cause impact to fisheries from the proposed project
including emissions, wastes sent to shore for treatment or disposal, or other factors or resources
identified.

     •   MARINE MAMMALS

IPFs that have the potential to cause impacts to marine mammals from the proposed project include
emissions, effluents, physical disturbances to the seafloor, and accidents. All marine mammals are
protected under the Marine Mammal Protection Act (MMPA). Several species of marine mammals
including whales, dolphins, and porpoises occur in the Gulf of Mexico. The Endangered Species Act
(ESA) further protects marine mammals designated as endangered or threatened. Species of marine
mammals listed as endangered occurring in the Gulf of Mexico include Blue Whale (Balaenoptera
musculus), Fin Whale (Balaenoptera physalus), Humpback Whale (Megaptera novaeangliae), Sei
Whale (Balaenoptera borealis), and Sperm Whale (Physeter macrocephalus) and West Indian Manatee
(Trichechus manatus).

Emissions: Noise emissions from the proposed project may have an impact on marine mammals. Noise
levels from drilling and production activity are generally low in intensity and are not expected to have
a significant impact to marine mammals. Operations proposed in this plan will not utilize pile-driving.

Effluents: Discharges from the proposed project will be in compliance with NPDES permit conditions
and are expected to have minimal impact on marine mammals in the area.

Physical Disturbances to the Seafloor: Bottom disturbances to the seafloor from the proposed project
could include rig placement, drilling of wells, and installation of pipelines and platforms. Impacts to
water column turbidity and distribution of disturbed sediments and associated nutrients could affect
marine mammals. Impacts to marine mammals from seafloor disturbances are expected to be minimal.

Accidents: An accidental spill or well blowout from the proposed project could cause impacts to marine
mammals ranging from sub‐lethal to mortal. Accidental spills would be expected to be small in in size,
expeditiously recovered from the surface, and droplets in the water table microbiologically degraded,
resulting in short term impacts to marine mammals. An accidental blowout of the well could have both
short term and long term effects on marine mammals depending on the size and complexity of the
event. Effects on marine mammal populations could include mortality, bioaccumulation, and habitat
degradation. In the event of a spill or blowout, the facility will immediately implement the Regional Oil
Spill Response Plan and active controls and countermeasures to minimize the impact to marine
mammals.

Vessel traffic has the potential to impact marine mammals in the event of vessel strikes. To minimize the
potential for vessel strikes and disturbance to marine mammals, the proposed project will abide by the
guidelines of BOEM NTL No. 2016‐G01 (Vessel Strike Avoidance and Injured/Dead Protected Species
Reporting).

Marine debris has the potential to impact marine mammals through entanglement or ingestion causing
serious injury or death. To minimize the impact potential to marine mammals, the proposed project will
abide by the guidelines of BSEE NTL No. 2015‐G03 (Marine Trash and Debris Awareness and
Elimination).


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Additionally, BOE Exploration & Production will follow guidance resulting from the Programmatic
Biological Opinion on Federally Regulated Oil and Gas Program Activities in the Gulf of Mexico.

Vessel operators associated with activity proposed in this plan will report sightings of any injured or
dead aquatic protected species immediately, regardless of whether the injury or death is caused by your
vessel. If the injury or death was caused by a collision with the operator’s vessel, an entrapment within
the operator’s equipment or vessel (e.g. moon pool), or an entanglement within the operator’s
equipment, the operator will further notify BOEM and BSEE within 24 hours of the strike or
entrapment/entanglement via email to protectedspecies@boem.gov and protectedspecies@bsee.gov.

BOE Exploration & Production and/or its contractor representatives will provide a dedicated crew
member to monitor and continually survey the moon pool area for sea turtles and marine mammals
during activity requiring moon pool utilization. Further, BOE Exploration & Production and/or its
contractor representatives will provide a dedicated crew member to monitor and continually survey the
moon pool area for sea turtles and marine mammals after conclusion of operations and prior to hull
door(s) closure and vessel transit. Dedicated crew member will continue observations while to door(s)
is closing and maintain communication with the door operator(s) and bridge. Once the door(s) is closed
and confirmation that no turtle/mammal has been detected, the observer will secure their position for
vessel transit.

Vessels associated with and/or utilized to support activity proposed in this plan will take the most direct
route when transiting from onshore support facilities to a well site(s). Vessels associated with and/or
utilized to support activity proposed in this plan will not transit the Bryde’s whale area.

There are no other IPFs that have the potential to cause impact to marine mammals from the
proposed project including wastes sent to shore for treatment or disposal, or other factors or resources
identified.
    • SEA TURTLES

IPFs that have the potential to cause impacts to sea turtles from the proposed project include emissions,
effluents, physical disturbances to the seafloor, and accidents. Several species of turtles occur in the
Gulf of Mexico. The Endangered Species Act (ESA) protects turtles designated as endangered or
threatened. Species of turtles listed as endangered occurring in the Gulf of Mexico include Green Turtle
(Chelonia mydas), Hawksbill Turtle (Eretmochelys imbricata), Kimp’s Ridley Turtle (Lepidochelys kempii),
Letherback Turtle (Dermochelys coriacea), and Loggerhead Turtle (Caretta caretta).

Emissions: Noise emissions from the proposed project may have an impact on turtles. Noise levels from
drilling and production activity are generally low in intensity and are not expected to have a significant
impact to turtles. Operations proposed in this plan will not utilize pile-driving.

Effluents: Discharges from the proposed project will be in compliance with NPDES permit conditions
and are expected to have minimal impact on turtles in the area.

Physical Disturbances to the Seafloor: Bottom disturbances to the seafloor from the proposed project
could include rig placement, drilling of wells, and installation of pipelines and platforms. Impacts to
water column turbidity and distribution of disturbed sediments and associated nutrients could affect
turtles. Impacts to turtles from seafloor disturbances are expected to be minimal.



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Accidents: An accidental spill or well blowout from the proposed project could cause impacts to turtles
ranging from sub‐lethal to mortal. Accidental spills would be expected to be small in in size,
expeditiously recovered from the surface, and droplets in the water table microbiologically degraded,
resulting in short term impacts to turtles. An accidental blowout of the well could have both short term
and long term effects on turtles depending on the size and complexity of the event. Effects on turtles
could include mortality, bioaccumulation, and habitat degradation. In the event of a spill or blowout,
the facility will immediately implement the Regional Oil Spill Response Plan and active controls and
countermeasures to minimize the impact to turtles.

Vessel traffic has the potential to impact turtles in the event of vessel strikes. To minimize the potential
for vessel strikes and disturbance to turtles, the proposed project will abide by the guidelines of Joint NTL
No. 2012‐G01 (Vessel Strike Avoidance and Injured/Dead Protected Species Reporting).

Marine debris has the potential to impact turtles through entanglement or ingestion causing serious injury
or death. To minimize the impact potential to turtles, the proposed project will abide by the guidelines of
BSEE NTL No. 2015‐ G03 (Marine Trash and Debris Awareness and Elimination).

Additionally, BOE Exploration & Production will follow guidance resulting from the Programmatic
Biological Opinion on Federally Regulated Oil and Gas Program Activities in the Gulf of Mexico.

Vessel operators associated with activity proposed in this plan will report sightings of any injured or
dead aquatic protected species immediately, regardless of whether the injury or death is caused by your
vessel. If the injury or death was caused by a collision with the operator’s vessel, an entrapment within
the operator’s equipment or vessel (e.g. moon pool), or an entanglement within the operator’s
equipment, the operator will further notify BOEM and BSEE within 24 hours of the strike or
entrapment/entanglement via email to protectedspecies@boem.gov and protectedspecies@bsee.gov.

BOE Exploration & Production and/or its contractor representatives will provide a dedicated crew
member to monitor and continually survey the moon pool area for sea turtles and marine mammals
during activity requiring moon pool utilization. Further, BOE Exploration & Production and/or its
contractor representatives will provide a dedicated crew member to monitor and continually survey the
moon pool area for sea turtles and marine mammals after conclusion of operations and prior to hull
door(s) closure and vessel transit. Dedicated crew member will continue observations while to door(s)
is closing and maintain communication with the door operator(s) and bridge. Once the door(s) is closed
and confirmation that no turtle/mammal has been detected, the observer will secure their position for
vessel transit.

There are no other IPFs that have the potential to cause impact to turtles from the proposed project
including wastes sent to shore for treatment or disposal, or other factors or resources identified.

     •   AIR QUALITY

IPFs that have the potential to cause impacts to air quality from the proposed project include
emissions and accidents.

Emissions: Pollutant emissions from the proposed project include Particulate Matter (PM), Sulphur
Oxides (SOx), Nitrogen Oxides (NOx), Volatile Organic Compounds (VOC), and Carbon Monoxide (CO)
and could cause short term impacts to air quality in the immediate vicinity of the project location.

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Calculated emissions are below BOEM exemption levels for additional air quality modeling and can be
found in Appendix H of the governing document to which this report is included. The proposed project
is not expected to have an impact to on‐shore air quality due to the distance from the shoreline.

Accidents: An accidental spill or well blowout from the proposed project could cause impacts air quality.
Accidental spills would be expected to be small in in size, expeditiously recovered from the surface,
resulting in minor and short term impacts to air quality in the vicinity of the project location. An
accidental blowout of the well could have both short term and long term effects on air quality
depending on the size and complexity of the event. In the event of a spill or blowout, the facility will
immediately implement the Regional Oil Spill Response Plan and active controls and countermeasures to
minimize the impact to air quality.

There are no other IPFs that have the potential to cause impact to air quality from the proposed project
including effluents, physical disturbances to the seafloor, wastes sent to shore for treatment or
disposal, or other factors or resources identified.

     •   SHIPWRECK SITES

IPFs that have the potential to cause impacts to known or possible shipwreck sites from the proposed
project include physical disturbances to the seafloor.

Physical Disturbances to the Seafloor: Bottom disturbances to the seafloor from the proposed project
could include rig placement, drilling of wells, and installation of pipelines and platforms. The
proposed activities occur within an area of the outer continental shelf defined by BOEM as having
moderate archaeological resource potential (see NTL No. 2011-JOINT-G01). An archaeological
investigation was performed across the wellsite areas by Echo Offshore using AUV geophysical data. An
archaeological assessment of the proposed well locations based on this data set has been included with
this plan. No features of archaeological resources were identified within 2,000ft of the proposed well
locations.

There are no other IPFs that have the potential to cause impact to shipwreck sites from the
proposed project including emissions, effluents, wastes sent to shore for treatment or disposal, accidents,
or other factors or resources identified.

     •   PRE‐HISTORIC ARCHAEOLOGICAL SITES

IPFs that have the potential to cause impacts to known or pre‐historic archaeological sites from the
proposed project include physical disturbances to the seafloor.

Physical Disturbances to the Seafloor: Bottom disturbances to the seafloor from the proposed project
could include rig placement, drilling of wells, and installation of pipelines and platforms. The
proposed activities occur within an area of the outer continental shelf defined by BOEM as having
moderate archaeological resource potential (see NTL No. 2011-JOINT-G01). An archaeological
investigation was performed across the wellsite areas by Echo Offshore using AUV geophysical data. An
archaeological assessment of the proposed well locations based on this data set has been included with
this plan. No features of archaeological resources were identified within 2,000ft of the proposed well
locations.




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There are no other IPFs that have the potential to cause impact to archaeological sites from the
proposed project including emissions, effluents, wastes sent to shore for treatment or disposal, accidents,
or other factors or resources identified.

VICINITY IMPACTS

     •   ESSENTIAL FISH HABITATS

IPFs that have the potential to cause impacts to essential fish habitats from the proposed project include
effluents, physical disturbances to the seafloor, and accidents. The Magnuson‐Stevens Fishery and
Conservation and Management Act protects fisheries through implementation of Fishery Management
Plans, which include designating Essential Fish Habitat (EFH) areas. Essential Fish Habitats located in the
Gulf of Mexico are managed by the Gulf of Mexico Fishery Management Council plans include Coastal
Migratory Pelagics, Coral, Red Drum, Reef Fish, Stone Crab, and Shrimp. Essential Fish Habitats
managed by National Oceanic and Atmospheric Administration (NOAA) National Marine Fisheries
Service (NMFS) plans include Tuna, Swordfish, Billfish, and Sharks. Designated Essential Fish Habitat
(EFH) for Shrimp and Habitat Areas of Particular Concern (HAPC) for Bluefin Tuna are located in the
proposed project area and could be impacted. Gulf Sturgeon (Acipenser oxyrinchus desotoi) are listed by
the Endangered Species Act (ESA) as threatened and critical habitat designated in the coastal area
encompassing Lake Borgne in Louisiana to Suwannee Sound. Smalltooth Sawfish (Pristis pectinata) are
listed by the Endangered Species act as endangered and occur in areas from Texas to Florida.

Effluent: Discharges from the proposed project will be in compliance with NPDES permit conditions and are
expected to have minimal impact on Essential Fish Habitat in the area.

Physical Disturbances to the Seafloor: Bottom disturbances to the seafloor from the proposed project
could include rig placement, drilling of wells, and installation of pipelines and platforms. Impacts to
water column turbidity and distribution of disturbed sediments and associated nutrients could affect
Essential Fish Habitat. Impacts to those habitats from seafloor disturbances are expected to be minimal
and effects temporary.

Accidents: An accidental spill or well blowout from the proposed project could cause temporary and
possibly long term impacts to Essential Fish Habitat. Accidental spills would be expected to be small
in in size, expeditiously recovered from the surface, and droplets in the water table microbiologically
degraded, resulting in short term impacts. An accidental blowout of the well could have both short term
and long term effects on Essential Fish Habitat depending on the size and complexity of the event. Effects
could include fish mortality, bioaccumulation, and habitat degradation. In the event of a spill or blowout,
the facility will immediately implement the Regional Oil Spill Response Plan and active controls and
countermeasures to minimize the impact to Essential Fish Habitat.

There are no other IPFs that have the potential to cause impact to Essential Fish Habitats from the
proposed project including emissions, wastes sent to shore for treatment or disposal, or other factors or
resources identified.

     •   MARINE AND PELAGIC BIRDS

IPFs that have the potential to cause impacts to marine and pelagic birds from the proposed
project include emissions and accidents. Marine and pelagic birds found in the gulf coast include Loons,


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Grebes, Albatrosses, Petrels, Shearwaters, Tropicbirds, Frigatebirds, Cormorants, Gannets, Boobies,
Pelicans, Ducks, Geese, Swans, Phalaropes, Gulls, and Skimmers.

Emissions: Noise emissions from the proposed project may have an impact on marine and pelagic birds in
the vicinity of the project location. Noise levels from drilling and production activity are generally low in
intensity and are not expected to have a significant impact. Operations proposed in this plan will not
utilize pile-driving. Pollutant emissions could also have an impact on marine and pelagic birds in the
vicinity, however, those impacts are expected to be short term and minimal.

Accidents: An accidental spill or well blowout from the proposed project could cause impacts to birds
ranging from sub‐lethal to mortal. Accidental spills would be expected to be small in in size,
expeditiously recovered from the surface, and droplets in the water table microbiologically degraded,
resulting in short term impacts. An accidental blowout of the well could have both short term and long
term effects on birds and habitats depending on the size and complexity of the event. Effects could
include mortality, bioaccumulation, and habitat degradation. In the event of a spill or blowout, the
facility will immediately implement the Regional Oil Spill Response Plan and active controls and
countermeasures to minimize the impact to marine and pelagic birds.

Marine debris has the potential to impact marine birds through entanglement or ingestion causing
serious injury or death. To minimize the impact potential to birds, the proposed project will abide by the
guidelines of BSEE NTL No. 2015‐G03 (Marine Trash and Debris Awareness and Elimination).

There are no other IPFs that have the potential to cause impact to marine and pelagic birds from the
proposed project including effluents, physical disturbances to the seafloor, wastes sent to shore for
treatment or disposal, or other factors or resources identified.

     •   PUBLIC HEALTH AND SAFETY

There are no IPFs that have the potential to cause impact to public health and safety from the
proposed project including emissions, effluents, physical disturbances to the seafloor, wastes sent to
shore for treatment or disposal, accidents, or other factors or resources identified. The project location is
located 136 miles from the nearest shoreline. A prior hydrogen sulfide determination has been
performed in the area of the proposed drilling operations has been classified as hydrogen sulfide
absent.

COASTAL AND ONSHORE IMPACTS

     •   BEACHES

IPFs that have the potential to cause impact to beaches from the proposed project location include
accidents.

Accidents: An accidental spill or well blowout from the proposed project could cause impacts to beaches.
Accidental spills would be expected to be small in in size, expeditiously recovered from the surface, and
droplets in the water table microbiologically degraded, resulting in short term impacts. An accidental
blowout of the well could have both short term and long term effects on beaches depending on the size
and complexity of the event. The worst discharge probability estimates the highest chances of
catastrophic event making impact to the onshore beaches of Cameron Parish at 0% based on 3 days
from spill, 0% based on 10 days from spill, and 4% based on 30 days from spill. Due to the facility

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distance from shore and the capacity to respond to a worst case discharge, no significant impacts to
beaches would be expected. In the event of a spill or blowout, the facility will immediately implement
the Regional Oil Spill Response Plan and active controls and countermeasures to minimize the impact to
beaches.

There are no other IPFs that have the potential to cause impact to beaches from the proposed project
including emissions, effluents, physical disturbances to the seafloor, wastes sent to shore for treatment
or disposal, or other factors or resources identified.

     •   WETLANDS

IPFs that have the potential to cause impact to wetlands from the proposed project location include
accidents.

Accidents: An accidental spill or well blowout from the proposed project could cause impacts to
wetlands. Accidental spills would be expected to be small in in size, expeditiously recovered from the
surface, and droplets in the water table microbiologically degraded, resulting in short term impacts. An
accidental blowout of the well could have both short term and long term effects on wetlands
depending on the size and complexity of the event. The worst discharge probability estimates the
highest chances of catastrophic event making impact to the onshore beaches of Cameron Parish at 0%
based on 3 days from spill, 0% based on 10 days from spill, and 4% based on 30 days from spill. Due to
the facility distance from shore and the capacity to respond to a worst case discharge, no significant
impacts to wetlands would be expected. In the event of a spill or blowout, the facility will immediately
implement the Regional Oil Spill Response Plan and active controls and countermeasures to minimize the
impact to beaches.

There are no other IPFs that have the potential to cause impact to beaches from the proposed project
including emissions, effluents, physical disturbances to the seafloor, wastes sent to shore for treatment
or disposal, or other factors or resources identified.

     •   SHORE AND COASTAL NESTING BIRDS

IPFs that have the potential to cause impacts to shore and nesting birds from the proposed project include
accidents. Shore and coastal nesting birds found in the gulf coast include Terns, Pelicans, Plovers,
Skimmers, Cranes and Gulls. Piping Plover (Charadrius melodus) and Whooping Crane (Grus americana)
are listed by the Endangered Species Act (ESA) as threatened and have critical habitat designated in the
coastal areas and beaches.

Accidents: An accidental spill or well blowout from the proposed project could cause impacts to shore
and coastal nesting birds. Accidental spills would be expected to be small in in size, expeditiously
recovered from the surface, and droplets in the water table microbiologically degraded, resulting in
short term impacts. An accidental blowout of the well could have both short term and long term effects
on birds depending on the size and complexity of the event. The worst discharge probability estimates
the highest chances of catastrophic event making impact to the onshore beaches of Cameron Parish at
0% based on 3 days from spill, 0% based on 10 days from spill, and 4% based on 30 days from spill.
Due to the facility distance from shore and the capacity to respond to a worst case discharge, no
significant impacts to shore and coastal nesting birds would be expected. In the event of a spill or


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blowout, the facility will immediately implement the Regional Oil Spill Response Plan and active
controls and countermeasures to minimize the impact to birds.

Marine debris has the potential to impact shore and coastal nesting birds through entanglement or
ingestion causing serious injury or death. To minimize the impact potential to birds, the proposed
project will abide by the guidelines of BSEE NTL No. 2015‐G03 (Marine Trash and Debris Awareness and
Elimination).

There are no other IPFs that have the potential to cause impact to shore and coastal nesting birds from the
proposed project including emissions, effluents, physical disturbances to the seafloor, wastes sent to
shore for treatment or disposal, or other factors or resources identified.

     •   COASTAL WILDLIFE REFUGES

IPFs that have the potential to cause impacts to coastal wildlife refuges from the proposed project include
accidents. The nearest wildlife refuges to the proposed project location are the Delta National Wildlife
Refuge and the Breton National Wildlife Refuge.

Accidents: An accidental spill or well blowout from the proposed project could cause impacts to wildlife
refuges. Accidental spills would be expected to be small in in size, expeditiously recovered from the
surface, and droplets in the water table microbiologically degraded, resulting in short term impacts. An
accidental blowout of the well could have both short term and long term effects on refuges depending on
the size and complexity of the event. The worst discharge probability estimates the highest chances of
catastrophic event making impact to the onshore beaches of Cameron Parish at 0% based on 3 days
from spill, 0% based on 10 days from spill, and 4% based on 30 days from spill. Due to the facility
distance from shore and the capacity to respond to a worst case discharge, no significant impacts
to wildlife refuges would be expected. In the event of a spill or blowout, the facility will
immediately implement the Regional Oil Spill Response Plan and active controls and countermeasures to
minimize the impact to refuges.

There are no other IPFs that have the potential to cause impact to coastal wildlife refuges from the
proposed project including effluents, physical disturbances to the seafloor, wastes sent to shore for
treatment or disposal, or other factors or resources identified.

     •   WILDERNESS AREAS

IPFs that have the potential to cause impacts to coastal wilderness areas from the proposed
project include accidents. The nearest designated wilderness area to the proposed project location is
the Breton Wilderness Area.

Accidents: An accidental spill or well blowout from the proposed project could cause impacts to
wilderness areas. Accidental spills would be expected to be small in in size, expeditiously recovered from
the surface, and droplets in the water table microbiologically degraded, resulting in short term impacts.
An accidental blowout of the well could have both short term and long term effects on wilderness areas
depending on the size and complexity of the event. The worst discharge probability estimates the
highest chances of catastrophic event making impact to the onshore beaches of Cameron Parish at 0%
based on 3 days from spill, 0% based on 10 days from spill, and 4% based on 30 days from spill. Due to
the facility distance from shore and the capacity to respond to a worst case discharge, no significant


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impacts to wilderness areas would be expected. In the event of a spill or blowout, the facility will
immediately implement the Regional Oil Spill Response Plan and active controls and countermeasures to
minimize the impact to wilderness areas.

There are no other IPFs that have the potential to cause impact to wilderness areas from the
proposed project including effluents, physical disturbances to the seafloor, wastes sent to shore for
treatment or disposal, or other factors or resources identified.

OTHER IDENTIFIED IMPACTS

No significant impacts are expected to environmental resources from the proposed project based
on Impact Producing Factors identified in the Environmental Impact Analysis Worksheet discussed in
this report and prior operations and development in the proposed project location.

POTENTIAL IMPACTS FROM ENVIRONMENTAL CONDITIONS

Potential impacts from environmental conditions for the proposed project include hazards to
operations, equipment, and personnel from potential adverse weather conditions from significant
storm systems during the hurricane season of June through November.

ALTERNATIVES CONSIDERED TO REDUCE IMPACTS

No alternatives to the proposed project to reduce impacts were considered beyond applicable
requirements of Lease Sale Stipulations, Notice to Lessees and Operators, and Regulatory Authorities.

MITIGATION MEASURES

No mitigation measures to the proposed project to avoid or reduce impacts are to be
implemented beyond applicable requirements of Lease Sale Stipulations, Notice to Lessees and
Operators, and Regulatory Authorities.

AGENCIES AND PERSONS CONSULTED

No agencies or persons were consulted regarding potential impacts associated with the proposed project.

PREPARER

Brandon Hebert
Beacon Offshore Energy
16564 E Brewster Rd, Ste 203
Covington, LA 70433

REFERENCES

United States Department of the Interior, Minerals Management Service, Gulf of Mexico OCS Region.
Notice to Lessees and Operators of Federal Oil, Gas, and Sulphur Leases and Pipeline Right‐of‐Way
Holders Outer Continental Shelf, Gulf of Mexico OCS Region. Biologically‐Sensitive Underwater Features
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Collaborative partnership Arthur Carhart National Wilderness Training Center, Aldo Leopold Wilderness
Research Institute, Federal Government’s Wilderness Training and Research, and University of Montana.
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                                           APPENDIX R
                                   ADMINISTRATIVE INFORMATION

A) EXEMPTED INFORMATION DESCRIPTION
Proprietary information included in the proprietary copy of this plan is listed below.
    • BHL, TVD, and MD information on Form 137
    • WCD sand and depth information on Form 137 and supporting documentation
    • Certain items and enclosures under Geological and Geophysical information
    • Correlative well information used to justify the H2S classification
    • Casing summary information
    • Charts containing sand tops and bases in the analog wells
    • Directional Survey
    • Wellbore Schematics

B) BIBLIOGRAPHY
Below is a listing of all referenced material used to development this plan.
    • Notice to Lessees No. 2008-G04
    • Notice to Lessees No. BOEM 2015-N01
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    • Notice to Lessees No. 2005-G07
    • Notice to Lessees No. 2006-G07
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    • Notice to Lessees No. 2015-G03
    • Notice to Lessees No. BOEM 2016-G02
    • Echo Offshore, 3D Geohazard Assessment, Block 895 / North Half Block 939, Green Canyon Area,
        Report No. 17-022-50/1115
    • Echo Offshore, AUV Archaeological Assessment, Block 895 / North Half Block 939, Green Canyon
        Area, Report No. 17-021-41
    • Echo Ofshore, Site Clearance Letter, Proposed Wellsites A / B / C / D, Block 985 (OCS-G 35879),
        Green Canyon Area, Report Nos:
             o 20-012-31 / 2018-103 (Wellsite A)
             o 20-012-31 / 2018-104 (Wellsite B)
             o 20-012-31 / 2020-243 (Wellsite C)
             o 20-012-31 / 2020-244 (Wellsite D)




Initial Exploration Plan
Green Canyon 895, OCS-G 35879
                          UNITED STATES DEPARTMENT OF THE INTERIOR
              Case 3:23-cv-00342  Document
                      BUREAU OF SAFETY  AND1 ENVIRONMENTAL
                                              Filed on 10/13/23ENFORCEMENT
                                                               in TXSD Page 330 of 333
                                          GULF OF MEXICO REGION
                             ACCIDENT INVESTIGATION REPORT
                                                                                  For Public Release
1. OCCURRED                                     STRUCTURAL DAMAGE
   DATE:    28-OCT-2020      TIME: 1144         CRANE
                                             HOURS
                                                OTHER LIFTING
2. OPERATOR: BOE Exploration & Production LLC   DAMAGED/DISABLED SAFETY SYS.
   REPRESENTATIVE:                            X INCIDENT >$25K Rig equipment damage (weather)
   TELEPHONE:                                   H2S/15MIN./20PPM
   CONTRACTOR: Transocean Offshore              REQUIRED MUSTER
   REPRESENTATIVE:                              SHUTDOWN FROM GAS RELEASE
   TELEPHONE:                                   OTHER


3. OPERATOR/CONTRACTOR REPRESENTATIVE/SUPERVISOR         8. OPERATION:
   ON SITE AT TIME OF INCIDENT:
                                                              PRODUCTION
4. LEASE:     G35879                                        X DRILLING
                           LATITUDE:                          WORKOVER
    AREA:         GC
                                                              COMPLETION
   BLOCK:        895      LONGITUDE:
                                                              HELICOPTER
                                                              MOTOR VESSEL
5. PLATFORM:                                                  PIPELINE SEGMENT NO.
   RIG NAME:      T.O. DEEPWATER ASGARD                       OTHER

6. ACTIVITY:       X    EXPLORATION(POE)
                        DEVELOPMENT/PRODUCTION           9. CAUSE:
                        (DOCD/POD)
7. TYPE:
   INJURIES:                                                   EQUIPMENT FAILURE
                                                             X HUMAN ERROR
         HISTORIC INJURY                                       EXTERNAL DAMAGE
                                  OPERATOR     CONTRACTOR      SLIP/TRIP/FALL
          REQUIRED EVACUATION                                X WEATHER RELATED
          LTA (1-3 days)                                       LEAK
          LTA (>3 days)                                        UPSET H2O TREATING
          RW/JT (1-3 days)                                     OVERBOARD DRILLING FLUID
          RW/JT (>3 days)                                      OTHER
          FATALITY
          Other Injury                                   10. WATER DEPTH:        5594 FT.
                                                         11. DISTANCE FROM SHORE:        136     MI.
     POLLUTION
     FIRE                                                12. WIND DIRECTION:     SE
     EXPLOSION                                                       SPEED:       152   M.P.H.
   LWC      HISTORIC BLOWOUT                             13. CURRENT DIRECTION:
            UNDERGROUND                                               SPEED:            M.P.H.
            SURFACE
            DEVERTER                                     14. SEA STATE:     30   FT.
            SURFACE EQUIPMENT FAILURE OR PROCEDURES      15. PICTURES TAKEN:
   COLLISION           HISTORIC      >$25K      <=$25K   16. STATEMENT TAKEN:




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EV2010R                                                                            14-MAY-2021
   17. INVESTIGATION FINDINGS:
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                                                                                      333Public Release
   On October 28, 2020, an incident occurred on the Transocean Deepwater Asgard, which
   was working under contract for Beacon Offshore Energy, LLC (BOE). Drilling operations
   were being conducted at Green Canyon Block 895, OCS-G35879, Highgarden Well #1, in
   5,594 feet of water. The Asgard was forced off location by harsh weather conditions
   due to an approaching hurricane. After the well was secured and the riser was
   displaced with seawater, the Emergency Disconnect System (EDS) was executed
   successfully. However, during this process the riser and Lower Marine Riser Package
   (LMRP) sustained significant damage.   As a result of the storm conditions, the
   drillship was being pushed in a Northwest direction while its thrusters were at 100
   percent power in an effort to maintain well center.

   On Saturday, October 24, 2020, Tropical Disturbance #59 slowly approached the Gulf of
   Mexico from the Caribbean while the Deepwater Asgard drill crew was in the process of
   tripping drill pipe in the well to set a cement retainer. The cement retainer was set
   at 26,200 feet to isolate high pressure zones in the wellbore. Once the retainer was
   cemented in place, the drill crew began to pull out of the hole (POOH) with the drill
   string. While POOH, the drill crew experienced mechanical problems with the Iron
   Roughneck (IR), which breaks the connections on the drill string. The IR remained out
   of service for most of Sunday, October 25th, 2020 until repairs could be made.
   Meanwhile, Tropical Disturbance #59 developed into a weak Tropical Storm named Zeta
   and continued to move slowly toward the Gulf of Mexico. Repairs were completed on the
   IR early Monday morning on October 26th, allowing the drill crew to finish POOH with
   the drill string. Once the procedure was completed, the drill crew was instructed to
   make up a drill bit on the bottom hole assembly (BHA) below the Retrievable Test Treat
   Squeeze packer (RTTS) and trip in the hole (TIH). The RTTS was set at 6,585 feet and
   a successful positive and negative test were accomplished. On October 27th, Tropical
   Storm Zeta strengthened to a category 1 Hurricane and entered the Gulf of Mexico with
   the Asgard in its projected path. The drill crew displaced the riser with seawater
   and pulled the RTTS running tool out of the hole to prepare to either disconnect from
   the wellhead or stay connected as the hurricane approached. A conference call between
   BOE and Transocean was held, and Transocean elected to stay connected to the well
   because previous sister drillships in similar conditions (Category 1 Hurricane
   Conditions) rode out storms without issues. On October 28, 2020, Hurricane Zeta’s
   eyewall hit the Asgard, forcing it into the red watch circle. At approximately 09:40
   hours, with winds constant at 90 to 100 miles per hour (mph) and sea swells at 30
   feet, the EDS was activated successfully and the LMRP cleared the Blow Out Preventers
   (BOPs) without issue. The derrick wind sensor recorded a peak wind gust of 152 miles
   per hour (mph) at 10:36 hours as the drillship moved in a Northwest direction after
   the EDS. The marine riser was damaged when it hit the wave breaker in the moon pool
   and shortly thereafter the Asgard passed over a ridge of shallower water and the LMRP
   struck the seafloor, dragging it thru the mud. After traveling approximately 2.5
   nautical miles, the Asgard began to maneuver back to the safe zone. The LMRP struck
   the seafloor for a second time before reaching its destination. Upon arrival,
   Transocean and BOE began accessing the damages to the drillship and its equipment.

   The Bureau of Safety and Environmental Enforcement (BSEE) conducted an onsite
   investigation on November 4, 2020, which included interviewing personnel and
   collecting documentation. The investigation team obtained photos and video footage
   displaying the damage to the marine riser and the LMRP. The documents obtained
   indicated that the projected storm path was to the East, therefore allowing the Asgard
   to remain connected to the well. As time progressed, the storm path began to change,
   and preparations had begun to secure the well. It was also noted in the documents
   that the IR had broken down multiple times due to mechanical issues, slowing the
   process of pulling the drill string out of the wellbore. The maintenance issues were
   finally resolved allowing the drill crew to continue securing the well as the storm
   was heading directly for the Asgard. The RTTS was set at 6,585 feet and was
   successfully pressure tested with 15.15 pounds per gallon (PPG) synthetic based mud

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   (SBM), followed by a successful negative         The drill crew  proceeded    pull  the
   drill string out of the wellbore and commenced displacing the marine riser’s 15.15 PPG
   SBM with 8.6 PPG seawater. With the upper blind shear rams closed and the RTTS set,
   the drill crew prepared the drill floor for inclement weather which was now Hurricane
   Zeta. On October 28, 2020, wind speeds became constant at 90 to 100 mph and the seas
   increased to 30 feet. With these weather conditions, the Asgard was unable to
   maintain well center location with the thrusters at 100 percent output. At 09:40
   hours the Asgard reached the red watch circle which was 159 feet off location. The
   EDS function was activated from the control panel at the Driller’s chair, taking
   approximately 24 seconds to function. At 170 feet off well center, the disconnect was
   complete and the subsea crew placed all Air Pressure Vessel (APV) bottles online which
   increased the tensioner pressure to support the weight of the marine riser and the
   LMRP. The Asgard began to be pushed in a Northwest direction at a speed of 5.5 mph
   with thrusters still at 100 percent output. At approximately 10:06 hours, the marine
   riser impacted the Asgard’s hull and by 10:12 hours, the slip joint was fully closed
   and had locked itself. The subsea team immediately applied the hydraulic locks to
   keep it locked in place. At 10:36 hours, the derrick wind sensor captured the peak
   wind gust of 152 mph. At approximately 10:52 hours, the inclinator marked 15.9
   degrees indicating that the LMRP had hit the seafloor, unknown to the drill crew.
   Finally, at approximately 12:48 hours the Asgard came to a stop, having travelled 1.9
   nautical miles from the well location. The Asgard maneuvered back toward the safe
   zone but in the process the LMRP struck the seafloor again. After evaluating all the
   damages to the riser and LMRP, it was estimated that the repair and replacement costs
   would be approximately $5.7 million dollars.

   In the future, if a storm is projected to reach sustained winds equal to or greater
   than a category 1 Hurricane, BOE will recommend to its rig contractor that they
   should secure the well, displace the riser to seawater, disconnect from the well and
   pull a specified length of riser from the water column, and proceed to a secure
   location. BOE will also modify rig contract requirements for each well location to
   state between June 1st and December 1st that the contractor must perform a riser, BOP,
   and tensioner system analysis for a category 1 Hurricane. BOE plans to compare the
   projected versus actual weather conditions of Hurricane Zeta and review with their
   weather service provider to eliminate any future conflicting information. Transocean
   will revise their Extreme Weather Evacuation Plan (EWEP) to ensure they meet all
   internal and external requirements regarding operational limits. Transocean will
   request bathymetry maps to give the rig teams a clear understanding of what hazards
   are present when proceeding to the rig's safe zone. BOE has modified their Hurricane
   Evacuation Plan to include a risk assessment and evaluation for barrier installation
   and testing, considering the time available prior to the arrival of tropical force
   winds.

   18. LIST THE PROBABLE CAUSE(S) OF ACCIDENT:

   Inaccurate weather forecast, the actual weather was worse than what was forecasted at
   the drillship's location. The original forecast said the storm would pass to the east
   of the Asgard’s location and the storm would be a category 1 hurricane. Category 1
   hurricane force winds range from 74 to 95 mph. The Asgard experienced strong category
   1 to category 2 hurricane force winds and extremely rough sea states, with a peak wind
   gust equal to a category 4 hurricane.
   19. LIST THE CONTRIBUTING CAUSE(S) OF ACCIDENT:
   Human error, the decision was made to stay latched up to the well and ride out the
   storm.
   20. LIST THE ADDITIONAL INFORMATION:

   N/A


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   21. PROPERTY DAMAGED:                              NATURE OF DAMAGE:
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    LMRP, riser, telescopic joint, mux cables,        repair or replace
    and Blue and Yellow Pods
    ESTIMATED AMOUNT (TOTAL):       $5,700,000
   22. RECOMMENDATIONS TO PREVENT RECURRANCE NARRATIVE:
    BSEE Houma District has no recommendations for the Office of Incident Investigations at
    this time.


   23. POSSIBLE OCS VIOLATIONS RELATED TO ACCIDENT:      NO

   24. SPECIFY VIOLATIONS DIRECTLY OR INDIRECTLY CONTRIBUTING. NARRATIVE:

    N/A


   25. DATE OF ONSITE INVESTIGATION:           28. ACCIDENT CLASSIFICATION:

    04-NOV-2020

   26. INVESTIGATION TEAM MEMBERS:             29. ACCIDENT INVESTIGATION
                                                   PANEL FORMED:    NO
    Jeremy Sonnier / Paul Reeves /
                                                   OCS REPORT:
   27. OPERATOR REPORT ON FILE:
                                               30. DISTRICT SUPERVISOR: Amy
                                                   Pellegrin




                                                  APPROVED
                                                  DATE:          31-MAR-2021




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